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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

SOLIDUS NETWORKS, INC. d/b/a PAY BY TOUCH,
a/f/k/a PAY BY TOUCH SOLUTIONS, a Delaware Corporation, et al.
Case No. 02:07-20027-TD

                                                  SUMMARY OF SCHEDULES


                                                                                                   Amounts Scheduled
                                                       Attached
                    Name of Schedule                  (YES/NO)    No. of Sheets           Assets          Liabilities    Other

A - Real Property                                        NO                      -                   -

B - Personal Property                                   YES                  94           75,698,454

C - Property Claimed as Exempt                           NO                      -

D- Creditors Holding Secured Claims                     YES                      4                        246,174,509

E - Creditors Holding Unsecured Priority Claims         YES                  15                             2,731,839

F - Creditors Holding Unsecured Nonpriority Claims      YES                  34                            81,711,956

G - Executory Contracts and Leases                      YES                 129

H - Codebtors                                           YES                      1

I - Current Income of Individual Debtor(s)               NO                      -                                               -

J- Current Expenses of Individual Debtor(s)              NO                      -                                               -

            Total Number of Sheets in ALL Schedules                         277

                                                                  Total Assets       $    75,698,454

                                                                                     Total Liabilities   $ 330,618,305




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                SCHEDULE B - PERSONAL PROPERTY




                                                                                                            HUSBAND, WIFE,

                                                                                                             COMMUNITY
                                                                                                                                CURRENT VALUE OF




                                                                                                              JOINT, OR
                                                                                                                              DEBTOR'S INTEREST IN
                                                                              DESCRIPTION AND LOCATION OF
                    TYPE OF PROPERTY                                  NONE                                                     PROPERTY, WITHOUT
                                                                                       PROPERTY
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION

 1. Cash on hand.                                                            See Attached B1.                                $                  72.41




 2. Checking, saving or other financial accounts, certificates of            See Attached B2.                                            9,955,592.91
    deposit, or shares in banks, savings and loan, thrift, building
    and loan, and homestead associations, or credit unions,
    brokerage houses, or cooperatives.


 3. Security deposits with public utilities, telephone companies,            See Attached B3.                                            1,724,105.36
    landlords, and others.




 4. Household goods and furnishings, including audio, video, and
    computer equipment.
                                                                       X



 5. Books, pictures and other art objects, antiques, stamp, coin,
    record, tape, compact disc, and other collections or
    collectibles.                                                      X



 6. Wearing apparel.

                                                                       X



 7. Furs and jewelry.

                                                                       X




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                               SCHEDULE B - PERSONAL PROPERTY




                                                                                                            HUSBAND, WIFE,

                                                                                                             COMMUNITY
                                                                                                                                CURRENT VALUE OF




                                                                                                              JOINT, OR
                                                                                                                              DEBTOR'S INTEREST IN
                                                                              DESCRIPTION AND LOCATION OF
                    TYPE OF PROPERTY                                  NONE                                                     PROPERTY, WITHOUT
                                                                                       PROPERTY
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION

 8. Firearms and sports, photographic, and other hobby
    equipment.
                                                                       X



 9. Interests in insurance policies. Name insurance company of
    each policy and itemize surrender or refund value of each.
                                                                       X



10. Annuities. Itemize and name each issuer.

                                                                       X



11. Interests in an Education IRA as defined in 26 U.S.C. Section
    530(b)(1) or under a qualified State tuition plan as defined in
    26 U.S.C. Section 529(b)(1). Give particulars.                     X



12. Interests in IRA, ERISA, Keogh, or other pension or profit
    sharing plans. Give particulars.
                                                                       X



13. Stock and interests in incorporated and unincorporated                   See Attached B13.                               Unknown
    businesses. Itemize.




14. Interests in partnerships or joint ventures. Itemize.                    See Attached B14.                               Unknown




15. Government and corporate bonds and other negotiable and
    non-negotiable instruments.
                                                                       X




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                 SCHEDULE B - PERSONAL PROPERTY




                                                                                                              HUSBAND, WIFE,

                                                                                                               COMMUNITY
                                                                                                                                  CURRENT VALUE OF




                                                                                                                JOINT, OR
                                                                                                                                DEBTOR'S INTEREST IN
                                                                                DESCRIPTION AND LOCATION OF
                     TYPE OF PROPERTY                                   NONE                                                     PROPERTY, WITHOUT
                                                                                         PROPERTY
                                                                                                                               DEDUCTING ANY SECURED
                                                                                                                                CLAIM OR EXEMPTION

16. Accounts receivable.                                                       See Attached B16.                                          43,965,735.46




17. Alimony, maintenance, support, and property settlements to
    which the debtor is or may be entitled. Give particulars.
                                                                         X



18. Other liquidated debts owing debtor including tax refunds.
    Give particulars.
                                                                         X



19. Equitable or future interests, life estates, and rights or powers
    exercisable for the benefit of the debtor other than those listed
    in Schedule A - Real Property.                                       X



20. Contingent and noncontingent interests in estate of a
    decedent, death benefits plan, life insurance policy, or trust.
                                                                         X



21. Other contingent and unliquidated claims of every nature,                  See Attached B21.                               Unknown
    including tax refunds, counterclaims of the debtor, and rights
    to setoff claims. Give estimated value of each.



22. Patents, copyrights, and other intellectual property. Give                 See Attached B22.                               Unknown
    particulars.




23. Licenses, franchises, and other general intangibles. Give                  See Attached B23.                               Unknown
    particulars.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                             SCHEDULE B - PERSONAL PROPERTY




                                                                                                          HUSBAND, WIFE,

                                                                                                           COMMUNITY
                                                                                                                              CURRENT VALUE OF




                                                                                                            JOINT, OR
                                                                                                                            DEBTOR'S INTEREST IN
                                                                            DESCRIPTION AND LOCATION OF
                    TYPE OF PROPERTY                                NONE                                                     PROPERTY, WITHOUT
                                                                                     PROPERTY
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION

24. Customer lists or other compilations containing personally
    identifiable information (as defined in 11 U.S.C. Section
    101(41A)) provided to the debtor by individuals in
                                                                     X
    connection with obtaining a product or service from the
    debtor primarily for personal, family, or household purposes.


25. Automobiles, trucks, trailers, and other vehicles and
    accessories. (listed at cost)
                                                                     X



26. Boats, motors, and accessories.

                                                                     X



27. Aircraft and accessories.

                                                                     X



28. Office equipment, furnishings, and supplies.                           See Attached B28.                                           4,358,858.94




29. Machinery, fixtures, equipment and supplies used in business.          See Attached B29.                                          12,780,049.27




30. Inventory.                                                             See Attached B30.                                           2,914,040.02




31. Animals.

                                                                     X




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                              SCHEDULE B - PERSONAL PROPERTY




                                                                                                        HUSBAND, WIFE,

                                                                                                         COMMUNITY
                                                                                                                            CURRENT VALUE OF




                                                                                                          JOINT, OR
                                                                                                                          DEBTOR'S INTEREST IN
                                                                         DESCRIPTION AND LOCATION OF
                    TYPE OF PROPERTY                              NONE                                                     PROPERTY, WITHOUT
                                                                                  PROPERTY
                                                                                                                         DEDUCTING ANY SECURED
                                                                                                                          CLAIM OR EXEMPTION

32. Crops - growing or harvested. Give particulars.

                                                                   X



33. Farming equipment and implements.

                                                                   X



34. Farms supplies, chemicals, and feed.
                                                                   X



35. Other personal property of any kind not already listed.
                                                                   X
    Itemize.

                                                                                                       Total             $          75,698,454.37




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                   EXHIBIT B1 - CASH ON HAND


                                                         CURRENT MARKET VALUE OF
                                                           DEBTOR'S INTEREST IN
                                    DESCRIPTION AND
       TYPE OF PROPERTY                                     PROPERTY, WITHOUT
                                  LOCATION OF PROPERTY
                                                       DEDUCTING ANY SECURED CLAIM
                                                              OR EXEMPTION

Cash                              101 2nd Street, Suite 1100   $               72.41
                                  San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                          SCHEDULE B-PERSONAL PROPERTY
                                          EXHIBIT B2 - FINANCIAL ACCOUNTS

                                                                               CURRENT MARKET VALUE
                                                                               OF DEBTOR'S INTEREST IN
                                                 DESCRIPTION AND LOCATION OF
          TYPE OF PROPERTY                                                       PROPERTY, WITHOUT
                                          PROPERTY (NAME AND ADDRESS OF BANK)
                                                                              DEDUCTING ANY SECURED
                                                                                CLAIM OR EXEMPTION
Master Bank Account                       Bank of America                     $                   298.00
XXXXX-X4611                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
PBT Test Cash Account                     Bank of America                                         154.00
XXXXX-X2597                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
PBT ACH Cash Account                      Bank of America                                       2,310.00
XXXXX-X9051                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
PBT Payroll & Benefits Checking Account   Bank of America                                              -
XXXXX-X1450                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
PBT Flex Account                          Bancorp                                               7,285.00
XX3934                                    405 Silverside Road, Suite 105
                                          Wilmington, DE 19809
PBT ZBA Checking Account                  Bank of America                                              -
XXXXX-X1152                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
Master Inv Account                        Bank of America                                      76,689.00
XXXXX-X4611                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
Business Checking Account                 Bancorp                                              49,973.00
XXX-X-XX4449                              405 Silverside Road, Suite 105
                                          Wilmington, DE 19809
Business Money Market                     Bancorp                                              58,779.00
XXX-X-XX3094                              405 Silverside Road, Suite 105
                                          Wilmington, DE 19809
Business High Volume Account              First Premier                                         4,576.00
XXXXXX1520                                400 S. Sycamore Avenue, Ste.102
                                          Sioux Falls, SD 57110
Business Analyzed Checking                Bank of America                                      50,000.00
XXXXX-X3625                               1655 Grant Street BLDG A 10th Floor
                                          Concord, CA 94520-2445
Business High Volume Account              First Premier                                        68,906.00
XXXXXX3039                                400 S. Sycamore Avenue, Ste.102
                                          Sioux Falls, SD 57110
Business Low Volume Account               First Premier                                           442.00
XXXXXX7743                                400 S. Sycamore Avenue, Ste.102
                                          Sioux Falls, SD 57110
Business High Volume Account              First Premier                                         4,007.00
XXXXXX3047                                400 S. Sycamore Avenue, Ste.102
                                          Sioux Falls, SD 57110



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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                 SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B2 - FINANCIAL ACCOUNTS

                                                                     CURRENT MARKET VALUE
                                                                     OF DEBTOR'S INTEREST IN
                                     DESCRIPTION AND LOCATION OF
          TYPE OF PROPERTY                                             PROPERTY, WITHOUT
                                 PROPERTY (NAME AND ADDRESS OF BANK)
                                                                     DEDUCTING ANY SECURED
                                                                      CLAIM OR EXEMPTION
Business High Volume Account     First Premier                                           110.00
XXXXXX8392                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                             8.00
XXXXXX8295                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                             1.00
XXXXXX8309                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                             2.00
XXXXXX8317                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                             1.00
XXXXXX8325                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business Checking Plus           Western Connecticut                                      45.00
XXXX9212                         400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                            94.00
XXXXXX1474                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                            94.00
XXXXXX1466                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Business High Volume Account     First Premier                                            32.00
XX-XXX6628                       400 S. Sycamore Avenue, Ste.102
                                 Sioux Falls, SD 57110
Checking Account                 Bank of America                                          67.00
XXXXX-X0383                      315 Montgomery St. 14th Floor
                                 San Francisco, CA 94104
Investment CD                    Bank of America                                   1,000,000.00
XXXXX-X9868                      315 Montgomery St. 14th Floor
                                 San Francisco, CA 94104
Investment CD                    Bank of America                                   2,623,633.85
XXXXX-X9947                      315 Montgomery St. 14th Floor
                                 San Francisco, CA 94104
Investment CD                    Bank of America                                    207,422.84
XXXXX-X9671                      315 Montgomery St. 14th Floor
                                 San Francisco, CA 94104
Investment CD                    Bank of America                                      53,159.31
XXXXX-X5996                      315 Montgomery St. 14th Floor
                                 San Francisco, CA 94104



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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                          SCHEDULE B-PERSONAL PROPERTY
                                          EXHIBIT B2 - FINANCIAL ACCOUNTS

                                                                              CURRENT MARKET VALUE
                                                                              OF DEBTOR'S INTEREST IN
                                              DESCRIPTION AND LOCATION OF
          TYPE OF PROPERTY                                                      PROPERTY, WITHOUT
                                          PROPERTY (NAME AND ADDRESS OF BANK)
                                                                              DEDUCTING ANY SECURED
                                                                               CLAIM OR EXEMPTION
Settlement Account                        Bank of America                                              -
XXXXX-X0584                               315 Montgomery St. 14th Floor
                                          San Francisco, CA 94104
Escrow Account                            BB&T                                              4,166,777.00
XXXXXX0488                                Attn: Marsha Hart
Rush & Rose Shareholder Escrow            US Bank                                                   2.80
Money Market Account                      Corporate Trust Services
XXXX4800                                  One California Street, Suite 2100
                                          San Francisco, CA 94111
Rush & Rose Dissenter Escrow              US Bank                                              56,446.38
U. S. Treasury Bill                       Corporate Trust Services
XXXX4900                                  One California Street, Suite 2100
                                          San Francisco, CA 94111
Corporation / Exchange Escrow             US Bank                                           1,362,305.87
Money Market Account                      Corporate Trust Services
XXXX7700                                  One California Street, Suite 2100
                                          San Francisco, CA 94111
Earn Out Escrow                           US Bank                                            161,971.86
Money Market Account                      Corporate Trust Services
XXXX7701                                  One California Street, Suite 2100
                                          San Francisco, CA 94111
Escrow Account holding 1,207,890 Shares   US Bank                               Unknown
of Solidus Networks Series C Preferred    Corporate Trust Services
XXXXX8000                                 One California Street, Suite 2100
                                          San Francisco, CA 94111
                                          TOTAL                                 $           9,955,592.91




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                           CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF                 DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF                 PROPERTY, WITHOUT
                                           VENDOR)                          DEDUCTING ANY SECURED
                                                                             CLAIM OR EXEMPTION
Security Deposit                Regus Business Centres LLC                 $                1,020.00
                                Will Haugerud, Centre Manager 8400 East
                                Crescent Parkway 6th
                                Greenwood Village, CO 80111
Security Deposit                Regus UK                                                     867.85
                                Highbridge, Oxford Road
                                Uxbridge, Middlesex UB8 1 HR
Security Deposit                NEXANT INC                                                 43,227.50
                                101 Second Street
                                San Francisco, CA 94105
Security Deposit                Level III Services, Inc.                                    5,000.00
                                1090 East William Street
                                San Jose, CA 95116
Security Deposit                Devon Real Property LLC                                     3,092.52
                                1265 Watercliff Dr
                                Bloomfield Hills, MI 48302
Security Deposit                IP Networks, Inc.                                            975.00
                                P.O. Box 192366
                                San Francisco, CA 94119-2366
Security Deposit                Telekenex                                                  10,000.00
                                3221 20th Street
                                San Francisco, CA 94110
Prepaid Software License        SOFT CHOICE                                                  420.91
                                PO Box 18892
                                Newark, NJ 07191-8892
Prepaid Software License        Microsoft Licensing GP                                      1,331.38
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Software License        Microsoft Licensing GP                                      3,283.04
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Software License        Microsoft Licensing GP                                     15,706.10
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                           CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF                 DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF                 PROPERTY, WITHOUT
                                           VENDOR)                          DEDUCTING ANY SECURED
                                                                             CLAIM OR EXEMPTION
Prepaid Software License        Microsoft Licensing GP                                     14,506.91
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Software License        Microsoft Licensing GP                                     28,366.16
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Software License        Microsoft Licensing GP                                      6,530.23
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Current Asset           Advertising Database, Inc.                                   416.25
                                12 East 32nd Street Floor 7
                                New York, NY 10016
Prepaid Current Asset           Ascert                                                      2,187.50
                                759 Bridgeway
                                Sausalito, CA 94965
Prepaid Current Asset           Card Scanning Solutions                                      208.37
                                10350 Santa Monica Blvd #330
                                Los Angeles, CA 90025
Prepaid Current Asset           Corporate Executive Board                                   1,416.70
Prepaid Current Asset           FusionStorm                                                   498.28
                                PO Box 31001-830
                                Pasadena, CA 91110-0830
Prepaid Current Asset           Hines 101 Second St LP                                      6,808.33
                                Dept 33616 PO Box 39000
                                San Francisco, CA 94139
Prepaid Current Asset           International Franchise Association                          208.37
                                1501 K Street, NW, Suite 350 ATTN:
                                Carolina Parra
                                Washington D.C., 20005
Prepaid Current Asset           Internet Security Systems Inc                               2,797.40
                                PO Box 101413
                                Atlanta, GA 30392-1413
Prepaid Current Asset           Iron Mountain Intellectual Property Mgmt                      83.37
                                PO Box 27131
                                New York, NY 10087-7131

Prepaid Current Asset           Microsoft Licensing GP                                      6,032.19
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202



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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                           CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF                 DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF                 PROPERTY, WITHOUT
                                           VENDOR)                          DEDUCTING ANY SECURED
                                                                             CLAIM OR EXEMPTION
Prepaid Current Asset           Monster.com                                                  200.00
                                PO Box 90364
                                Chicago, IL 60696-0364
Prepaid Current Asset           Monster.com                                                 2,200.03
                                PO Box 90364
                                Chicago, IL 60696-0364
Prepaid Current Asset           Microsoft Licensing GP                                     77,854.20
                                1401 Elm St. 5th Floor Department 842467
                                Dallas, TX 75202
Prepaid Current Asset           NACHA                                                        395.87
                                P.O. Box 64193
                                Baltimore, MD 21264
Prepaid Current Asset           NACHA                                                       2,083.31
                                P.O. Box 64193
                                Baltimore, MD 21264
Prepaid Current Asset           NEC Unified Solutions                                        749.86
                                Lockbox - West Dept 100150
                                Pasadena, CA 91189-0150
Prepaid Current Asset           Silicon Valley Systech, Inc.                                1,030.00
                                3945 Freedom CIR #1140
                                Santa Clara, CA 95054
Prepaid Current Asset           SourceMedia                                                  537.47
                                P.O. Box 4634
                                Chicago, IL 60680
Prepaid Current Asset           JP Morgan Ventures Corporation                             43,107.31
                                P.O. Box 714982
                                Columbus, OH 43271-4982
Prepaid Current Asset           Trust-E                                                      949.50
                                685 Market Street Suite 270
                                San Francisco, CA 94105
Prepaid Current Asset           Monster.com                                                 2,199.91
                                PO Box 90364
                                Chicago, IL 60696-0364
Prepaid Current Asset           Baker & Rowley Talent Agency                               10,800.00
                                3106 S Racine Ave
                                Chicago, IL 60608




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                       CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF             DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF             PROPERTY, WITHOUT
                                           VENDOR)                      DEDUCTING ANY SECURED
                                                                         CLAIM OR EXEMPTION
Prepaid Current Asset           Colbert Johnston, LLP                                   1,000.00
                                6021 Morriss Road, Suite 101
                                Flower Mound, TX 75028
Prepaid Current Asset           Ernst & Young U.S., LLP                                 7,500.00
                                Bank of America LA 98949 File #98949
                                Los Angeles, CA 90074-8949
Prepaid Current Asset           VP TAX INC                                             22,000.00
                                1014 Lincoln Ave
                                San Jose, CA 95125
Prepaid Current Asset           Nesenoff & Miltenberg LLP                               5,000.00
                                363 Seventh Avenue Fifth Floor
                                New York, NY 10001
Prepaid Current Asset           Montebello Partners                                     2,075.00
Prepaid Current Asset           Michael Belue                                           1,218.50
                                201 N Pine St, Suite 111A
                                Florence, AL 35630
Prepaid Current Asset           Marger Johnson                                          5,000.00
                                1030 SW Morrison
                                Portland, OR 97205
Prepaid Current Asset           Pepper Hamilton                                         2,000.00
                                50th Floor Mellon Bank Center
                                Pittsburgh, PA 15219-2502
Prepaid Current Asset           Great Impressions Plus                                  2,500.00
                                3080 Olcott St. Suite 105A
                                Santa Clara, CA 95054
Prepaid Current Asset           Pepper Hamilton LLP                                     2,074.00
                                500 Grant Street
                                Pittsburgh, PA 15219-2505
Prepaid Current Asset           Marger Johnson                                          5,000.00
                                1030 SW Morrison
                                Portland, OR 97205
Prepaid Current Asset           ZETA INTERACTIVE                                        6,000.00
Prepaid Insurance               InterWest Insurance Services                           25,947.58
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                           39,440.32
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                           47,165.67
                                P.O. Box 2268
                                Merced, CA 95344-0268

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In re: Solidus Networks, Inc.
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                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                    CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF          DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF          PROPERTY, WITHOUT
                                           VENDOR)                   DEDUCTING ANY SECURED
                                                                      CLAIM OR EXEMPTION
Prepaid Insurance               InterWest Insurance Services                         2,584.11
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                         4,630.38
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                        16,454.04
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                        16,406.42
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                        32,658.04
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                        97,974.13
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                         2,584.11
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                        16,454.04
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                          782.00
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Insurance               InterWest Insurance Services                         1,228.16
                                P.O. Box 2268
                                Merced, CA 95344-0268
Prepaid Software Maintenance    Microsoft Dynamics                                   8,704.85
Prepaid Software Maintenance    Jive Software                                          165.87
Prepaid Software Maintenance    Symantec                                               527.34
                                4729 E. Sunrise Dr., #121
                                Tucson, AZ 85718
Prepaid Software Maintenance    Numara Software                                       195.87
                                P.O. Box 933754
                                Atlanta, GA 31193-3754
Prepaid Software Maintenance    Ambiron Trust Wave                                   2,340.00
                                Deptartment 4912
                                Carol Stream, IL 60122-4912

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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                         CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF               DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF               PROPERTY, WITHOUT
                                           VENDOR)                        DEDUCTING ANY SECURED
                                                                           CLAIM OR EXEMPTION
Prepaid Software Maintenance    NEC Unified Solutions                                    24,151.01
                                Lockbox - West Dept 100150
                                Pasadena, CA 91189-0150
Prepaid Software Maintenance    Oracle                                                   61,924.05
                                PO Box 71028
                                Chicago, IL 60694-1028
Prepaid Software Maintenance    Idera                                                      647.88
                                P.O. Box 4890
                                Houston, TX 77210
Prepaid Software Maintenance    Citrix Systems, Inc.                                     24,000.00
                                851 W. Cypress Creek Rd.
                                Fort Lauderdale, FL 33309
Prepaid Software Maintenance    Numara Software                                           5,075.00
                                P.O. Box 933754
                                Atlanta, GA 31193-3754
Prepaid Software Maintenance    Salesforce.com                                           31,200.00
                                PO Box 5126
                                Carol Stream, IL 60197-5126
Prepaid Software Maintenance    Complete Power Technology                                 3,095.95
                                c/o Prosperity Bank 3515 W Camp Wisdom
                                Dallas, TX 75237

Prepaid Software Maintenance    Bizzuka, Inc.                                             2,612.50
                                105 Chapel Drive
                                Lafayette, LA 70506
Prepaid Software Maintenance    Softrax Corporation                                       9,850.00
                                PO Box 51209
                                Los Angeles, CA 90051-5509
Prepaid Rent                    JP Morgan Ventures Corporation                          302,042.00
                                P.O. Box 714982
                                Columbus, OH 43271-4982
Prepaid Rent                    Hines 101 Second St LP                                    4,228.77
                                Dept 33616 PO Box 39000
                                San Francisco, CA 94139
Employee Advances               Casey Jenkins                                              872.19
                                312 Gateway Dr., Apt. 133
                                Pacifica, CA 94044
Employee Advances               Philip Tongsak                                             160.00
                                300 Murchison Dr., #108
                                Millbrae, CA 94030-3061


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Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                    CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF          DEBTOR'S INTEREST IN
         TYPE OF PROPERTY       PROPERTY (NAME AND ADDRESS OF          PROPERTY, WITHOUT
                                           VENDOR)                   DEDUCTING ANY SECURED
                                                                      CLAIM OR EXEMPTION
Employee Advances               John Rogers                                         40,000.00
                                2 Townsend Street, #4-201
                                San Francisco, CA 94107
Employee Advances               Karstin Axe                                           263.50
                                1856 Franklin
                                San Francisco, CA 94109
Employee Advances               Tara Baker                                            375.34
                                1118 Oxford Street
                                Berkeley, CA 94707
Employee Advances               Don Burchett                                          209.82
                                PO Box 14731
                                San Francisco, CA 94114
Employee Advances               Norman Kwong                                             5.35
                                340 Brunswick Street
                                San Francisco, CA 94112
Employee Advances               Ebony Tobias                                           35.12
                                3120 Massachusetts Ave. SE, # 201
                                Washington, DC 20019
Employee Advances               Peter Espinosa                                       1,058.12
                                6512 Navaho Trail
                                Edina, MN 55439
Employee Advances               CA State Disbursement Unit                            515.66
                                PO Box 989067
                                West Sacramento, CA 95798-9067
Employee Advances               Martin Todd Moran                                      64.85
                                1210 Southways Street
                                Delray Beach, FL 33483
Employee Advances               CA State Disbursement Unit                            900.00
                                PO Box 989067
                                West Sacramento, CA 95798-9067
Employee Advances               Heloisa Salyer                                       3,966.00
                                318 Barton Drive
                                Danville, CA 94526
Employee Advances               Franchise Tax Board                                   550.00
                                P. O. Box 942867
                                Sacramento, CA 94267-0021
Employee Advances               Russell Huerta                                       1,050.00
                                263 Mallorca Wy.
                                San Francisco, CA 94123
Prepaid Tradeshows              National Retail Federation                          36,800.00


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Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                           CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF                 DEBTOR'S INTEREST IN
            TYPE OF PROPERTY    PROPERTY (NAME AND ADDRESS OF                 PROPERTY, WITHOUT
                                           VENDOR)                          DEDUCTING ANY SECURED
                                                                             CLAIM OR EXEMPTION
Prepaid Tradeshows              Food Marketing Institute                                   18,750.00
                                First Union National Bank Lock Box 4401-
                                VA3238
                                Glen Allen, VA 23060
Retainers                       FTI Consulting                                            200,000.00
                                PO Box 631916
                                Baltimore, Maryland 21263-1916
Retainers                       Manatt, Phelps & Phillips, LLP                             25,000.00
                                11355 West Olympic Boulevard
                                Los Angeles, CA 90064
Retainers                       Potter Anderson & Corroon LLP                              25,000.00
                                1313 North Market St PO Box 951
                                Wilmington, DE 19899-0951
Retainers                       Hennigan, Bennett & Dorman, LLP                            76,000.00
                                865 South Figueroa Street Suite 2900
                                Los Angeles, CA 90017




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Case No. 02:07-20027-TD



                                SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B3-SECURITY DEPOSITS


                                                                       CURRENT MARKET VALUE OF
                                 DESCRIPTION AND LOCATION OF             DEBTOR'S INTEREST IN
            TYPE OF PROPERTY    PROPERTY (NAME AND ADDRESS OF             PROPERTY, WITHOUT
                                           VENDOR)                      DEDUCTING ANY SECURED
                                                                         CLAIM OR EXEMPTION
Retainers                       Hennigan, Bennett & Dorman, LLP                        24,000.00
                                865 South Figueroa Street Suite 2900
                                Los Angeles, CA 90017
Retainers                       Hennigan, Bennett & Dorman, LLP                       100,000.00
                                865 South Figueroa Street Suite 2900
                                Los Angeles, CA 90017
Retainers                       Potter Anderson & Corroon LLP                          25,000.00
                                1313 North Market St PO Box 951
                                Wilmington, DE 19899-0951
                                TOTAL                                  $             1,724,105.36




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B13-STOCK AND INTERESTS IN INCORPORATED BUSINESSES

                                                                                                               CURRENT MARKET VALUE OF
                                                                                                                  DEBTOR'S INTEREST IN
                                   DESCRIPTION AND LOCATION OF PROPERTY                     PERCENTAGE
   TYPE OF PROPERTY                                                                                                PROPERTY, WITHOUT
                                            (NAME AND ADDRESS)                               OWNERSHIP
                                                                                                                DEDUCTING ANY SECURED
                                                                                                                  CLAIM OR EXEMPTION
Common Stock                    Pay By Touch Payment Solutions, LLC                       100%                 Unknown
                                5451 East Williams Blvd., Tucson, AZ 85711
Common Stock                    Pay By Touch Processing, Inc                              100%                 Unknown
                                5451 East Williams Blvd., Tucson, AZ 85711
Common Stock                    Card Systems Payment Solutions (1)                        100%                 Unknown
                                5451 East Williams Blvd., Tucson, AZ 85711
Common Stock                    Maverick International Services, Inc (1)                  100%                 Unknown
                                5451 East Williams Blvd., Tucson, AZ 85711
Common Stock                    Seven Acquisition Sub, LLC                                100%                 Unknown
                                101 2nd St, Suite 1100, San Francisco, CA 94105
Common Stock                    Pay By Touch Check Cashing, Inc                           100%                 Unknown
                                580 Herndon Parkway, Suite 100, Herndon, VA 20170
Common Stock                    Pay By Touch Checking Resources, Inc                      100%                 Unknown
                                101 2nd St, Suite 1100, San Francisco, CA 94105
Common Stock                    Indivos Corporation                                       100%                 Unknown
                                101 2nd St, Suite 1100, San Francisco, CA 94105
Common Stock                    Check Elect, Inc                                          100%                 Unknown
                                101 2nd St, Suite 1100, San Francisco, CA 94105
Common Stock                    ATMD Acquisition Corporation                              100%                 Unknown
                                101 2nd St, Suite 1100, San Francisco, CA 94105
Common Stock                    Pay By Touch Singapore, PTE. Ltd                          100%                 Unknown
                                One George Street, #20-01, Singapore 049145
Common Stock                    S & H Greenpoints, Inc                                    100%                 Unknown
                                1625 S. Congress Ave, Suite 200, Delray Beach, FL 33445
Common Stock                    The Sperry & Hutchison Company, Inc (2)                   100%                 Unknown
                                1625 S. Congress Ave, Suite 200, Delray Beach, FL 33445
Common Stock                    Loyalty Acquisition Sub, LLC                              100%                 Unknown
                                1900 Frost Road, Suite 100, Bristol, PA 19007
Common Stock                    WinWin Gaming, Inc                                        19%                  Unknown
                                2980 S. Rainbow Blvd, Suite 200, Las Vegas, NV 89146

Notes
1) Card Systems Payment Solutions, LLC and Maverick International Services, Inc are 100% owned by Pay By Touch Processing, Inc, which is 100% owned
by Solidus Networks, Inc.
2) The Sperry & Hutchison Company, Inc is 100% owned by S & H Greenpoints, Inc, which is 100% owned by Solidus Networks, Inc.




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                                               SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B14 - INTERESTS IN PARTNERSHIPS OR JOINT VENTURES



                                                                                            CURRENT MARKET VALUE
                                                                                            OF DEBTOR'S INTEREST IN
                                   DESCRIPTION AND LOCATION OF PROPERTY        PERCENTAGE
       TYPE OF PROPERTY                                                                       PROPERTY, WITHOUT
                                            (NAME AND ADDRESS)                  OWNERSHIP
                                                                                            DEDUCTING ANY SECURED
                                                                                             CLAIM OR EXEMPTION
Joint Venture Agreement         WinWin Gaming, Inc                                19%       Unknown
                                2980 S. Rainbow Blvd, Suite 200
                                Las Vegas, NV 89146




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                  SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B16 - ACCOUNTS RECEIVABLE


                                                                                CURRENT MARKET VALUE OF
                                   DESCRIPTION AND LOCATION OF
                                                                              DEBTOR'S INTEREST IN PROPERTY,
          TYPE OF PROPERTY        PROPERTY (NAME AND ADDRESS OF                                              NOTES
                                                                                 WITHOUT DEDUCTING ANY
                                             VENDOR)
                                                                               SECURED CLAIM OR EXEMPTION

Intercompany Receivable          Pay by Touch Payment Solutions                                  12,603,905.21
                                 5451 East Williams Blvd.
                                 Tucson, AZ 85711
Intercompany Receivable          Pay by Touch Processing                                          9,499,073.93
                                 5451 East Williams Blvd.
                                 Tucson, AZ 85711
Intercompany Receivable          Loyalty Acquisition Sub, LLC                                     4,358,989.70
                                 1900 Frost Road, Suite 100
                                 Bristol, PA 19007
Intercompany Receivable          Pay by Touch Check Cashing                                       8,017,810.47
                                 580 Herndon Parkway, Suite 100
                                 Herndon, VA 20170
Note Receivable                  CashReady                                                         145,000.00
                                 600 Corporate Point, Suite 1170
                                 Culver City, CA 90230
Note Receivable                  WinWin Gaming                                                     895,102.00
                                 2980 S. Rainbow Blvd, Suite 200
                                 Las Vegas, NV 89146
Note Receivable                  Davies Beller                                                     780,589.25
                                 2212 The Strand
                                 Manhattan Beach, CA 90266
Note Receivable                  Davies Beller                                                     158,557.20
                                 2212 The Strand
                                 Manhattan Beach, CA 90266
Note Receivable                  John A Morris                                                     765,811.86
                                 303 N. Lincoln
                                 Hinsdale, IL 60521
Note Receivable                  John A Morris                                                      30,340.60
                                 303 N. Lincoln
                                 Hinsdale, IL 60521
Note Receivable                  John Rogers                                                       448,412.84
                                 2 Townsend Street, #4-201
                                 San Francisco, CA 94107
Note Receivable                  John Rogers                                                      5,235,121.74
                                 2 Townsend Street, #4-201
                                 San Francisco, CA 94107
Note Receivable                  John Costello                                                     793,231.15
                                 Zounds, Inc., 1910 S. Stapley Dr. Ste. 202
                                 Mesa, AZ 85204
Retainer Overpayment             Hennigan, Bennet & Dorman, LLP                                     26,000.00    [1]
                                 865 South Figueroa Street Suite 2900
                                 Los Angeles, CA 90017




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                                               SCHEDULE B-PERSONAL PROPERTY
                                              EXHIBIT B16 - ACCOUNTS RECEIVABLE


                                                                                         CURRENT MARKET VALUE OF
                                                 DESCRIPTION AND LOCATION OF
                                                                                       DEBTOR'S INTEREST IN PROPERTY,
          TYPE OF PROPERTY                      PROPERTY (NAME AND ADDRESS OF                                         NOTES
                                                                                          WITHOUT DEDUCTING ANY
                                                           VENDOR)
                                                                                        SECURED CLAIM OR EXEMPTION

Accounts Receivable                           Early Warning Service LLC                                       3,898.78
                                              Attn: Accounts Receivable
                                              8777 E. Hartford Drive, Suite 200
                                              Scottsdale, AZ 85255
Accounts Receivable                           Softrax Corporation                                             3,187.50
                                              PO Box 51209
                                              Los Angeles, CA 90051-5509
                                                                  TOTAL                $                  43,765,032.23

[1] Represents a retainer balance overpaid by the Debtor that has since been repaid.




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                                         SCHEDULE B-PERSONAL PROPERTY
                  EXHIBIT B21-ALL OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OF EVERY NATURE



                                                    DESCRIPTION AND            CURRENT MARKET VALUE OF DEBTOR'S
              TYPE OF PROPERTY                        LOCATION OF           INTEREST IN PROPERTY, WITHOUT DEDUCTING
                                                       PROPERTY                 ANY SECURED CLAIM OR EXEMPTION

Patent Ownership Dispute                         Patent                     Unknown
Indivos v. Ned Hoffman, et al (Case No. AAA 74
199 00671 03)




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Case No. 02:07-20027-TD


                                                                    SCHEDULE B-PERSONAL PROPERTY
                                                  EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                       CURRENT MARKET VALUE
                                                TYPE OF PROPERTY                                                                       OF DEBTOR'S INTEREST IN
                                                                                                        DESCRIPTION AND LOCATION OF
                                                                                                                                         PROPERTY, WITHOUT
                                                                                                                 PROPERTY
                                                                                                                                       DEDUCTING ANY SECURED
           NAME               COUNTRY OF FILING         APPLICATION TYPE REG. NUMBER REG. DATE                                          CLAIM OR EXEMPTION
A Method and System for      United States              Patent Application N/A       N/A       101 2nd St, Suite 1100                 Unknown
Distributing and Redeeming                                                                     San Francisco, CA 94105
Targeted Offers to Customers

A Method and System for      WO                         Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Distributing and Redeeming                                                                              San Francisco, CA 94105
A Method of Distributing     United States              Provisional Patent   N/A            N/A         101 2nd St, Suite 1100        Unknown
Information Via Mobile                                  Application                                     San Francisco, CA 94105
Devices and Enabling its Use
at a Point of Transaction

A System for Individual      United States              Provisional          N/A            N/A         101 2nd St, Suite 1100        Unknown
Control and Analysis of                                                                                 San Francisco, CA 94105
Personal Information and the
Monetization Thereof

An Apparatus and Methods        United States           Provisional Patent   N/A            N/A         101 2nd St, Suite 1100        Unknown
for Testing Biometric                                   Application                                     San Francisco, CA 94105
Equipment
Automated Method and            Canada                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            China                   Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Europe                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Mexico                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            United States           Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            WO                      Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Brazil                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Korea                   Patent Application   N/A            3/10/05     101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Costa Rica              Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Europe                  Patent               _006783        4/28/06     101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Hong Kong               Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Indonesia               Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Israel                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Japan                   Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            New Zealand             Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions
Automated Method and            Serbia                  Patent Application   N/A            N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                               San Francisco, CA 94105
Settlement of Transactions


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Case No. 02:07-20027-TD


                                                                    SCHEDULE B-PERSONAL PROPERTY
                                                  EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                   CURRENT MARKET VALUE
                                                TYPE OF PROPERTY                                                                   OF DEBTOR'S INTEREST IN
                                                                                                    DESCRIPTION AND LOCATION OF
                                                                                                                                     PROPERTY, WITHOUT
                                                                                                             PROPERTY
                                                                                                                                   DEDUCTING ANY SECURED
            NAME                COUNTRY OF FILING       APPLICATION TYPE REG. NUMBER REG. DATE                                      CLAIM OR EXEMPTION
Automated Method and          Singapore                 Patent           200407744-2 N/A       101 2nd St, Suite 1100             Unknown
Exchange for Facilitating                                                                      San Francisco, CA 94105
Settlement of Transactions
Automated Method and          South Africa              Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                           San Francisco, CA 94105
Settlement of Transactions
Automated Method and          United Arab Emirates      Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Exchange for Facilitating                                                                           San Francisco, CA 94105
Settlement of Transactions
Electrostatic Discharge       United States             Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Structure for a Biometric                                                                           San Francisco, CA 94105
Sensor
Electrostatic Discharge       WO                        Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Structure for a Biometric                                                                           San Francisco, CA 94105
Sensor
High-precision customer-      United States             Provisional Patent   N/A        N/A         101 2nd St, Suite 1100        Unknown
based targeting by individual                           Application                                 San Francisco, CA 94105
usage statistics
Method and System for         Canada                    Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Lottery Transactions and                                                                            San Francisco, CA 94105
Open Network
Method and System for         Australia                 Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Lottery Transactions and                                                                            San Francisco, CA 94105
Open Network
Method and System for         Brazil                    Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Lottery Transactions and                                                                            San Francisco, CA 94105
Open Network
Method and System for         China                     Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Lottery Transactions and                                                                            San Francisco, CA 94105
Open Network
Method and System for         United States             Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Lottery Transactions over an                                                                        San Francisco, CA 94105
Open Network
Method And System For         United States             Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing Biometric                                                                                 San Francisco, CA 94105
Authentication At A Point-Of-
Sale Via A Mobile Device

Method And System For         WO                        Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing Biometric                                                                                 San Francisco, CA 94105
Authentication At A Point-Of-
Sale Via A Mobile Device

Method and System for           United States           Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing Householding                                                                              San Francisco, CA 94105
Information to Multiple
Merchants

Method and System for           WO                      Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing Householding                                                                              San Francisco, CA 94105
Information to Multiple
Merchants

Method and System for           WO                      Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing On-Line                                                                                   San Francisco, CA 94105
Authentication Using
Biometric Data
Method and System for           United States           Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Providing On-Line                                                                                   San Francisco, CA 94105
Authentication Using
Biometric Data
Method and System of            United States           Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Authentication on an Open                                                                           San Francisco, CA 94105
Network
Method and System of            WO                      Patent Application   N/A        N/A         101 2nd St, Suite 1100        Unknown
Authentication on an Open                                                                           San Francisco, CA 94105
Network


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                 SCHEDULE B-PERSONAL PROPERTY
                                               EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                      CURRENT MARKET VALUE
                                             TYPE OF PROPERTY                                                                         OF DEBTOR'S INTEREST IN
                                                                                                       DESCRIPTION AND LOCATION OF
                                                                                                                                        PROPERTY, WITHOUT
                                                                                                                PROPERTY
                                                                                                                                      DEDUCTING ANY SECURED
            NAME              COUNTRY OF FILING      APPLICATION TYPE REG. NUMBER REG. DATE                                            CLAIM OR EXEMPTION
Method of Distributing       United States           Patent Application N/A       N/A       101 2nd St, Suite 1100                   Unknown
Information Via Mobile                                                                      San Francisco, CA 94105
Devices and Enabling Its Use
at a Point of Transaction

Process for Creating and     WO                      Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumer or Specific
Consumer Groups
Process for Creating and     Canada                  Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumer or Specific
Consumer Groups
Process for Creating and     Europe                  Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumer or Specific
Consumer Groups
Process for Creating and     Japan                   Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumer or Specific
Consumer Groups
Process for Creating and     Mexico                  Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumer or Specific
Consumer Groups
Process for Creating and     WO                      Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumers On-Line and In-
Stores
Process for Creating and     United States           Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Disseminating Marketing                                                                                San Francisco, CA 94105
Initiatives to Specific
Consumers or Specific
Consumer Groups
Secure Data Entry and Visual United States           Patent               6,209,104        3/27/01     101 2nd St, Suite 1100        Unknown
Authentication                                                                                         San Francisco, CA 94105
Secure Data Entry Using      United States           Provisional Patent   N/A              N/A         101 2nd St, Suite 1100        Unknown
Images and Voice                                     Application                                       San Francisco, CA 94105
Secure Key Entry Using a     United States           Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Graphical Interface                                                                                    San Francisco, CA 94105
Secure PIN Management        United States           Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
                                                                                                       San Francisco, CA 94105
Secure Pin Management           Europe               Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
                                                                                                       San Francisco, CA 94105
System and Architecture for United States            Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
merchant integration of a                                                                              San Francisco, CA 94105
biometric payment system
System and Method for       United States            Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Biometric Authorization for                                                                            San Francisco, CA 94105
Financial Transactions
System and Method for       WO                       Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Decoupling Identification                                                                              San Francisco, CA 94105
from Biometric Information
in Biometric Access Systems

System and Method for       United States            Patent Application   N/A              N/A         101 2nd St, Suite 1100        Unknown
Decoupling Identification                                                                              San Francisco, CA 94105
from Biometric Information
in Biometric Access Systems




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                     SCHEDULE B-PERSONAL PROPERTY
                                                   EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                              CURRENT MARKET VALUE
                                                 TYPE OF PROPERTY                                                                             OF DEBTOR'S INTEREST IN
                                                                                                               DESCRIPTION AND LOCATION OF
                                                                                                                                                PROPERTY, WITHOUT
                                                                                                                        PROPERTY
                                                                                                                                              DEDUCTING ANY SECURED
           NAME                COUNTRY OF FILING         APPLICATION TYPE REG. NUMBER REG. DATE                                                CLAIM OR EXEMPTION
System and Method for         United States              Patent Application N/A       N/A       101 2nd St, Suite 1100                       Unknown
Electronic Check                                                                                San Francisco, CA 94105
Verification over a Network
System and Method for         WO                         Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Electronic Check Verification                                                                                  San Francisco, CA 94105
Over a Network
System and Method for         United States              Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Online ATM Transaction                                                                                         San Francisco, CA 94105
with Digital Certificate
System and Method of Secure Brazil                       Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Method of Secure Canada                       Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Method of Secure China                        Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Method of Secure Mexico                       Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Method of Secure Europe                       Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Method of Secure United States                Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Information Transfer                                                                                           San Francisco, CA 94105

System and Methods for          United States            Patent Application      N/A              N/A          101 2nd St, Suite 1100        Unknown
Processing PIN-                                                                                                San Francisco, CA 94105
Authenticated Transactions

ATM DIRECT                      United States            Registered Trademark    3357554          12/18/2007   101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
DIAN JIU TONG                   China                    Trademark Application   N/A              N/A          101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
Hand Logo                       Singapore                Registered Trademark    T0614173E        7/14/2006    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
Hand Logo                       United States            Trademark Application   N/A              N/A          101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
Hand Logo                       Singapore                Registered Trademark    T0614164F        7/14/2006    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
Hand Logo                       Singapore                Trademark Application   N/A              N/A          101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    South Korea              Registered Trademark    115069           4/13/2005    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    Mexico                   Registered Trademark    846751           2/20/2004    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    Mexico                   Registered Trademark    846752           2/20/2004    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    United Kingdom           Registered Trademark    2407219          8/24/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    France                   Registered Trademark    63431678         5/30/2006    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    Brazil                   Registered Trademark    826134513        8/21/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    Brazil                   Registered Trademark    826134505        9/11/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    Canada                   Registered Trademark    TMA696922        9/20/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    China                    Trademark Application   N/A              N/A          101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    China                    Trademark Application   N/A              N/A          101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    European Council         Registered Trademark    4893491          2/14/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105
PAY BY TOUCH                    European Council         Registered Trademark    4893491          2/14/2007    101 2nd St, Suite 1100        Unknown
                                                                                                               San Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                     SCHEDULE B-PERSONAL PROPERTY
                                                   EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                        CURRENT MARKET VALUE
                                                 TYPE OF PROPERTY                                                                       OF DEBTOR'S INTEREST IN
                                                                                                         DESCRIPTION AND LOCATION OF
                                                                                                                                          PROPERTY, WITHOUT
                                                                                                                  PROPERTY
                                                                                                                                        DEDUCTING ANY SECURED
        NAME                     COUNTRY OF FILING       APPLICATION TYPE REG. NUMBER REG. DATE                                          CLAIM OR EXEMPTION
PAY BY TOUCH                    Germany                  Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAY BY TOUCH                    Singapore                Registered Trademark  T0610965C   6/6/2006   101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAY BY TOUCH                    Singapore                Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAY BY TOUCH                    Singapore                Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAY BY TOUCH                    Spain                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAY BY TOUCH (and               Canada                   Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
Design)                                                                                               San Francisco, CA 94105
PAY BY TOUCH and                Mexico                   Registered Trademark  651544      4/13/2004  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Japan                    Registered Trademark  4867604     5/27/2005  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Singapore                Registered Trademark  T0614183B   7/14/2006  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                European Council         Registered Trademark  182423-0001 5/24/2004  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                European Council         Registered Trademark  3449626     9/2/2005   101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Mexico                   Registered Trademark  838635      4/13/2004  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                United Kingdom           Registered Trademark  2364024     5/22/2004  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Mexico                   Registered Trademark  651542      4/13/2004  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Singapore                Registered Trademark  T0614177H   7/14/2006  101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and                Singapore                Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
Design                                                                                                San Francisco, CA 94105
PAY BY TOUCH and Hand           United States            Registered Trademark  3177796     11/28/2006 101 2nd St, Suite 1100           Unknown
Logo                                                                                                  San Francisco, CA 94105
PAY BY TOUCH and Hand           China                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
Logo                                                                                                  San Francisco, CA 94105
PAY BY TOUCH and Hand           China                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
Logo                                                                                                  San Francisco, CA 94105
PAY BY TOUCH and Hand           China                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
Logo                                                                                                  San Francisco, CA 94105
PAY BY TOUCH and Hand           United States            Registered Trademark  3233866     4/24/2007  101 2nd St, Suite 1100           Unknown
Logo                                                                                                  San Francisco, CA 94105
PAY-BY-TOUCH                    United States            Registered Trademark  3117460     7/18/2006  101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAYSECURE                       United States            Trademark Application NA          NA         101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PAYTOUCH                        United States            Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PEI BI TE                       China                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PIE BI DA                       China                    Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Hong Kong                Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Singapore                Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   United States            Trademark Application N/A         N/A        101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Benelux                  Registered Trademark  790683      11/21/2005 101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Macao                    Trademark Application N019973     4/7/2006   101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Macao                    Trademark Application N019974     4/7/2006   101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105
PLAY BY TOUCH                   Macao                    Trademark Application N019975     4/7/2006   101 2nd St, Suite 1100           Unknown
                                                                                                      San Francisco, CA 94105



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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                                     SCHEDULE B-PERSONAL PROPERTY
                                                   EXHIBIT B22-PATENTS, COPYRIGHTS, AND OTHER INTELLECTUAL PROPERTY

                                                                                                                                      CURRENT MARKET VALUE
                                                 TYPE OF PROPERTY                                                                     OF DEBTOR'S INTEREST IN
                                                                                                       DESCRIPTION AND LOCATION OF
                                                                                                                                        PROPERTY, WITHOUT
                                                                                                                PROPERTY
                                                                                                                                      DEDUCTING ANY SECURED
        NAME                     COUNTRY OF FILING       APPLICATION TYPE REG. NUMBER REG. DATE                                        CLAIM OR EXEMPTION
PLAY BY TOUCH                   Canada                   Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   China                    Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   China                    Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   China                    Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   European Council         Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Japan                    Trademark Application 5048578   5/18/2007  101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Philippines              Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Singapore                Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Singapore                Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Singapore                Registered Trademark  T0523498E 11/21/2005 101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   Singapore                Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
PLAY BY TOUCH                   United Kingdom           Registered Trademark  2406882   5/20/2005  101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
SUO LI DA                       China                    Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TOUCHPAY                        United States            Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TrueMe                          Canada                   Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TRUEME                          Mexico                   Registered Trademark  986834    3/6/2007   101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TRUEME                          Mexico                   Registered Trademark  990790    6/28/2007  101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TRUEME                          Singapore                Registered Trademark  T0704761I 3/5/2007   101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TRUEME                          Singapore                Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TRUEME                          United Kingdom           Registered Trademark  2448276   9/14/2007  101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TrueMe                          United States            Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
TrueMe                          European Union           Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
U logo                          United States            Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
YOU and U logo                  United States            Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
YOU logo                        United States            Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105
YOU TECHNOLOGY and U United States                       Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
logo                                                                                                San Francisco, CA 94105
ZI FU QING           China                               Trademark Application N/A       N/A        101 2nd St, Suite 1100           Unknown
                                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                 CURRENT MARKET VALUE
                                                                                                 OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                 DESCRIPTION AND LOCATION OF PROPERTY                          PROPERTY, WITHOUT         NOTES
                                                                                                 DEDUCTING ANY SECURED
                                                                                                  CLAIM OR EXEMPTION

Software License                Softchoice                                                       $                 420.91     [1]
                                Adobe Captivate License/Studio 8 Eng Com License


Software License                Microsoft Licensing, GP                                                           1,331.38    [1]
                                Sharepoint Portal Server Listed Languages License


Software License                Microsoft Licensing, GP                                                           3,283.04    [1]
                                Project Win 32 Listed Languages License
                                Visio Standard Win32 Listed Languages License

Software License                Microsoft Licensing, GP                                                          15,706.10    [1]
                                Exchange Server Ent Listed Languages License
                                SQL CAL Listed Languages License

Software License                Microsoft Licensing, GP                                                          14,506.91    [1]
                                Desktop Pro License/Project Pro Win32 License/ Exchange Server
                                License/ SQL License/ Window Server Standard License

Software License                Microsoft Licensing, GP                                                          28,366.16    [1]
                                Desktop Pro Listed Languages License
                                Window Server Standard Listed License
Software License                Microsoft Licensing, GP                                                           6,530.23    [1]
                                Visio Pro Win32 License/Window Sever Standard License/ Pro
                                Desktop License
Software License                Cisco SecureACS Authentication Software                          Unknown
                                Cisco Systems, Inc.
                                170 West Tasman Dr.
                                San Jose, CA 95134
                                Purchased License Agreement
Software License                Encryption Software, Inc.                                        Unknown
                                595 Bellemont Ct.
                                Duluth, GA 30097
                                License agreement for encryption software




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                CURRENT MARKET VALUE
                                                                                                OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                DESCRIPTION AND LOCATION OF PROPERTY                          PROPERTY, WITHOUT       NOTES
                                                                                                DEDUCTING ANY SECURED
                                                                                                 CLAIM OR EXEMPTION

Software License                McAfee, Inc.                                                      Unknown
                                General Counsel
                                5000 Headquarters Drive
                                Mail Stop 1S262
                                Plano, Texas 75024
                                OEM software License Agreement entered as of July 27, 2007
                                (“effective date:) between McAfee, Inc and ATMD. McAfee
                                would provide computer software (mainly anti-virus software)
                                license to ATMD for the royalty rate of 2% of net revenue. Term:
                                from effective date to 2 years later
Software License                Geopoint Server - Quova, Inc                                      Unknown
                                333 W. Evelyn Avenue
                                Mountain View, CA 94041
                                Unlimited queries for fixed monthly cost
Software License                HP Atalla Cryptography and Hardware Security Modules              Unknown
                                3000 Hanover St.
                                Palo Alto, CA 94304
                                Unlimited Use License specific to hardware device
Software License                HP/Compaq/Atalla                                                  Unknown
                                3000 Hanover Street
                                Palo Alto, CA 94304-1175
                                License agreement for software
Software License                Internet Security Systems                                         Unknown
                                IBM North America
                                590 Madison Avenue
                                New York, NY 10022
                                Software licenses transfer agreement dated as of December 7, 2005
                                between Pay by Touch/ATMD and Internet Security Systems.
                                ATMD originally purchased software licenses for one Proventia
                                M10 and one Provenita G100F in August 2004, and the licenses
                                expired on Sept 22, 2005 and Aug 6, 2005. ATMD transferred the
                                licenses to Pay by Touch.
Software License                Melissa Data                                                      Unknown
                                22382 Avenida Empresa
                                Rancho Santa Margarita, CA 92688-2112
                                License agreement for address reference data software
Software License                Microsoft Visual Studio Development Suite                         Unknown
                                Microsoft Corporation
                                One Microsoft Way
                                Redmond, WA 98052-6399
                                Limited use license per install

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Case No. 02:07-20027-TD


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                                                                                                CURRENT MARKET VALUE
                                                                                                OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                DESCRIPTION AND LOCATION OF PROPERTY                          PROPERTY, WITHOUT       NOTES
                                                                                                DEDUCTING ANY SECURED
                                                                                                 CLAIM OR EXEMPTION

Software License                Microsoft Windows Family (2000 Server, 2003 Server, XP, Vista) Unknown
                                Microsoft Corporation
                                One Microsoft Way
                                Redmond, WA 98052-6399
                                Limited use license per install

Software License                Mosaic Software                                                 Unknown
                                800 Fairway Drive, Suite 198
                                Deerfield Beach, FL 33441
                                License agreement for software dated May 16, 2002
Software License                Mosaic Software, Inc.                                           Unknown
                                3500 Lenox Rd, Suite 200
                                Atlanta, GA 30326
                                Addendum -3 to license agreement: dated as of Sept 18, 2006
                                between Mosaic Software, Inc. an S1 Company and Solidus. Date
                                of original license agreement: May 16, 2002.
Software License                nCipher Cryptography and Hardware Security Modules              Unknown
                                500 Unicorn Park Drive
                                Woburn, MA 01801-3371
                                Unlimited Use License specific to hardware device
Software License                nCipher Inc.                                                    Unknown
                                500 Unicorn Park Drive
                                Woburn, MA 01801-3371
                                nCipher Corporation, Ltd.
                                Jupiter House, Station Road
                                Cambridge CB12JD, England
                                License agreement for encryption solution software
Software License                OpenSSL SE                                                      Unknown
                                c/o Richard Levitte
                                Spannvägen 38
                                S-168 35 Bromma, Sweden
                                Unlimited use license under GPL, with acknowledgments
Software License                Postillion Server Software - S1 Corporation                     Unknown
                                705 Westech Drive
                                Norcross, GA 30092
                                Limited use license per EFT direct connect
Software License                Quova, Inc.                                                     Unknown
                                333 W. Evelyn Avenue
                                Mountain View, CA 94041
                                License agreement dated January 23, 2003.


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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                   CURRENT MARKET VALUE
                                                                                                   OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                 DESCRIPTION AND LOCATION OF PROPERTY                            PROPERTY, WITHOUT       NOTES
                                                                                                   DEDUCTING ANY SECURED
                                                                                                    CLAIM OR EXEMPTION

Software License                RSA SecurID Authentication                                         Unknown
                                174 Middlesex Turnpike
                                Bedford, MA 01730
                                Purchased License Agreement
Software License                Shamus Software, Inc.                                              Unknown
                                4 Foster Place North
                                Ballybough, Dublin 3 Ireland
                                Pending License Agreement
Software License                What's Up                                                          Unknown
                                PO Box 414562
                                Boston, MA 02241
                                Unlimited Use
Licensing Agreement             Computer Associates, Inc.                                          Unknown
                                One CA Plaza
                                Islandia, NY 11749
                                attn: Jordan Schnug
                                Project No. 28265/Site 239478, Installation location: 101 Second
                                Street, 11th Fl. San Francisco, CA 94105. Effective Date:
                                10/20/06, end date: 10/16/09.
Licensing Agreement             Computer Associates, Inc.                                          Unknown
                                One CA Plaza
                                Islandia, NY 11749
                                attn: Jordan Schnug
                                Customer no. 239478, Master Services Agrmt dated 10/19/06.

Licensing Agreement             Hewlett-Packard                                                    Unknown
                                20555 SH 249
                                Houston, TX 77070
                                attn: Bob Sudkamp
                                Customer Agreement executed 4/25/06 for HP Hardware, HP
                                Software License, HP Support, term for at least 3 years
Licensing Agreement             Microsoft Licensing, GP                                            Unknown
                                Dept. 551, Volume Licensing
                                6100 Nell Road
                                Reno, NV 89511
                                attn: Beverly Ellis
                                Microsoft Volume Licensing Agreement to license and order
                                Microsoft products and services. Microsoft Business Agreement
                                No. 00454348 effective 6/21/05, no termination date set.




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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                               CURRENT MARKET VALUE
                                                                                               OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                DESCRIPTION AND LOCATION OF PROPERTY                         PROPERTY, WITHOUT       NOTES
                                                                                               DEDUCTING ANY SECURED
                                                                                                CLAIM OR EXEMPTION

Licensing Agreement             Microsoft Licensing, GP                                         Unknown
                                Dept. 551, Volume Licensing
                                6100 Nell Road, Suite 210
                                Reno, NV 89511
                                Direct Enterprise Enrollment No. 9134548 for PBT at One Market
                                Plaza Suite 700 - 300 Desktops, Channel Partner is Softchoice
                                Corp. Start date 6/21/05
Licensing Agreement             Neurotechnologija, Ltd.                                         Unknown
                                Ateities 10
                                Vilnius 2057, Lithuania
                                Software Licensing Agreement dated 9/23/03 where
                                Neurotechnologija has agreed to license Software to Solidus.
Licensing Agreement             NorhTec                                                         Unknown
                                99/24 Software Park Bldg, 11th floor, Unit A3
                                Chaengwattana Road, Pakkred, Nonthaburi 11120
                                Teaming Agreement dated 3/8/04 between NorhTec and PBT to
                                develop a management and technical approach to the PBT Project.
                                Termination 1 year after offer is submitted.

Product and Technology          Infonox On the Web, Inc., Infonox                                Unknown
                                643 River Oaks Parkway
                                San Jose, CA 95134
                                Attn: Safwan Shah
                                Hosting services agreement, effective date 9/22/06. Infonox will
                                give Customer enterprise application services delivered via a
                                customary engineered network. Term is for 1 year and shall renew
                                automatically each year or option for 3 year renewal.

Product and Technology          TARGUSinfo                                                     Unknown
                                8010 Towers Crescent Drive, 5th Floor
                                Vienna, VA 22182
                                attn: Ross Shanken, VP of Sales
                                Commercial Information Services Agreement effective August 11,
                                2006 where PBT will license services from Targus.

Software License                Ascert LLC                                                    Unknown
                                759 Bridge Way
                                Sausalito, CA 94965
                                Software Licensing Agreement



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In re: Solidus Networks, Inc.
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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                 CURRENT MARKET VALUE
                                                                                                 OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                 DESCRIPTION AND LOCATION OF PROPERTY                          PROPERTY, WITHOUT       NOTES
                                                                                                 DEDUCTING ANY SECURED
                                                                                                  CLAIM OR EXEMPTION

Software License                Citrix                                                             Unknown
                                851 West Cypress Creek Pl,
                                Fort Lauderdale, FL 33309
                                Flex Program Agreement
Software License                Cognos Corporation                                                 Unknown
                                15 Wayside Road
                                Burlington, MA 01803
                                Order Agreement effective 11/30/04 for software license for: Term
                                for 1 year, may be terminated by either party with 15 days written
                                notice. Executed by Solidus.
Software License                E*Trade Financial Corporate Services                               Unknown
                                10951 White Rock Road
                                Rancho Cordova, CA 95670
                                Equity Edge and Employee Brokerage Services for Emerging
                                Markets, Purchase Order: Equity Edge versions 6.0, executed
                                9/30/05. Expiration date of software license, 1 year from initial
                                public offering.
Software License                E*Trade                                                            Unknown
                                Lisa R. Cooper Manager, Sales Admin
                                10951 White Rock Rd
                                Rancho Cordova, CA 95670
                                Equity Edge Version 6.0
Software License                Gilbarco                                                           Unknown
                                7300 W Friendly Ave
                                Greensboro, NC 27420
                                Software Development Agreement
Software License                Green Hills Farm Stores, Inc.                                      Unknown
                                5933 S Salina St
                                Syracuse, NY 13205
                                License Agreement (outlicense of SMARTSHOP trademark)
Software License                HP                                                                 Unknown
                                David Cabello
                                1501 Page Mill Rd
                                Palo Alto 94304-1100
                                HP Customer Agreement
Software License                HP                                                                 Unknown
                                Mark Jamison
                                3000 Hanover St, Palo Alto CA 94304
                                HP Customer Agreement




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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                           CURRENT MARKET VALUE
                                                                                           OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                DESCRIPTION AND LOCATION OF PROPERTY                     PROPERTY, WITHOUT       NOTES
                                                                                           DEDUCTING ANY SECURED
                                                                                            CLAIM OR EXEMPTION

Software License                Hypercom                                                   Unknown
                                2851 W Kathleen Rd.
                                Phoenix, AZ 85053
                                PBT & Hypercom Alliance Agreement
Software License                IBM                                                        Unknown
                                PO Box 676673
                                Dallas Tx 75267-6673
                                ISV Teaming Agreement
Software License                IBM                                                        Unknown
                                PO Box 676673
                                Dallas Tx 75267-6673
                                Software Evaluation License Agreement for IBM DSV demo
                                software
Software License                Ingrian Networks                                           Unknown
                                Bill Lewis - Ingrian Networks, Inc.
                                350 Convention Way
                                Redwood City CA 94063
                                License and Service Agreement
Software License                Jaremax, Inc.                                              Unknown
                                10547 94th Ave N.
                                Seminole, FL 33772
                                Software Development Agreement
Software License                Microsoft                                                  Unknown
                                Brian Hanna Embedded Service Engagement Manger,
                                bhanna@microsoft.com, (425) 818-6245
                                Microsoft OEM Customer License Agreement for Embedded
                                Systems
Software License                MTXEPS                                                     Unknown
                                85 Argonaut, Suite 150
                                Aliso Viejo, CA 92656
                                PBT & MTXEPS Teaming Agreement
Software License                NCR                                                        Unknown
                                Miacheal R. Webster, VP
                                1700 S Patterson Blvd
                                Dayton, OH 45479-0001
                                Statement of Work for Services for ePod Enrollment Kiosk
                                Application




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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                             CURRENT MARKET VALUE
                                                                                             OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                DESCRIPTION AND LOCATION OF PROPERTY                       PROPERTY, WITHOUT       NOTES
                                                                                             DEDUCTING ANY SECURED
                                                                                              CLAIM OR EXEMPTION

Software License                Neurotechnologija                                            Unknown
                                Ateities 10,
                                Vilnius 2057 Lithuania,
                                Distributor: Fulcrum Strategic Partners, Inc.
                                5055 Business Center Dr. Suite 108-138,
                                Fairfield, CA 94534
                                Software Licensing Agreement
Software License                Oracle                                                       Unknown
                                Travis Binen
                                Oracle
                                Technology Sales Manager
                                415-505-6043
                                Oracle License and Service Agreement for CSI 3886058
Software License                Oracle                                                       Unknown
                                Travis Binen
                                Oracle
                                Technology Sales Manager
                                415-505-6043
                                Oracle License and Service Agreement for CSI 3372152 and
                                3371192
Software License                Oracle                                                       Unknown
                                Travis Binen
                                Oracle
                                Technology Sales Manager
                                415-505-6043
                                Oracle License and Service Agreement for CSI 2938045 and
                                5796987
Software License                Primary Payment Systems, Inc.                                Unknown
                                14646 N. Kierland Blvd., Ste. 120
                                Scottsdale, AZ 95254
                                IDLOGIX ASP Program Agreement
Software License                Primary Payment Systems, Inc.                                Unknown
                                14646 N. Kierland Blvd., Ste. 120
                                Scottsdale, AZ 95254
                                Identity check Pre-Screen Agreement Web/Developer Services

Software License                S2 System, Inc.                                              Unknown
                                4965 Preston Park Blvd, Suite 100
                                Plano , TX 75093
                                Master Software License Agreement


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                   CURRENT MARKET VALUE
                                                                                                   OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                 DESCRIPTION AND LOCATION OF PROPERTY                            PROPERTY, WITHOUT       NOTES
                                                                                                   DEDUCTING ANY SECURED
                                                                                                    CLAIM OR EXEMPTION

Software License                Sagem                                                              Unknown
                                James Conniff, Director
                                Sagem Morpho Inc
                                113 Columbus Street
                                Suite 400
                                Alexandria, VA 22314
                                Sagem software.
Software License                Softrax                                                            Unknown
                                45 Shawmut Road
                                Canton , MA 02021
                                Software Licensing Agreement (Enterprise Edition)
Software License                Softrax Corp.                                                      Unknown
                                45 Shawmut Road
                                Canton, MA 02021
                                attn: Jake Fennessy
                                Contract No. 20583, effective date 7/31/06. Term is one year and
                                automatically renews yearly after initial period.
Software License                StoreNext (Retalix/Fujitsu joint venture)                          Unknown
                                6100 Tennyson Pwky
                                Plano, TX 75024
                                Memorandum of Understanding
Software License                Tidal                                                              Unknown
                                2100 Geng Road, Suite 210
                                Palo Alto, CA 94303-3343
                                Master Software License Agreement
Software License                Verifone                                                           Unknown
                                2099 Gateway Place, Suite 600
                                San Jose, CA 95110
                                Compatible Product Development and Marketing Agreement

Software License                Vignette                                                           Unknown
                                1601 S. Mo Pac Expt
                                Austin, TX 78746
                                Master Corporate Agreement
Software License                Tidal Software                                                     Unknown
                                2100 Geng Road, Suite 210
                                Palo Alto, CA 94303-3343
                                Master License Agmt No. 130188, executed 3/31/06. Tidal grants
                                Solidus a non-exclusive, non-transferable license to use the
                                Software on the number of authorized computers.


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                                        SCHEDULE B-PERSONAL PROPERTY
                       EXHIBIT B23-LICENCES, FRANCHISES, AND OTHER GENERAL INTANGIBLES



                                                                                                       CURRENT MARKET VALUE
                                                                                                       OF DEBTOR'S INTEREST IN
    TYPE OF PROPERTY                      DESCRIPTION AND LOCATION OF PROPERTY                           PROPERTY, WITHOUT         NOTES
                                                                                                       DEDUCTING ANY SECURED
                                                                                                        CLAIM OR EXEMPTION

Licensing Agreement                  Affiliate License Agreement between Indivos and Solidus,            Unknown
                                     effective date 11/20/06. Indivos grants technology and intellectual
                                     property rights for trademarks, patents in biometric payment
                                     systems and customer loyalty systems that Solidus is licensing. No
                                     term date set.
Licensing Agreement                  Affiliate License Agreement between Pay By Touch Checking           Unknown
                                     Resources and Solidus, effective date 11/16/06. PBTCR grants
                                     technology and intellectual property rights for trademarks, patents
                                     in biometric payment systems and customer loyalty systems that
                                     Solidus will license. No term date set.

Licensing Agreement                  Affiliate License Agreement between Seven Acquisition Sub, LLC Unknown
                                     and Solidus, effective date 11/16/06. Seven Acquisition grants
                                     technology and intellectual property rights for trademarks, patents
                                     in biometric payment systems and customer loyalty systems that
                                     Solidus will license. No term date set.

Licensing Agreement                  Affiliate License Agreement between Pay By Touch Check              Unknown
                                     Cashing and Solidus, effective date 11/16/06. PBTCC grants
                                     technology and intellectual property rights for trademarks, patents
                                     in biometric payment systems and customer loyalty systems that
                                     Solidus will license. No term date set.
                                     TOTAL                                                               $             70,144.72

[1] Amounts listed are book value.




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               PowerEdge 2600 Dell Servers        101 2nd Street, Suite 1100,   $            1,814.74    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               PowerEdge 2600 Dell Servers        101 2nd Street, Suite 1100,                1,299.64    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System Multilayer Switch       101 2nd Street, Suite 1100,                  544.81    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System Multilayer Switch       101 2nd Street, Suite 1100,                  544.81    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System Ethernet Routers        101 2nd Street, Suite 1100,                  604.37    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System WAM Card                101 2nd Street, Suite 1100,                  183.10    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System Warranty                101 2nd Street, Suite 1100,                   82.44    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System Warranty                101 2nd Street, Suite 1100,                   61.81    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               VPN System and Firewall Bundles    101 2nd Street, Suite 1100,                1,517.19    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               PowerEdge 2600 Dell Server         101 2nd Street, Suite 1100,                1,106.15    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               PowerEdge 2600 Dell Server         101 2nd Street, Suite 1100,                1,284.59    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Net Backup Data Enterprise Serve   101 2nd Street, Suite 1100,                3,585.94    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco 3600 2 port                  101 2nd Street, Suite 1100,                3,786.24    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO Catalyst Ethernet Switch     101 2nd Street, Suite 1100,                4,112.20    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Air Conditioner Server             101 2nd Street, Suite 1100,                1,468.54    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Power Edge 2161 Console Swi   101 2nd Street, Suite 1100,                1,358.10    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               APC Battery Universal Power Sup    101 2nd Street, Suite 1100,                1,095.13    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 1750 Servers        101 2nd Street, Suite 1100,                5,251.23    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               APC Battery Back Up Power Supply   101 2nd Street, Suite 1100,                4,261.55    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 1650 Server Chass   101 2nd Street, Suite 1100,                3,040.21    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst Switch              101 2nd Street, Suite 1100,                1,441.03    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell 1750 Servers                  101 2nd Street, Suite 1100,                1,874.49    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO PIX Security Audit Firewal   101 2nd Street, Suite 1100,                5,288.88    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge Servers 1650        101 2nd Street, Suite 1100,                1,989.80    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst 6000 Flex WAN Mod   101 2nd Street, Suite 1100,                3,662.56    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Ports & Switches for TASQ          101 2nd Street, Suite 1100,                2,498.47    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO 3750 48 Port Switch          101 2nd Street, Suite 1100,                1,895.10    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 2850 Server         101 2nd Street, Suite 1100,                1,436.92    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Power Edge 2850 Server        101 2nd Street, Suite 1100,                8,357.35    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge Severs 1650         101 2nd Street, Suite 1100,                5,542.42    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Routers 10/100 Base T        101 2nd Street, Suite 1100,                1,626.39    [1]
                                                                                    San Francisco, CA 94105




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                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               CISCO Ethernet Switches            101 2nd Street, Suite 1100,                 3,962.55    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO Switches WAN Interface Car   101 2nd Street, Suite 1100,                  388.25     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO Switches WAN Interface Car   101 2nd Street, Suite 1100,                  388.25     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Xeon Nocona Base Server 3.06       101 2nd Street, Suite 1100,                 1,913.96    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO Systems Catalyst WS-X6348    101 2nd Street, Suite 1100,                 8,722.15    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               CISCO Systems Catalyst WS-X6348    101 2nd Street, Suite 1100,                 3,450.17    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Power Edge 2850 Servers       101 2nd Street, Suite 1100,                 8,923.88    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE 1650/1750 Server Rapid R   101 2nd Street, Suite 1100,                 6,181.99    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Base Server 3.06 Xeon         101 2nd Street, Suite 1100,                 1,962.88    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Module & Routers for Tolt    101 2nd Street, Suite 1100,                 6,595.07    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Seagate SCSI Server Hard Dr   101 2nd Street, Suite 1100,                 1,842.24    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell 2850 Server                   101 2nd Street, Suite 1100,                 2,112.66    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               San Software/Hardware for EMC St   101 2nd Street, Suite 1100,                76,223.80    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Switches & Interfaces for TASQ/K   101 2nd Street, Suite 1100,                 1,869.97    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Base T Uplinks Ethernet Switch     101 2nd Street, Suite 1100,                 4,843.90    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Remote Console Switch         101 2nd Street, Suite 1100,                 1,454.73    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE11750 Server                101 2nd Street, Suite 1100,                 2,189.98    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE8450 Server                 101 2nd Street, Suite 1100,                 1,070.96    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Varari Blade Server Chasis         101 2nd Street, Suite 1100,                15,227.82    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE2850 Server                 101 2nd Street, Suite 1100,                 4,673.56    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco System Catalyst              101 2nd Street, Suite 1100,                 3,837.25    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router 7204VXR               101 2nd Street, Suite 1100,                 4,667.56    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst                     101 2nd Street, Suite 1100,                 1,319.06    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE Server                     101 2nd Street, Suite 1100,                 1,851.52    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE Server                     101 2nd Street, Suite 1100,                 1,925.75    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Port Voice Blades            101 2nd Street, Suite 1100,                 1,262.51    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell HD & HotSwap Trays            101 2nd Street, Suite 1100,                 1,523.87    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server & Equipment            101 2nd Street, Suite 1100,                 1,913.92    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 1,331.58    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Verari Systems Blade Server Equi   101 2nd Street, Suite 1100,                 1,987.98    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               MiniZap TEST Simulator             101 2nd Street, Suite 1100,                 2,899.69    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                12,860.33    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Routers                      101 2nd Street, Suite 1100,                 1,914.32    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               UPS System                         101 2nd Street, Suite 1100,                15,479.00    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router Bundle                101 2nd Street, Suite 1100,                 2,583.38    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Routers & Equipment          101 2nd Street, Suite 1100,                60,541.75    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Ingrian i321 DataSecure Platform   101 2nd Street, Suite 1100,                81,791.83    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Ingrian i321 DataSecure            101 2nd Street, Suite 1100,                22,062.99    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Ingrian i321 DataSecure            101 2nd Street, Suite 1100,                22,062.99    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Ingrian i321 DataSecure            101 2nd Street, Suite 1100,                22,062.99    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Citrix Netscaler Application       101 2nd Street, Suite 1100,                91,634.52    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router                       101 2nd Street, Suite 1100,                 2,389.33    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 1,806.51    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router                       101 2nd Street, Suite 1100,                 2,582.25    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router                       101 2nd Street, Suite 1100,                 5,855.79    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Server                             101 2nd Street, Suite 1100,               215,221.08    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Intrusin Prevention Appl           101 2nd Street, Suite 1100,                27,242.32    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               EMC 2U Media Server                101 2nd Street, Suite 1100,               119,352.27    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                51,325.70    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                 1,961.41    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Rackmount PDUs                101 2nd Street, Suite 1100,                 3,957.66    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 1,530.70    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Hard Drives                   101 2nd Street, Suite 1100,                 2,015.76    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 6,976.78    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 6,422.39    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Hard Drives                   101 2nd Street, Suite 1100,                 2,064.11    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Switch                       101 2nd Street, Suite 1100,                 2,969.27    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router                       101 2nd Street, Suite 1100,                 1,841.71    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Storage Arrays                101 2nd Street, Suite 1100,                 6,790.45    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Switch                       101 2nd Street, Suite 1100,                 2,875.27    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                45,712.04    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                 9,360.71    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               Cisco Switch                       101 2nd Street, Suite 1100,                 2,554.53    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Citrix NetScaler Applications      101 2nd Street, Suite 1100,                53,432.93    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Citrix NetScaler Applications      101 2nd Street, Suite 1100,                17,908.28    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Routers                      101 2nd Street, Suite 1100,                25,500.89    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router Bundles               101 2nd Street, Suite 1100,                 8,037.01    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router Bundles               101 2nd Street, Suite 1100,                24,438.43    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router Bundles               101 2nd Street, Suite 1100,                 6,071.96    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Router Bundles               101 2nd Street, Suite 1100,                 2,886.87    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst                     101 2nd Street, Suite 1100,                 4,046.62    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                 9,692.65    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Servers                       101 2nd Street, Suite 1100,                 7,874.34    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 2,652.13    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Server                        101 2nd Street, Suite 1100,                 2,666.00    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Servers & Switches           101 2nd Street, Suite 1100,                31,722.17    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               IBM POS Hardware                   101 2nd Street, Suite 1100,                 3,411.90    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Servers                            101 2nd Street, Suite 1100,                 8,364.64    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Servers                            101 2nd Street, Suite 1100,                30,956.04    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Servers                            101 2nd Street, Suite 1100,                62,054.72    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Servers                            101 2nd Street, Suite 1100,                 6,183.65    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               DSF 400 A3 Barracuda Spam Firewa   101 2nd Street, Suite 1100,                 6,638.69    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               BSF 400A-H3 Barracuda Spam Firew   101 2nd Street, Suite 1100,                 2,258.04    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 2850 Server         101 2nd Street, Suite 1100,                 2,500.88    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               APC RM PDU Switched 0U 208V-20A-   101 2nd Street, Suite 1100,                  812.76     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 2850 Server         101 2nd Street, Suite 1100,                 3,818.27    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 6850 Server         101 2nd Street, Suite 1100,                23,768.89    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 2850 Server         101 2nd Street, Suite 1100,                 4,855.54    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Power Vault 220S 3U 14-Bay    101 2nd Street, Suite 1100,                 5,304.93    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               IP Angel 400 Intrusion Detection   101 2nd Street, Suite 1100,                22,685.45    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco PIX-515-FO-BUN/PA-2T3 Port   101 2nd Street, Suite 1100,                 2,269.72    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PowerEdge 2850 Servers        101 2nd Street, Suite 1100,                 7,446.48    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco 2821-SRST-K9 Router          101 2nd Street, Suite 1100,                 2,584.86    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                    CURRENT MARKET
                                                                                                                   VALUE OF DEBTOR'S
                                                                                         LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR           DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                          PROPERTY                WITHOUT DEDUCTING
                                                                                                                 ANY SECURED CLAIM OR
                                                                                                                      EXEMPTION


Computer Equipment                               Inspection Microscope - Sensor    101 2nd Street, Suite 1100,                 2,313.05    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco ASA                         101 2nd Street, Suite 1100,                 3,862.70    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               ASA 5510 Sec Plus License         101 2nd Street, Suite 1100,                  224.70     [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst                    101 2nd Street, Suite 1100,                 6,276.02    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco ASA                         101 2nd Street, Suite 1100,                 6,036.81    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst                    101 2nd Street, Suite 1100,                25,260.76    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               CAT6500 AC Power Supply           101 2nd Street, Suite 1100,                 9,357.57    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Smartnet WLAN Controller          101 2nd Street, Suite 1100,                  556.63     [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               3COM 1000 Base-T SFP              101 2nd Street, Suite 1100,                  392.68     [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               ASA 5520 Appliance                101 2nd Street, Suite 1100,                 3,665.55    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell Laptops                      101 2nd Street, Suite 1100,                 5,588.83    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Router                      101 2nd Street, Suite 1100,                25,666.82    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Routers                     101 2nd Street, Suite 1100,                11,628.93    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco WLAN                        101 2nd Street, Suite 1100,                 4,756.72    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco LWAPP                       101 2nd Street, Suite 1100,                 2,128.61    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell Desktops                     101 2nd Street, Suite 1100,                 2,761.96    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell Server                       101 2nd Street, Suite 1100,                 3,964.16    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               IBM Laptops                       101 2nd Street, Suite 1100,                 6,704.29    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell Laptops                      101 2nd Street, Suite 1100,                 5,257.59    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               IBM Laptops                       101 2nd Street, Suite 1100,                 2,324.80    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               IBM Laptop                        101 2nd Street, Suite 1100,                 2,719.33    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Sup Engines                 101 2nd Street, Suite 1100,                36,984.46    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Flex Wan                    101 2nd Street, Suite 1100,                14,796.14    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Catalyst                    101 2nd Street, Suite 1100,                 6,416.73    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco T3 Adapter                  101 2nd Street, Suite 1100,                 3,699.08    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Cisco Blades                      101 2nd Street, Suite 1100,                21,220.42    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               NCR SuperValu System              101 2nd Street, Suite 1100,                 5,244.36    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Rackable 1U C1000 Chassis         101 2nd Street, Suite 1100,                67,077.20    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell Laptops                      101 2nd Street, Suite 1100,                10,515.19    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Dell PE1950 Server                101 2nd Street, Suite 1100,                 4,494.49    [1]
                                                                                   San Francisco, CA 94105
Computer Equipment                               Tooling                           101 2nd Street, Suite 1100,                 6,106.94    [1]
                                                                                   San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               Tooling Material                   101 2nd Street, Suite 1100,                 3,804.66    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               20 Flat Panel Monitors             101 2nd Street, Suite 1100,                 4,025.38    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               5 Dell 620 Laptops                 101 2nd Street, Suite 1100,                 8,345.92    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               10 D420 Laptops                    101 2nd Street, Suite 1100,                13,607.45    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               10 D620 Laptops                    101 2nd Street, Suite 1100,                10,935.30    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               3 Optiplex Minitower               101 2nd Street, Suite 1100,                 4,985.30    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               2 Optiplex Sm Form Factor          101 2nd Street, Suite 1100,                 2,635.73    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               HP Laser Jet Printer               101 2nd Street, Suite 1100,                 4,290.32    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               1 Apples 23 Inc LCD                101 2nd Street, Suite 1100,                 5,697.06    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               TrueMe Wellington Bank Server      101 2nd Street, Suite 1100,                 3,138.11    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               10 D420 Laptops                    101 2nd Street, Suite 1100,                14,151.14    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               560 Mission St Firewall            101 2nd Street, Suite 1100,                 2,345.09    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               RSA Tokens-Support Employees       101 2nd Street, Suite 1100,                 7,137.54    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               10 Dell D620 Laptops               101 2nd Street, Suite 1100,                11,315.21    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               10 Dell D420 Laptops               101 2nd Street, Suite 1100,                14,954.98    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Poweredge Server              101 2nd Street, Suite 1100,                 3,790.90    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               1 Dell Poweredge Server            101 2nd Street, Suite 1100,                 3,790.90    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco 3560 Catalysts               101 2nd Street, Suite 1100,                 6,422.74    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Transceivers                 101 2nd Street, Suite 1100,                 1,879.80    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Leased Servers - Dell PowerEdge    101 2nd Street, Suite 1100,                13,024.19    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell D620 Dell Laptops             101 2nd Street, Suite 1100,                 3,416.50    [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Port Ethernet Switch and C   101 2nd Street, Suite 1100,                  811.01     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Cisco Switches w/ Ports & Switch   8081 Royal Ridge Parkway,                   8,012.10    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Servers                       8081 Royal Ridge Parkway,                   1,939.68    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   7,319.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   7,319.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   7,319.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   6,083.30    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   4,459.90    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   7,319.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                   3,639.75    [1]
                                                                                    Suite 130 Irving, TX 75063




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                    CURRENT MARKET
                                                                                                                   VALUE OF DEBTOR'S
                                                                                          LOCATION OF            INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                           NOTES
                                                                                           PROPERTY               WITHOUT DEDUCTING
                                                                                                                 ANY SECURED CLAIM OR
                                                                                                                      EXEMPTION


Computer Equipment                               Dell Enclosure for Servers         8081 Royal Ridge Parkway,                 12,269.86    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Routers & Equipment          8081 Royal Ridge Parkway,                 24,495.77    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Router Bundle                8081 Royal Ridge Parkway,                  8,121.04    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Proventia IPS                      8081 Royal Ridge Parkway,                  5,422.05    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Delll Server Enclosures            8081 Royal Ridge Parkway,                  3,782.59    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Server Chassis Blade          8081 Royal Ridge Parkway,                  2,860.99    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Server 1GB RAMs               8081 Royal Ridge Parkway,                 18,718.82    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Server 1GB RAMs               8081 Royal Ridge Parkway,                  6,585.76    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               HP Form Factors                    8081 Royal Ridge Parkway,                 31,005.42    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Router Bundles               8081 Royal Ridge Parkway,                 38,190.53    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Server                       8081 Royal Ridge Parkway,                  7,531.80    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosures for Server         8081 Royal Ridge Parkway,                  3,011.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosures for Server         8081 Royal Ridge Parkway,                 10,075.67    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Enclosures for Server         8081 Royal Ridge Parkway,                  3,011.18    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Switch                       8081 Royal Ridge Parkway,                 39,542.77    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Servers                       8081 Royal Ridge Parkway,                 12,283.53    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Servers                       8081 Royal Ridge Parkway,                 12,896.22    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Servers                       8081 Royal Ridge Parkway,                 12,283.53    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Servers                       8081 Royal Ridge Parkway,                 12,283.53    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               APC UPS & Generator Set            8081 Royal Ridge Parkway,                 77,188.85    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Installation of Furniture Circui   8081 Royal Ridge Parkway,                  3,658.58    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell PowerEdge 1955 Server Blade   8081 Royal Ridge Parkway,                 13,122.74    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Mosaic STAR Sink Node              8081 Royal Ridge Parkway,                 22,784.88    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Yosemite Backup Lic                8081 Royal Ridge Parkway,                 13,707.86    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Blade Chassis for PE1855      8081 Royal Ridge Parkway,                  3,759.47    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Blade Chassis for PE1855      8081 Royal Ridge Parkway,                  3,755.37    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell PE1955 Server                 8081 Royal Ridge Parkway,                  8,574.63    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco CSS Compression              8081 Royal Ridge Parkway,                 10,014.93    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               McData FlexPort                    8081 Royal Ridge Parkway,                  4,966.24    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               netHSM 2000 & Platinum Maint       8081 Royal Ridge Parkway,                 60,861.23    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               netHSM 2000 & Platinum Maint       8081 Royal Ridge Parkway,                 56,351.09    [1]
                                                                                    Suite 130 Irving, TX 75063




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               Elliptic Curve Activation          8081 Royal Ridge Parkway,                   2,805.93    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               SEE User Feature Activation        8081 Royal Ridge Parkway,                   4,057.08    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Elliptic Curve Activation          8081 Royal Ridge Parkway,                   2,592.05    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               PowerEdge Server Daughter Card     8081 Royal Ridge Parkway,                   2,575.97    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               ATM Direct Dell Blade Servers      8081 Royal Ridge Parkway,                  56,946.28    [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell PE Server                     101 2nd Street, Suite 1100,                       -     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell PE Server                     101 2nd Street, Suite 1100,                       -     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Verari Systems Blade Server Equi   101 2nd Street, Suite 1100,                       -     [1]
                                                                                    San Francisco, CA 94105
Computer Equipment                               Dell Power Edge Servers 1750 & 1   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell Power Edge Servers 2450 & 2   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Dell-50 Server Model #2600         8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Attalla Host Cryptographic Modul   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Power Edge Model 460-7858 Doors    8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Sun 350 Server                     8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Chassis Model #PIX-515E-UR   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco CSS Fast Eathernet Module    8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Strong Encryption Modules #Css5-   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Catalist #4500 and #4000 Switche   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Catalist 5E Patch Panels #   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco VPN Concentrator             8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Ethernet Service Switch w/Upgrad   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Type Catalist Switch Model   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Port Asynchronous Server M   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco 4 Slot Oval Router Model #   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Router #C7206VXR             8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco 1 Port ATM T3 Module # PA-   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Router Model #2600           8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Switch Model #3524           8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               Cisco Router Model #3640           8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               CAC Wide Bank 28 DS3-IU Multiple   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Computer Equipment                               N Cipher Cryptographic Modules     8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
            TYPE OF PROPERTY       VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Computer Equipment                               42U Full Cabinet w/Cables, AV Eq   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Leasehold Improvements                           Conference Room Audio Visual Equ   101 2nd Street, Suite 1100,                 4,714.96    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Security System SF                 101 2nd Street, Suite 1100,                21,640.84    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Conference Room Audio Visual Equ   101 2nd Street, Suite 1100,                13,775.20    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd St Contruction Managemen   101 2nd Street, Suite 1100,                11,286.21    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF Contruction - 101 Second St     101 2nd Street, Suite 1100,                45,561.26    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF Contruction - 101 Second St     101 2nd Street, Suite 1100,                48,611.88    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF Contruction - 101 Second St     101 2nd Street, Suite 1100,                36,595.13    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd St Contruction Managemen   101 2nd Street, Suite 1100,                 3,762.06    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                14,911.87    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                 4,837.85    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                 1,559.48    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                13,871.26    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                 5,212.58    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Richard Pollack Architecture & D   101 2nd Street, Suite 1100,                  805.26     [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF Contruction - 101 Second St     101 2nd Street, Suite 1100,               349,515.86    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF 11th FL Elevator Security       101 2nd Street, Suite 1100,                 3,777.80    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           SF 11th FL Sensors                 101 2nd Street, Suite 1100,                 2,781.25    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Biometric Readers 11th & 15th Fl   101 2nd Street, Suite 1100,                 4,393.17    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Bosch Cameras (6)                  101 2nd Street, Suite 1100,                12,296.31    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           Reception & Executive Area Const   101 2nd Street, Suite 1100,                19,545.34    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd Street Construction        101 2nd Street, Suite 1100,                67,766.25    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd Street Construction        101 2nd Street, Suite 1100,                14,521.36    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd Street Construction        101 2nd Street, Suite 1100,                17,533.55    [1]
                                                                                    San Francisco, CA 94105
Leasehold Improvements                           101 2nd Street Construction        101 2nd Street, Suite 1100,                11,300.14    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        PBT Kiosk                          101 2nd Street, Suite 1100,                12,053.26    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Plasma TV for Tradeshow Booth      101 2nd Street, Suite 1100,                 3,113.98    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Tradeshow Booth Modifications      101 2nd Street, Suite 1100,                24,171.67    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Tackable Panels                    101 2nd Street, Suite 1100,                 2,035.70    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Worksurfaces and Support           101 2nd Street, Suite 1100,                 1,588.13    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Tackable Panels                    101 2nd Street, Suite 1100,                 4,562.67    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
            TYPE OF PROPERTY       VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Furniture                                        Steel Cabinets / Desk Single Ped   101 2nd Street, Suite 1100,                 3,881.68    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Office Chairs and Drawers          101 2nd Street, Suite 1100,                 2,226.63    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Mid Back Leather Genuine Exec. C   101 2nd Street, Suite 1100,                 1,749.50    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        PRECOR CLUB RECUMB. BIKE           101 2nd Street, Suite 1100,                 2,229.54    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        PRECOR CLUB UPRIGHT BIKE           101 2nd Street, Suite 1100,                 2,089.98    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        PRECOR CLUB ELLIPTICAL LOWER       101 2nd Street, Suite 1100,                 4,183.44    [1]
                                                 BOD                                San Francisco, CA 94105
Furniture                                        PRECOR CLUB ELLIPTICAL TOTAL       101 2nd Street, Suite 1100,                 3,974.10    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        PARAAMOUNT FUNICTIONAL             101 2nd Street, Suite 1100,                 2,533.30    [1]
                                                 TRAINER                            San Francisco, CA 94105
Furniture                                        SF Office 101 Second St Furnitur   101 2nd Street, Suite 1100,                59,848.69    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        SF Office 101 Second St Furnitur   101 2nd Street, Suite 1100,               123,859.66    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Woodtech Credenza 20"x72"x96"      101 2nd Street, Suite 1100,                 3,809.71    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Conference Chairs                  101 2nd Street, Suite 1100,                 5,017.86    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Conference Chairs                  101 2nd Street, Suite 1100,                 4,672.04    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Server Cabinets                    101 2nd Street, Suite 1100,                 2,498.99    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Conference Room Chairs             101 2nd Street, Suite 1100,                 2,845.62    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Office Furniture-Drawer/Bookcase   101 2nd Street, Suite 1100,                 8,255.56    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Workstations & Furniture           101 2nd Street, Suite 1100,                33,898.75    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Mid-Back Swivel Base Task Chairs   101 2nd Street, Suite 1100,                 7,072.61    [1]
                                                                                    San Francisco, CA 94105
Furniture                                        Conference Room Table & (10) Cha   8081 Royal Ridge Parkway,                    164.32     [1]
                                                                                    Suite 130 Irving, TX 75063
Furniture                                        Cubicles w/ movable panels         8081 Royal Ridge Parkway,                    229.99     [1]
                                                                                    Suite 130 Irving, TX 75063
Furniture                                        ATMDirect Safe                     8081 Royal Ridge Parkway,                   5,627.71    [1]
                                                                                    Suite 130 Irving, TX 75063
Furniture                                        Swivel Base Chairs & Conf Room C   8081 Royal Ridge Parkway,                  13,555.70    [1]
                                                                                    Suite 130 Irving, TX 75063
Furniture                                        Chairs and Table                   8081 Royal Ridge Parkway,                   2,963.07    [1]
                                                                                    Suite 130 Irving, TX 75063
Furniture                                        Gym Equipment                      101 2nd Street, Suite 1100,                       -     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitiude X200 Notebooks      101 2nd Street, Suite 1100,                  520.68     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D600 Laptops         101 2nd Street, Suite 1100,                   21.23     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Laptops         101 2nd Street, Suite 1100,                   34.19     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 CISCO IP Phones & Servers          101 2nd Street, Suite 1100,                 4,164.03    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco VOIP Phone Sytem Installat   101 2nd Street, Suite 1100,                 2,772.21    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude eX300 Series Modul   101 2nd Street, Suite 1100,                  358.67     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitiude X300 Notebook       101 2nd Street, Suite 1100,                  214.67     [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Office Equipment                                 Dell Latitiude X300 Notebook       101 2nd Street, Suite 1100,                  279.54     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Notebooks       101 2nd Street, Suite 1100,                 1,362.78    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Latitude D610 Notebooks            101 2nd Street, Suite 1100,                 2,744.16    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Thinkpad Laptops               101 2nd Street, Suite 1100,                 4,118.63    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 3,087.21    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 3,087.20    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phones                    101 2nd Street, Suite 1100,                 1,275.24    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 3,597.60    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell OptiPlex SX280 Desktop Comp   101 2nd Street, Suite 1100,                  593.65     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 3,580.60    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610                 101 2nd Street, Suite 1100,                11,194.83    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Lenovo Thinkpads                   101 2nd Street, Suite 1100,                 2,860.91    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 HP Color Laserjet 2600n            101 2nd Street, Suite 1100,                  604.15     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 HP Laserjet 2420dn                 101 2nd Street, Suite 1100,                 1,470.07    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 HP Color Laserjet 4650dn           101 2nd Street, Suite 1100,                 1,289.55    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                12,407.84    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell UltraSharp 1905FP Flat Pane   101 2nd Street, Suite 1100,                 2,857.51    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell UltraSharp 1905FP Flat Pane   101 2nd Street, Suite 1100,                  857.51     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 CISCO IP Phone 7960                101 2nd Street, Suite 1100,                 1,204.84    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM TP T42P Laptop                 101 2nd Street, Suite 1100,                  984.85     [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Thinkpad Laptop                101 2nd Street, Suite 1100,                 5,255.35    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 6,891.74    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                 6,846.81    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D810 Laptops         101 2nd Street, Suite 1100,                 4,025.88    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D610 Laptops         101 2nd Street, Suite 1100,                13,336.32    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Optiplex GX620 Desktops       101 2nd Street, Suite 1100,                 9,022.25    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phones                    101 2nd Street, Suite 1100,                 1,320.94    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phone                     101 2nd Street, Suite 1100,                 3,135.11    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phone                     101 2nd Street, Suite 1100,                 2,184.49    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptops                        101 2nd Street, Suite 1100,                 5,691.44    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 9,568.49    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                    CURRENT MARKET
                                                                                                                   VALUE OF DEBTOR'S
                                                                                         LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                           NOTES
                                                                                          PROPERTY                WITHOUT DEDUCTING
                                                                                                                 ANY SECURED CLAIM OR
                                                                                                                      EXEMPTION


Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 4,888.98    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 IBM Laptops                       101 2nd Street, Suite 1100,                 5,742.50    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptop                       101 2nd Street, Suite 1100,                19,136.97    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Desktops                     101 2nd Street, Suite 1100,                 5,561.37    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                10,249.60    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Desktops                     101 2nd Street, Suite 1100,                 1,794.66    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 IBM Laptops                       101 2nd Street, Suite 1100,                 4,980.09    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 IBM Laptops                       101 2nd Street, Suite 1100,                  423.28     [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                10,408.41    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Cisco IP Phone                    101 2nd Street, Suite 1100,                 3,609.71    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Infocus Projectors                101 2nd Street, Suite 1100,                 1,541.41    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 InFocus Projectors                101 2nd Street, Suite 1100,                 1,631.83    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Desktops                     101 2nd Street, Suite 1100,                 2,285.23    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Desktops                     101 2nd Street, Suite 1100,                 4,063.69    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 4,000.69    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell LCD Monitors                 101 2nd Street, Suite 1100,                 2,615.02    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 6,111.24    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 5,508.35    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell MiniTower Workstations       101 2nd Street, Suite 1100,                 4,120.44    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 5,790.41    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 4,306.41    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Desktops                     101 2nd Street, Suite 1100,                 2,419.63    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Port Replicators             101 2nd Street, Suite 1100,                 1,605.65    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Monitors                     101 2nd Street, Suite 1100,                 3,637.82    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                15,134.96    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Port Replicators             101 2nd Street, Suite 1100,                 3,504.13    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 IBM Laptops                       101 2nd Street, Suite 1100,                 1,424.60    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 9,366.39    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 4,929.99    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Apple Macbooks                    101 2nd Street, Suite 1100,                 2,299.44    [1]
                                                                                   San Francisco, CA 94105
Office Equipment                                 Dell Laptops                      101 2nd Street, Suite 1100,                 5,508.35    [1]
                                                                                   San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                            NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 4,267.08    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                11,568.38    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                11,612.98    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell MiniTowers                    101 2nd Street, Suite 1100,                 2,195.21    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Port Replicators              101 2nd Street, Suite 1100,                 1,945.61    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 6,549.86    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 8,981.93    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                11,568.26    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 6,111.24    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell LCD Flat Panels               101 2nd Street, Suite 1100,                 3,496.30    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 8,982.00    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptops                        101 2nd Street, Suite 1100,                 5,977.31    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Port Replicators & LCD        101 2nd Street, Suite 1100,                 3,728.18    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phones                    101 2nd Street, Suite 1100,                 1,818.89    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 1,886.06    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptop                         101 2nd Street, Suite 1100,                 1,873.26    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 NEC Projector                      101 2nd Street, Suite 1100,                 3,910.88    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 1,886.07    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 1,886.07    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptop                         101 2nd Street, Suite 1100,                 1,876.73    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptop                         101 2nd Street, Suite 1100,                 1,876.73    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Apple MacBook                      101 2nd Street, Suite 1100,                 1,878.06    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Toshiba Laptop                     101 2nd Street, Suite 1100,                 2,275.33    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptop                         101 2nd Street, Suite 1100,                 1,876.73    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                 1,886.07    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Laptops                        101 2nd Street, Suite 1100,                 2,466.18    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Laptops                       101 2nd Street, Suite 1100,                11,941.27    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Lattitude D620 Laptop         101 2nd Street, Suite 1100,                14,045.14    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Lenovo T60P Laptop             101 2nd Street, Suite 1100,                 2,760.35    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Lenovo R60E Laptop             101 2nd Street, Suite 1100,                 4,848.87    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptop          101 2nd Street, Suite 1100,                 2,779.15    [1]
                                                                                    San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                     CURRENT MARKET
                                                                                                                    VALUE OF DEBTOR'S
                                                                                          LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                           PROPERTY                WITHOUT DEDUCTING
                                                                                                                  ANY SECURED CLAIM OR
                                                                                                                       EXEMPTION


Office Equipment                                 Dell 1907FP 19" LCD UltraSharp     101 2nd Street, Suite 1100,                 5,409.10    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptop          101 2nd Street, Suite 1100,                14,045.14    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptop          101 2nd Street, Suite 1100,                14,043.42    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptop          101 2nd Street, Suite 1100,                10,150.95    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Optiplex 745 Minitower        101 2nd Street, Suite 1100,                10,070.83    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptop          101 2nd Street, Suite 1100,                27,168.91    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Optiplex 745 Minitower        101 2nd Street, Suite 1100,                10,106.03    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Advanced Port Replicator      101 2nd Street, Suite 1100,                 2,910.13    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Apple Macbook Pro 17 in 2.3        101 2nd Street, Suite 1100,                 2,131.61    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Delll Latitude D420 Laptop         101 2nd Street, Suite 1100,                12,504.96    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Lenovo X60 Laptop              101 2nd Street, Suite 1100,                 2,973.76    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D420 Laptops         101 2nd Street, Suite 1100,                11,941.27    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D420 Laptops         101 2nd Street, Suite 1100,                13,064.62    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco VOIP Phones                  101 2nd Street, Suite 1100,                 2,903.35    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptops         101 2nd Street, Suite 1100,                 7,705.12    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Optiplex 745 Desktops         101 2nd Street, Suite 1100,                 2,338.30    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 IBM Lenovo X60 Laptops             101 2nd Street, Suite 1100,                 2,697.94    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Advanced Port Replicator      101 2nd Street, Suite 1100,                 2,014.88    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell 19" LCD Digital Monitors      101 2nd Street, Suite 1100,                 3,716.26    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Latitude D620 Laptops         101 2nd Street, Suite 1100,                 2,933.51    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Cisco IP Phones                    101 2nd Street, Suite 1100,                 2,817.93    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 30 Cisco IP Phones                 101 2nd Street, Suite 1100,                 4,741.73    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 4 Cisco Conference Phones          101 2nd Street, Suite 1100,                 2,541.18    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 560 Mission Access Card Reader     101 2nd Street, Suite 1100,                13,421.23    [1]
                                                                                    San Francisco, CA 94105
Office Equipment                                 Dell Inspiron 8200 Laptops         8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 Dell Desktop Computer w/Printer    8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 Printers (3HP, 1 Epson, 1 Cannon   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 Dell Projector S/N: 92R1X21        8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 HP Fax Machine #1230               8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 Kitchen Equipment (Fridge, Micro   8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063
Office Equipment                                 Miscellaneous Office Units         8081 Royal Ridge Parkway,                         -     [1]
                                                                                    Suite 130 Irving, TX 75063




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                               SCHEDULE B-PERSONAL PROPERTY
                                 EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                      CURRENT MARKET
                                                                                                                     VALUE OF DEBTOR'S
                                                                                           LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY        VENDOR            DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                            PROPERTY                WITHOUT DEDUCTING
                                                                                                                   ANY SECURED CLAIM OR
                                                                                                                        EXEMPTION


Office Equipment                                 HP Color Laserjet Printer Model     8081 Royal Ridge Parkway,                        -     [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Sharp Fax Machine Model #UX-1000    8081 Royal Ridge Parkway,                        -     [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Inspiron Computer              8081 Royal Ridge Parkway,                  9,982.53    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Inspiron Computer              8081 Royal Ridge Parkway,                  2,013.14    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Intel Pentium Processor             8081 Royal Ridge Parkway,                    940.06    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Wide Flat Panel                8081 Royal Ridge Parkway,                    386.17    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 ATMDirect Lock & Alarm              8081 Royal Ridge Parkway,                  3,944.79    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Flat Panels                    8081 Royal Ridge Parkway,                  2,134.85    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Flat Panels                    8081 Royal Ridge Parkway,                  2,094.17    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Cisco IP Phone                      8081 Royal Ridge Parkway,                  3,573.38    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Laptops                        8081 Royal Ridge Parkway,                  4,221.94    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Laptops                        8081 Royal Ridge Parkway,                  3,383.77    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Inspiron 9400 Laptop           8081 Royal Ridge Parkway,                  4,561.49    [1]
                                                                                     Suite 130 Irving, TX 75063
Office Equipment                                 Dell Laptops X200 Notebooks         101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X200 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitiude X200 Notebooks       101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X200 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X200 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X200 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Inspiron 5150                  101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell XGA D600 Notebooks (2)         101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude D600 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Inspiron 1100 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks 1.2    101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude D600 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105
Office Equipment                                 Dell Latitude X300 Notebooks        101 2nd Street, Suite 1100,                      -     [1]
                                                                                     San Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                   SCHEDULE B-PERSONAL PROPERTY
                                     EXHIBIT B28 - OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES



                                                                                                                         CURRENT MARKET
                                                                                                                        VALUE OF DEBTOR'S
                                                                                              LOCATION OF             INTEREST IN PROPERTY,
           TYPE OF PROPERTY            VENDOR           DESCRIPTION OF PROPERTY                                                             NOTES
                                                                                               PROPERTY                WITHOUT DEDUCTING
                                                                                                                      ANY SECURED CLAIM OR
                                                                                                                           EXEMPTION


Office Equipment                                     Dell Latitude X300 Notebooks       101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
Office Equipment                                     Dell Latitude X300 Notebooks       101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
Office Equipment                                     Dell Inspiron 1150 Notebooks       101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
Office Equipment                                     Dell OptiPlex GX 280 Small Deskt   101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
Office Equipment                                     Dell Latitude D600 Notebooks       101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
Office Equipment                                     Dell OptiPlex GX 280 Ultra Small   101 2nd Street, Suite 1100,                       -      [1]
                                                                                        San Francisco, CA 94105
                                                                                        TOTAL                         $          4,358,858.94

[1] Amounts listed are book value.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY            LOCATION OF PROPERTY                PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Software                                            Great Plains Multi Dimensional A     101 2nd Street, Suite 1100, San $                      87.41  [1]
                                                                                         Franicsco, CA 94105
Software                                            GP National Account Module Tax       101 2nd Street, Suite 1100, San                        14.54  [1]
                                                                                         Franicsco, CA 94105
Software                                            Great Plains National Account Mo     101 2nd Street, Suite 1100, San                       131.05  [1]
                                                                                         Franicsco, CA 94105
Software                                            GP National Accounts Module Tax      101 2nd Street, Suite 1100, San                        21.71  [1]
                                                                                         Franicsco, CA 94105
Software                                            Great Plains - Inentory Module       101 2nd Street, Suite 1100, San                       605.68  [1]
                                                                                         Franicsco, CA 94105
Software                                            Great Plains Business Portal         101 2nd Street, Suite 1100, San                       454.25  [1]
                                                                                         Franicsco, CA 94105
Software                                            Great Plains MBS Plan A              101 2nd Street, Suite 1100, San                       190.77  [1]
                                                                                         Franicsco, CA 94105
Software                                            FRx Forecaster Web Based Budgeti     101 2nd Street, Suite 1100, San                     2,058.88  [1]
                                                                                         Franicsco, CA 94105
Software                                            GP eConnect Core & Distribution      101 2nd Street, Suite 1100, San                     3,431.45  [1]
                                                                                         Franicsco, CA 94105
Software                                            MBS Plan A Annual Enhancement        101 2nd Street, Suite 1100, San                     1,188.71  [1]
                                                                                         Franicsco, CA 94105
Software                                            GP Professional/Standard Seat Li     101 2nd Street, Suite 1100, San                     3,294.19  [1]
                                                                                         Franicsco, CA 94105
Software                                            Microsoft GP Licenses                101 2nd Street, Suite 1100, San                    13,017.70  [1]
                                                                                         Franicsco, CA 94105
Software                                            FRx Foecaster 50 user pack           101 2nd Street, Suite 1100, San                     4,804.13  [1]
                                                                                         Franicsco, CA 94105
Software                                            MBS FRx Webport Base Package (10     101 2nd Street, Suite 1100, San                       960.80  [1]
                                                                                         Franicsco, CA 94105
Software                                            MBS FRx Webport Additional 10 Us     101 2nd Street, Suite 1100, San                       274.51  [1]
                                                                                         Franicsco, CA 94105
Software                                            GP Revenue/Expense Deferral Modu     101 2nd Street, Suite 1100, San                     1,098.06  [1]
                                                                                         Franicsco, CA 94105
Software                                            Great Plains Sales/Work Order        101 2nd Street, Suite 1100, San                       549.03  [1]
                                                                                         Franicsco, CA 94105
Software                                            Rockton Software - Auditor Base      101 2nd Street, Suite 1100, San                       411.77  [1]
                                                                                         Franicsco, CA 94105
Software                                            Rockton Software -Auditor Seat L     101 2nd Street, Suite 1100, San                       329.46  [1]
                                                                                         Franicsco, CA 94105
Software                                            EmailXtender - Mail Archive Sof      101 2nd Street, Suite 1100, San                     3,658.85  [1]
                                                                                         Franicsco, CA 94105
Software                                            Track It Enterprise Software Lic     101 2nd Street, Suite 1100, San                       684.77  [1]
                                                                                         Franicsco, CA 94105
Software                                            Multi-ICE v2.2 Windows Hardware      101 2nd Street, Suite 1100, San                       504.07  [1]
                                                                                         Franicsco, CA 94105
Software                                            MATLAB Software                      101 2nd Street, Suite 1100, San                     3,156.94  [1]
                                                                                         Franicsco, CA 94105
Software                                            MATLAB Software                      101 2nd Street, Suite 1100, San                     2,694.39  [1]
                                                                                         Franicsco, CA 94105
Software                                            Equity Edge Software                 101 2nd Street, Suite 1100, San                     1,485.30  [1]
                                                                                         Franicsco, CA 94105
Software                                            Mercury Software License             101 2nd Street, Suite 1100, San                     2,697.42  [1]
                                                                                         Franicsco, CA 94105
Software                                            Perforce Software License            101 2nd Street, Suite 1100, San                     5,971.58  [1]
                                                                                         Franicsco, CA 94105
Software                                            Perforce Software License            101 2nd Street, Suite 1100, San                     1,624.36  [1]
                                                                                         Franicsco, CA 94105
Software                                            Perforce SW Licenses                 101 2nd Street, Suite 1100, San                     2,315.08  [1]
                                                                                         Franicsco, CA 94105
Software                                            TripWire Licenses                    101 2nd Street, Suite 1100, San                     1,787.85  [1]
                                                                                         Franicsco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Software                                            Great Plains Enterprise Server L      101 2nd Street, Suite 1100, San                      6,932.55  [1]
                                                                                          Franicsco, CA 94105
Software                                            Vignette Licenses                     101 2nd Street, Suite 1100, San                      69,309.21   [1]
                                                                                          Franicsco, CA 94105
Software                                            Cognos Software License               101 2nd Street, Suite 1100, San                       3,530.87   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft GP License                  101 2nd Street, Suite 1100, San                      11,855.57   [1]
                                                                                          Franicsco, CA 94105
Software                                            MicroSoft FRx License                 101 2nd Street, Suite 1100, San                       4,758.12   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft MBS Plan A                  101 2nd Street, Suite 1100, San                       2,990.45   [1]
                                                                                          Franicsco, CA 94105
Software                                            Rockton Software                      101 2nd Street, Suite 1100, San                        713.76    [1]
                                                                                          Franicsco, CA 94105
Software                                            Adobe Creative Suite Lic              101 2nd Street, Suite 1100, San                       1,707.48   [1]
                                                                                          Franicsco, CA 94105
Software                                            Cisco Unity UM                        101 2nd Street, Suite 1100, San                       1,989.96   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft Smartlist Builder           101 2nd Street, Suite 1100, San                        557.26    [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft Act Level Security          101 2nd Street, Suite 1100, San                       2,006.05   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft GP Enhancement              101 2nd Street, Suite 1100, San                        461.39    [1]
                                                                                          Franicsco, CA 94105
Software                                            PGP Desktop Pro License               101 2nd Street, Suite 1100, San                       1,825.87   [1]
                                                                                          Franicsco, CA 94105
Software                                            MagicDraw UML 10.5                    101 2nd Street, Suite 1100, San                       2,090.05   [1]
                                                                                          Franicsco, CA 94105
Software                                            OnDeCC Intranet Software              101 2nd Street, Suite 1100, San                      12,419.30   [1]
                                                                                          Franicsco, CA 94105
Software                                            OnDeCC Enhancement                    101 2nd Street, Suite 1100, San                       1,997.44   [1]
                                                                                          Franicsco, CA 94105
Software                                            OnDeCC Enhancment                     101 2nd Street, Suite 1100, San                       1,679.59   [1]
                                                                                          Franicsco, CA 94105
Software                                            HP OpenView Select Fed Ent            101 2nd Street, Suite 1100, San                      55,724.78   [1]
                                                                                          Franicsco, CA 94105
Software                                            HP OpenView Select Fed Pre            101 2nd Street, Suite 1100, San                      22,288.24   [1]
                                                                                          Franicsco, CA 94105
Software                                            Track-IT Enterprise                   101 2nd Street, Suite 1100, San                       1,666.93   [1]
                                                                                          Franicsco, CA 94105
Software                                            Track-IT Enterprise Edition           101 2nd Street, Suite 1100, San                       1,491.00   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft GP Collection               101 2nd Street, Suite 1100, San                       3,551.78   [1]
                                                                                          Franicsco, CA 94105
Software                                            VersaTest License                     101 2nd Street, Suite 1100, San                      11,029.59   [1]
                                                                                          Franicsco, CA 94105
Software                                            Oracle Database Enterprise            101 2nd Street, Suite 1100, San                     284,543.35   [1]
                                                                                          Franicsco, CA 94105
Software                                            Patchlink Update                      101 2nd Street, Suite 1100, San                       1,894.28   [1]
                                                                                          Franicsco, CA 94105
Software                                            ADP HR Implementation-HRB             101 2nd Street, Suite 1100, San                       1,504.07   [1]
                                                                                          Franicsco, CA 94105
Software                                            ADP HR Implementation-HRB             101 2nd Street, Suite 1100, San                      17,276.53   [1]
                                                                                          Franicsco, CA 94105
Software                                            Red Hat Ent. Linux                    101 2nd Street, Suite 1100, San                      43,542.78   [1]
                                                                                          Franicsco, CA 94105
Software                                            Microsoft GP RMA                      101 2nd Street, Suite 1100, San                       4,615.29   [1]
                                                                                          Franicsco, CA 94105
Software                                            Solidworks Office Prof                101 2nd Street, Suite 1100, San                       3,352.62   [1]
                                                                                          Franicsco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Software                                            Perforce Software License             101 2nd Street, Suite 1100, San                      1,714.36  [1]
                                                                                          Franicsco, CA 94105
Software                                            Perforce Software License             101 2nd Street, Suite 1100, San                       2,105.08   [1]
                                                                                          Franicsco, CA 94105
Software                                            Perforce Software License             101 2nd Street, Suite 1100, San                       2,105.08   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Tivoli Application                101 2nd Street, Suite 1100, San                      64,492.82   [1]
                                                                                          Franicsco, CA 94105
Software                                            SQL Licenses                          8081 Royal Ridge Parkway,                             4,302.03   [1]
                                                                                          Suite 130 Irving, TX 75063
Software                                            Sharepoint Oracle Linux Tier A        101 2nd Street, Suite 1100, San                      43,777.73   [1]
                                                                                          Franicsco, CA 94105
Software                                            Shareplex Oracle Linux Tier B         101 2nd Street, Suite 1100, San                      29,489.22   [1]
                                                                                          Franicsco, CA 94105
Software                                            Shareplex Oracle Non Prod Linux       101 2nd Street, Suite 1100, San                       5,472.22   [1]
                                                                                          Franicsco, CA 94105
Software                                            Performasure Management Server L      101 2nd Street, Suite 1100, San                       1,812.67   [1]
                                                                                          Franicsco, CA 94105
Software                                            Performasure Websphere Agent Per      101 2nd Street, Suite 1100, San                       7,975.98   [1]
                                                                                          Franicsco, CA 94105
Software                                            Jprobe Suite Node Locked for Aix      101 2nd Street, Suite 1100, San                       7,250.80   [1]
                                                                                          Franicsco, CA 94105
Software                                            Toad for Oracle License               101 2nd Street, Suite 1100, San                      11,670.26   [1]
                                                                                          Franicsco, CA 94105
Software                                            Toad for Oracle Xpert W DBA Modu      101 2nd Street, Suite 1100, San                       4,270.76   [1]
                                                                                          Franicsco, CA 94105
Software                                            ARM RealView Multi-ICE 2.2            101 2nd Street, Suite 1100, San                       2,834.50   [1]
                                                                                          Franicsco, CA 94105
Software                                            Cisco Unity Messaging System Use      101 2nd Street, Suite 1100, San                       5,587.11   [1]
                                                                                          Franicsco, CA 94105
Software                                            ManageEngine OpManager Prof Edit      101 2nd Street, Suite 1100, San                       2,051.23   [1]
                                                                                          Franicsco, CA 94105
Software                                            Spotlight for Oracle-1 Server-Li      101 2nd Street, Suite 1100, San                       2,958.67   [1]
                                                                                          Franicsco, CA 94105
Software                                            Perforce Software License             101 2nd Street, Suite 1100, San                       2,420.08   [1]
                                                                                          Franicsco, CA 94105
Software                                            Ap Test Manager Software              101 2nd Street, Suite 1100, San                       3,173.10   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Profile Stage Enterprise Edi      101 2nd Street, Suite 1100, San                      33,400.53   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Profile Stage Enterprise Edi      101 2nd Street, Suite 1100, San                      16,700.32   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Information Services Directo      101 2nd Street, Suite 1100, San                      25,050.37   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Webspere Datastage                101 2nd Street, Suite 1100, San                      83,501.38   [1]
                                                                                          Franicsco, CA 94105
Software                                            IBM Websphere Quality Stage           101 2nd Street, Suite 1100, San                      66,801.06   [1]
                                                                                          Franicsco, CA 94105
Software                                            Caliber Analyst                       101 2nd Street, Suite 1100, San                      11,490.57   [1]
                                                                                          Franicsco, CA 94105
Software                                            Cisco Secure ACS                      101 2nd Street, Suite 1100, San                      14,747.51   [1]
                                                                                          Franicsco, CA 94105
Software                                            Jive Forum Silver                     101 2nd Street, Suite 1100, San                       7,199.48   [1]
                                                                                          Franicsco, CA 94105
Software                                            Network Monitoring Software           101 2nd Street, Suite 1100, San                      19,380.00   [1]
                                                                                          Franicsco, CA 94105
Software                                            Shareplex for Oracle Linux Tier       101 2nd Street, Suite 1100, San                       8,544.72   [1]
                                                                                          Franicsco, CA 94105
Software                                            Softrax Enterprise Edition Licen      101 2nd Street, Suite 1100, San                      20,317.92   [1]
                                                                                          Franicsco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                           CURRENT MARKET VALUE OF
                                                                                                                             DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                            DEDUCTING ANY SECURED
                                                                                                                             CLAIM OR EXEMPTION
Software                                            Ambiron Server license 51-100        101 2nd Street, Suite 1100, San                     38,150.43  [1]
                                                                                         Franicsco, CA 94105
Software                                            Ambiron- Appl License Non Prod       101 2nd Street, Suite 1100, San                      28,612.76   [1]
                                                                                         Franicsco, CA 94105
Software                                            MAY07 Windows Patchlink Renew        101 2nd Street, Suite 1100, San                       4,363.11   [1]
                                                                                         Franicsco, CA 94105
Software                                            WebSphere Application Server Mon     101 2nd Street, Suite 1100, San                      13,374.60   [1]
                                                                                         Franicsco, CA 94105
Software                                            WebSphere Foundation Processor L     101 2nd Street, Suite 1100, San                      13,939.37   [1]
                                                                                         Franicsco, CA 94105
Software                                            101 2nd Sec Sys Sftwre Upgrade       101 2nd Street, Suite 1100, San                       2,389.28   [1]
                                                                                         Franicsco, CA 94105
Software                                            Versa Test Licenses 6/7-6/6/08       101 2nd Street, Suite 1100, San                      18,362.91   [1]
                                                                                         Franicsco, CA 94105
Software                                            SW Configuration Set Up/Infrastr     101 2nd Street, Suite 1100, San                      17,901.21   [1]
                                                                                         Franicsco, CA 94105
Software                                            SW Configuration Set Up/Infrastr     101 2nd Street, Suite 1100, San                       7,944.31   [1]
                                                                                         Franicsco, CA 94105
Software                                            Whats Up Prof Software               8081 Royal Ridge Parkway,                             1,949.21   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Cisco Router                         8081 Royal Ridge Parkway,                             9,639.89   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Verisign MPKI for SSI Prem           8081 Royal Ridge Parkway,                             2,169.37   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Verisign MPKI for SSL                8081 Royal Ridge Parkway,                             4,709.57   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            GWIS c Support License               8081 Royal Ridge Parkway,                             4,065.34   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            GFI Languard Security                8081 Royal Ridge Parkway,                             3,166.95   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Mosaic STAR Sink Node                8081 Royal Ridge Parkway,                            23,563.79   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Positilion NYCE Sink Node Licens     8081 Royal Ridge Parkway,                            18,426.77   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Postilion NYCE Sink Node SW Lice     8081 Royal Ridge Parkway,                            18,426.77   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Messaging Suite                      8081 Royal Ridge Parkway,                             2,385.21   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Dell Fibre Channel Modules           8081 Royal Ridge Parkway,                             3,613.97   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            SQL Compliance Mgr/Maintenance       8081 Royal Ridge Parkway,                             2,705.19   [1]
                                                                                         Suite 130 Irving, TX 75063
Software                                            Oracle Database                      101 2nd Street, Suite 1100, San                            -     [1]
                                                                                         Franicsco, CA 94105
Software                                            Oracle DataBase Server Software      101 2nd Street, Suite 1100, San                            -     [1]
                                                                                         Franicsco, CA 94105
Software                                            Ascert Test Strips                   101 2nd Street, Suite 1100, San                            -     [1]
                                                                                         Franicsco, CA 94105
Software                                            Cognos Software                      101 2nd Street, Suite 1100, San                            -     [1]
                                                                                         Franicsco, CA 94105
Equipment on Trial                                  At Customer/Vendor Location                                                                  505.81   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                5,135.70   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                  851.90   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                  957.75   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                               49,876.76   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                1,481.49   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                               93,231.90   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                2,997.47   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                  410.78   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                               61,013.53   [1]


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                 CURRENT MARKET VALUE OF
                                                                                                                   DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY             LOCATION OF PROPERTY      PROPERTY, WITHOUT        NOTES
                                                                                                                  DEDUCTING ANY SECURED
                                                                                                                   CLAIM OR EXEMPTION
Equipment on Trial                                  At Customer/Vendor Location                                                     7,735.26  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,463.67  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        10.46  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,539.63  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        20.99  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         5.38  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        52.06  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         8.60  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         9.68  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       410.61  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        11.83  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        23.76  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       760.33  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         9.20  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         0.32  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         0.53  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        12.90  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        12.90  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       557.07  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     9,250.31  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     4,073.25  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       411.97  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     3,951.95  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     2,483.49  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       295.61  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       191.07  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,361.56  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       382.12  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     2,210.03  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     4,673.03  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     5,953.54  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       748.71  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       374.41  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     3,154.74  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       785.31  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,394.14  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     6,144.41  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     6,333.85  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     2,110.63  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       392.60  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       273.59  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        76.11  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                        80.26  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,604.62  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                       975.44  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,830.64  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                    23,038.63  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                         4.35  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                     1,578.56  [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                           -   [1]


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Equipment on Trial                                  At Customer/Vendor Location                                                                      -   [1]
Internal Use Software                               Roles and Permissions Management      101 2nd Street, Suite 1100, San                      6,980.77  [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Roles and Permissions Management      101 2nd Street, Suite 1100, San                       6,980.77   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Store Locator 2.0                     101 2nd Street, Suite 1100, San                       6,923.08   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Store Locator 2.0                     101 2nd Street, Suite 1100, San                       6,923.08   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Loyalty Card Revisions                101 2nd Street, Suite 1100, San                        892.64    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Loyalty Card Revisions                101 2nd Street, Suite 1100, San                        892.64    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA Certegy                           101 2nd Street, Suite 1100, San                       2,229.10   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA Certegy                           101 2nd Street, Suite 1100, San                       2,229.10   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA Certegy                           101 2nd Street, Suite 1100, San                       2,229.10   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Code Restructuring for Operatio       101 2nd Street, Suite 1100, San                       6,393.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Code Restructuring for Operatio       101 2nd Street, Suite 1100, San                       6,393.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Code Restructuring for Operatio       101 2nd Street, Suite 1100, San                       6,393.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Code Restructuring for Operatio       101 2nd Street, Suite 1100, San                       6,393.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               ACH Fed Table Validation              101 2nd Street, Suite 1100, San                       1,191.33   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Country Selection Page                101 2nd Street, Suite 1100, San                       2,643.18   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.             101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.             101 2nd Street, Suite 1100, San                       2,520.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.             101 2nd Street, Suite 1100, San                       1,680.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.             101 2nd Street, Suite 1100, San                      11,760.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.             101 2nd Street, Suite 1100, San                      18,480.00   [1]
                                                                                          Francisco, CA 94105



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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                           CURRENT MARKET VALUE OF
                                                                                                                             DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                            DEDUCTING ANY SECURED
                                                                                                                             CLAIM OR EXEMPTION
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                      2,520.00  [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                       2,520.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               DavidBrummy Software Inc.            101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               UK Direct Debit Email                101 2nd Street, Suite 1100, San                        468.90    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               UK Direct Debit Email                101 2nd Street, Suite 1100, San                        468.90    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               UK Direct Debit Email                101 2nd Street, Suite 1100, San                        468.90    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               UK Direct Debit Email                101 2nd Street, Suite 1100, San                        468.90    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Paycore Upgrades                     101 2nd Street, Suite 1100, San                       4,768.18   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                       5,016.35   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                       5,016.35   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                       5,016.35   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                       5,016.35   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                       5,016.35   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                        705.81    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                        705.81    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Boarding Tool               101 2nd Street, Suite 1100, San                        705.81    [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH 3.0 - Bal ACH / Cut Message      101 2nd Street, Suite 1100, San                      16,721.14   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH 3.0 - Bal ACH / Cut Message      101 2nd Street, Suite 1100, San                      16,721.14   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH 3.0 - Bal ACH / Cut Message      101 2nd Street, Suite 1100, San                      16,721.14   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH 3.0 - Bal ACH / Cut Message      101 2nd Street, Suite 1100, San                      16,721.14   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Hierarchy Boarding UI       101 2nd Street, Suite 1100, San                       6,230.77   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Merchant Hierarchy Boarding UI       101 2nd Street, Suite 1100, San                       6,230.77   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Silver Start Development Group       101 2nd Street, Suite 1100, San                      11,250.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Silver Start Development Group       101 2nd Street, Suite 1100, San                      10,500.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Silver Start Development Group       101 2nd Street, Suite 1100, San                      11,175.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               E2ESP                                101 2nd Street, Suite 1100, San                      11,200.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               E2ESP                                101 2nd Street, Suite 1100, San                      11,200.00   [1]
                                                                                         Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Internal Use Software                               E2ESP                                 101 2nd Street, Suite 1100, San                     11,200.00  [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Cogent Re-architecture                101 2nd Street, Suite 1100, San                       8,646.27   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Cogent Re-architecture                101 2nd Street, Suite 1100, San                       8,646.27   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Cogent Re-architecture                101 2nd Street, Suite 1100, San                       8,646.27   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Cogent Re-architecture                101 2nd Street, Suite 1100, San                       8,646.27   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Cogent Re-architecture                101 2nd Street, Suite 1100, San                       8,646.27   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Paycore 4.0 (New Merchant Core)       101 2nd Street, Suite 1100, San                       3,532.57   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Paycore 4.0 (New Merchant Core)       101 2nd Street, Suite 1100, San                       3,532.57   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Paycore 4.0 (New Merchant Core)       101 2nd Street, Suite 1100, San                       3,532.57   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Core Services APIs Using MDA          101 2nd Street, Suite 1100, San                       4,753.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Core Services APIs Using MDA          101 2nd Street, Suite 1100, San                       4,753.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Core Services APIs Using MDA          101 2nd Street, Suite 1100, San                       4,753.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA                                   101 2nd Street, Suite 1100, San                       5,195.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA                                   101 2nd Street, Suite 1100, San                       5,195.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA                                   101 2nd Street, Suite 1100, San                       5,195.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA                                   101 2nd Street, Suite 1100, San                       5,195.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               DDA                                   101 2nd Street, Suite 1100, San                       5,195.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (Albertsons)        101 2nd Street, Suite 1100, San                       3,827.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (Albertsons)        101 2nd Street, Suite 1100, San                       3,827.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (Albertsons)        101 2nd Street, Suite 1100, San                       3,827.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (Albertsons)        101 2nd Street, Suite 1100, San                       3,827.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (SV & PIG)          101 2nd Street, Suite 1100, San                       1,446.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (SV & PIG)          101 2nd Street, Suite 1100, San                       1,446.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (SV & PIG)          101 2nd Street, Suite 1100, San                       1,446.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (SV & PIG)          101 2nd Street, Suite 1100, San                       1,446.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Billing Interface (SV & PIG)          101 2nd Street, Suite 1100, San                       1,446.16   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab      101 2nd Street, Suite 1100, San                      33,328.14   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab      101 2nd Street, Suite 1100, San                      33,328.14   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab      101 2nd Street, Suite 1100, San                      33,328.14   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab      101 2nd Street, Suite 1100, San                      33,328.14   [1]
                                                                                          Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                      7,769.51  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                      11,664.46   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       7,769.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       7,769.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       7,769.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       7,769.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       7,769.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       2,376.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       2,376.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS (KCS & In Lane)                101 2nd Street, Suite 1100, San                       2,376.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               4690 ECR Pass Through - IBM         101 2nd Street, Suite 1100, San                       4,903.85   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       4,579.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       4,579.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       4,579.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                       9,230.77   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      30,095.81   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      30,095.81   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      30,095.81   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      26,582.10   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      26,582.10   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      26,582.10   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                       9,230.77   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                       9,230.77   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      18,871.79   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      18,871.79   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                     18,871.79  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      31,391.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      31,391.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Client Appliance                    101 2nd Street, Suite 1100, San                      31,391.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,051.29   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,051.29   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,051.29   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,029.09   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,029.09   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      13,029.09   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      14,267.08   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      14,267.08   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Multi-Tiered Software Distributi    101 2nd Street, Suite 1100, San                      14,267.08   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               ABS Co-Branding                     101 2nd Street, Suite 1100, San                       1,524.56   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               ABS Co-Branding                     101 2nd Street, Suite 1100, San                       1,524.56   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       2,505.01   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       2,505.01   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       2,834.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       2,834.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       2,834.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Sensor Integration            101 2nd Street, Suite 1100, San                       1,437.15   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Common Java Crypto LIbrary          101 2nd Street, Suite 1100, San                       1,908.96   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Common Java Crypto LIbrary          101 2nd Street, Suite 1100, San                       1,908.96   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP Offshore Development          101 2nd Street, Suite 1100, San                       4,989.81   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP Offshore Development          101 2nd Street, Suite 1100, San                       4,989.81   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP Offshore Development Team     101 2nd Street, Suite 1100, San                       5,457.64   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP Offshore Development Team     101 2nd Street, Suite 1100, San                       6,549.10   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP Offshore Development Team     101 2nd Street, Suite 1100, San                       7,983.74   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP 9/14/06                       101 2nd Street, Suite 1100, San                      13,096.80   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting               101 2nd Street, Suite 1100, San                       3,000.00   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                         CURRENT MARKET VALUE OF
                                                                                                                           DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY              LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                          DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
Internal Use Software                               Cluster Inc SmartShop Software     101 2nd Street, Suite 1100, San                      4,704.00  [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Cluster Inc 9/30/06                101 2nd Street, Suite 1100, San                       6,384.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      16,946.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      16,946.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      16,946.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      20,568.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      15,120.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      20,568.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      20,160.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                      20,568.87   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting              101 2nd Street, Suite 1100, San                       2,000.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes Enterprise                  101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Cluster Inc Smartshop System Dev   101 2nd Street, Suite 1100, San                       3,024.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting              101 2nd Street, Suite 1100, San                       2,000.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting              101 2nd Street, Suite 1100, San                       2,000.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Cluster SmartShop System Develop   101 2nd Street, Suite 1100, San                       3,360.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Cluster Inc Smartshop System Dev   101 2nd Street, Suite 1100, San                       3,360.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting              101 2nd Street, Suite 1100, San                       2,000.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roy Thomas Consulting              101 2nd Street, Suite 1100, San                       2,000.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Anirudh Joshi Consutling           101 2nd Street, Suite 1100, San                       7,600.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                       5,842.71   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,240.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      23,323.27   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,760.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,400.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       4,080.00   [1]
                                                                                       Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                         CURRENT MARKET VALUE OF
                                                                                                                           DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY              LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                          DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                      2,720.00  [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                       5,842.71   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                       3,400.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      26,482.56   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      26,482.56   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      15,840.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      26,482.56   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      10,504.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                       5,842.71   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      23,323.27   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               CAE                                101 2nd Street, Suite 1100, San                      23,323.27   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               BioPay In Store Web Enrollment (   101 2nd Street, Suite 1100, San                       3,781.91   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               BioPay In Store Web Enrollment (   101 2nd Street, Suite 1100, San                       3,781.91   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               BioPay In Store Web Enrollment (   101 2nd Street, Suite 1100, San                       3,781.91   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation 9/26/06        101 2nd Street, Suite 1100, San                       2,784.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       2,784.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation 9/26/06        101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation 9/26/06        101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation 9/30/06        101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation 9/30/06        101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                       Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Internal Use Software                               Xoriant Corporation                   101 2nd Street, Suite 1100, San                      3,480.00  [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                   101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                   101 2nd Street, Suite 1100, San                       3,480.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Store Locator 1.0                     101 2nd Street, Suite 1100, San                       7,699.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Store Locator 1.0                     101 2nd Street, Suite 1100, San                       7,699.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Store Locator 1.0                     101 2nd Street, Suite 1100, San                       7,699.69   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Vignette 9/30/06 (PDS-67,PDS-91,      101 2nd Street, Suite 1100, San                      19,500.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Vignette 9/30/06 (PDS-67,PDS-91,      101 2nd Street, Suite 1100, San                      21,625.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Vignette 9/30/06 (PDS-67,PDS-91,      101 2nd Street, Suite 1100, San                      29,250.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Vignette 9/30/06 (PDS-67,PDS-91,      101 2nd Street, Suite 1100, San                      46,000.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Web 1.75 (WES 3.0)                    101 2nd Street, Suite 1100, San                       6,007.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Web 1.75 (WES 3.0)                    101 2nd Street, Suite 1100, San                       6,007.61   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       3,472.41   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       3,600.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       3,600.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      14,787.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       3,600.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       2,160.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       2,880.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Gilbarco Biometric CRIND SW Modi      101 2nd Street, Suite 1100, San                     200,000.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      17,431.45   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      12,240.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      17,431.45   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       3,472.41   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      26,340.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      17,431.45   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      16,350.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       8,531.04   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       8,531.04   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       8,531.04   [1]
                                                                                          Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                            CURRENT MARKET VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                             DEDUCTING ANY SECURED
                                                                                                                              CLAIM OR EXEMPTION
Internal Use Software                               Tim Beattie Associates 8/31/06        101 2nd Street, Suite 1100, San                     10,080.00  [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                       3,472.41   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      14,787.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                      12,960.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                      14,220.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Shell / Petroleum POC                 101 2nd Street, Suite 1100, San                      14,787.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Tim Beattie Associates                101 2nd Street, Suite 1100, San                       2,160.00   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Limits Logic Enhancements             101 2nd Street, Suite 1100, San                      17,509.25   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Limits Logic Enhancements             101 2nd Street, Suite 1100, San                      17,509.25   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Limits Logic Enhancements             101 2nd Street, Suite 1100, San                      17,509.25   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               PBT Java 3.0 New MIF Integration      101 2nd Street, Suite 1100, San                       8,670.49   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               PBT Java 3.0 New MIF Integration      101 2nd Street, Suite 1100, San                       8,670.49   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               ePOD Kiosk 1.6                        101 2nd Street, Suite 1100, San                      10,828.64   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               ePOD Kiosk 1.6                        101 2nd Street, Suite 1100, San                      10,828.64   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               ePOD Kiosk 1.6                        101 2nd Street, Suite 1100, San                      10,828.64   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               PBT Client Libraries for PBT Eas      101 2nd Street, Suite 1100, San                      12,823.66   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               PBT Client Libraries for PBT Eas      101 2nd Street, Suite 1100, San                      12,823.66   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               PBT Client Libraries for PBT Eas      101 2nd Street, Suite 1100, San                      12,823.66   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Citibank SG (WES 3.1)                 101 2nd Street, Suite 1100, San                        883.80    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Citibank SG (WES 3.1)                 101 2nd Street, Suite 1100, San                        883.80    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Citibank SG (WES 3.1)                 101 2nd Street, Suite 1100, San                        883.80    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Web 3.1 (WES 3.1)                     101 2nd Street, Suite 1100, San                       5,709.26   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Web 3.1 (WES 3.1)                     101 2nd Street, Suite 1100, San                       5,709.26   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Web 3.1 (WES 3.1)                     101 2nd Street, Suite 1100, San                       5,709.26   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               JCE-based Crypto Library Integra      101 2nd Street, Suite 1100, San                      12,947.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               JCE-based Crypto Library Integra      101 2nd Street, Suite 1100, San                      12,947.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               JCE-based Crypto Library Integra      101 2nd Street, Suite 1100, San                      12,947.94   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               ACH-BATCH new functionality for       101 2nd Street, Suite 1100, San                       2,854.90   [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha      101 2nd Street, Suite 1100, San                        117.93    [1]
                                                                                          Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha      101 2nd Street, Suite 1100, San                        117.93    [1]
                                                                                          Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               Rollout of Corporate Intranet by    101 2nd Street, Suite 1100, San                      2,198.00  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Rollout of Corporate Intranet by    101 2nd Street, Suite 1100, San                       2,198.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Rollout of Corporate Intranet by    101 2nd Street, Suite 1100, San                       2,198.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Vignette POC                        101 2nd Street, Suite 1100, San                       1,324.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Vignette POC                        101 2nd Street, Suite 1100, San                       1,324.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Vignette POC                        101 2nd Street, Suite 1100, San                       1,324.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               WES 3.2                             101 2nd Street, Suite 1100, San                       5,732.31   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               WES 3.2                             101 2nd Street, Suite 1100, San                       5,732.31   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               ACH-BATCH Release: Call to WSS i    101 2nd Street, Suite 1100, San                       1,036.66   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               ACH-BATCH Release: Call to WSS i    101 2nd Street, Suite 1100, San                       1,036.66   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                         82.55    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                        141.16    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                        141.16    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Merchant - Mercha    101 2nd Street, Suite 1100, San                        141.16    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       9,884.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       9,884.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       9,884.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       1,595.05   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Cogent Extraction Server NRE        101 2nd Street, Suite 1100, San                      30,622.75   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       6,948.45   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       6,948.45   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               BioPay Integration & Interoperab    101 2nd Street, Suite 1100, San                       6,948.45   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                              CURRENT MARKET VALUE OF
                                                                                                                                DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                   LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                               DEDUCTING ANY SECURED
                                                                                                                                CLAIM OR EXEMPTION
Internal Use Software                               Hobbes 1.0                              101 2nd Street, Suite 1100, San                     23,619.94  [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Hobbes 1.0                              101 2nd Street, Suite 1100, San                      23,619.94   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Hobbes 1.0                              101 2nd Street, Suite 1100, San                      16,984.62   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Hobbes 1.0                              101 2nd Street, Suite 1100, San                      16,984.62   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Hobbes 1.0                              101 2nd Street, Suite 1100, San                      16,984.62   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               PBT Java Server 3.0.1                   101 2nd Street, Suite 1100, San                       3,296.90   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               PBT Java Server 3.0.1                   101 2nd Street, Suite 1100, San                       3,296.90   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               PBT Java Server 3.0.1                   101 2nd Street, Suite 1100, San                       3,296.90   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                        906.68    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Amigo                                   101 2nd Street, Suite 1100, San                       3,652.19   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Amigo                                   101 2nd Street, Suite 1100, San                       3,778.07   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                        906.68    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                        906.68    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                      15,375.51   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                      15,375.51   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Order Fulfillment Interface - Am        101 2nd Street, Suite 1100, San                      15,375.51   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Amigo                                   101 2nd Street, Suite 1100, San                       3,398.45   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Amigo                                   101 2nd Street, Suite 1100, San                       3,398.45   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Amigo                                   101 2nd Street, Suite 1100, San                       3,526.61   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Autobill - Release 2.1.1                101 2nd Street, Suite 1100, San                        407.63    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Autobill - Release 2.1.1                101 2nd Street, Suite 1100, San                        407.63    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Autobill - Release 2.1.1                101 2nd Street, Suite 1100, San                        407.63    [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Autobill - Release 2.1.1                101 2nd Street, Suite 1100, San                       5,293.54   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               Autobill - Release 2.1.1                101 2nd Street, Suite 1100, San                       5,293.54   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Onboard                            101 2nd Street, Suite 1100, San                      26,643.20   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Onboard                            101 2nd Street, Suite 1100, San                      26,643.20   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Onboard                            101 2nd Street, Suite 1100, San                      26,643.20   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Authentication                     101 2nd Street, Suite 1100, San                      36,783.64   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Authentication                     101 2nd Street, Suite 1100, San                      36,783.64   [1]
                                                                                            Francisco, CA 94105
Internal Use Software                               ATMD Authentication                     101 2nd Street, Suite 1100, San                      36,783.64   [1]
                                                                                            Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                         CURRENT MARKET VALUE OF
                                                                                                                           DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY             LOCATION OF PROPERTY              PROPERTY, WITHOUT        NOTES
                                                                                                                          DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                     23,601.07  [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      23,601.07   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      23,601.07   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Web Site                      101 2nd Street, Suite 1100, San                       3,157.90   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Web Site                      101 2nd Street, Suite 1100, San                       3,157.90   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Web Site                      101 2nd Street, Suite 1100, San                       3,157.90   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Enrollment Redesign (WES 3.2   101 2nd Street, Suite 1100, San                      12,481.72   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Enrollment Redesign (WES 3.2   101 2nd Street, Suite 1100, San                      12,481.72   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Enrollment Redesign (WES 3.2   101 2nd Street, Suite 1100, San                      12,481.72   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               HSM Configuration (WES 3.2.1, CS   101 2nd Street, Suite 1100, San                       4,510.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               HSM Configuration (WES 3.2.1, CS   101 2nd Street, Suite 1100, San                       4,510.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               HSM Configuration (WES 3.2.1, CS   101 2nd Street, Suite 1100, San                       4,510.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Whole Foods NBS (CSR Admin 3.3)    101 2nd Street, Suite 1100, San                       1,637.13   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Whole Foods NBS (CSR Admin 3.3)    101 2nd Street, Suite 1100, San                       1,637.13   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Whole Foods NBS (CSR Admin 3.3)    101 2nd Street, Suite 1100, San                       1,637.13   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Wallet Admin (WWA) 1.0         101 2nd Street, Suite 1100, San                      13,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Wallet Admin (WWA) 1.0         101 2nd Street, Suite 1100, San                      13,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Wallet Admin (WWA) 1.0         101 2nd Street, Suite 1100, San                      13,800.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iBoard                             101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iBoard                             101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iBoard                             101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iboard 2.0                         101 2nd Street, Suite 1100, San                       1,794.46   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iboard 2.0                         101 2nd Street, Suite 1100, San                       1,794.46   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iboard 2.0                         101 2nd Street, Suite 1100, San                       3,160.32   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iboard 2.0                         101 2nd Street, Suite 1100, San                       3,272.84   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               iboard 2.0                         101 2nd Street, Suite 1100, San                       3,385.66   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Store Locator                      101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Store Locator                      101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Store Locator                      101 2nd Street, Suite 1100, San                        680.74    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Roles and Permissions Management   101 2nd Street, Suite 1100, San                       3,623.38   [1]
                                                                                       Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                     14,000.00  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                      12,425.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                       1,337.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                       4,200.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions Management    101 2nd Street, Suite 1100, San                       3,623.38   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions Management    101 2nd Street, Suite 1100, San                       3,623.38   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                        626.79    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                        626.79    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                        626.79    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                       1,337.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                      29,050.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Roles and Permissions for Kiosk     101 2nd Street, Suite 1100, San                       1,337.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Merchant Boarding UI (iBoard)       101 2nd Street, Suite 1100, San                       8,989.23   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Merchant Boarding UI (iBoard)       101 2nd Street, Suite 1100, San                       8,989.23   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Continuous Web Testing Framework    101 2nd Street, Suite 1100, San                        605.15    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP                               101 2nd Street, Suite 1100, San                       7,481.73   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Continuous Web Testing Framework    101 2nd Street, Suite 1100, San                        605.15    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Continuous Web Testing Framework    101 2nd Street, Suite 1100, San                        605.15    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP                               101 2nd Street, Suite 1100, San                       7,481.73   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               E2ESP                               101 2nd Street, Suite 1100, San                       7,481.73   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Build and Release Sys    101 2nd Street, Suite 1100, San                       7,548.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Build and Release Sys    101 2nd Street, Suite 1100, San                       7,548.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Build and Release Sys    101 2nd Street, Suite 1100, San                       7,548.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Automated Deployment     101 2nd Street, Suite 1100, San                       1,361.45   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Kornher Associates, Inc.            101 2nd Street, Suite 1100, San                       4,008.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Kornher Associates, Inc.            101 2nd Street, Suite 1100, San                       4,809.68   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Automated Deployment     101 2nd Street, Suite 1100, San                       1,361.45   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Kornher Associates, Inc.            101 2nd Street, Suite 1100, San                       4,408.90   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Enterprise Automated Deployment     101 2nd Street, Suite 1100, San                       1,361.45   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Kornher Associates, Inc.            101 2nd Street, Suite 1100, San                       2,404.84   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               Kornher Associates, Inc.            101 2nd Street, Suite 1100, San                      4,408.90  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Healthcare - Enrollment Offering    101 2nd Street, Suite 1100, San                       1,811.69   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Healthcare - Enrollment Offering    101 2nd Street, Suite 1100, San                       1,811.69   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Healthcare - Enrollment Offering    101 2nd Street, Suite 1100, San                       1,811.69   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Cross Channel (Non Web portion)     101 2nd Street, Suite 1100, San                       2,240.07   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Cross Channel (Non Web portion)     101 2nd Street, Suite 1100, San                       2,240.07   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       6,831.59   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       6,831.59   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       6,831.59   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       5,211.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       5,211.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                       5,211.34   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                      28,600.14   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                      28,600.14   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PBT Kiosk 2.0                       101 2nd Street, Suite 1100, San                      28,600.14   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      15,965.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                        654.57    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      15,965.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      15,965.54   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Objective Tech Consulting SC5000    101 2nd Street, Suite 1100, San                       2,725.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      21,320.71   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      21,320.71   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                      21,320.71   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                        654.57    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Mayo Clinic                         101 2nd Street, Suite 1100, San                        654.57    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               SDMines Health Care Initiative      101 2nd Street, Suite 1100, San                       1,660.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               SDMines Health Care Initiative      101 2nd Street, Suite 1100, San                       1,660.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               SDMines Health Care Initiative      101 2nd Street, Suite 1100, San                       1,660.72   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Industry - Oil &     101 2nd Street, Suite 1100, San                        886.97    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Autobill - New Industry - Oil &     101 2nd Street, Suite 1100, San                        886.97    [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               Autobill - New Industry - Oil &     101 2nd Street, Suite 1100, San                        886.97  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Verifinger Conversion Libr    101 2nd Street, Suite 1100, San                       2,309.91   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Verifinger Conversion Libr    101 2nd Street, Suite 1100, San                       2,309.91   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Sagem Verifinger Conversion Libr    101 2nd Street, Suite 1100, San                       2,309.91   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PJS 3.2 Release                     101 2nd Street, Suite 1100, San                      20,947.69   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               PJS 3.2 Release                     101 2nd Street, Suite 1100, San                      20,947.69   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Blackstone Technology Group, Inc    101 2nd Street, Suite 1100, San                       3,206.25   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Blackstone Technology Group, Inc    101 2nd Street, Suite 1100, San                      12,555.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       2,800.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       3,300.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       4,000.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       2,200.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       4,000.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Xoriant Corporation                 101 2nd Street, Suite 1100, San                       4,000.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Blackstone Technology Group, Inc    101 2nd Street, Suite 1100, San                      13,297.50   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Blackstone Technology Group, Inc    101 2nd Street, Suite 1100, San                      12,825.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Blackstone Technology Group, Inc    101 2nd Street, Suite 1100, San                       8,505.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Cogent iPas NRE                     101 2nd Street, Suite 1100, San                     202,500.00   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                      34,500.02   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                      34,500.02   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                      34,500.02   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                       7,687.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                       7,687.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               iPAS                                101 2nd Street, Suite 1100, San                       7,687.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               NCR ePod Application Development    101 2nd Street, Suite 1100, San                      52,756.15   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               NCR Development Upgrade             101 2nd Street, Suite 1100, San                       2,214.49   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                      10,650.51   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                      12,596.21   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                      10,416.76   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                          CURRENT MARKET VALUE OF
                                                                                                                            DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                           DEDUCTING ANY SECURED
                                                                                                                            CLAIM OR EXEMPTION
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                     12,596.21  [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                       5,208.40   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                       5,208.40   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                      12,596.21   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               HOBBES 2.0 Server Side Loyalty      101 2nd Street, Suite 1100, San                       9,375.10   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       1,880.38   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       1,880.38   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       1,880.38   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       3,167.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       3,167.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Casselman - Billing Project         101 2nd Street, Suite 1100, San                       3,167.03   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Infonox Release 1                   101 2nd Street, Suite 1100, San                        245.45    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Infonox Release 1                   101 2nd Street, Suite 1100, San                        245.45    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Infonox Release 1                   101 2nd Street, Suite 1100, San                        245.45    [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,433.65   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,433.65   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,433.65   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,856.87   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,922.98   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               Req. iboard 2.1 to production       101 2nd Street, Suite 1100, San                       1,989.27   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               KCS 4.2                             101 2nd Street, Suite 1100, San                      14,426.40   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               KCS 4.2                             101 2nd Street, Suite 1100, San                      14,426.40   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               KCS 4.3                             101 2nd Street, Suite 1100, San                       8,005.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               KCS 4.3                             101 2nd Street, Suite 1100, San                       8,005.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               KCS 4.3                             101 2nd Street, Suite 1100, San                       8,005.36   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               CAE Console                         101 2nd Street, Suite 1100, San                       3,378.83   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               CAE Console                         101 2nd Street, Suite 1100, San                       3,378.83   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               CAE Console                         101 2nd Street, Suite 1100, San                       3,378.83   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               CAE Console                         101 2nd Street, Suite 1100, San                       4,322.13   [1]
                                                                                        Francisco, CA 94105
Internal Use Software                               CAE Console                         101 2nd Street, Suite 1100, San                       4,322.13   [1]
                                                                                        Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                         CURRENT MARKET VALUE OF
                                                                                                                           DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY              LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                          DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
Internal Use Software                               CAE Console                        101 2nd Street, Suite 1100, San                      4,322.13  [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture - New    101 2nd Street, Suite 1100, San                       2,200.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture - New    101 2nd Street, Suite 1100, San                      17,680.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture - New    101 2nd Street, Suite 1100, San                      18,552.00   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                        590.07    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                        590.07    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                        590.07    [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                       1,890.98   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                       1,890.98   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Hobbes & Infonox Integration       101 2nd Street, Suite 1100, San                       1,890.98   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS iPAS                           101 2nd Street, Suite 1100, San                      19,847.35   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS iPAS                           101 2nd Street, Suite 1100, San                      19,847.35   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS iPAS                           101 2nd Street, Suite 1100, San                      19,847.35   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS VLAN                           101 2nd Street, Suite 1100, San                       2,909.20   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS VLAN                           101 2nd Street, Suite 1100, San                       2,909.20   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               KCS VLAN                           101 2nd Street, Suite 1100, San                       2,909.20   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture          101 2nd Street, Suite 1100, San                       6,436.62   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture          101 2nd Street, Suite 1100, San                       6,436.62   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Web Services Architecture          101 2nd Street, Suite 1100, San                       6,436.62   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               sTunnel                            101 2nd Street, Suite 1100, San                       5,396.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               sTunnel                            101 2nd Street, Suite 1100, San                       5,396.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               sTunnel                            101 2nd Street, Suite 1100, San                       5,396.36   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Salesforce SP 1.0                  101 2nd Street, Suite 1100, San                      12,603.16   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Salesforce SP 1.0                  101 2nd Street, Suite 1100, San                      12,603.16   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Salesforce SP 1.0                  101 2nd Street, Suite 1100, San                      12,603.16   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Site 1.1.1                    101 2nd Street, Suite 1100, San                       2,279.11   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Site 1.1.1                    101 2nd Street, Suite 1100, San                       2,279.11   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Site 1.1.1                    101 2nd Street, Suite 1100, San                       2,357.66   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Site 1.1.2                    101 2nd Street, Suite 1100, San                       2,824.62   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               Corp Site 1.1.2                    101 2nd Street, Suite 1100, San                       2,824.62   [1]
                                                                                       Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                       CURRENT MARKET VALUE OF
                                                                                                                         DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY            LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                        DEDUCTING ANY SECURED
                                                                                                                         CLAIM OR EXEMPTION
Internal Use Software                               Corp Site 1.1.2                  101 2nd Street, Suite 1100, San                      2,357.66  [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       7,627.66   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       7,627.66   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       7,627.66   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       4,206.77   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       6,232.25   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5                    101 2nd Street, Suite 1100, San                       1,865.35   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5                    101 2nd Street, Suite 1100, San                       1,931.75   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5                    101 2nd Street, Suite 1100, San                       1,998.35   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5.1                  101 2nd Street, Suite 1100, San                       8,287.62   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5.1                  101 2nd Street, Suite 1100, San                       8,287.62   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.5.1                  101 2nd Street, Suite 1100, San                       8,573.23   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               iBoard 2.2                       101 2nd Street, Suite 1100, San                       6,588.64   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               iBoard 2.2                       101 2nd Street, Suite 1100, San                       6,588.64   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               iBoard 2.2                       101 2nd Street, Suite 1100, San                       6,588.64   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               Store Locator 1.1                101 2nd Street, Suite 1100, San                      10,271.34   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               Store Locator 1.1                101 2nd Street, Suite 1100, San                      10,271.34   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               Store Locator 1.1                101 2nd Street, Suite 1100, San                      10,271.34   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               Store Locator 1.1                101 2nd Street, Suite 1100, San                       5,600.00   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               WWA 1.2.1                        101 2nd Street, Suite 1100, San                       3,305.88   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               WWA 1.2.1                        101 2nd Street, Suite 1100, San                       4,097.21   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               WWA 1.2.1                        101 2nd Street, Suite 1100, San                       3,419.85   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               IBOCS                            101 2nd Street, Suite 1100, San                      10,399.92   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               IBOCS                            101 2nd Street, Suite 1100, San                      10,399.92   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               IBOCS                            101 2nd Street, Suite 1100, San                      10,399.92   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6                    101 2nd Street, Suite 1100, San                       4,800.00   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CAE-Engine                       101 2nd Street, Suite 1100, San                      13,600.00   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CAE-Engine                       101 2nd Street, Suite 1100, San                       6,800.00   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CAE-Engine                       101 2nd Street, Suite 1100, San                       6,800.00   [1]
                                                                                     Francisco, CA 94105
Internal Use Software                               CAE-Engine                       101 2nd Street, Suite 1100, San                       9,240.00   [1]
                                                                                     Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                           CURRENT MARKET VALUE OF
                                                                                                                             DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY                LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                            DEDUCTING ANY SECURED
                                                                                                                             CLAIM OR EXEMPTION
Internal Use Software                               CSR Admin 3.4                        101 2nd Street, Suite 1100, San                      4,800.00  [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               CSR Admin 3.4                        101 2nd Street, Suite 1100, San                      22,400.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               CSR Admin 3.4                        101 2nd Street, Suite 1100, San                       5,040.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               TrueMe 1.0                           101 2nd Street, Suite 1100, San                      24,225.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               TrueMe 1.0                           101 2nd Street, Suite 1100, San                      37,045.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH Batch                            101 2nd Street, Suite 1100, San                       8,650.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH Batch                            101 2nd Street, Suite 1100, San                      10,000.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ACH Batch                            101 2nd Street, Suite 1100, San                       6,350.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: Browser Helper Object      101 2nd Street, Suite 1100, San                      24,283.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: Browser Helper Object      101 2nd Street, Suite 1100, San                       9,292.25   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: Browser Helper Object      101 2nd Street, Suite 1100, San                      29,391.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: Browser Helper Object      101 2nd Street, Suite 1100, San                      58,782.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: IIS Plugin Integration     101 2nd Street, Suite 1100, San                      24,283.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: IIS Plugin Integration     101 2nd Street, Suite 1100, San                       9,292.25   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: IIS Plugin Integration     101 2nd Street, Suite 1100, San                       9,797.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               PBT Appliance                        101 2nd Street, Suite 1100, San                      12,064.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               PBT Appliance                        101 2nd Street, Suite 1100, San                       8,008.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Mini-KCS agent                       101 2nd Street, Suite 1100, San                       4,160.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Mini-KCS agent                       101 2nd Street, Suite 1100, San                      26,208.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Online :: TME CSR 1.0                101 2nd Street, Suite 1100, San                      27,100.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Web :: CSR Admin 3.7                 101 2nd Street, Suite 1100, San                       5,600.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Web :: WES 3.6                       101 2nd Street, Suite 1100, San                       5,600.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Web :: WES 3.6                       101 2nd Street, Suite 1100, San                       9,797.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               CSR Admin 3.6.1                      101 2nd Street, Suite 1100, San                       5,600.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Web Wallet Admin 1.2                 101 2nd Street, Suite 1100, San                       7,466.67   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Hobbes 2.0 Release A: CSR Admin      101 2nd Street, Suite 1100, San                       7,466.67   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               Web :: WWA 1.4                       101 2nd Street, Suite 1100, San                       9,797.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               PBT-CAE                              101 2nd Street, Suite 1100, San                      13,600.00   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                       101 2nd Street, Suite 1100, San                   2,494,447.22   [1]
                                                                                         Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                       101 2nd Street, Suite 1100, San                      35,424.85   [1]
                                                                                         Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                         CURRENT MARKET VALUE OF
                                                                                                                           DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY              LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                          DEDUCTING ANY SECURED
                                                                                                                           CLAIM OR EXEMPTION
Internal Use Software                               ATMD PIN DEBIT                     101 2nd Street, Suite 1100, San                     35,424.85  [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                     101 2nd Street, Suite 1100, San                      35,424.85   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                     101 2nd Street, Suite 1100, San                      35,424.85   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                     101 2nd Street, Suite 1100, San                      35,424.85   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PIN DEBIT                     101 2nd Street, Suite 1100, San                      35,424.85   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                       5,724.49   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                      17,087.75   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                      17,087.75   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Onboard                       101 2nd Street, Suite 1100, San                      17,087.75   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                      21,036.30   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       6,412.60   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                      27,830.63   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                      27,830.63   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                      27,830.63   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       8,054.61   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       8,054.61   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       8,054.61   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       5,985.78   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD Authentication                101 2nd Street, Suite 1100, San                       6,198.95   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                       4,622.69   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      39,187.33   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      40,538.05   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                       2,680.47   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      23,991.66   [1]
                                                                                       Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                       101 2nd Street, Suite 1100, San                      23,991.66   [1]
                                                                                       Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                      SCHEDULE B-PERSONAL PROPERTY
                                EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                     CURRENT MARKET VALUE OF
                                                                                                                       DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                 VENDOR         DESCRIPTION OF PROPERTY          LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                                                                      DEDUCTING ANY SECURED
                                                                                                                       CLAIM OR EXEMPTION
Internal Use Software                               ATMD PINLESS                   101 2nd Street, Suite 1100, San                     23,991.66  [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                   101 2nd Street, Suite 1100, San                      25,436.46   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                   101 2nd Street, Suite 1100, San                      25,436.46   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                   101 2nd Street, Suite 1100, San                      25,436.46   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD PINLESS                   101 2nd Street, Suite 1100, San                      39,187.33   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      19,977.18   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      19,977.18   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      19,977.18   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      24,822.84   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      25,706.80   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               ATMD SECURE ME                 101 2nd Street, Suite 1100, San                      26,592.84   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               EST IUS FOR SEPT 07            101 2nd Street, Suite 1100, San                     399,791.99   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               EST IUS FOR MAY 07             101 2nd Street, Suite 1100, San                     110,370.00   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               EST IUS FOR JULY 07            101 2nd Street, Suite 1100, San                     189,760.00   [1]
                                                                                   Francisco, CA 94105
Internal Use Software                               EST IUS FOR JULY 07            101 2nd Street, Suite 1100, San                     509,559.50   [1]
                                                                                   Francisco, CA 94105




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                           SCHEDULE B-PERSONAL PROPERTY
                                     EXHIBIT B29 - MACHINERY, FIXTURES, EQUIPMENT, AND SUPPLIES USED IN BUSINESS

                                                                                                                                 CURRENT MARKET VALUE OF
                                                                                                                                   DEBTOR'S INTEREST IN
      TYPE OF PROPERTY                      VENDOR         DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY               PROPERTY, WITHOUT        NOTES
                                                                                                                                  DEDUCTING ANY SECURED
                                                                                                                                   CLAIM OR EXEMPTION
Internal Use Software                                    EST IUS FOR AUG 07                    101 2nd Street, Suite 1100, San                    572,430.00  [1]
                                                                                               Francisco, CA 94105
Internal Use Software                                    HOBBES 2.0 Server Side Loyalty        101 2nd Street, Suite 1100, San                             -     [1]
                                                                                               Francisco, CA 94105
Internal Use Software                                    Internal Use Software Posted Out of   101 2nd Street, Suite 1100, San                     834,168.45    [1]
                                                         Fixed Asset Module                    Francisco, CA 94105
                                                                                               TOTAL                             $               12,780,049.27

[1] Amounts listed are book value.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                    SCHEDULE B-PERSONAL PROPERTY
                                        EXHIBIT B30 - INVENTORY


                                                                            CURRENT MARKET VALUE OF
                                                                              DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY              PROPERTY, WITHOUT        NOTES
                                                                             DEDUCTING ANY SECURED
                                                                              CLAIM OR EXEMPTION

SENSOR CHIP,UPEK,TCS1CD1A           MINAIK Technology                       $               62,859.46
                                    12 F-1 #492-1, Sec 1, Wan Shou Rd
                                    Kuei Shan Shiang, Tao Yuan Hsein, ROC
CHIP,ST9 USB                        MINAIK Technology                                       11,581.38
CONTROLLER,UPEK,TC92163T1EMFI1      12 F-1 #492-1, Sec 1, Wan Shou Rd
                                    Kuei Shan Shiang, Tao Yuan Hsein, ROC
PLAS,TCRU SENSOR ADAPTOR,COVER      MINAIK Technology                                         219.70
                                    12 F-1 #492-1, Sec 1, Wan Shou Rd
                                    Kuei Shan Shiang, Tao Yuan Hsein, ROC
PLAS,TCRU SENSOR ADAPTOR,BASEPLATE MINAIK Technology                                           92.40
                                    12 F-1 #492-1, Sec 1, Wan Shou Rd
                                    Kuei Shan Shiang, Tao Yuan Hsein, ROC
LBL,SENSOR BRANDING,PBT TCRU        MINAIK Technology                                        1,361.50
                                    12 F-1 #492-1, Sec 1, Wan Shou Rd
                                    Kuei Shan Shiang, Tao Yuan Hsein, ROC
HW,PADLOCK,BRASS,25mm               NCR Corporation                                           427.00
                                    14181 Collections Center Drive
                                    Chicago, IL 60693
READR,OPTICAL,COGENT CSD301-06,VER NCR Corporation                                          26,280.00
xxxx                                14181 Collections Center Drive
                                    Chicago, IL 60693
PBT,SENSOR,COGENT CSD301 & APP W/   NCR Corporation                                         17,850.00
CABLE,KIOSK                         14181 Collections Center Drive
                                    Chicago, IL 60693
PBT,ENROLLMENT TERMINAL,ePOD,NCR NCR Corporation                                           218,173.00
7402                                14181 Collections Center Drive
                                    Chicago, IL 60693
PBT,ePOD,ENCLOSURE & SIGNAGE        NCR Corporation                                        122,990.00
                                    14181 Collections Center Drive
                                    Chicago, IL 60693
POS,DRIVERS LIC SCANNER,SCAN SHELL NCR Corporation                                          12,744.00
800 W/ CABLE,PBT FW                 14181 Collections Center Drive
                                    Chicago, IL 60693
PLAS,BROCHURE HOLDER, 7-3/4         NCR Corporation                                          1,486.03
                                    14181 Collections Center Drive
                                    Chicago, IL 60693
MET,ePOD KIOSK,PEDESTAL BASE        NCR Corporation                                         71,318.00
STANDARD                            14181 Collections Center Drive
                                    Chicago, IL 60693
MET,ePOD KIOSK,PRINTER BLANK SPACER NCR Corporation                                         27,144.00
ASSEMBLY                            14181 Collections Center Drive
                                    Chicago, IL 60693
TOOL,SCREWDRIVER,TORX,T15 TAMPER NCR Corporation                                              768.60
RESISTANT                           14181 Collections Center Drive
                                    Chicago, IL 60693
TOOL,SCREWDRIVER,TORX,T25 TAMPER NCR Corporation                                              577.22
RESISTANT                           14181 Collections Center Drive
                                    Chicago, IL 60693


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                      SCHEDULE B-PERSONAL PROPERTY
                                          EXHIBIT B30 - INVENTORY


                                                                              CURRENT MARKET VALUE OF
                                                                                DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY              PROPERTY, WITHOUT        NOTES
                                                                               DEDUCTING ANY SECURED
                                                                                CLAIM OR EXEMPTION

PBT ENROLLMENT KIOSK TECH CARD        NCR Corporation                                           173.31
                                      14181 Collections Center Drive
                                      Chicago, IL 60693
CBL,CAT5e,350Mhz,UNSHIELDED,25',GRAY NCR Corporation                                           1,300.50
                                      14181 Collections Center Drive
                                      Chicago, IL 60693
BC,SYMBOL                             NCR Corporation                                         51,338.00
DS6608,SCANNER,GUN,2D/1D,BLACK        14181 Collections Center Drive
                                      Chicago, IL 60693
BC,SYMBOL DS6608,USB CBL,SERIES A,6FT NCR Corporation                                          2,087.25
                                      14181 Collections Center Drive
                                      Chicago, IL 60693
HW,PADLOCK,BRASS,25mm                 101 Second Street, Suite 1100                             127.75
                                      San Francisco, CA 94105
SENSOR MODULE,SAGEM,CBM OEM 1300 101 Second Street, Suite 1100                                 9,144.00
                                      San Francisco, CA 94105
SENSOR,SAGEM MSO200 SERIAL W/         101 Second Street, Suite 1100                           25,760.00
POWER SUPPLY                          San Francisco, CA 94105
SENSOR,SAGEM NG MSO,OEM,PLASTIC       101 Second Street, Suite 1100                            3,672.00
PLATEN                                San Francisco, CA 94105
SENSOR,SAGEM NG MSO,OEM,GLASS         101 Second Street, Suite 1100                          190,149.00
PLATEN                                San Francisco, CA 94105
READER,SAGEM MSO200,METAL             101 Second Street, Suite 1100                            3,835.00
HOUSING,GLASS PLATEN                  San Francisco, CA 94105
READR,OPTICAL,COGENT CSD301-06,VER 101 Second Street, Suite 1100                               1,095.00
xxxx                                  San Francisco, CA 94105
PBT,FINGER SENSOR,DIGITAL PERSONA     101 Second Street, Suite 1100                            1,125.00
                                      San Francisco, CA 94105
PBT,PC,SMALL FORM FACTOR, UNDER       101 Second Street, Suite 1100                            2,250.00
COUNTER MOUNT                         San Francisco, CA 94105
PBT,SENSOR ASSEMBLY WITH              101 Second Street, Suite 1100                            2,646.54
HSG,CBL,LBL,BASE PLATE (MOUSE STYLE) San Francisco, CA 94105
PBT,SENSOR/STAND ASSEMBLY-VERIFONE 101 Second Street, Suite 1100                                504.90
EVEREST, 4.5_ TALL                    San Francisco, CA 94105
PBT,PC,PBT APPLIANCE,NORHTEC          101 Second Street, Suite 1100                           21,996.00
MICROSERVER HP                        San Francisco, CA 94105
PBT,INGENICO II ENROLLMENT STATION 101 Second Street, Suite 1100                               1,286.20
ASSEMBLY                              San Francisco, CA 94105
PBT,SENSOR/STAND ASSEMBLY-INGENICO 101 Second Street, Suite 1100                                498.65
EN-TOUCH 1000                         San Francisco, CA 94105
ASSY,SENSOR,CAPACITIVE,CX30,IPAS,W/P 101 Second Street, Suite 1100                            13,260.00
WR & CABLES                           San Francisco, CA 94105
PBT,SENSOR/STAND ASSEMBLY-            101 Second Street, Suite 1100                              49.48
HYPERCOM ICE 6000                     San Francisco, CA 94105
PBT,SENSOR,COGENT CSD301 & APP W/     101 Second Street, Suite 1100                            4,900.00
CABLE,KIOSK                           San Francisco, CA 94105
PBT,FINGER SENSOR,CAPACITIVE          101 Second Street, Suite 1100                            1,155.00
                                      San Francisco, CA 94105


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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                      SCHEDULE B-PERSONAL PROPERTY
                                          EXHIBIT B30 - INVENTORY


                                                                                 CURRENT MARKET VALUE OF
                                                                                   DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY                  LOCATION OF PROPERTY                PROPERTY, WITHOUT        NOTES
                                                                                  DEDUCTING ANY SECURED
                                                                                   CLAIM OR EXEMPTION

PBT,ENROLLMENT TERMINAL,ePOD,NCR      101 Second Street, Suite 1100                              10,195.00
7402                                  San Francisco, CA 94105
ASSY,SENSOR,OPTICAL,PX30,IPAS,W/PWR   101 Second Street, Suite 1100                               2,799.00
& CABLES                              San Francisco, CA 94105
PBT,SENSOR,RX360,15                   101 Second Street, Suite 1100                               7,909.12
                                      San Francisco, CA 94105
PBT,FINGER READER,ON-LINE, PBT-       101 Second Street, Suite 1100                             155,100.00
BRANDED EIKON                         San Francisco, CA 94105
POS,INGENICO EN-TOUCH 1000,TOUCH      101 Second Street, Suite 1100                               3,002.83
SCREEN,2 TRACK READER                 San Francisco, CA 94105
POS,INGENICO PWR SUPPLY,EN-CHECK      101 Second Street, Suite 1100                                 25.00
2500 AND EN-TOUCH 1000                San Francisco, CA 94105
POS,INGENICO, REMOTE CONNECTOR        101 Second Street, Suite 1100                                  40.00
BLOCK (RCB)                           San Francisco, CA 94105
POS,INGENICO EN-CHECK 2500 MICR       101 Second Street, Suite 1100                               1,332.05
CHECK READER                          San Francisco, CA 94105
POS,INGENICO CABLE,EN-TOUCH 1000 AND 101 Second Street, Suite 1100                                  35.00
EN-CHECK 2500 TO RCB                  San Francisco, CA 94105
POS.VERIFONE EVEREST PLUS TERMINAL 101 Second Street, Suite 1100                                  1,560.00
                                      San Francisco, CA 94105
POS,VERIFONE EVEREST PLUS DONGLE      101 Second Street, Suite 1100                                350.00
                                      San Francisco, CA 94105
POS,VERIFONE EVEREST AC ADAPTER       101 Second Street, Suite 1100                                 70.00
                                      San Francisco, CA 94105
POS,VERIFONE EVEREST                  101 Second Street, Suite 1100                               1,500.00
OVERLAY,GENERIC                       San Francisco, CA 94105
POS,VERIFONE CABLE,PIN PAD TO         101 Second Street, Suite 1100                                  52.00
PRINTER (DIN8M TO DIN8M)              San Francisco, CA 94105
POS,DRIVERS LIC SCANNER,SCAN SHELL 101 Second Street, Suite 1100                                  1,260.00
800 W/ CABLE,PBT FW                   San Francisco, CA 94105
POS,VERIFONE 3750 TERMINAL            101 Second Street, Suite 1100                               1,631.75
                                      San Francisco, CA 94105
POS,VERIFONE SC5000 Pinpad            101 Second Street, Suite 1100                                524.00
                                      San Francisco, CA 94105
POS,PAPER REFILL,PM KIOSK             101 Second Street, Suite 1100                                479.04
                                      San Francisco, CA 94105
MISC,PBT SCANSHELL CALIBRATION        101 Second Street, Suite 1100                                  19.40
SHEET,7.25_x3.375                     San Francisco, CA 94105
MISC,PBT SCANSHELL CLEANING SHEET 101 Second Street, Suite 1100                                    223.30
                                      San Francisco, CA 94105
PLAS,BROCHURE HOLDER, 7-3/4           101 Second Street, Suite 1100                                  44.85
                                      San Francisco, CA 94105
MET,MOUNTING BRKT, PBT                101 Second Street, Suite 1100                               1,708.00
APPLIANCE,MICROSERVER HP              San Francisco, CA 94105
MET,TILT/SWIVEL                       101 Second Street, Suite 1100                                482.67
STAND,L4100/ICE6000,CAPACITIVE SENSOR San Francisco, CA 94105

MET,MOUNTING BRACKET,COUNTER-             101 Second Street, Suite 1100                            230.00
TOP,ENS 367-0579 & 367-0762               San Francisco, CA 94105

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                       SCHEDULE B-PERSONAL PROPERTY
                                           EXHIBIT B30 - INVENTORY


                                                                                CURRENT MARKET VALUE OF
                                                                                  DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY                   LOCATION OF PROPERTY              PROPERTY, WITHOUT        NOTES
                                                                                 DEDUCTING ANY SECURED
                                                                                  CLAIM OR EXEMPTION

MET,MOUNTING BRACKET,COUNTER-           101 Second Street, Suite 1100                             960.00
TOP,ENS 367-0923 CITIBANK               San Francisco, CA 94105
TOOL,SCREWDRIVER,TORX,T15 TAMPER        101 Second Street, Suite 1100                                5.25
RESISTANT                               San Francisco, CA 94105
TOOL,SCREWDRIVER,TORX,T25 TAMPER        101 Second Street, Suite 1100                               73.50
RESISTANT                               San Francisco, CA 94105
PBT ENROLLMENT KIOSK TECH CARD          101 Second Street, Suite 1100                             221.01
                                        San Francisco, CA 94105
CBL,CAT5e,350Mhz,UNSHIELDED,25',GRAY 101 Second Street, Suite 1100                                 60.00
                                        San Francisco, CA 94105
CBL,CAT5e,350Mhz,UNSHIELDED,10',GRAY 101 Second Street, Suite 1100                                525.20
                                        San Francisco, CA 94105
CBL,CAT5e,350Mhz,UNSHIELDED,7',GRAY 101 Second Street, Suite 1100                                    9.60
                                        San Francisco, CA 94105
CBL,VERIFONE 03018-02,DB9 FEM TO DIN9 101 Second Street, Suite 1100                                 70.00
MALE,SERIAL RS232,2 METER               San Francisco, CA 94105
CBL,VERIFONE 03018-05,DB9 FEM TO DIN9 101 Second Street, Suite 1100                                 35.99
MALE,SERIAL RS232,5 METER               San Francisco, CA 94105
CBL,USB A MALE (ST) TO USB B MALE       101 Second Street, Suite 1100                             440.10
(RA),12',BLK                            San Francisco, CA 94105
CBL,VERIFONE 05602-00,DB9F-RJ45,OMNI 101 Second Street, Suite 1100                                  54.00
7000 to PC AT,1M                        San Francisco, CA 94105
CBL,VERIFONE 26264-04,DB9F-RJ45,3750,4M 101 Second Street, Suite 1100                             153.00
                                        San Francisco, CA 94105
CBL,KIT,VERIFONE SC5000,DB9 CABLE & 101 Second Street, Suite 1100                                 800.00
POWER PACK                              San Francisco, CA 94105
CBL, USB-A MALE TO 8-PIN JST,CBM        101 Second Street, Suite 1100                             201.41
1300,39                                 San Francisco, CA 94105
CBL,USB 2.0 A MALE TO B                 101 Second Street, Suite 1100                               70.95
MALE,STRAIGHT,10'                       San Francisco, CA 94105
BC,SYMBOL                               101 Second Street, Suite 1100                            2,128.00
DS6608,SCANNER,GUN,2D/1D,WHITE          San Francisco, CA 94105
BC,SYMBOL DS6608,SERIAL CABLE           101 Second Street, Suite 1100                             224.25
                                        San Francisco, CA 94105
BC,SYMBOL                               101 Second Street, Suite 1100                            2,660.00
DS6608,SCANNER,GUN,2D/1D,BLACK          San Francisco, CA 94105
BC,SYMBOL DS6608,USB CBL,SERIES A,6FT 101 Second Street, Suite 1100                               500.25
                                        San Francisco, CA 94105
Refurb Kit - ASSY, PEDESTAL ASSY FOR    101 Second Street, Suite 1100                            4,968.00
ENROLLMENT KIOSK                        San Francisco, CA 94105
REFURBISHED UCB                         101 Second Street, Suite 1100                          135,600.00
                                        San Francisco, CA 94105
HW,PADLOCK,BRASS,25mm                   TASQ Technology, Inc                                         3.50
                                        660 Menlo Drive
                                        Rocklin, CA 95765
READER,SAGEM MSO200,METAL               TASQ Technology, Inc                                    28,910.00
HOUSING,GLASS PLATEN                    660 Menlo Drive
                                        Rocklin, CA 95765


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                  SCHEDULE B-PERSONAL PROPERTY
                                      EXHIBIT B30 - INVENTORY


                                                                       CURRENT MARKET VALUE OF
                                                                         DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY            LOCATION OF PROPERTY            PROPERTY, WITHOUT        NOTES
                                                                        DEDUCTING ANY SECURED
                                                                         CLAIM OR EXEMPTION

PBT,FINGER SENSOR,DIGITAL PERSONA  TASQ Technology, Inc                                  150.00
                                   660 Menlo Drive
                                   Rocklin, CA 95765
PBT,PC,SMALL FORM FACTOR, UNDER    TASQ Technology, Inc                                 1,350.00
COUNTER MOUNT                      660 Menlo Drive
                                   Rocklin, CA 95765
PBT,SENSOR/STAND ASSEMBLY-VERIFONE TASQ Technology, Inc                                 2,827.44
EVEREST, 4.5_ TALL                 660 Menlo Drive
                                   Rocklin, CA 95765
PBT,PC,PBT APPLIANCE,NORHTEC       TASQ Technology, Inc                               873,264.00
MICROSERVER HP                     660 Menlo Drive
                                   Rocklin, CA 95765
PBT,SENSOR/STAND ASSEMBLY-VERIFONE TASQ Technology, Inc                                 5,250.96
EVEREST, 8_ TALL                   660 Menlo Drive
                                   Rocklin, CA 95765
PBT,INGENICO II ENROLLMENT STATION TASQ Technology, Inc                                  643.10
ASSEMBLY                           660 Menlo Drive
                                   Rocklin, CA 95765
PBT,SENSOR/STAND ASSEMBLY-         TASQ Technology, Inc                                 1,583.36
HYPERCOM ICE 6000                  660 Menlo Drive
                                   Rocklin, CA 95765
PBT,SENSOR,RX360,15                TASQ Technology, Inc                               105,650.88
                                   660 Menlo Drive
                                   Rocklin, CA 95765
POS,INGENICO EN-TOUCH 1000,TOUCH   TASQ Technology, Inc                                 3,740.88
SCREEN,2 TRACK READER              660 Menlo Drive
                                   Rocklin, CA 95765
POS,INGENICO PWR SUPPLY,EN-CHECK   TASQ Technology, Inc                                  144.78
2500 AND EN-TOUCH 1000             660 Menlo Drive
                                   Rocklin, CA 95765
POS,INGENICO, REMOTE CONNECTOR     TASQ Technology, Inc                                    85.80
BLOCK (RCB)                        660 Menlo Drive
                                   Rocklin, CA 95765
POS,INGENICO EN-CHECK 2500 MICR    TASQ Technology, Inc                                 5,624.23
CHECK READER                       660 Menlo Drive
                                   Rocklin, CA 95765
POS,VERIFONE 3750 TERMINAL         TASQ Technology, Inc                                13,147.48
                                   660 Menlo Drive
                                   Rocklin, CA 95765
MISC,PBT SCANSHELL CALIBRATION     TASQ Technology, Inc                                    68.30
SHEET,7.25_x3.375                  660 Menlo Drive
                                   Rocklin, CA 95765
MISC,PBT SCANSHELL CLEANING SHEET TASQ Technology, Inc                                   100.10
                                   660 Menlo Drive
                                   Rocklin, CA 95765
PLAS,SIGN DISPLAY W/ BROCHURE      TASQ Technology, Inc                                 2,244.53
HOLDER,8.5                         660 Menlo Drive
                                   Rocklin, CA 95765


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                    SCHEDULE B-PERSONAL PROPERTY
                                        EXHIBIT B30 - INVENTORY


                                                                          CURRENT MARKET VALUE OF
                                                                            DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY            PROPERTY, WITHOUT        NOTES
                                                                           DEDUCTING ANY SECURED
                                                                            CLAIM OR EXEMPTION

MET,MOUNTING BRKT, PBT                TASQ Technology, Inc                                11,942.00
APPLIANCE,MICROSERVER HP              660 Menlo Drive
                                      Rocklin, CA 95765
MET,TILT/SWIVEL                       TASQ Technology, Inc                                 2,000.00
STAND,EVEREST,CAPACITIVE SENSOR       660 Menlo Drive
                                      Rocklin, CA 95765
MET,TOP PLATE,EVEREST,CAPACITIVE      TASQ Technology, Inc                                 3,774.60
SENSOR                                660 Menlo Drive
                                      Rocklin, CA 95765
MET,TILT/SWIVEL                       TASQ Technology, Inc                                  160.89
STAND,L4100/ICE6000,CAPACITIVE SENSOR 660 Menlo Drive
                                      Rocklin, CA 95765
MET,TOP-                              TASQ Technology, Inc                                   99.80
PLATE,L4100/ICE6000,CAPACITIVE SENSOR 660 Menlo Drive
                                      Rocklin, CA 95765
MET,WEDGE                             TASQ Technology, Inc                                 1,781.25
STAND,L4100/ICE6000,CAPACITIVE SENSOR 660 Menlo Drive
                                      Rocklin, CA 95765
MET,SENSOR ARM FOR                    TASQ Technology, Inc                                 1,554.70
WEDGE,L4100/ICE6000,CAPACITIVE        660 Menlo Drive
SENSOR                                Rocklin, CA 95765
MET,TILT-SWIVEL STAND,NO TOP          TASQ Technology, Inc                                 1,746.55
PLATE,2"DIA x 5.3"HT                  660 Menlo Drive
                                      Rocklin, CA 95765
MET,TOP PLATE,ENTOUCH                 TASQ Technology, Inc                                  195.00
1000,CAPACITIVE SENSOR                660 Menlo Drive
                                      Rocklin, CA 95765
MET,TILT/SWIVEL STAND & 8_ EXT        TASQ Technology, Inc                                  766.15
ARM,EVEREST,CAPACITIVE SENSOR         660 Menlo Drive
                                      Rocklin, CA 95765
MET,MOUNTING BRACKET,COUNTER-         TASQ Technology, Inc                                  736.00
TOP,ENS 367-0579 & 367-0762           660 Menlo Drive
                                      Rocklin, CA 95765
MET,MOUNTING BRACKET, INLANE,ENS      TASQ Technology, Inc                                  810.00
367-0924 HYVEE                        660 Menlo Drive
                                      Rocklin, CA 95765
MET,MOUNTING BRACKET, WEDGE ,ENS TASQ Technology, Inc                                      1,360.00
367-0926 HYVEE                        660 Menlo Drive
                                      Rocklin, CA 95765
MET,MOUNTING BRACKET,COUNTER-         TASQ Technology, Inc                                   80.00
TOP,ENS 367-0923 CITIBANK             660 Menlo Drive
                                      Rocklin, CA 95765
MET,MOUNTING BRACKET, IN-LANE ,ENS TASQ Technology, Inc                                    1,890.00
367-0928 SCOTT’S                      660 Menlo Drive
                                      Rocklin, CA 95765
MET,UPR CLAMPING BRACKET,UCB TO       TASQ Technology, Inc                                  468.00
GRN CAN                               660 Menlo Drive
                                      Rocklin, CA 95765


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                    SCHEDULE B-PERSONAL PROPERTY
                                        EXHIBIT B30 - INVENTORY


                                                                           CURRENT MARKET VALUE OF
                                                                             DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY               LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                            DEDUCTING ANY SECURED
                                                                             CLAIM OR EXEMPTION

MET,LWR MOUNTING BRACKET,UCB TO        TASQ Technology, Inc                                  468.00
GRN CAN                                660 Menlo Drive
                                       Rocklin, CA 95765
STAND, ASSY ENS, FOOD LION             TASQ Technology, Inc                                  640.00
                                       660 Menlo Drive
                                       Rocklin, CA 95765
MET,MOUNTING BRACKET,COUNTER-          TASQ Technology, Inc                                  420.00
TOP,ENS Omni 7000 w/ Pay By Touch ARM  660 Menlo Drive
                                       Rocklin, CA 95765
TOOL,SCREWDRIVER,TORX,T15 TAMPER TASQ Technology, Inc                                         36.75
RESISTANT                              660 Menlo Drive
                                       Rocklin, CA 95765
TOOL,SCREWDRIVER,TORX,T25 TAMPER TASQ Technology, Inc                                        176.40
RESISTANT                              660 Menlo Drive
                                       Rocklin, CA 95765
PBT ENROLLMENT KIOSK TECH CARD         TASQ Technology, Inc                                  179.67
                                       660 Menlo Drive
                                       Rocklin, CA 95765
TOOL,SCREWDRIVER,PHILPS,#2,8.6" Length TASQ Technology, Inc                                  193.83
                                       660 Menlo Drive
                                       Rocklin, CA 95765
PWR,6 OUTLET POWER STRIP,SURGE,4'      TASQ Technology, Inc                                23,479.50
CORD,WHT                               660 Menlo Drive
                                       Rocklin, CA 95765
PWR,CORD,UK PLUG,13A FUSE,6FT          TASQ Technology, Inc                                  195.00
                                       660 Menlo Drive
                                       Rocklin, CA 95765
CBL,CAT5e,350Mhz,UNSHIELDED,10',GRAY TASQ Technology, Inc                                   1,110.20
                                       660 Menlo Drive
                                       Rocklin, CA 95765
CBL,CAT5e,350Mhz,UNSHIELDED,7',GRAY TASQ Technology, Inc                                      57.60
                                       660 Menlo Drive
                                       Rocklin, CA 95765
CBL,VERIFONE 03018-02,DB9 FEM TO DIN9 TASQ Technology, Inc                                   315.00
MALE,SERIAL RS232,2 METER              660 Menlo Drive
                                       Rocklin, CA 95765
CBL,VERIFONE 03018-05,DB9 FEM TO DIN9 TASQ Technology, Inc                                   471.41
MALE,SERIAL RS232,5 METER              660 Menlo Drive
                                       Rocklin, CA 95765
CBL,USB EXTENSION, M/F, 6 FT           TASQ Technology, Inc                                  615.00
                                       660 Menlo Drive
                                       Rocklin, CA 95765
CBL,USB A MALE (ST) TO USB B MALE      TASQ Technology, Inc                                 1,971.00
(RA),12',BLK                           660 Menlo Drive
                                       Rocklin, CA 95765
CBL,VERIFONE 05602-00,DB9F-RJ45,OMNI TASQ Technology, Inc                                   3,666.00
7000 to PC AT,1M                       660 Menlo Drive
                                       Rocklin, CA 95765


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                      SCHEDULE B-PERSONAL PROPERTY
                                          EXHIBIT B30 - INVENTORY


                                                                             CURRENT MARKET VALUE OF
                                                                               DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY                 LOCATION OF PROPERTY             PROPERTY, WITHOUT        NOTES
                                                                              DEDUCTING ANY SECURED
                                                                               CLAIM OR EXEMPTION

CBL,VERIFONE 26264-04,DB9F-RJ45,3750,4M TASQ Technology, Inc                                      8.50
                                        660 Menlo Drive
                                        Rocklin, CA 95765
DOC,INSTALLATION GUIDE,ENROLLMENT, TASQ Technology, Inc                                        377.56
DIAL-UP                                 660 Menlo Drive
                                        Rocklin, CA 95765
DOC, USER GUIDE,                        TASQ Technology, Inc                                   405.41
TRANSACTIONS,DUALCOM                    660 Menlo Drive
                                        Rocklin, CA 95765
DOC,WELCOME/INSTRUCTIONS,BUK            TASQ Technology, Inc                                   414.34
                                        660 Menlo Drive
                                        Rocklin, CA 95765
SW,WINDOWS XPE LICENCE WITH COA         TASQ Technology, Inc                                   515.80
STICKER                                 660 Menlo Drive
                                        Rocklin, CA 95765
REFURBISHED UCB                         TASQ Technology, Inc                                273,573.00
                                        660 Menlo Drive
                                        Rocklin, CA 95765
HW,PADLOCK,BRASS,25mm                   TOLT Technologies Service Group                          98.00    [1]
                                        8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
PBT,PC,PBT APPLIANCE,NORHTEC            TOLT Technologies Service Group                     150,855.00    [1]
MICROSERVER HP                          8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
PBT,SENSOR,COGENT CSD301 & APP W/       TOLT Technologies Service Group                      10,150.00    [1]
CABLE,KIOSK                             8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
PBT,SENSOR,RX360,15                     TOLT Technologies Service Group                      17,047.36    [1]
                                        8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
POS,DRIVERS LIC SCANNER,SCAN SHELL TOLT Technologies Service Group                            6,930.00    [1]
800 W/ CABLE,PBT FW                     8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
PLAS,BROCHURE HOLDER, 7-3/4             TOLT Technologies Service Group                        194.35     [1]
                                        8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
TOOL,SCREWDRIVER,TORX,T15 TAMPER TOLT Technologies Service Group                               530.25     [1]
RESISTANT                               8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
TOOL,SCREWDRIVER,TORX,T25 TAMPER TOLT Technologies Service Group                               352.80     [1]
RESISTANT                               8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
PBT ENROLLMENT KIOSK TECH CARD          TOLT Technologies Service Group                        222.60     [1]
                                        8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284
CBL,CAT5e,350Mhz,UNSHIELDED,25',GRAY TOLT Technologies Service Group                             84.00    [1]
                                        8350 S. Kyrene Rd, #104
                                        Tempe, AZ 85284


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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                             SCHEDULE B-PERSONAL PROPERTY
                                                 EXHIBIT B30 - INVENTORY


                                                                                                CURRENT MARKET VALUE OF
                                                                                                  DEBTOR'S INTEREST IN
       DESCRIPTION OF PROPERTY                          LOCATION OF PROPERTY                       PROPERTY, WITHOUT                  NOTES
                                                                                                 DEDUCTING ANY SECURED
                                                                                                  CLAIM OR EXEMPTION

BC,SYMBOL                                        TOLT Technologies Service Group                                          15,162.00    [1]
DS6608,SCANNER,GUN,2D/1D,BLACK                   8350 S. Kyrene Rd, #104
                                                 Tempe, AZ 85284
PBT,LOYALTY KIOSK, BASE UNIT                     XPEREX                                                                   68,182.50
                                                 384 Oyster Point Blvd. Suite 9
                                                 San Francisco, CA 94080
POS,PAPER REFILL,PM KIOSK                        XPEREX                                                                    6,227.52
                                                 384 Oyster Point Blvd. Suite 9
                                                 San Francisco, CA 94080
                                                 TOTAL                                         $                       2,914,040.02


[1] TOLT Technologies Service group holds PBT inventory at 3 separate locations. They are in Tempe, AZ; Chicago, IL; and
Minneapolis, MN. However, the inventory detail per the Company's general ledger does not specify which location, only the vendor.
Therefore, it was deemed fit to use TOLT's corporate address of Tempe, Arizona above.




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UNITED STATES BANKRUPTCY COURT
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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                               HUSBAND, WIFE,




                                                                                                                            UNLIQUIDATED
                                                                                                               CONTINGENT
                                                                COMMUNITY
                                                                                                                                                        AMOUNT OF
                                                    CODEBTOR


                                                                 JOINT, OR




                                                                                                                                           DISPUTED
                                                                                  DATE CLAIM WAS INCURRED,
   CREDITOR’S NAME AND MAILING                                                                                                                        CLAIM WITHOUT        UNSECURED
                                                                                      NATURE OF LIEN AND
  ADDRESS INCLUDING ZIP CODE AND                                                                                                                        DEDUCTING          PORTION, IF
                                                                                DESCRIPTION AND MARKET VALUE
        ACCOUNT NUMBER                                                                                                                                   VALUE OF             ANY
                                                                                 OF PROPERTY SUBJECT TO LIEN
                                                                                                                                                       COLLATERAL

D1 - Senior Secured Claims                                                      Refer to Schedule D1                                                  $     245,994,989
D2 - Other Secured Claims                                                       Refer to Schedule D2                                                  $         179,520

                                                                                TOTAL SCHEDULE D                                                      $   246,174,509.28




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                                       SCHEDULE D1 - CREDITORS HOLDING SECURED CLAIMS
                                                                                          Secured Debt




                                                                                     HUSBAND, WIFE,




                                                                                                                                                      UNLIQUIDATED
                                                                                                                                         CONTINGENT
                                                                                      COMMUNITY
                                                                          CODEBTOR




                                                                                                                                                                     DISPUTED
                                                                                       JOINT, OR
                                                                                                       DATE CLAIM WAS INCURRED, NATURE
                                                                                                                                                                                      AMOUNT OF CLAIM
CREDITOR’S NAME AND MAILING ADDRESS INCLUDING ZIP                                                        OF LIEN AND DESCRIPTION AND                                                                           UNSECURED
                                                                                                                                                                                     WITHOUT DEDUCTING
            CODE AND ACCOUNT NUMBER                                                                   MARKET VALUE OF PROPERTY SUBJECT                                                                       PORTION, IF ANY
                                                                                                                                                                                    VALUE OF COLLATERAL
                                                                                                                   TO LIEN




Solidus Networks, Inc.
Denarius Touch, LLC (Bank of New York as Collateral Agent)              (1)                           Senior Secured Note                                                       $               29,000,000   unknown
c/o Farallon Capital Management, LLC                                                                  9/19/05 - Principal
One Maritime Plaza, Suite 1325                                          (1)                           9/19/05 - 12/14/07 - Interest                                                              3,181,958   unknown
San Francisco, CA 94111                                                                               Pertains to 9/19/05 note
                                                                                                      Subtotal 9/19/05 Note                                                     $               32,181,958


Denarius Touch, LLC (Bank of New York as Collateral Agent)              (2)                           Senior Secured Note                                                                        9,750,000   unknown
c/o Farallon Capital Management, LLC                                                                  9/20/06 - Principal
One Maritime Plaza, Suite 1325                                          (2)                           9/20/06 - 12/14/07 - Interest                                                               636,224    unknown
San Francisco, CA 94111                                                                               Pertains to 9/20/06 note
                                                                                                      Subtotal 9/20/06 Note                                                     $               10,386,224
Denarius Touch, LLC (Bank of New York as Collateral Agent)              (6)(7)                        Senior Secured Note                                                                        2,527,000   unknown
c/o Farallon Capital Management, LLC                                                                  11/20/07 - Principal
One Maritime Plaza, Suite 1325                                          (6)(7)                        11/20/07 - 12/14/07 - Interest                                                               11,793    unknown
San Francisco, CA 94111                                                                               Pertains to 11/20/07 note
                                                                                                      Subtotal 11/20/07 Note                                                    $                2,538,793
Highbridge International, LLC (Bank of New York as Collateral Agent)    (1)                           Senior Secured Note                                                                        3,000,000   unknown
c/o Highbridge Capital Management, LLC                                                                9/19/05 - Principal
9 West 57th Street, 27th Floor                                          (1)                           9/19/05 - 12/14/07 - Interest                                                               329,168    unknown
New York, NY 10019                                                                                    Pertains to 9/19/05 note
                                                                                                      Subtotal 9/19/05 Note                                                     $                3,329,168
Highbridge International, LLC (Bank of New York as Collateral Agent)    (2)                           Senior Secured Note                                                                        1,000,000   unknown
c/o Highbridge Capital Management, LLC                                                                9/20/06 - Principal
9 West 57th Street, 27th Floor                                          (2)                           9/20/06 - 12/14/07 - Interest                                                                65,254    unknown
New York, NY 10019                                                                                    Pertains to 9/20/06 note
                                                                                                      Subtotal 9/20/06 Note                                                     $                1,065,254
OZ Master Fund, Ltd. (Bank of New York as Collateral Agent)             (1)                           Senior Secured Note                                                                       40,000,000   unknown
9 West 57th Street, 39th Floor                                                                        9/19/05 - Principal
New York, NY 10019                                                      (1)                           9/19/05 - 12/14/07 - Interest                                                              4,388,907   unknown
                                                                                                      Pertains to 9/19/05 note
                                                                                                      Subtotal 12/14/07                                                         $               44,388,907
OZ Master Fund, Ltd. (Bank of New York as Collateral Agent)             (2)                           Senior Secured Note                                                                       13,250,000   unknown
9 West 57th Street, 39th Floor                                                                        9/20/06 - Principal
New York, NY 10019                                                      (2)                           9/20/06 - 12/14/07 - Interest                                                               864,612    unknown
                                                                                                      Pertains to 9/20/06 note
                                                                                                      Subtotal 9/20/06 Note                                                     $               14,114,612
OZ Master Fund, Ltd. (Bank of New York as Collateral Agent)             (6)(7)                        Senior Secured Note                                                                        3,473,000   unknown
9 West 57th Street, 39th Floor                                                                        11/20/07 - Principal
New York, NY 10019                                                      (6)(7)                        11/20/07 - 12/14/07 - Interest                                                               16,207    unknown
                                                                                                      Pertains to 11/20/07 note
                                                                                                      Subtotal 11/20/07                                                         $                3,489,207
Plainfield Direct, LLC (Bank of New York as Collateral Agent)           (1)                           Senior Secured Note                                                                        3,000,000   unknown
c/o Plainfield Asset Management                                                                       9/19/05 - Principal
411 West Putnam Avenue, Suite 340                                       (1)                           9/19/05 - 12/14/07 - Interest                                                               329,168    unknown
Greenwich, CT 06830                                                                                   Pertains to 9/19/05 note
                                                                                                      Subtotal 9/19/05 Note                                                     $                3,329,168
Plainfield Direct, LLC (Bank of New York as Collateral Agent)           (2)                           Senior Secured Note                                                                        1,000,000   unknown
c/o Plainfield Asset Management                                                                       9/20/06 - Principal
411 West Putnam Avenue, Suite 340                                       (2)                           9/20/06 - 12/14/07 - Interest                                                                65,254    unknown
Greenwich, CT 06830                                                                                   Pertains to 9/20/06 note
                                                                                                      Subtotal 9/20/06 Note                                                     $                1,065,254
Plainfield Special Situations Master Fund Ltd (Bank of New York as      (3)                           Senior Secured Note                                                                       20,000,000   unknown
Collateral Agent)                                                                                     12/4/06 - Principal
c/o Plainfield Asset Management                                         (3)                           12/4/06 - 12/14/07 - Interest                                                              4,679,111   unknown
411 West Putnam Avenue, Suite 340                                                                     Pertains to 12/4/06 note
                                                                                                      Subtotal 12/4/06 Note                                                     $               24,679,111




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

                                                                         SCHEDULE D1 - CREDITORS HOLDING SECURED CLAIMS
                                                                                            Secured Debt




                                                                                      HUSBAND, WIFE,




                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                CONTINGENT
                                                                                       COMMUNITY
                                                                           CODEBTOR




                                                                                                                                                                            DISPUTED
                                                                                        JOINT, OR
                                                                                                        DATE CLAIM WAS INCURRED, NATURE
                                                                                                                                                                                             AMOUNT OF CLAIM
CREDITOR’S NAME AND MAILING ADDRESS INCLUDING ZIP                                                         OF LIEN AND DESCRIPTION AND                                                                                 UNSECURED
                                                                                                                                                                                            WITHOUT DEDUCTING
            CODE AND ACCOUNT NUMBER                                                                    MARKET VALUE OF PROPERTY SUBJECT                                                                             PORTION, IF ANY
                                                                                                                                                                                           VALUE OF COLLATERAL
                                                                                                                    TO LIEN




Plainfield West Investments, LLC (Bank of New York as Collateral Agent) (5)                            Senior Secured Note                                                                             30,000,000   unknown
c/o Plainfield Asset Management                                                                        2/28/07 - Principal
411 West Putnam Avenue, Suite 340                                       (5)                            2/28/07 - 12/14/07 - Interest                                                                    5,413,333   unknown
Greenwich, CT 06830                                                                                    Pertains to 2/28/07 note
                                                                                                       Subtotal 2/28/07 Notes                                                          $               35,413,333
Plainfield Direct West III, LLC (Bank of New York as Collateral Agent)   (6)(7)                        Senior Secured Note                                                                              3,000,000   unknown
c/o Plainfield Asset Management                                                                        11/20/07 - Principal
411 West Putnam Avenue, Suite 340                                        (6)(7)                        11/20/07 - 12/14/07 - Interest                                                                     14,000    unknown
Greenwich, CT 06830                                                                                    Pertains to 11/20/07 note
                                                                                                       Subtotal 11/20/07 Notes                                                         $                3,014,000
Whorl, LLC                                                                                             Senior Secured Note                      X            X              X                          42,000,000   unknown
1420 Beverly Road Suite 380                                                                            1/15/06 - Principal
McLean, VA 22101                                                                                       Senior Secured Note                      X            X              X                          25,000,000   unknown
                                                                                                       1/15/06 - Principal
                                                                                                       Subtotal Whole Note                                                             $               67,000,000
                                                                                                       TOTAL                                                                           $              245,994,989

Notes:
(1)Solidus Networks, Inc is the primary obligor, PBT Payment Solutions, LLC, Check Elect, Inc., PBT Check Cashing, Inc., Card Systems Payment Solutions LLC, Maverick International Services, Inc., and Indivos
Corporation are guarantors of this secured claim; these entities are subsidiaries of Solidus Netowrks and jointly administered with the present Debtor under 2:07-20027-TD


(2) Solidus Networks, Inc is the primary obligor,PBT Payment Solutions, LLC, Pay by Touch Processing, Inc., PBT Check Cashing, Inc., Check Elect, Inc., Seven Acquisition Sub, LLC, Indivos Corporation, and Card
Systems Payment Solutions LLC are guarantors of this secured claim; these entities are subsidiaries of Solidus Netowrks and jointly administered with the present Debtor under 2:07-20027-TD

(3) Solidus Networks, Inc is the primary obligor,PBT Payment Solutions, LLC, Pay by Touch Processing, Inc., PBT Check Cashing, Inc., Seven Acquisition Sub, LLC, Indivos Corporation, and Card Systems Payment
Solutions LLC are guarantors of this secured claim.
(4) On December 8, 2005, PBT Payment Solutions, LLC and Indivos Corporation assigned their claim to The Bank of New York, as Agent.
(5)Solidus Networks, Inc is the primary obligor, PBT Payment Solutions, LLC, Pay by Touch Processing, Inc., PBT Check Cashing, Inc., Seven Acquisition Sub, LLC, Indivos Corporation, and Card Systems Payment
Solutions LLC are guarantors of this secured claim; these entities are subsidiaries of Solidus Netowrks and jointly administered with the present Debtor under 2:07-20027-TD


(6)Solidus Networks, Inc is the primary obligor, Check Elect Inc., PBT Payment Solutions, LLC, Pay by Touch Processing, Inc., PBT Check Cashing, Inc., Loyalty Acquisition Sub, LLC, Seven Acquisition Sub, LLC,
and Indivos Corporation are guarantors of this secured claim; these entities are subsidiaries of Solidus Networks and jointly administered with the present Debtor under 2:07-20027-TD.


(7) Under the Court's "Final Order (I) Authorizing Emergency Financing Pursuant to Section 303(f) and 105(a) of The Bankrupcty Code, (II) Authorizing Use of Cash Collateral Pursuant to Section 363 Of the
Bankruptcy Code, And (III) Providing Adequate Protection To Lenders Pursuant To Section 361 and 363 of The Bankrupcty Code"(the "Order) entered on December 11, 2007, the Debtor and its affiliates jointly
adminstered under Case No. 2:07-20027-TD were authorized to enter into a "Funding amendment To Amended and Restated Securities Purchase Agreement," providing for funding in the aggregate principal amount of
$9 million borrowed from certain Secured Leders (as that term is defined in the Order). The obligation arises from Funding Amendment and the Order.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD

SCHEDULE D2 - CREDITORS HOLDING SECURED CLAIMS
All Other Secured Claims




                                                              HUSBAND, WIFE,




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                                                               COMMUNITY
                                                                                                                                                                                                               AMOUNT OF




                                                   CODEBTOR


                                                                JOINT, OR




                                                                                                                                                                                                  DISPUTED
   CREDITOR’S NAME AND MAILING                                                                                                                                                                               CLAIM WITHOUT         UNSECURED
                                                                                DATE CLAIM WAS INCURRED, NATURE OF LIEN AND DESCRIPTION
  ADDRESS INCLUDING ZIP CODE AND                                                                                                                                                                               DEDUCTING           PORTION, IF     NOTES
                                                                                     AND MARKET VALUE OF PROPERTY SUBJECT TO LIEN
        ACCOUNT NUMBER                                                                                                                                                                                          VALUE OF              ANY
                                                                                                                                                                                                              COLLATERAL



Solidus Networks
NCR Corporation                                                                8/18/2005                                                                                           X              X          $    179,520.28         unknown
1700 South Patterson Blvd.                                                     Equipment and proceeds, computerequipment and proceeds
Dayton, OH 45479
The CIT Group / Equipment Financing Inc.                                       9/22/1997                                                                                           X              X                      -                     -    [1]
900 Ashwood Parkway                                                            Inventory and proceeds (EPX Communications)
Atlanta, GA 30338
First National Bank                                                            11/12/1999                                                                                          X              X                      -                     -    [1]
PO Box 85625 (LA#90-59)                                                        Unknown (EPX Comm)
San Diego, CA 92186
Matsushita Electric Corp. of America                                           1/4/1999                                                                                            X              X                      -                     -    [1]
1055 Westlakes Drive                                                           Unknown (EPX Comm)
Berwyn, PA 19312
CCI / Triad Corporation                                                        5/24/1999                                                                                           X              X                      -                     -    [1]
6207 Bee Caves Road                                                            Unknown (EPX Comm)
Austin, TX 78746
Tidel Engineering, Inc.                                                        7/8/1996                                                                                            X              X                      -                     -    [1]
2310 McDaniel Drive                                                            Inventory and proceeds, AR and proceeds (ATM Direct)
Carrollton, TX 75006
Tidel Engineering, Inc.                                                        2/5/1998                                                                                            X              X                      -                     -    [1]
2310 McDaniel Drive                                                            Inventory and proceeds, AR and proceeds (ATM Direct)
Carrollton, TX 75006
International Card & Cash Exchange, Inc.                                       7/16/2002                                                                                           X              X                      -                     -    [1]
5450 South Lake Shore, Suite 102                                               Negotiable Instruments Including Proceeds and Products; Contract Rights Including
Tempe, AZ 85283                                                                Proceeds and Products; Inventory Including Proceeds and Products; Account(s)
Leasing One Corporation                                                        Including Proceeds and Products; Equipment Including Proceeds and Products;
                                                                               Chattel Pa
Leasing One Corporation                                                        3/11/2005                                                                                           X              X                      -                     -    [1]
PO Box 309                                                                     Equipment and fixutres (ATM Direct)
Frankfort, KY 40601
Family Bank & Trust Co.                                                        7/1/2003                                                                                            X              X                      -                     -    [1]
10360 South Roberts Road                                                       Unknown (ATM Direct)
Palos Hills, IL 55416
US Bancorp                                                                     5/13/2004                                                                                           X              X                      -                     -    [1]
5500 Wayzata Blvd, Suite 725                                                   Computer Equipment (ATM Online)
Golden Valley, MN 55416
The Herring National Bank                                                      3/22/2000                                                                                           X              X                      -                     -    [1]
PO Box 50488                                                                   Unknown (ATM Online)
Amarillo, TX 79159
The Herring National Bank                                                      11/1/1999                                                                                           X              X                      -                     -    [1]
PO Box 50488                                                                   Unknown (ATM Online 96-1)
Amarillo, TX 79159
The Herring National Bank                                                      11/1/1999                                                                                           X              X                      -                     -    [1]
PO Box 50488                                                                   Unknown (ATM Online)
Amarillo, TX 79159
Sunrise International Leasing Corp                                             9/20/2004                                                                                           X              X                      -                     -    [1]
5500 Wayzata Blvd, Suite 725                                                   Computer Equipment (ATM Direct)
Golden Valley, MN 55416
Sunrise International Leasing Corp                                             5/13/2004                                                                                           X              X                      -                     -    [1]
5500 Wayzata Blvd, Suite 725                                                   Computer Equipment (ATM Online)
Golden Valley, MN 55416
Mt. Vernon Investments, LLC                                                    8/2/2004                                                                                            X              X                      -                     -    [1]
5956 Sherry Lane, Suite 1350                                                   Assets Including Proceeds and Products; Account(s) Including Proceeds and
Dallas, TX 75225                                                               Products; Contract Rights Including Proceeds and Products; Chattel Paper Including
                                                                               Proceeds and Products; Negotiable Instruments Including Proceeds and Products;
                                                                               General In
Greg Brady                                                                     10/1/2004                                                                                           X              X                      -                     -    [1]
4055 Valley View Lane, Suite 400                                               Computer Equipment, Equipment, Fixtures,Communications Equipment (ATM
Dallas, TX 75244                                                               Online)
                                                                                                                                                              Total                                          $    179,520.28   $               -

[1] Secured creditor names were obtained from a UCC-1 filing search the Debtor dispute stheir validity and existence




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 UNITED STATES BANKRUPTCY COURT                                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
 CENTRAL DISTRICT OF CALIFORNIA

 In Re: Solidus Networks, Inc.
 Case No: 02:07-20027-TD




SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E

TYPES OF PRIORITY CLAIMS (check the appropriate box(es) below if claims in that category are listed on the attached sheets).

Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment of a trustee or the order for relief. 11 U.S.C. Section 507 (a)(3)

Wages, salaries and commissions
Wages, salaries and commissions, including vacation, severance and sick leave pay owing to employees, up to a maximum of $10,950 per
employee, earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever occurred
first, to the extent provided in 11 U.S.C. Section 507 (a)(4)

Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. Section 507 (a)(5)

Grain farmers and fishermen
Claims of certain farmers and fisherman, up to a maximum of $4650 per farmer or fisherman, against the debtor, as provided in 11 U.S.C.
Section 507 (a)(6)

Deposits by individuals
Claims of individuals up to a maximum of $1950 for deposits for the purchase, lease, or rental of property or services for personal family or
household use, that were not delivered or provided. 11 U.S.C. Section 507 (a)(7)

Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local government units as set forth in 11 U.S.C. Section 507 (a)(8)

Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository as set forth in
11 U.S.C. Section 507 (a)(9)

Claims for Death or Personal Injury While Debtor was Intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. Section 507(a)(10).
                                                                                   UNLIQUIDATE
                                                                                   CONTINGENT
                                             COMMUNITY
                                             WIFE, JOINT,
                                  CODEBTOR

                                              HUSBAND,




                                                                                    DISPUTED




CREDITOR’S NAME AND                                         DATE CLAIM WAS
                                                                                                                              AMOUNT                AMOUNT NOT
 ADDRESS INCLUDING                                           INCURRED AND                           AMOUNT OF
                                                 OR




                                                                                        D




                                                                                                                            ENTITLED TO              ENTITLED TO               TYPE            NOTES
    ZIP CODE, AND                                           CONSIDERATION                             CLAIM
                                                                                                                             PRIORITY              PRIORITY, IF ANY
  ACCOUNT NUMBER                                               FOR CLAIM



Arizona Department of                                                                                             41.00                   41.00                 -     Taxing Authority Claim
Revenue
P.O. Box 29086
Phoenix, AZ 85038
California Department of                                                                                       2,183.00                 2,183.00                -     Taxing Authority Claim
Revenue
800 Capital Mall
Sacramento, CA 94230
Idaho Department of Revenue                                                                                    3,575.00                 3,575.00                -     Taxing Authority Claim
PO Box 36
Boise, ID 83722

Indiana Department of                                                                                            345.00                  345.00                 -     Taxing Authority Claim
Revenue
100 N Senate Ave.
Indianapolis, IN 46204
Minnesota Department of                                                                                          523.00                  523.00                 -     Taxing Authority Claim
Revenue
Mail Station 5510
St. Paul, MN 55146
North Carolina Department of                                                                                      12.00                   12.00                 -     Taxing Authority Claim
Revenue
DOR, P.O. Box 27431
Raleigh, NC 27611
South Carolina Department of                                                                                      67.00                   67.00                 -     Taxing Authority Claim
Revenue
3 Southpark Circle Suite 202
Charleston, SC 29407
Texas Department of Revenue                                                                                    4,256.00                 4,256.00                -     Taxing Authority Claim
Post Office Box 13528,
Capitol Station
Austin, TX 78711-3528



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UNITED STATES BANKRUPTCY COURT                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
CENTRAL DISTRICT OF CALIFORNIA

In Re: Solidus Networks, Inc.
Case No: 02:07-20027-TD




                                                                                 UNLIQUIDATE
                                                                                 CONTINGENT
                                           COMMUNITY
                                           WIFE, JOINT,
                                CODEBTOR

                                            HUSBAND,




                                                                                  DISPUTED
CREDITOR’S NAME AND                                        DATE CLAIM WAS
                                                                                                                        AMOUNT            AMOUNT NOT
 ADDRESS INCLUDING                                          INCURRED AND                         AMOUNT OF




                                               OR




                                                                                      D
                                                                                                                      ENTITLED TO          ENTITLED TO               TYPE            NOTES
    ZIP CODE, AND                                          CONSIDERATION                           CLAIM
                                                                                                                       PRIORITY          PRIORITY, IF ANY
  ACCOUNT NUMBER                                              FOR CLAIM

Internal Revenue Service                                                                       Unknown              Unknown              Unknown            Taxing Authority Claim
Department of Treasury
Ogden, UT 84201
California Department of                                                                       Unknown              Unknown              Unknown            Taxing Authority Claim
Revenue
800 Capital Mall
Sacramento, CA 94230
Absopure Water Company                                    Admin Expenses                                  284.72                  8.71             276.01 Gap Period Expense
DEPT #11-176773 P.O. BOX                                                                                                                                  Section 507(a)(3)
701760
Plymouth, MI 48170
Ajilon Finance                                            Temp/Contracting Svc                           5,144.68             5,144.68                -     Gap Period Expense
Dept CH 14031                                                                                                                                               Section 507(a)(3)
Palatine, IL 60055-4031




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 UNITED STATES BANKRUPTCY COURT                                             SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
 CENTRAL DISTRICT OF CALIFORNIA

 In Re: Solidus Networks, Inc.
 Case No: 02:07-20027-TD




                                                                                   UNLIQUIDATE
                                                                                   CONTINGENT
                                            COMMUNITY
                                            WIFE, JOINT,
                                 CODEBTOR

                                             HUSBAND,




                                                                                    DISPUTED
CREDITOR’S NAME AND                                         DATE CLAIM WAS
                                                                                                                       AMOUNT          AMOUNT NOT
 ADDRESS INCLUDING                                           INCURRED AND                        AMOUNT OF




                                                OR




                                                                                        D
                                                                                                                     ENTITLED TO        ENTITLED TO                TYPE        NOTES
    ZIP CODE, AND                                           CONSIDERATION                          CLAIM
                                                                                                                      PRIORITY        PRIORITY, IF ANY
  ACCOUNT NUMBER                                               FOR CLAIM



Alpha Lock Security                                        Admin Expenses                                240.86             132.61              108.25 Gap Period Expense
4021 Beltline Rd. #104                                                                                                                                 Section 507(a)(3)
Addison, TX 75001
Ampco Parking System                                       Admin Expenses                              5,110.00            3,150.00            1,960.00   Gap Period Expense
101 Second Street Dept 33661                                                                                                                              Section 507(a)(3)
San Francisco, CA 94139

Arrowhead Mountain Spring                                  Goods                                       8,338.40             294.85             8,043.55   Gap Period Expense
Water Co.                                                                                                                                                 Section 507(a)(3)
PO Box 856158
Louisville, KY 40285-6158
Austin Noll & Associates LLC                               Temp/Contracting Svc                       54,516.13           10,000.00           44,516.13   Gap Period Expense
32 Heather Lane                                                                                                                                           Section 507(a)(3)
Randolph, NJ 07869

Avalon Transportation                                      Transportation                                116.75             116.75                  -     Gap Period Expense
395 Beach Rd.                                                                                                                                             Section 507(a)(3)
Burlingame, CA 94010
Bingham McCutchen                                          Legal                                     297,135.69             352.75           296,782.94   Gap Period Expense
Three Embarcadero Center                                                                                                                                  Section 507(a)(3)
San Francisco, CA 94111
Carr Texas OP LP Dallas                                    Rent                                       31,669.70           30,393.40            1,276.30   Gap Period Expense
t/a Royal Ridge PO Box                                                                                                                                    Section 507(a)(3)
642899
Pittsburg, PA 15264-2899
Certegy Check Services, Inc.                               Merchant/ACH Process                          478.05             478.05                  -     Gap Period Expense
P.O. Box 30038                                                                                                                                            Section 507(a)(3)
Tampa, Florida 33630-3038

CIT Technology Finacial                                    Admin Expenses                             14,332.95            1,984.91           12,348.04   Gap Period Expense
Service                                                                                                                                                   Section 507(a)(3)
PO Box 100706
Pasedena, Ca 91189-0706
Cooley Godward Kronish                                     Legal                                     822,377.57          142,065.93          680,311.64   Gap Period Expense
101 California St., 5th Floor                                                                                                                             Section 507(a)(3)
San Francisco, CA 94111
Cox Smith Matthew Inc                                      Legal                                      16,139.29            8,521.20            7,618.09   Gap Period Expense
112 East Pecan St. Suite 1800                                                                                                                             Section 507(a)(3)
San Antonio, TX 78205

Cybera, Inc.                                               IT Expenses                                   664.98             332.49              332.49 Gap Period Expense
9009 Carothers Pkwy Suite 5C                                                                                                                           Section 507(a)(3)
Franklin, TN 37067


E2ESP                                                      Temp/Contracting Svc                      125,300.00           22,400.00          102,900.00   Gap Period Expense
43 Bridge Colony Abid                                                                                                                                     Section 507(a)(3)
Majeed Road
Lahore Cantt,
Early Warning Service LLC                                  Merchant/ACH Process                        1,026.47            1,026.47                 -     Gap Period Expense
Attn: Accounts Receivable                                                                                                                                 Section 507(a)(3)
8777 E. Hartford Drive, Suite
200
Scottsdale, AZ 85255

Fiserv EFT                                                 Telecom                                     5,734.04            1,170.77            4,563.27   Gap Period Expense
P.O. Box 5037-04                                                                                                                                          Section 507(a)(3)
Portland, OR 97208
IBM e Business                                             Telecom                                   510,407.34           39,547.17          470,860.17   Gap Period Expense
PO BOX 676673                                                                                                                                             Section 507(a)(3)
Dallas, TX 75267-6673

Jewel Osco                                                 Promotion Expenses                          1,610.50             258.00             1,352.50   Gap Period Expense
ATTN: Eileen Bluemling 1955                                                                                                                               Section 507(a)(3)
W. North Ave., Building F
Melrose Park, IL 60160




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 CENTRAL DISTRICT OF CALIFORNIA

 In Re: Solidus Networks, Inc.
 Case No: 02:07-20027-TD




                                                                                    UNLIQUIDATE
                                                                                    CONTINGENT
                                            COMMUNITY
                                            WIFE, JOINT,
                                 CODEBTOR

                                             HUSBAND,




                                                                                     DISPUTED
CREDITOR’S NAME AND                                         DATE CLAIM WAS
                                                                                                                        AMOUNT          AMOUNT NOT
 ADDRESS INCLUDING                                           INCURRED AND                         AMOUNT OF




                                                OR




                                                                                         D
                                                                                                                      ENTITLED TO        ENTITLED TO                TYPE        NOTES
    ZIP CODE, AND                                           CONSIDERATION                           CLAIM
                                                                                                                       PRIORITY        PRIORITY, IF ANY
  ACCOUNT NUMBER                                               FOR CLAIM




Kenneth Bott                                                                                 x         64,494.14           27,867.13           36,627.01   Gap Period Expense
P.O. Box 370188                                                                                                                                            Section 507(a)(3)
Las Vegas, NV 89137
Kevin Jensen                                               Temp/contracting Svc                        11,412.91            1,412.91           10,000.00   Gap Period Expense
20525 Iceland Avenue                                                                                                                                       Section 507(a)(3)
Lakeville, MN 55044

Language Line Services                                     Merchant/ACH Process                          754.56              103.01              651.55 Gap Period Expense
P.O. Box 16012                                                                                                                                          Section 507(a)(3)
Monterey, CA 93942-6012
Long & Levit LLP                                           Legal                                       27,343.52            2,815.96           24,527.56   Gap Period Expense
Jason A. Geller                                                                                                                                            Section 507(a)(3)
465 California Street, Suite
500
San Francisco, CA 94104
Luxury Sedan Services                                      Transportation                    x          2,457.21            2,457.21                 -     Gap Period Expense
Alex Suero                                                                                                                                                 Section 507(a)(3)
2700 Kingsbridge Terrace,
STE 3A
Bronx, NY 10463
Mainline Security                                          Admin Expenses                                344.50                54.52             289.98 Gap Period Expense
84 Second St.                                                                                                                                           Section 507(a)(3)
San Francisco, CA 94105
McMillan Electric Co                                       Admin Expenses                               9,888.28            9,072.00             816.28 Gap Period Expense
1515 So Van Nessys Ave                                                                                                                                  Section 507(a)(3)
San Francisco, CA 94110
Merrill Communication LLC                                  Finance                                      1,935.90             198.13             1,737.77   Gap Period Expense
CM 9638                                                                                                                                                    Section 507(a)(3)
St Paul, MN 55170-9638
Nor-Cal Moving Services Inc                                Admin Expenses                               1,134.80             169.00              965.80 Gap Period Expense
2001 Marina Boulevard                                                                                                                                   Section 507(a)(3)
San Leandro, CA 94577-3204

Pension Specialist Inc                                     HR Services                                   900.00              600.00              300.00 Gap Period Expense
35 Iron Point Circle Suite 100                                                                                                                          Section 507(a)(3)
Folsom, CA 95630
Precision Technologies LLC                                 Temp/Contracting Svc                       169,891.91          169,891.91                 -     Gap Period Expense
2625 Redwing Rd. # 360                                                                                                                                     Section 507(a)(3)
Fl Collins, CO 80526
Quova                                                      Telecom                                      8,000.00            2,000.00            6,000.00   Gap Period Expense
707 California Street                                                                                                                                      Section 507(a)(3)
Mountain View, CA 95054
Red Hot Courier                                            Admin Expenses                               5,126.00             808.50             4,317.50   Gap Period Expense
453 Bryant St                                                                                                                                              Section 507(a)(3)
San Francisco, CA 94107
Rev2 Technologies                                          IT Expenses                                 37,067.99            1,230.40           35,837.59   Gap Period Expense
3250 Keller Street Suite 2                                                                                                                                 Section 507(a)(3)
Santa Clara, CA 95054


Seko Worldwide LLC                                         Client Hardware                               300.00              300.00                  -     Gap Period Expense
PO Box 92170                                                                                                                                               Section 507(a)(3)
Elk Grove Village, IL 60009
Shred Works Inc                                            Admin Expenses                               2,991.00             142.00             2,849.00   Gap Period Expense
1601 Bayshore Hightway,                                                                                                                                    Section 507(a)(3)
Suite 211
Burlingame, CA 94010




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        Case 2:07-bk-20027-TD                                            Doc 313 Filed 02/12/08 Entered 02/12/08 21:49:51                                                                          Desc
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 UNITED STATES BANKRUPTCY COURT                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
 CENTRAL DISTRICT OF CALIFORNIA

 In Re: Solidus Networks, Inc.
 Case No: 02:07-20027-TD




                                                                                     UNLIQUIDATE
                                                                                     CONTINGENT
                                            COMMUNITY
                                            WIFE, JOINT,
                                 CODEBTOR

                                             HUSBAND,




                                                                                      DISPUTED
CREDITOR’S NAME AND                                         DATE CLAIM WAS
                                                                                                                               AMOUNT          AMOUNT NOT
 ADDRESS INCLUDING                                           INCURRED AND                              AMOUNT OF




                                                OR




                                                                                          D
                                                                                                                             ENTITLED TO        ENTITLED TO                TYPE            NOTES
    ZIP CODE, AND                                           CONSIDERATION                                CLAIM
                                                                                                                              PRIORITY        PRIORITY, IF ANY
  ACCOUNT NUMBER                                               FOR CLAIM

TASQ Technology Inc                                        Client Hardware                                  60,455.26              6,790.45           53,664.81   Gap Period Expense
660 Menlo Drive                                                                                                                                                   Section 507(a)(3)
Rocklin, CA 95765

TOLT Technologies Service                                  Temp/Contracting Svc                             69,232.58              3,271.25           65,961.33   Gap Period Expense
Group, LLC                                                                                                                                                        Section 507(a)(3)
Attn. Johnnie Bonnie 8350 S.
Kyrene Rd, #104
Tempe, AZ 85284

Working Girls Cafe                                         Admin Expenses                                     2,661.30              102.42             2,558.88   Gap Period Expense
ATTN: Fahim 100 Spear St. #                                                                                                                                       Section 507(a)(3)
140
San Francisco, CA 94105
XperEx                                                     Client Hardware                                  95,396.88              5,061.50           90,335.38   Gap Period Expense
384 Oyster Point Blvd. Suite 9                                                                                                                                    Section 507(a)(3)
South San Francisco, CA
94080

Yipes Enterprises Service                                  Telecom                                          13,154.09              1,721.09           11,433.00   Gap Period Expense
Dept CH 17502                                                                                                                                                     Section 507(a)(3)
Palatine, IL 60055-7502
Delaware Secretary of State                                Taxes                                           141,405.00            141,405.00                 -     Taxing Authority Claim
The Corporation Trust
Company 1209 Orange St
Wilmngton, DE 19801
San Francisco Tax Collector                                Taxes                               x            93,152.13             93,152.13                 -     Taxing Authority Claim
PO 7425
Business Tax Division PO Box
7425
San Francisco, CA 94120-
7425
Secretary of State                                         Taxes                                                 25.00                25.00                 -     Taxing Authority Claim
State of North Dakota 600 E
Boulevards Ave. Dept #108
Bismarck, ND 58505-0500
The City of Irving Revenue                                 Taxes                                                 92.04                92.04                 -     Taxing Authority Claim
Collection
PO 152288
Irving, Tx 75015-2288
State of Texas County of                                   Taxes                                               104.06               104.06                  -     Taxing Authority Claim
Dallas
PO 139066
Dallas, TX 139066
PA Dept of Revenue                                         Taxes                                                 71.00                71.00                 -     Taxing Authority Claim
Dept 280405
Harrisburg, PA 17128-0405
Kentucky State Treasurer                                   Taxes                                                 20.25                20.25                 -     Taxing Authority Claim
Kentucky Department of
Revenue
Frankfort, KY 40620
Coppell City & School Tax                                  Taxes                                               270.88               270.88                  -     Taxing Authority Claim
Stephanie Tumlison
PO Box 9478
Coppell, TX 75019
Bloomfield Township                                        Taxes                                               126.08               126.08                  -     Taxing Authority Claim
4200 Telegraph Rd./PO Box
489
 Bloomfield Hills, MI 48303




                                                                                Total Claims       $      2,731,839.39   $       749,716.57   $    1,982,122.82

Notes:
[1] At time of filing Company could not determine if portion of this balance was a gap period expense.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                   TYPE OF CLAIM                                 TOTAL AMOUNT OF CLAIMS                                SCHEDULE




  F1 -Trade Payables                                       $                               24,660,916.98 Schedule F1
  F2 -Unsecured Debt                                                                       51,243,461.00 Schedule F2
  F3 - Royalties                                                                              897,239.88 Schedule F3
  F4 -Acquisition Payments                                                                  4,707,117.11 Schedule F4
  F5 - Intercompany Loans                                                                     203,221.12 Schedule F5

                                TOTAL SCHEDULE F $                                         81,711,956.09




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                             UNLIQUIDATED
                                                                                                                CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                            DISPUTED
                                                                                        DATE CLAIM WAS




                                                                                                                                                                                                    NOTES
       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                       AMOUNT OF CLAIM         TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  2000 Dennis L. Judd Revocable Trust                                                Indivos                                                           $                3,053.64 Trade Payables
  P.O. Box 307
  Sebastopol, CA 95473
  ABSO                                                                               HR Services                                                                        5,823.00 Trade Payables
  3009 Douglas Blvd, 3rd Floor
  Roseville, CA 95661
  Accenture LLP                                                                      Professional Service                                    x                      7,361,177.84 Trade Payables
  161 N. Clark Street
  Chicago, IL 60601
  ACCO Engineered Systems                                                            Admin Expenses                                                                     1,175.55 Trade Payables
  Dept. 6650-13312
  Los Angeles, CA 90084-6650
  Accurint                                                                           Merchant/ACH Process                                                                912.25 Trade Payables
  PO BOX 7247-6157
  Philadelphia, PA 19170-6157
  ADP UK LTD                                                                         HR Services                                                                        1,395.51 Trade Payables
  ADP Limited ADP House 2 Pine Trees
  Staines, Middlesex TW18 3DS
  ADP                                                                                HR Services                                                                      11,275.22 Trade Payables     [1]
  P.O. Box 78415
  Phoenix, AZ 85062-8415
  Agilysys, Inc.                                                                     Hardware Purchases                                                                 8,389.92 Trade Payables    [1]
  3550 Rutherford Rd.
  Taylors, SC 29687
  Albertson's, Inc.                                                                  June 2007 - October 2007                                                             21.82 Trade Payables
  General Offices 250 Parkcenter Boulevard                                           Revenue Sharing
  Boise, ID 83726
  Ambiron Trust Wave                                                                 Engineering Costs                                       x                       117,221.50 Trade Payables
  Deptartment 4912
  Carol Stream, IL 60122-4912
  American Registry of Internet Numers                                                                                                                                   100.00 Trade Payables     [1]
  3635 Concorde Parkway Suite 200
  Chantilly, VA 20151
  Anti-Defamation League                                                             Sales Expenses                                          x                          3,000.00 Trade Payables
  4000 S. Eastern Ave., Ste., 340
  Las Vegas, NV 89119
  AON Consulting                                                                     HR Services                                                                        9,150.00 Trade Payables
  Radford Division 2540 N. First St., Suite 400
  San Jose, CA 95131
  Ascert LLC                                                                         Engineering Costs                                       x                        11,000.00 Trade Payables
  759 Bridgeway
  Sausalito, CA 94965
  Associated Grocers                                                                 Telecom                                                                            2,000.00 Trade Payables
  PO Box 3763
  Seattle, WA 98124
  AT & T                                                                             Telecom                                                                             463.68 Trade Payables     [1]
  Payment Center
  Sacramento, CA 95887-0001
  AT&T Mobility                                                                      Telecom                                                                         187,601.19 Trade Payables
  P.O. Box 6463
  Carol Stream, IL 60197-6463
  AT&T                                                                               Telecom                                                                          33,676.87 Trade Payables
  Payment Center
  Sacramento, CA 95887-0001
  Avail Search Group Inc.                                                            Temp/Contracting Svc                                                               7,254.11 Trade Payables
  PO Box 973629
  Dallas, TX 75397
                                                                                     Subtotal for this page                                            $            7,764,692.10




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                           UNLIQUIDATED
                                                                                                              CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                          DISPUTED
                                                                                        DATE CLAIM WAS




                                                                                                                                                                                                NOTES
       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                     AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Axe-Poister, Karstin                                                               Temp/Contracting Svc                                                           30,980.00 Trade Payables
  1856 Franklin St.
  San Francisco, CA 94109
  B.A.R.C. Communications, Inc.                                                      Marketing Expenses                                                            125,063.50 Trade Payables
  170 Columbus Avenue, 5th Floor
  San Francisco, CA 94133
  Bayside Printed Products                                                           Admin Expenses                                                                  6,126.16 Trade Payables
  430 North Canal Street Unit 9
  So. San Francisco, CA 94080
  BBB, Inc.                                                                          Marketing Expenses                                                              3,490.00 Trade Payables
  Attn: Joanne Kuge 1000 Broadway, Suite 625
  Oakland, CA 94607
  BCG System, Inc.                                                                   IT Expenses                                                                      520.00 Trade Payables
  1735 Merriman Road
  Akron, OH 44313-9007
  Beck Interactive Inc                                                               Temp/Contracting Svc                                                             625.00 Trade Payables
  210 Industrial Road, Suite 205
  San Carlos, CA 94070
  Bergeson LLP                                                                       Legal                                                                           5,241.00 Trade Payables
  303 Almaden Blvd. Suite 500
  San Jose, CA 95110
  BI3 Solutions, Inc.                                                                Temp/Contracting Svc                                                           29,447.82 Trade Payables
  909 Marina Village Pkwy #512
  Alameda, CA 94501-1048
  Bizzuka, Inc.                                                                      Marketing Expenses                                    x                         5,225.00 Trade Payables
  105 Chapel Drive
  Lafayette, LA 70506
  Blue Key Services Inc.                                                             Temp/Contracting Svc                                                          193,869.58 Trade Payables
  1520 McCandless Dr.
  Milpitas, CA 95035
  Boland Hill Media, LLC                                                             Marketing Expenses                                                               750.00 Trade Payables
  3 Golf Center Suite 314
  Hoffman Estates, IL 60169
  Branch Banking & Trust Company                                                     Finance                                                                         1,500.00 Trade Payables
  Trust Department Fee Processing Group
  Charleston, WV 25324-1033
  Bresnen & Associates                                                               Temp/Contracting Svc                                                           24,401.00 Trade Payables
  22 Reese Dr
  Austin, TX 78745
  Bridge Design, Inc.                                                                Admin Expenses                                                                 19,998.11 Trade Payables
  375 Alabama Street Suite 410
  San Francisco, CA 94110
  Broadwing Communication                                                            Telecom                                                                            14.21 Trade Payables
  PO Box 790036
  St Louis, MO 63179-0036
  Buran Corporation                                                                  Temp/Contracting Svc                                  x                        24,000.00 Trade Payables
  9 Commodore Drive # A213
  Emeryville, CA 94608
  Bussey, Charles M                                                                  Temp/Contracting Svc                                                             891.48 Trade Payables
  CMDB Enterprises, Inc.
  11329 Via Spiga Drive
  Las Vegas, NV 89138
  CA, Inc.                                                                           IT Expenses                                                                    87,535.30 Trade Payables
  PO BOX 933316
  Atlanta, GA 31193-3316
  Cananwill, Inc.                                                                    Insurance                                                                      13,500.06 Trade Payables
  Department 7200
  Los Angeles, CA 90088-7200
  Capitol Communications, Inc.                                                       IT Expenses                                                                     3,556.00 Trade Payables
  480 9th Street
  San Francisco, CA 94103
  Capitol Electric Construction Company                                              IT Expenses                                                                     8,960.00 Trade Payables
  480 9TH STREET
  San Francisco, CA 94103
  Card Scanning Solutions                                                            Client Hardware                                       x                          755.00 Trade Payables
  10350 Santa Monica Blvd #330
  Los Angeles, CA 90025
  Certegy LTD                                                                        Merchant/ACH Process                                                            3,456.90 Trade Payables
  10th Floor Tiborn House 51-53 Hagley Rd.
  Edgbeston, Birmingham B16 8To
  Channelforce Inc                                                                   Temp/Contracting Svc                                                          158,385.66 Trade Payables
  15 82nd Dr. Suite 200
  Gladstone, OR 97140
                                                                                     Subtotal for this page                                          $             748,291.78




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
                                                                                                                 CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                             DISPUTED
                                                                                        DATE CLAIM WAS




                                                                                                                                                                                                   NOTES
       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                        AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Charrette                                                                          Marketing Expenses                                                                    81.71 Trade Payables
  File 50673
  Los Angeles, CA 90074
  Christina Nyguist                                                                  Temp/Contracting Svc                                                              18,019.99 Trade Payables
  51 University Avenue Suite K
  Los Gatos, CA 95030
  Cision US, Inc                                                                     Marketing Expenses                                                                 2,931.41 Trade Payables
  PO Box 98869
  Chicago, IL 60693
  Citrix Systems, Inc.                                                               IT Expenses                                              x                        48,000.00 Trade Payables
  851 W. Cypress Creek Rd.
  Fort Lauderdale, FL 33309
  Cluster, Inc.                                                                      Temp/Contracting Svc                                                              21,504.00 Trade Payables
  320 Coleridge Avenue
  Syracuse, NY 13204
  Cogent Systems                                                                     Engineering Costs                                        x                        45,796.00 Trade Payables
  POB 30309
  Los Angeles, CA 90030-0309
  Colbert Johnston, LLP                                                              Legal                                                    x                          600.00 Trade Payables
  6021 Morriss Road, Suite 101
  Flower Mound, TX 75028
  Comcast                                                                            Telecom                                                                               93.06 Trade Payables
  PO BOX 3006
  Southeastern, PA 19398-3005
  Complete Power Technology                                                          IT Expenses                                              x                         6,191.90 Trade Payables
  c/o Prosperity Bank 3515 W Camp Wisdom
  Dallas, TX 75237
  CompUSA                                                                            IT Expenses                                                                        3,109.32 Trade Payables
  PO Box 200670
  Dallas, TX 75320-0670
  Cope Family Enterprise LLP                                                         S & H Shareholder Payment                                                         12,561.00 Trade Payables
  1 World Finance Center
  200 Liberty ST. 5th Floor
  New York, NY 10281
  Cornish & Carey Commercial Real Estate                                                                                                                              119,648.00 Trade Payables
  Attn: Accounting Department
  PO Box 58159
  Santa Clara CA 95052
  Corporate Computer Solutions, Inc.                                                 IT Expenses                                                                         155.94 Trade Payables
  447 Battery Street Suite 250
  San Francisco, CA 94111
  Corporate Executive Board                                                          Marketing Expenses                                       x                         8,500.00 Trade Payables
  3393 Collections Center Drive
  Chicago, IL 60693

  Courtois Lebel                                                                     Legal                                                                             12,892.36 Trade Payables
  43-47 avenue de la Grande Armee
  75116 Paris
  Cox, Castle & Nicholson LLP                                                        Legal                                                                             23,879.53 Trade Payables
  2049 Centruy Park East, 28th Floor
  Los Angeles, CA 90067-3284
  Coy Christensen                                                                    Temp/Contracting Svc                                                               1,464.68 Trade Payables
  44466 N. El Macero Dr
  El Macero, CA 95618
  CSC Corporate Domains, Inc.                                                                                                                                              45.50 Trade Payables
  PO Box 822422
  Philadelphia, PA 19182
  CSI Management Services Inc                                                        Temp/Contracting Svc                                                               6,681.34 Trade Payables
  1386 Long Ridge Road
  Stamford, CT 06903-4504
  CT Corporation                                                                     Finance                                                                             356.02 Trade Payables
  PO Box 4349
  Carol Stream, IL 60197-4349
  CTD                                                                                Engineering Costs                                                                  1,350.00 Trade Payables
  2255 Martin Ave. Suite D
  Santa Clara, CA 95050
  CVS Caremark Charity Classic, Inc.                                                 Sales Expenses                                                                     3,500.00 Trade Payables
  1 CVS Drive
  Woonsocket, RI 02895
                                                                                     Subtotal for this page                                             $             337,361.76




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                           UNLIQUIDATED
                                                                                                              CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                          DISPUTED
                                                                                        DATE CLAIM WAS




                                                                                                                                                                                                 NOTES
       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                     AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Czarnowski Display Service Inc.                                                    Tradeshow                                             x                       159,083.62 Trade Payables
  6067 Eagle Way
  Chicago, IL 60678-1060
  Dahlstrom Display, Inc.                                                            Marketing Expenses                                                              2,883.72 Trade Payables
  6181 Paysphere Circle
  Chicago, IL 60674
  Dallas Security Systems, Inc.                                                      Admin Expenses                                                                   411.15 Trade Payables
  PO Box 550939
  Dallas, TX 75355-0939
  Delicate Daisy/House of Flowers                                                    Admin Expenses                                                                  1,306.29 Trade Payables
  6040 Geary Blvd.
  San Francisco, CA 94121
  Dell Computer Corporation                                                          IT Expenses                                                                    87,858.12 Trade Payables
  C/O Dell USA LP PO Box 643561
  Pittsburgh, PA 15264-3561
  Dell, Inc.                                                                         IT Expenses                                                                     1,937.14 Trade Payables
  One Dell Way
  Round Rock, TX 78682
  Devon Real Property LLC                                                            Rent                                                  x                        31,567.20 Trade Payables
  1265 Watercliff Dr
  Bloomfield Hills, MI 48302
  Dorothy Lane Market, Inc.                                                          Client Hardware                                                                 4,628.40 Trade Payables
  6135 Far Hills Avenue
  Dayton, OH 45459
  Double Day Office Service                                                          Admin Expenses                                                                  2,054.50 Trade Payables
  340 Shaw Road
  South San Francisco, CA 94080
  Eclipse Research                                                                   Engineering Costs                                                              11,550.00 Trade Payables
  2370 Market St. #228
  San Francisco, CA 94114
  EDJ Enterprises, Inc.                                                              Sales Expenses                                                                  4,375.00 Trade Payables
  3125 Poplarwood Court Suite G-110
  Raleigh, NC 27604
  ENS Engineered Network Services                                                    Client Hardware                                                                 4,011.00 Trade Payables
  14451 Ewing Ave. S. Suite 100
  Burnsville, MN 55306
  Ernst & Young U.S., LLP                                                            Professional Service                                  x                        59,304.00 Trade Payables
  Bank of America LA 98949 File #98949
  Los Angeles, CA 90074-8949
  eSmart Solutions Inc                                                               Temp/Contracting Svc                                                           42,300.00 Trade Payables
  Aziita Amini 1250 S Beverly Glen Suite 401
  Los Angeles, CA 90024
  eTouch Systems Corp.                                                               Engineering Costs                                     x                       258,200.00 Trade Payables
  6627 Dumbarton Circle
  Fremont, CA 94555
  EVP INC                                                                            Temp/Contracting Svc                                                           92,232.68 Trade Payables
  Calle 53 Urbanizacion Obarrio
  Panama,
  Experian                                                                           Merchant/ACH Process                                                            1,312.01 Trade Payables
  Department 1971
  Los Angeles, CA 90088-1971
  Federal Express                                                                    Admin Expenses                                                                 51,197.11 Trade Payables    [1]
  PO Box 7221
  Pasadena, CA 91109-7321
  Ferrari Color, Inc.                                                                Marketing Expenses                                                               592.42 Trade Payables
  Attn: Jenise Corona 601 Bercut Drive
  Sacramento, CA 95814
  Flack & Kurtz, Inc.                                                                Admin Expenses                                                                 24,641.13 Trade Payables
  405 Howard Street Suite 500
  San Francisco, CA 94105
  Food Circus Super Markets, Inc.                                                    Coupons                                                                          681.35 Trade Payables
  853 Route 35 ( Cor Kings Highway)
  Middletown, NJ 07748
  Food Marketing Institute                                                           Tradeshow                                             x                        18,750.00 Trade Payables
  First Union National Bank Lock Box 4401-VA3238
  Glen Allen, VA 23060

  Foodtown Bayville                                                                  Coupons                                                                            95.53 Trade Payables
  PO Box 278 853 Route 35 (Cor Kings Hwy)
  Middletown, NJ 07748
  Foodtown of Bay Ridge                                                              Coupons                                                                          235.00 Trade Payables
  9105-27 3rd Avenue
  Brooklyn, NY 11209
                                                                                     Subtotal for this page                                          $             861,207.37




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                           UNLIQUIDATED
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       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                     AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Foodtown of Raintree                                                               Coupons                                                                          652.95 Trade Payables
  Raintree Towne Center
  160 Village Center Drive
  Freehold, NJ 07728
  Frank, Kevin D.                                                                    Temp/Contracting Svc                                                            6,900.00 Trade Payables
  1464 Grove St. #301
  San Francisco, CA 94117
  Fry Heath & Spence, LLP                                                            Legal                                                                            471.43 Trade Payables
  The Gables, Massetts Road
  Horley, Surrey, RH6 7DQ, U.K.
  FusionStorm                                                                        IT Expenses                                           x                        19,666.82 Trade Payables
  PO Box 31001-830
  Pasadena, CA 91110-0830

  Garner, Douglas W.                                                                 Temp/Contracting Svc                                                           10,650.00 Trade Payables
  605 Filbert Court
  San Ramon, CA 94583
  Gartner                                                                            IT Expenses                                                                    14,500.00 Trade Payables
  P.O. Box 911319
  Dallas, TX 75391-1319
  Global Integrated Solutions, LLC                                                   Temp/Contracting Svc                                  x                         8,774.00 Trade Payables
  P. O. Box 766
  Northport, AL 35476-0766
  Golden State Legal Copy                                                            Finance                                                                            53.85 Trade Payables
  100 Pine St. Suite 620
  San Francisco, CA 94111
  GPW                                                                                Client Hardware                                                                 4,413.89 Trade Payables
  1222 Hilsboro Mile #1
  Hilsboro Beach, FL 33062
  Graphic Design Unlimited, Inc.                                                     Marketing Expenses                                                               573.50 Trade Payables
  P.O. Box 17462
  Denver, CO 80217-0462
  Great Impressions Plus                                                             Marketing Expenses                                    x                         2,260.65 Trade Payables
  3080 Olcott St. Suite 105A
  Santa Clara, CA 95054
  Green Hills                                                                        Marketing Expenses                                    x                        16,855.67 Trade Payables
  5933 S Salina St
  Syracuse, NY 13205
  Hall & Partners                                                                    Marketing Expenses                                                             27,900.00 Trade Payables
  Joel Manes 72 Spring Street
  New York, NY 10012
  Hanson, Karin L                                                                    Temp/Contracting Svc                                                           30,129.30 Trade Payables
  110 Emerald Dunes Circle
  Henderson, NV 89052
  Hawkins Strategic                                                                  Temp/Contracting Svc                                  x                        35,416.67 Trade Payables
  PO Box 145
  Skaneateles, NY 13152-0145
  Hennigan, Bennett & Dorman, LLP                                                    Legal                                                 x                         3,840.75 Trade Payables
  865 South Figueroa Street Suite 2900
  Los Angeles, CA 90017

  Hogan & Hartson LLP                                                                Legal                                                                         204,328.47 Trade Payables
  Columbia Square 555 Thirteenth Street NW
  Washington, DC 20004
  Hooks, Keith W.                                                                    Admin Expenses                                                                 19,067.03 Trade Payables
  1 Kearny St., 5th floor
  San Francisco, CA 94108
  Howard, Rice, Nemerovski                                                           Legal                                                                         161,280.43 Trade Payables
  Three Embarcadero Center Seventh Floor
  San Francisco, CA 94111-4024
  Howison & Arnott LLP                                                               Legal                                                 x                        57,397.24 Trade Payables
  P.O. Box 741715
  Dallas, TX 75374-1715
  IC Group LP                                                                        Marketing Expenses                                                             25,290.00 Trade Payables
  383 Dovercourt Drive Winnipeg MB Canada R3Y
  1G4
  Idera                                                                              IT Expenses                                           x                         4,536.77 Trade Payables
  P.O. Box 4890
  Houston, TX 77210
  Infonox                                                                            Temp/Contracting Svc                                  x                       311,093.52 Trade Payables
  980 Hamlin Court
  Sunnyvale, CA 94089
  Inner Workings                                                                     Marketing Expenses                                                              4,068.75 Trade Payables
  Accounts Receivable
  27011 Network Place
  Chicago, IL 60673
                                                                                     Subtotal for this page                                          $             970,121.69




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




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  In-Store Marketing Institute                                                       Sales Expenses                                                                     1,195.00 Trade Payables
  7400 Skokie Boulevard
  Skokie, IL 60077
  Intec Billing, Inc.                                                                Finance                                                                           12,895.62 Trade Payables
  301 Perimeter Center North Suite 200
  Atlanta, GA 30346
  Integrated Freight Solutions                                                       Client Hardware                                                                    6,625.71 Trade Payables
  851 Hinckley Rd.
  Burlingame, CA 94010
  Intercall                                                                          Telecom                                                                           28,064.57 Trade Payables      [1]
  Dept 1261
  Denver, CO 80256
  InterWest Insurance Services                                                       11/1/07 - 12/14/07                                                                43,294.52 Trade Payables
  150 Mathilda Place, Suite 208                                                      Insurance Coverage
  Sunnyvale, CA 94086
  InterWest Insurance Services                                                       Insurance                                                x         Unknown                    Trade Payables
  P.O. Box 2268
  Merced, CA 95344-0268
  Invoke Solutions                                                                   Marketing Expenses                                                                26,590.00 Trade Payables
   Mary Sheppard
  375 Totten Pond Road Suite 400
  Waltham, MA 02451
  IP Networks, Inc.                                                                  IT Expenses                                              x                         1,491.81 Trade Payables
  P.O. Box 192366
  San Francisco, CA 94119-2366
  IR-ETC                                                                             IT Expenses                                                                       20,357.40 Trade Payables
  75 Remittance Drive Ste 6896
  Chicago, IL 60675-6896
  Iron Mountain Records Management                                                   Admin Expenses                                           x                         4,173.53 Trade Payables
  PO BOX 601018
  Los Angeles, CA 90060-1018
  Jack Nadel Inc                                                                     Marketing Expense                                                                 12,387.54 Trade Payables
  Dept 9649
  Los Angeles, CA 90084-9649
  Jaremax Inc.                                                                       Temp/Contracting Svc                                                               1,528.88 Trade Payables
  Attn. Marvin Scaff 631 SE Diamondback Glen
  High Springs, FL 32643
  jd Marketing                                                                       Marketing Expenses                                                                68,173.26 Trade Payables
  Brigade House Brigade Street
  Blackhealth, London SE3 0TW

  Jennings, Strouss & Salmon, P.L.C.                                                 Legal                                                                             33,981.88 Trade Payables
  The Collier Center, 11th Floor 201 East Washington
  Street
  Phoenix, AZ 85004-2385
  Jive Software                                                                      Engineering Costs                                        x                        11,940.00 Trade Payables
  317 SW Alder Suite 500
  Portland, OR 97204


  Joseph Kelly P. TTEE UA DTD 3 22 9                                                 S & H Shareholder Payment                                                          6,280.00 Trade Payables
   c/o NE Asset Management Group
  300 Andrew Street
  Saginaw, MI 48603
  JP Morgan Ventures Corporation                                                     Rent                                                     x                       579,056.06 Trade Payables
  P.O. Box 714982
  Columbus, OH 43271-4982


  Kelly Services Inc.                                                                Temp/Contracting Svc                                                                   0.30 Trade Payables
  PO Box 31001-0422
  Pasadena, CA 91110-0422
                                                                                     Subtotal for this page                                             $             858,036.08




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

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  Kimco Staffing Services, Inc                                                       Temp/Contracting Svc                                                              12,802.09 Trade Payables
  DEPT #2023
  Los Angeles, CA 90084-2023
  KPMG LLP                                                                           Professional Service                                                             207,002.58 Trade Payables
  DEPT. 0922 P.O. Box 120001
  Dallas, TX 75312-0922
  Larsen, Paul                                                                                                                                                            346.37 Trade Payables
  Latham & Watkins                                                                   Legal                                                                             45,236.38 Trade Payables
  Debbie Samayoa
  PO Box 894483
  Los Angeles, CA 90189
  Laurence, Brendan P.                                                               S & H Shareholder Payment                                                         23,992.00 Trade Payables
  1901 Brickell Av B1906
  Miami, FL 33129
  Leewood Press Inc                                                                  Marketing Expenses                                                                   618.45 Trade Payables
  1407 Indiana Street
  San Francisco, CA 94107
  LegaLink San Francisco                                                             Legal                                                                               1,939.75 Trade Payables
  P.O. Box 277951
  Atlanta, GA 30384
  Level III Services, Inc.                                                           Marketing Expenses                                       x                        29,054.20 Trade Payables
  1090 East William Street
  San Jose, CA 95116
  Levy, John                                                                         Legal                                                                               5,061.44 Trade Payables
  PO Box 1419
  Point Reyes Station, CA 94956
  Levy-Mazin, Stephen                                                                Professional Service                                                                5,000.00 Trade Payables
  293 N. Michigan Ave
  Pasadena, CA 91106
  Llopis, Vicente                                                                    Marketing Expenses                                                                  2,550.00 Trade Payables
  1550 Bay St. #D157
  San Francisco, CA 94123
  LoBello Electric                                                                   Client Hardware                                                                   22,680.25 Trade Payables
  Frank Turano
  3150 Tremont Ave.
  Bronx, NY 10461
  Lombard Odier & Cie                                                                S & H Shareholder Payment                                                         18,931.00 Trade Payables
  c/o Brown Bros. Harriman & Co Attn Robert Mannol                                   Payment
  59 Wall Street
  New York, NY 10005

  Lubavitch Chabad of Illinois                                                       Sales Expenses                                                                       500.00 Trade Payables
  Sarah
  2833 West Howard St.
  Chicago, IL 60645
  Lukanovich, Victoria                                                               Temp/Contracting Svc                                                                1,590.00 Trade Payables
  425 Alma Street #209
  Palo Alto, CA 94301
  Lumidigm, Inc                                                                      Hardware Purchases                                                                  1,200.00 Trade Payables
  801 University SE, Suite 302
  Albuquerque, NM 87106
  Lynn Tillotson & Pinker, L.L.P.                                                    Legal                                                    x                       427,985.20 Trade Payables
  750 N. ST. Paul Street Suite 1400
  Dallas, TX 75201
  MacArthur Associates                                                               HR Services                                                                       20,200.00 Trade Payables
  PO Box 846036
  Boston, MA 02284-6036
  Manpower Inc.                                                                      Temp/Contracting Svc                                                                9,488.60 Trade Payables
  21271 Network Place
  Chicago, IL 60673-1212
  Marger Johnson                                                                     Legal                                                    x                       138,247.73 Trade Payables
  1030 SW Morrison
  Portland, OR 97205
  Marksmen                                                                           Legal                                                                               7,037.50 Trade Payables
  Post Office Box 10038
  Glendale, CA 91209
  Martinez, Pilar                                                                    Temp/Contracting Svc                                                                 648.55 Trade Payables
  965 S Taylor St.
  Arlington, VA 22204
  Mascon Global Consulting                                                           Temp/Contracting Svc                                                              18,810.00 Trade Payables
  1405 Route 18 South Suite 106
  Old Bridge, NJ 08857
  Mayer Brown LLP                                                                    Legal                                                                            542,927.32 Trade Payables
  Mayer Brown LLP
  Chicago, IL 60693-0020
                                                                                     Subtotal for this page                                             $            1,543,849.41




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

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                                                                                             CLAIM


  McCarty, Michael                                                                   S & H Shareholder Payment                                                         36,504.00 Trade Payables
  5131 Gagne Court
  Fairfax VA 22030
  McGuire, Craddock & Strother, P.C.                                                 Legal                                                                               3,000.00 Trade Payables
  500 N. Akard Suite 3550
  Dallas, TX 75201
  MCI (05091825)                                                                     Telecom                                                                           44,922.63 Trade Payables     [1]
  PO Box 371392
  Pittsburgh, PA 15250-7392
  McKinsey & Company Inc - United States                                             Professional Service                                     x                       509,000.00 Trade Payables
  PO Box 7247-7255
  Philadelphia, PA 19170-7255
  Med Life Services                                                                  Insurance                                                                            132.76 Trade Payables
  44 Visitacion Ave Suite 106
  Brisbane, CA 94005
  Merrill Lynch                                                                      S & H Shareholder Payment                                                           3,548.00 Trade Payables
  Morgan Stanley DW Inc as Custodian James D
  Dougherty IRA
  Harborside Financial Center Plaza 3-4 Floor
  ATTN: Caroline Johnson/IRA Dept
  Jersey City NJ 07311
  Meta Payment Systems                                                               Admin Expenses                                                                       500.00 Trade Payables
  4900 S Western Ave
  Sioux Falls, SD 57108
  MG Solutions                                                                       Temp/Contracting Svc                                                              38,051.16 Trade Payables
  402 West Broadway Suite 1290
  San Diego, CA 92101
  Michael McCullough                                                                                                                          x                       246,607.00 Trade Payables
  1824 Oak Creek Drive #308
  Palo Alto, CA 94304
  Michael Orman                                                                      Employee Expense                                                                      66.81 Trade Payables
  1845 Leavenworth St. #203                                                          Reimbursement
  San Francisco, CA 94109
  MicroAgility, Inc.                                                                 Temp/Contracting Svc                                                                2,237.40 Trade Payables
  666 Plainsboro Rd Suite 1116
  Plainsboro, NJ 08536
  Microsoft Licensing GP                                                             IT Expenses                                              x                       155,708.46 Trade Payables
  1401 Elm St. 5th Floor Department 842467
  Dallas, TX 75202
  Milken Institute                                                                   Tradeshow                                                                         15,000.00 Trade Payables
  1250 4 TH STREET
  Santa Monica, CA 90210
  Millennium Limousine Service                                                       Admin Expenses                                           x                        16,700.80 Trade Payables
  58 Pine Street
  New Canaan, CT 06840
  Miller, Kaplan, Arase & Co LLP                                                     Legal                                                                               4,650.00 Trade Payables
  4123 Lankershim Blvd
  North Hollywood, CA 91602-2828
  Min Aik Technology                                                                 Client Hardware                                                                   28,147.60 Trade Payables
  12 F -1 #492-1
  Kuei Shan Shiang, Tao Yuan Hsien

  Monster.com                                                                        HR Services                                              x                        20,194.19 Trade Payables
  PO Box 90364
  Chicago, IL 60696-0364
  Montebello Partners                                                                Temp/Contracting Svc                                     x                          2,075.00 Trade Payables
  646 Georgia Ave.
  Palo Alto CA 94306
  Morgan Stanley & Co                                                                S & H Shareholder Payment                                                           3,548.00 Trade Payables
  Harborside Financial Center Plaza 4th Flr
  Jersey city NJ 07311
  Morgan, Lewis & Bockius LLP                                                        Legal                                                                            140,824.58 Trade Payables
  2 Palo Alto Square 3000 El Camino Real Suite 9
  Palo Alto, CA 94306
  Mosaic Software Inc                                                                Software                                                                          76,109.89 Trade Payables
  800 fairway Dr., Suite 198
  Deerfield Beach, FL 33441
  N Cipher                                                                           IT Expenses                                                                       79,071.42 Trade Payables
  92 Montvale Ave Suite 4500
  Stoneham, MA 02180
  N|Boom Global Media, Inc.                                                          Marketing Expense                                                                    297.83 Trade Payables
  295 Greenwich Street 296
  New York, NY 10007
                                                                                     Subtotal for this page                                             $            1,426,897.53




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

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                                                                                       CONSIDERATION FOR
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  NACHA                                                                              Marketing Expenses                                       x                          1,200.00 Trade Payables
  P.O. Box 64193
  Baltimore, MD 21264
  National Registered Agents Inc                                                     Finance                                                                              300.00 Trade Payables
  PO Box 927
  West Windsor, NJ 08550-0927
  NCR Corporation                                                                    Client Hardware                                                                  179,520.28 Trade Payables
  14181 Collections Center Drive
  Chicago, IL 60693
  NEC Unified Solutions                                                              IT Expenses                                              x                        53,526.04 Trade Payables
  Lockbox - West Dept 100150
  Pasadena, CA 91189-0150
  Nelson & Asociates                                                                 Temp/Contracting Svc                                                                5,350.00 Trade Payables
  Dept. 33839 PO Box 39000
  San Francisco, CA 94139
  Nelson, Kinder, Mosseau & Saturley, PC                                             Legal                                                                               8,716.36 Trade Payables
  99 Middle Street
  Manchester, NH 03101
  Nesenoff & Miltenberg LLP                                                          Legal                                                    x                          3,264.55 Trade Payables
  363 Seventh Avenue Fifth Floor
  New York, NY 10001
  New Edge Networks WAN                                                              IT Expenses                                                                          234.62 Trade Payables
  Unit 08 P.O. Box 4900
  Portland, OR 97208
  Newcal Industries                                                                  Admin Expenses                                                                      6,591.09 Trade Payables
  3266 Buskirk Avenue
  Pleasant Hill, CA 94523
  NEXANT INC                                                                         Rent                                                     x                        66,334.02 Trade Payables
  101 Second Street
  San Francisco, CA 94105
  NOP 560 Mission LLC                                                                Rent                                                                                 988.91 Trade Payables
  File 30218 PO Box 60000
  San Francisco, CA 94160
  Norhtec                                                                            Client Hardware                                                                  577,738.16 Trade Payables
  99/24 Software Park Bldg
  11th Floor Unite A3
  Pakkred, Nonthaburi, Thailand 11120
  Novo Construction                                                                  Admin Expenses                                                                    48,575.04 Trade Payables
  1042 Hamilton Court
  Menlo Park, CA 94025
  Numara Software                                                                    IT Expenses                                              x                          8,700.00 Trade Payables
  P.O. Box 933754
  Atlanta, GA 31193-3754
  Nunez Silva, Dianela                                                               S & H Shareholder Payment                                                           5,995.00 Trade Payables
  15813 W Waterside Cir #104
  Weston, Fl 33326
  NYCE                                                                               Processor                                                                         10,918.73 Trade Payables
  400 Plaza Dr. 2nd Floor
  Secaucus, NJ 07094

  O'Melveny & Myers LLP                                                              Legal                                                                            113,267.81 Trade Payables
  PO Box 894436
  Los Angeles, CA 90189-4436
  Optima Technologies, LLC                                                           Admin Expenses                                                                       195.37 Trade Payables
  6041 Siesta Lane
  Port Richey, FL 34668
  Oracle Corporation                                                                 Temp/Contracting Svc                                                             148,617.79 Trade Payables
  20 Davis Drive
  Belmont, CA 94002
  Pacific Placement Temporaries Inc                                                  Temp/Contracting Svc                                     x                          3,028.15 Trade Payables
  260 California St Suite 801
  San Francisco, CA 94111
  Paine PR LLC                                                                       Marketing Expenses                                                                10,530.97 Trade Payables
  19000 MacArthur Blvd. 8th Floor
  Irvine, CA 92612
  Pappas, David H                                                                    Temp/Contracting Svc                                                              10,685.00 Trade Payables
  233 71st Floor 3
  Brooklyn, NY 11209
  Patricia J Mayer & Associates                                                      Temp/Contracting Svc                                                              25,000.36 Trade Payables
  2395 Lake Meadow Circle
  Martinez, CA 94553-5475
                                                                                     Subtotal for this page                                             $            1,289,278.25




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UNITED STATES BANKRUPTCY COURT
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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

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  Patti Conner                                                                                                                                                          60.00 Trade Payables
  2910 Winchester Dr
  Hayward, CA 94541
  Payment One                                                                                                                                                          266.85 Trade Payables
  5883 Rue Ferrari
  San Jose, CA 95138
  Pepper Hamilton LLP                                                                Legal                                                 x                       215,570.46 Trade Payables
  500 Grant Street
  Pittsburgh, PA 15219-2505
  Pieper, Oscar                                                                      Temp/Contracting Svc                                                             6,870.00 Trade Payables
  135 Meadowood Dr
  Portola Valley, CA 94028
  Pinckney Hugo Group LLC                                                            Marketing Expenses                                                                350.25 Trade Payables
  760 W Genesee St.
  Syracuse, NY 13204
  Pitney Bowes                                                                       Admin Expenses                                                                     41.25 Trade Payables     [1]
  PO Box 856390
  Louisville, KY 40285-6390
  PKV Racing, LLC                                                                    Marketing Promotions                                  x                       750,000.00 Trade Payables
  4001 Methanol Lane
  Indianapolis, IN 46268
  Polywell Computers, Inc.                                                           Hardware Purchases                                                             22,536.00 Trade Payables
  1461 San Mateo Ave
  So. San Francisco, Ca 94020
  Porter Novelli                                                                     Professional Service                                  x                       377,209.52 Trade Payables
  1838 Solutions Center
  Chicago, IL 60677-1008
  Postmaster, Palantine                                                              Marketing Promotions                                                           44,100.00 Trade Payables
  404 Northwest Ave
  Northlake, IL 60164-1606
  Potter Anderson & Corroon LLP                                                      Legal                                                 x                        45,130.47 Trade Payables
  1313 North Market St PO Box 951
  Wilmington, DE 19899-0951
  PR Newswire                                                                        Marketing Promotions                                                             7,072.50 Trade Payables
  G.P.O Box 5897
  New York, NY 10087-5897
  Premier Retail Networks                                                            Marketing Expenses                                                             40,000.00 Trade Payables
  600 Harrison 4th Floor
  San Francisco, CA 94107
  Premier Staffing, Inc.                                                             Temp/Contracting Svc                                                           28,957.50 Trade Payables
  111 Sutter Street Suite 550
  San Francisco, CA 94104
  Premium Financing Specialist Inc                                                   Insurance                                                                        2,241.23 Trade Payables
  PO Box 57500
  Oklahoma City, CA 73157
  Principal Life Insurance                                                           Insurance                                                                        1,198.00 Trade Payables
  Group Finance - Attn Tax Unit 711 High Street
  Des Moines, IA 50392-0102
  Printing Images                                                                    Marketing Promotions                                                             3,120.47 Trade Payables
  12266A Wlkins Ave
  Rockville, MD 20852
  Probys Inc                                                                         Temp/Contracting Svc                                                           54,570.00 Trade Payables
  175 E Hawthorn Pkwy Suite 405
  Vernon Hills, IL 60061
  Pulse EFT                                                                          Telecom                                                                          1,739.92 Trade Payables    [1]
  1301 McKenney Suite 2500
  Houston, TX 77010
  Purchase Power (396864)                                                            Admin Expenses                                                                    910.95 Trade Payables
  PO Box 856042
  Louisville, KY 40285-6042
  Q & A Research Inc                                                                 Sales Expenses                                                                 11,250.00 Trade Payables
  64 Digital Drive
  Novato, CA 94949
  Quest Software, Inc.                                                               IT Expenses                                                                      6,677.47 Trade Payables
  PO Box 51739
  Los Angeles, CA 90051-6039
  Ralls, Susan                                                                       Temp/Contracting Svc                                                             1,395.42 Trade Payables
  2074 Musket Street
  Eugene OR 97408
  Recurrent Technologies Inc                                                         Engineering Costs                                                              11,079.38 Trade Payables
  3431 Del La Cruz
  Santa Clara, CA 95054
  Regus Business Centres LLC                                                         Rent                                                  x                          3,645.99 Trade Payables
  Will Haugerud, Centre Manager 8400 East Crescent
  Parkway 6th
  Greenwood Village, CO 80111
                                                                                     Subtotal for this page                                          $            1,635,993.63




                                                                                                                           Page 112 of 180
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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                                   UNLIQUIDATED
                                                                                                                      CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                                  DISPUTED
                                                                                        DATE CLAIM WAS




                                                                                                                                                                                                            NOTES
       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                             AMOUNT OF CLAIM           TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Regus UK                                                                           Rent                                                          x                          1,421.03 Trade Payables      [1]
  Highbridge, Oxford Road
  Uxbridge, Middlesex UB8 1 HR
  Resource and Design Inc                                                            Admin Expenses                                                                         68,193.83 Trade Payables
  272 Main St
  San Francisco, CA 94105
  Retail Data Systems                                                                                                                                                          218.75 Trade Payables
  3000 South Hanley Road Ste 200
  Maplewood, MO 63143
  Revive Technologies                                                                Hardware Purchases                                                                        360.00 Trade Payables
  45 E. 25th Street Ste 30A
  New York, NY 10010
  Reynolds, Rose                                                                     Temp/Contracting Svc                                                                     3,136.25 Trade Payables
  2006 Parker Street
  Berkeley, CA 94704
  Richards, Layton & Finger                                                          Legal                                                                                    1,781.31 Trade Payables
  One Rodney Square P.O. Box 551
  Wilmington, DE 19899
  Royal Performance Group                                                            12/14/2007                                                   X          Unknown                     Trade Payables
  Attn: Bryan Jendra                                                                 Disputed - No invoice received
  2100 Western Court, Suite 80
  Lisle, IL 60532
  S1 Corporation                                                                     Engineering Costs                                                                        2,711.33 Trade Payables
  Attn: Accounts Receivable PO Box 99944
  Chicago, IL 60696-7744
  Saatchi & Saatchi                                                                  Professional Service                                          x                      3,659,107.62 Trade Payables
  Lockbox #100511
  Atlanta, GA 30384
  Sagem Morpho, Inc.                                                                 Client Hardware                                                                       280,517.66 Trade Payables
  1145 Broadway Plaza Suite 200
  Tacoma, WA 98402
  Salesforce.com                                                                     Sales Expenses                                                x                        77,219.44 Trade Payables
  PO Box 5126
  Carol Stream, IL 60197-5126
  San Francisco Chronicle                                                                                                                                                       10.00 Trade Payables
  901 Mission St.
  San Francisco, CA 94103
  Sapa Global Services                                                               Temp/Contracting Svc                                                                      900.00 Trade Payables
  201 Harrison Street Ste 405
  San Francisco, CA 94105
  SAS Institute Inc                                                                  Marketing Expenses                                                                       7,812.00 Trade Payables
  World Headquarters
  SAS Campus Drive
  Cary, NC 27513
  Screen Gems Inc                                                                    Marketing Expenses                                                                     20,650.85 Trade Payables
  PO Box 308
  Conshohocken, PA 19428
  Service West, Inc.                                                                 Admin Expenses                                                                            200.00 Trade Payables
  9201 San Leandro Street
  Oakland, CA 94603
  Shartsis Friese LLP                                                                Legal                                                                                  87,119.74 Trade Payables
  One Maritime Plaza 18th Floor
  San Francisco, CA 94111
  Shell Oil Products Us                                                              Enginerring Costs                                             x                        75,568.60 Trade Payables
  910 Louisiana
  Houston, TX 77002
  Shenzhen Dehui Mould Co. Ltd.                                                      Client Hardware                                                                          5,211.00 Trade Payables
  Gongle Xixiang Town, Baoan 1st Floor B2, Laobing
  Industrial Park
  Shenzhen City,
  Shop N Save Holiday Park 1432                                                      Coupons                                                                                  1,667.35 Trade Payables
  2362 Route 286
  Plum, PA 15239
  Shop N Save Penn Hills 1540                                                        Coupons                                                                                  1,625.09 Trade Payables
  2820 Universal Rd
  Pittsburgh, PA 15235
  Shop N Save Route 8 2405                                                           Coupons                                                                                  1,598.45 Trade Payables
  5375 William Flynn Hwy
  Gibsonia, PA 15044
                                                                                     Subtotal for this page                                                  $            4,297,030.30




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
                                                                                                                 CONTINGENT
                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




                                                                                                                                             DISPUTED
                                                                                        DATE CLAIM WAS




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       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                        AMOUNT OF CLAIM         TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Shred-it                                                                           Admin Expenses                                                                       450.00 Trade Payables
  9755 Clifford Dr. Suite 150
  Dallas, TX 75220
  SIMPLEXGRINNELL                                                                    Admin Expenses                                                                      3,327.21 Trade Payables
  DEPT. CH 10320
  Palatine, IL 60055-0320
  Smart Technology Solutions Limited                                                 Temp/Contracting Svc                                                              13,792.48 Trade Payables
  Smirnov, Igor                                                                      Temp/Contracting Svc                                                                 500.00 Trade Payables
  1387 40th Ave
  San Francisco, CA 94122
  Sniady, Karl IRA - Charles Schwab f/b/o                                            S & H Shareholder Payment                                                        120,892.00 Trade Payables
  c/o Karl Snaidy
  Sausalito, CA 94956
  SOFT CHOICE                                                                        IT Expenses                                              x                          7,576.22 Trade Payables
  PO Box 18892
  Newark, NJ 07191-8892
  Softrax Corporation                                                                Finance                                                  x                        32,452.98 Trade Payables
  PO Box 51209
  Los Angeles, CA 90051-5509
  Source One                                                                         Client Hardware                                                                   46,445.00 Trade Payables
  120 Knowles Dr
  Los Altos, CA 95032
  SourceMedia                                                                        Admin Expenses                                           x                          7,600.00 Trade Payables
  P.O. Box 4634
  Chicago, IL 60680
  SpencerStuart                                                                      HR Services                                                                         6,940.00 Trade Payables
  PO Box 98991
  Chicago, IL 60693
  Sprint (0576397996-0)                                                              Telecom                                                                           29,041.35 Trade Payables     [1]
  PO Box 79357
  City Of Industry, CA 91716-9357
  St. Clair Interactive Communications Inc                                           Temp/Contracting Svc                                     x                        24,446.12 Trade Payables
  235 Yorkland Blvd #510
  Toronto, Ontario M2J4Y8
  Stanford University                                                                HR Services                                                                          675.00 Trade Payables
  563 Salvatierra Walk
  Stanford, CA 94305-8530
  Staples                                                                            Admin Expenses                                                                    42,448.68 Trade Payables
  Dept LA 1368 PO Box 83689
  Chicago, IL 60696-3689
  Star Micronics                                                                     Hardware Purchases                                                                25,235.00 Trade Payables
  1150 King Georges Post Rd.
  Edison, NJ 08837
  Starlink Worldwide                                                                 Marketing Expenses                                                                39,029.35 Trade Payables
  222 Merchandise Mart Suite 2100
  Chicago, IL 60654-1032
  State Bar of California                                                            Legal                                                                                950.00 Trade Payables
  PO Box 2142
  Los Angeles, CA 90084
  STUDIO 9 PRODUCTIONS                                                               Marketing Expenses                                                                  1,147.50 Trade Payables
  1736 STOCKTON ST SUITE 9
  San Francisco, CA 94133
  SuperValu Inc                                                                      Sales Expenses                                                                      2,443.40 Trade Payables
  88108 Expedite Way
  Chicago, IL 60695-0001
  Sweet Memory                                                                       IT Expenses                                                                          629.08 Trade Payables
  100 First St. Ground Floor
  San Francisco, CA 94105
  Swing Vote, LLC                                                                    Marketing Services                                       x                      1,100,000.00 Trade Payables
  9201 Pan American Freeway NE
  Albuquerque, NM 87113
  Symantec                                                                           IT Expenses                                              x                          7,219.47 Trade Payables
  4729 E. Sunrise Dr., #121
  Tucson, AZ 85718
  Taos                                                                               Temp/Contracting Svc                                                             105,700.00 Trade Payables
  Department 05844 PO Box 39000
  San Francisco, CA 94139-5844
  Targus Info                                                                        Admin Expenses                                                                    21,719.70 Trade Payables     [1]
  PO Box 9134
  Uniondale, NY 11555-9134
  TD Indsutries                                                                      Admin Expenses                                                                      2,690.50 Trade Payables
  PO Box 300008
  Dallas, TX 75303-0008
                                                                                     Subtotal for this page                                             $            1,643,351.04




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
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                                                                     COMMUNITY
                                                         CODEBTOR


                                                                      JOINT, OR




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                                                                                        DATE CLAIM WAS




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       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                        AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Telekenex                                                                          Telecom                                                  x                         5,869.82 Trade Payables    [1]
  3221 20th Street
  San Francisco, CA 94110
  The Fruit Guys                                                                     Admin Expenses                                                                     8,904.00 Trade Payables
  405 Victory Road Unit D
  South San Francisco, CA 94080
  The Packaging Store                                                                Admin Expenses                                                                     1,246.34 Trade Payables
  1255 Howard Street
  San Francisco, CA 94103-2711
  The Protomold Co                                                                   Client Hardware                                                                    6,870.71 Trade Payables
  1757 Halgren Rd.
  Maple Plain, MN 55359
  Thomas, Roy                                                                        Temp/Contracting Svc                                                              11,525.00 Trade Payables
  3i Mobile 2-212 Center for Science and T
  Syracuse, NY 13244
  Thomson Scientific Inc                                                             Legal                                                                              4,761.52 Trade Payables
  901 Warrenville Rd Suite 20
  Lisle, IL 60532
  Tim Beattie Associates                                                             Temp/Contracting Svc                                                               7,200.00 Trade Payables
  165 Alpine Terrace
  San Francisco, CA 94117
  Tradnig Partners Collaboration LLC                                                 Sales Expenses                                                                      995.00 Trade Payables
  51 Cragwood Rd Ste 201
  South Planfield, NJ 07080
  Tri Vu, Nhan                                                                       Temp/Contracting Svc                                                               1,000.00 Trade Payables
  515 South Main Street 4
  Milpitas, CA 95035
  Tribble, Rob                                                                       Temp/Contracting Svc                                                              33,200.00 Trade Payables
  51 Hightree Ct
  Danville, CA 94526
  Tribune Direct Marketing                                                           Marketing Promotions                                                             124,029.88 Trade Payables
  PO Box 121
  Addison, IL 60101-0121
  Trust-E                                                                            Sales Expenses                                           x                         8,200.00 Trade Payables
  685 Market Street Suite 270
  San Francisco, CA 94105
  Turner, Clyce                                                                      Admin Expenses                                                                      565.48 Trade Payables
  9511 Orient Express
  Las Vegas, NV 89145
  Uncle Vitos Pizzadelli                                                             Admin Expenses                                                                     2,157.40 Trade Payables
  700 Bush Street
  San Francisco, CA 94108
  Underwriter Laboratories                                                           Client Hardware                                                                     180.00 Trade Payables
  PO Box 75330
  Chicago, IL 60675-5330
  Unified Western Grocers                                                            Tradeshow                                                                          3,000.00 Trade Payables
  PO 513396
  Los Angeles, CA 90051-1396
  University of California, Berkeley                                                 HR Services                                                                         400.00 Trade Payables
  P O 24610
  Berkeley, CA 94623-1610
  UPEK                                                                               Client Hardware                                                                  251,358.90 Trade Payables
  2200 Powell Street Suite 300
  Emeryville, CA 94608
  US Bank                                                                            Finance                                                                           46,965.00 Trade Payables
  CM-9690
  St. Paul, MN 55170-9690
  Valley View Ventures Inc                                                           Sales Expenses                                                                    31,827.35 Trade Payables
  97 Mildred Circle
  Concord, MA 017242
  Van Scoyoc Kelly PLLC                                                              Legal                                                                             52,411.35 Trade Payables
  101 Constitution Ave. NW, #675 E.
  Washington, DC 20001
  Vander-Bend                                                                        Hardware Purchases                                                                 4,176.14 Trade Payables
  123 Uranium Road
  Sunnyvale, CA 94086
  Vedantam, Satya                                                                    S & H Shareholder Payment                                                         14,753.00 Trade Payables
  14209 NW 19th Street
  Pembroke Pines, Fl 33028
  Venture Manufacturing                                                              Hardware Purchases                                                                17,880.52 Trade Payables
  6701 Mowry Ave
  Newark, CA 94560
                                                                                     Subtotal for this page                                             $             639,477.41




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                  SCHEDULE F1 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - TRADE PAYABLES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                    HUSBAND, WIFE,




                                                                                                                           UNLIQUIDATED
                                                                                                              CONTINGENT
                                                                     COMMUNITY
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       CREDITOR’S NAME AND ADDRESS
                                                                                         INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                     AMOUNT OF CLAIM         TYPE OF CLAIM
                                                                                       CONSIDERATION FOR
                 NUMBER
                                                                                             CLAIM


  Verisign                                                                           IT Expenses                                                                      2,480.00 Trade Payables
  75 Remittance Drive Suite 1689
  Chicago, IL 60675-1689
  Verizon (131801455)                                                                Telecom                                                                            31.55 Trade Payables
  POB 4648
  Trenton, NJ 08650-4648
  Verizon Wireless                                                                   Telecom                                                                          1,020.89 Trade Payables    [1]
  PO Box 9622
  Mission Hills, CA 91346-9622
  Verrill Dana LLP                                                                   Legal                                                                             271.70 Trade Payables
  One Portand Square P.O. Box 586
  Portland, ME 04112-0586

  Vignette Corporation                                                               Temp/Contracting Svc                                  x                       131,181.60 Trade Payables
  PO Box 911787
  Dallas, TX 75391-1787
  Vision Service Plan                                                                Services                                                                          268.57 Trade Payables
  PO Box 45210
  San Francisco, CA 94145-5210
  VP TAX INC                                                                         Professional Service                                  x                        35,070.00 Trade Payables     [1]
  1014 Lincoln Ave
  San Jose, CA 95125
  Waukesha-Pearce Industries, Inc.                                                   Admin Expenses                                                                    270.31 Trade Payables
  PO 4550
  Houston, TX 77210
  Wealth and Tax Advisory Services Inc                                               Professional Service                                  x                        10,000.00 Trade Payables
  PO Box 7128
  Buffalo, NY 14240-7128
  Web Ex Communications Inc                                                          Telecom                                                                        20,322.58 Trade Payables     [1]
  PO Box 49216
  San Jose, CA 95161-9216

  Wilmer Hale                                                                        Temp/Contracting Svc                                                             6,792.34 Trade Payables
  PO Box 7247-8760
  Philadelphia, PA 19170-8760
  Wilson, Donn                                                                       Temp/Contracting Svc                                                           37,236.34 Trade Payables
  4950 Hickory Twig Way
  Boise, ID 83713
  Womble Carlyle Sandridge & Rice                                                    Legal                                                                          23,984.25 Trade Payables
  One West Fourth Street
  Winston-Salem, NC 27101
  WongPatnership                                                                     Legal                                                                            3,549.45 Trade Payables
  One George Street 20-01
  Singapore 049145,
  World Class International, Inc.                                                    Temp/Contracting Svc                                                           51,786.00 Trade Payables
  8547 East Arapahoe Road #J-250
  Greenwood Village, CO 80112
  XO Communications LLC                                                              Telecom                                                                          1,283.28 Trade Payables    [1]
  File 50550
  Los Angeles, CA 90074-0550
  Xoriant Corporation                                                                Temp/Contracting Svc                                                          229,888.00 Trade Payables
  P.O. Box 2759
  San Ramon, CA 94583
  Zeta Interactive                                                                   Marketing Expenses                                    x                        11,000.00 Trade Payables
  Zigler, Michael                                                                    Legal                                                                          78,891.77 Trade Payables
  639 Front Street, 4th Floor
  San Francisco, CA 94111
                                                                                     Subtotal for this page                                          $              645,328.63
                                                                                     TOTAL SCHEDULE F1                                               $           24,660,916.98
  Notes:
  [1] Vendor claim may include invoices for services rendered during gap period.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                SCHEDULE F2 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - UNSECURED DEBT

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                  HUSBAND, WIFE,




                                                                                                                                UNLIQUIDATED
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                                                                   COMMUNITY
                                                       CODEBTOR


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                                                                                      DATE CLAIM WAS




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       CREDITOR’S NAME AND ADDRESS
                                                                                       INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                          AMOUNT OF CLAIM          TYPE OF CLAIM
                                                                                     CONSIDERATION FOR
                 NUMBER
                                                                                           CLAIM


  Brian Miller                                                                     2/28/2007 - Principal                                                  $             300,000.00 Debt
  60 Summit Avenue                                                                 Unsecured Note
  Mill Valley, CA 94941
  Brian Miller                                                                     5/1/2007 - Principal                                                                 200,000.00 Debt
  60 Summit Avenue                                                                 Unsecured Note
  Mill Valley, CA 94941
  Brian Miller                                                                     2/28/07 - 12/14/07 - Interest                                                         23,935.00 Debt
  60 Summit Avenue                                                                 Unsecured Note
  Mill Valley, CA 94941
  Brian Miller                                                                     5/1/07 - 12/14/07                                                                                  Debt
  60 Summit Avenue                                                                 Unsecured note
  Mill Valley, CA 94941
  Denarius Touch, LLC                                                              9/19/2005                        x             x             x                      7,117,447.53 Debt               [1]
  c/o Farallon Capital Management, LLC                                             Subordinated Unsecured Note
  One Maritime Plaza, Suite 1325
  San Francisco, CA 94111
  Eula Adams                                                                       5/1/2007 - Principal                                                                 400,000.00 Debt
  9194 E. Vassar Ave.                                                              Unsecured Note
  Denver, CO 80231
  Eula Adams                                                                       5/1/07 - 12/14/07 - Interest                                                          23,702.00 Debt
  9194 E. Vassar Ave.                                                              Unsecured Note
  Denver, CO 80231
  Highbridge International, LLC                                                    9/19/2005                        x             x             x                       736,287.68 Debt                [1]
  c/o Highbridge Capital Management, LLC                                           Subordinated Unsecured Note
  9 West 57th Street, 27th Floor
  New York, NY 10019
  John Frank                                                                       2/9/04 - Principal                                                                   125,000.00 Debt
  6521 1323rd Street                                                               Unsecured Note
  Prescott, WI 54021
  John Rogers                                                                      2/28/07 - 12/14/07 - Interest                                x                       111,698.00 Debt
  2235 Beach Street #202                                                           Unsecured Note
  San Francisco, CA 94123
  John Rogers                                                                      6/1/07 - Principal                                           x                      3,000,000.00 Debt
  2235 Beach Street #202                                                           Unsecured Note
  San Francisco, CA 94123
  John Rogers                                                                      2/28/2007 - Principal                                        x                      1,400,000.00 Debt
  2235 Beach Street #202                                                           Unsecured Note
  San Francisco, CA 94123
  John Rogers                                                                      5/1/2007 - Principal                                         x                        50,000.00 Debt
  2235 Beach Street #202                                                           Unsecured Note
  San Francisco, CA 94123
  John Rogers                                                                      5/1/07 - 12/14/07 - Interest                                 x                          2,963.00 Debt
  2235 Beach Street #202                                                           Unsecured Note
  San Francisco, CA 94123
  Ned Hoffman                                                                      6/16/00 - Principal    x                       x             x                        19,767.00 Debt                [1]
                                                                                   Unsecured Note
  Ned Hoffman                                                                      2/15/99 - Principal    x                       x             x                          7,759.00 Debt               [1]
                                                                                   Unsecured Note
                                                                                   SUBTOTAL FOR THIS PAGE                                                 $           12,994,624.21




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F2 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - UNSECURED DEBT

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                                                                    HUSBAND, WIFE,




                                                                                                                                       UNLIQUIDATED
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                                                                     COMMUNITY
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                                                                                         DATE CLAIM WAS




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       CREDITOR’S NAME AND ADDRESS
                                                                                          INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                                 AMOUNT OF CLAIM           TYPE OF CLAIM
                                                                                        CONSIDERATION FOR
                 NUMBER
                                                                                              CLAIM


  OZ Master Fund, Ltd.                                                               9/19/2005 - Principal                 x             x             x                      9,817,169.01 Debt
  9 West 57th Street, 39th Floor                                                     Subordinated Unsecured Note
  New York, NY 10019
  Plainfield Direct LLC                                                              9/19/2005 - Principal                 x             x             x                       736,287.68 Debt
  c/o Plainfield Asset Management                                                    Subordinated Unsecured Note
  411 West Putnam Avenue, Suite 340
  Greenwich, CT 06830
  Denarius Touch, LLC                                                                9/19/2005 - 12/14/2007                                                                       750,072.76 Debt
  c/o Farallon Capital Management, LLC                                               Interest on Subordinated Unsecured
  One Maritime Plaza, Suite 1325                                                     Note issued on 9/19/2005
  San Francisco, CA 94111
  OZ Master Fund, Ltd.                                                               9/19/2005 - 12/14/2007                                                                     1,034,583.11 Debt
  9 West 57th Street, 39th Floor                                                     Interest on Subordinated Unsecured
  New York, NY 10019                                                                 Note issued on 9/19/2005


  Highbridge International, LLC                                                      9/19/2005 - 12/14/2007                                                                        77,593.73 Debt
  c/o Highbridge Capital Management, LLC                                             Interest on Subordinated Unsecured
  9 West 57th Street, 27th Floor                                                     Note issued on 9/19/2005
  New York, NY 10019
  Plainfield Direct LLC                                                              9/19/2005 - 12/14/2007                                                                        77,593.73 Debt
  c/o Plainfield Asset Management                                                    Interest on Subordinated Unsecured
  411 West Putnam Avenue, Suite 340                                                  Note issued on 9/19/2005
  Greenwich, CT 06830
  Jennifer C. McNeil                                                                 Principal and Accrued Interest        x             x             x                        2,302,754.86 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  Geoffrey T. Freeman                                                                Principal and Accrued Interest        x             x             x                        2,302,754.86 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  Henry A Jordan, MD                                                                 Principal and Accrued Interest        x             x             x                        2,302,754.86 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  S&H Nominee Trust (Novotny)                                                        Principal and Accrued Interest        x             x             x                        1,654,830.11 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  Graham Gund                                                                        Principal and Accrued Interest        x             x             x                        8,247,794.21 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  Eaglis Alternative Inv, LLC                                                        Principal and Accrued Interest        x             x             x                        6,244,339.61 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  J. Stuart Moore                                                                    Principal and Accrued Interest        x             x             x                        2,080,525.45 Debt              [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
  Walter Beinecke                                                                    Principal and Accrued Interest        x             x             x                        95,847.78 Debt                 [2]
                                                                                     S&H Merger Agreement Promissory
                                                                                     Note
                                                                                     SUBTOTAL FOR THIS PAGE                                                      $           37,724,901.79

                                                                                     TOTAL SCHEDULE F2                                                           $           51,243,461.00

  [1] The amount listed represents the maximum possible claim amount contingent upon the trigger of various events listed in the promissory notes.
  [2] Claim amount based on information provided by the Company as of 12/11/08.




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
                                                                                                             CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR


                                                                     JOINT, OR




                                                                                                                                         DISPUTED
                                                                                       DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                        INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                    AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Aberdeen Group, L.L.C.                                                            Indivos Royalties                                               $                595.06 Royalties
  3089 North Elena Maria
  Tucson, AZ 85750
  Aether Capital LLC                                                                Indivos Royalties                                                             124,939.78 Royalties
  11460 Cronridge Drive
  Owings Mills, MD 21117
  AGSI SmartTouch                                                                   Indivos Royalties                                                                346.84 Royalties
  Steve Gasser Shartsis Friese & Ginsburg
  One Maritime Plaza, 18th Fl.
  San Francisco, CA 94111
  Alexander D. Ross III                                                             Indivos Royalties                                                                448.66 Royalties
  14547 Ballantyne Club Drive
  Charlotte, NC 28277
  Alexander Goldberg                                                                Indivos Royalties                                                                224.33 Royalties
  2918 Baylis
  Ann Arbor, MI 48108
  Ali Kamarei                                                                       Indivos Royalties                                                               3,546.95 Royalties
  280 Colorado Avenue
  Palo Alto, CA 94301
  Alice Marilyn Warsinske                                                           Indivos Royalties                                                                  43.09 Royalties
  36 Bay Vista Drive
  Mill Valley, CA 94941
  Alise & Kenneth Panitch JTRS                                                      Indivos Royalties                                                                119.92 Royalties
                                                                                    Indivos Royalties                                                                448.66 Royalties
  Allan H. Zerman & Marilyn R. Zerman JTWROS
  254 Carlyle Lake Drive
  St. Louis, MO 63141
  Amos Ben-Meir & Irit Ben-Meir TTEES                                               Indivos Royalties                                                                448.66 Royalties
  10460 Castine Ave
  Cupertino, CA 95014
  Andrew and Kathleen Cresci Trust                                                  Indivos Royalties                                                               7,945.94 Royalties
  129 Seminary Drive
  Menlo Park, CA 94025
  Andrew Katz and Alice Chow Katz                                                   Indivos Royalties                                                                991.77 Royalties
  236 Columbia Avenue
  Kensington, CA 94708
  Anil Malik &Anupam Malik JTWROS                                                   Indivos Royalties                                                               1,091.58 Royalties
  Anthony J. Colletta                                                               Indivos Royalties                                                                 448.66 Royalties
  24 South Lewis Place
  Rockville Centre, NY 11570
  Antoinette E. Murray                                                              Indivos Royalties                                                                448.66 Royalties
  13603 Gladwyn Court
  Chantilly, VA 20151
  Arnold Young                                                                      Indivos Royalties                                                                639.71 Royalties
  Arun Shah & Shobhana Shah JTWROS                                                  Indivos Royalties                                                                448.66 Royalties
  13099 Brandywine Drive
  Saratoga, CA 95070
  Avner I. Schwarz & Kathy K. Schwarz JTWROS                                        Indivos Royalties                                                                717.85 Royalties
  21090 Canyon Oak Way
  Cupertino, CA 95014
  Bear Stearns Securities Corp Cust Bruce R. Magid,                                 Indivos Royalties                                                                448.66 Royalties
  IRA Rollover #522-05515
  6413 Ridgepoint Place
  East Lansing, MI 48823
  Bennett I Moyle                                                                   Indivos Royalties                                                               1,794.71 Royalties
  5788 Lincoln Drive
  Edina, MN 55436-1608
                                                                                    Subtotal for this page                                          $             146,138.15




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                   HUSBAND, WIFE,




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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Bernard M. Notas & Eve R. Notas TTEES, The                                        Indivos Royalties                                                                     896.44 Royalties
  Notas Family Trust U/A/D 08/13/1997
  90 Via Aspero
  Alamo, CA 94507-2755
  Betsy Levy Ehrenberg Trustee of the Betsy Levy                                    Indivos Royalties                                                                     116.46 Royalties
  1993 Trust
  4234 Pomona Avenue
  Palo Alto, CA 94306
  Betsy Levy Ehrenberg                                                              Indivos Royalties                                                                     116.46 Royalties
  4234 Pomona Avenue
  Palo Alto, CA 94306
  Bhanu Kapoor                                                                      Indivos Royalties                                                                     448.66 Royalties
  2701 Northridge Drive
  Richardson, TX 75082
  Bharat Dhutia & Geeta B. Bhutia                                                   Indivos Royalties                                                                     448.66 Royalties
  JTWROS
  622 41st Street
  Downers Grove, IL 60515
  Biometric Payment Solutions, LP                                                   Tibor McNeal Patent Royalty                               X                        195,968.00 Royalties
  Attn: John Herold                                                                 Payments
  27 Landport
  Newport Beach, CA 92660
  Brandt A. Handley                                                                 Indivos Royalties                                                                     448.66 Royalties
  382 Canon Drive
  Santa Barbara, CA 93105
  Bruce A. MacNaughton & Nancy A. MacNaughton                                       Indivos Royalties                                                                    1,540.24 Royalties
  JTWROS
  13 Valley View Court, PO Box 864
  Rociada, NM 87742
  Bruce Allensworth                                                                 Indivos Royalties                                                                    1,946.51 Royalties
  5 Oxford Road
  Wellesley, MA 02481
  Bruce D. Whitley                                                                  Indivos Royalties                                                                     524.16 Royalties
  29 Corte Monterey
  Moraga, CA 94556
  Bruce P. Johnson                                                                  Indivos Royalties                                                                       85.17 Royalties
  818 Church Street
  San Francisco, CA 94114
  Carol Buell                                                                       Indivos Royalties                                                                     343.00 Royalties
  3515 Bear Drive
  San Diego, CA 92103
  Castle Creek Capital Partners Fund IIA LP                                         Indivos Royalties                                                                   37,429.86 Royalties
  6051 El Tordo
  Rancho Santa Fe, CA 92067
  Catalina Marketing Corporation                                                    Indivos Royalties                                                                   16,940.98 Royalties
  205 East 22nd St., #51
  New York, NY 10010
  Charles F. Perrell TTEE, The Charles F. Perrell                                   Indivos Royalties                                                                     897.35 Royalties
  Trust Dtd. 09/02/88
  26300 Silent Hills Lane
  Los Altos Hill, CA 94022
  Charles J. Kalina III                                                             Indivos Royalties                                                                     469.83 Royalties
  93 Grove Street
  Somerville, NJ 08876
  Charles R. Freeman & Irene Pruzan JTWROS                                          Indivos Royalties                                                                     448.66 Royalties
  5951 Petunia Lane
  Orlando, FL 32821
  Charles Schwab & Co., Inc., FBO Dorothy W.                                        Indivos Royalties                                                                     448.66 Royalties
  Cheng, IRA Contributory AC#4122-8539
  3402 Bumann Road
  Encinitas, CA 92024
  Chauncey Martin                                                                   Indivos Royalties                                                                     181.98 Royalties
  1400Gloster Ave
  Baltimore, MD 21230
  Chin L. Hung & Vanessa M. Hung JTWROS                                             Indivos Royalties                                                                     897.35 Royalties
  P O Box 164
  Pinole, CA 94564
  Christopher Shadix                                                                Indivos Royalties                                                                       19.96 Royalties
  518 Missouri Street
  San Francisco, CA 94107
  Claude T. Abboud & Alia C. Abboud                                                 Indivos Royalties                                                                     448.66 Royalties
  JTWROS
  21548 SE 28th Lane
  Sammamish, WA 98075
                                                                                    Subtotal for this page                                               $             261,065.71




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                    COMMUNITY
                                                        CODEBTOR


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                                                                                        INCURRED AND
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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Coy Christensen                                                                   Indivos Royalties                                                              3,409.38 Royalties
  44466 N El Macero Dr
  El Macero, CA 95618
  Das Capital LLC                                                                   Indivos Royalties                                                               448.66 Royalties
  533 Anacapa Terrace
  Sunnyvale, CA 94085
  Dave Nasser                                                                       Indivos Royalties                                                               448.66 Royalties
  P.O. Box 30011
  Tucson, AZ 85751-0011
  David Adelipour                                                                   Indivos Royalties                                                               538.39 Royalties
  120 W. 44th St. Suite 204
  New York, NY 10036
  David B. Weir                                                                     Indivos Royalties                                                               448.66 Royalties
  650 Hillsborough Blvd.
  Hillsborough, CA 94010
  David C. Green                                                                    Indivos Royalties                                                               448.66 Royalties
  18921 Edgecliff Dr. S.W.
  Seattle, WA 98166
  David Ferrin Pare, Jr.                                                            Indivos Royalties                                                             20,625.43 Royalties
  300E Nimitz Drive
  San Francisco, CA 94130
  David Goldstein                                                                   Indivos Royalties                                                               902.61 Royalties
  1560 Placita Lupita
  Tucson, AZ 85718
  David Goldstein                                                                   Indivos Royalties                                                               527.64 Royalties
  2200 East River Road Suite: 115
  Tucson, AZ 85718
  David M. Maloney                                                                  Indivos Royalties                                                              1,242.07 Royalties
  2401 Chinaberry Lane
  Tallahassee, FL 32311
                                                                                    Indivos Royalties                                                               228.20 Royalties
  David M. Mendelsohn and Donna L. Mendelsohn
  Revocable Living Trust as Amended and Restated
  108 South Newport Drive
  Napa, CA 94559
  David M. Mendelsohn                                                               Indivos Royalties                                                                 23.59 Royalties
  108 South Newport Drive
  Napa, CA 94559
  David Paul Davis                                                                  Indivos Royalties                                                              4,311.19 Royalties
  1701 Salamoni Ct
  San Jose, CA 95133
  Deland and Sylvia Burks                                                           Indivos Royalties                                                                 29.11 Royalties
  2501 GreenRidge Drive
  Forth Smith, AR 72903
  Delaware Charter Guaranty & Trust Company,                                        Indivos Royalties                                                               448.66 Royalties
  Ronald M. Lazar IRA
  200 Winston Drive
  Cliffside Park, NJ 07010
  2000 Dennis L. Judd Revocable Trust                                               Indivos Royalties                                                               472.26 Royalties
  Dennis M Murphy & Doris Murphy JTWROS                                             Indivos Royalties                                                               897.35 Royalties
  761 Marbrisa River Lane
  Vero Beach, FL 32963
  Denny Abrams                                                                      Indivos Royalties                                                               399.79 Royalties
  1834 Fourth Street
  Berkeley, CA 94710
  Diamond Equity Pool II, LLC                                                       Indivos Royalties                                                                 78.31 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Diamond Equity, LLC                                                               Indivos Royalties                                                              4,851.57 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Diamond Management, Inc.                                                          Indivos Royalties                                                              4,968.58 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Diamond Ventures                                                                  Indivos Royalties                                                               349.40 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Diamond Ventures, Inc.                                                            Indivos Royalties                                                              6,585.03 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Diana R. Varecka, Timothy Michael Varecka, and                                    Indivos Royalties                                                               466.61 Royalties
  Andrew Francis Varecka, or their successors, as
  Trustees of the Charles P. Varecka Family Trust
  U/A
  10734 James Circle
  Bloomington, MN 55431
                                                                                    Subtotal for this page                                          $             53,149.81



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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
                                                                                                             CONTINGENT
                                                                    COMMUNITY
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                                                                                                                                         DISPUTED
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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Don A. Smith TTEE, Don A. Smith Trust Dtd.                                        Indivos Royalties                                                                628.12 Royalties
  06/12/1981
  2627 Steiner Street
  San Francisco, CA 94115-1141
  Donald C. Reinke                                                                  Indivos Royalties                                                                576.58 Royalties
  25 Merrill Circle South
  Moraga, CA 94556
  Donald Diamond                                                                    Indivos Royalties                                                                198.73 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Donald S. Green and Joan F. Green, and as Trustees                                Indivos Royalties                                                                  29.11 Royalties
  of the Green Family Trust
  Dr. Ronald S. Hay                                                                 Indivos Royalties                                                                466.40 Royalties
  12357 Parker Ranch Road
  Saratoga, CA 95070
  Duane E. Graham                                                                   Indivos Royalties                                                                538.39 Royalties
  3500 Victoria Lane
  Davidsonville, MD 21035
  Eagle Rock Venture Capital Partners, LP                                           Indivos Royalties                                                                448.66 Royalties
  1 Passaic Avenue
  Fairfield, NJ 07004
  Earl R. Norman & Maurene P. Norman TIC                                            Indivos Royalties                                                                448.66 Royalties
  8 Hillingham Court
  Chadds Ford, PA 19317
  Edmund P Ang & Lorna G Ang TTEES                                                  Indivos Royalties                                                                448.66 Royalties
  1993 Edmund Ang & Lorna Ang Revocable Trust
  Dtd. 7/31/1993
  2558 Montgomery Place
  Eldorado Hills, CA 95762
  Edward A. Lee                                                                     Indivos Royalties                                                                927.47 Royalties
  5622 Ocean View Drive
  Oakland, CA 94618
  Edward D. Baker Trust                                                             Indivos Royalties                                                              11,396.99 Royalties
  2206 Green Street
  San Francisco, CA 94123
  Eric E Shenk & Charlene Shenk Community                                           Indivos Royalties                                                               2,156.34 Royalties
  Property
  450 S 16th Street
  San Jose, CA 95112
  Erik P. Nygaard                                                                   Indivos Royalties                                                                538.39 Royalties
  4 East 82 Street, #1R
  New York, NY 10028
  Excel Innovations, Inc.                                                           Indivos Royalties                                     x                       196,059.20 Royalties
  977 Daniel Street
  Sebastopol, CA 95472
  Eytan & Diane Irwin                                                               Indivos Royalties                                                                119.92 Royalties
  Federic W. Theurkauf                                                              Indivos Royalties                                                                380.86 Royalties
  32 South Raymond, Suite #1
  Pasadena, CA 91105
  Firstar Bank TTEE, Hal Chase II - Lynda Trust Dtd                                 Indivos Royalties                                                                538.39 Royalties
  06/02/1981
  P.O. Box 906
  Des Moines, IA 50304
  Fred B. Bialek                                                                    Indivos Royalties                                                                448.66 Royalties
  200 Winding Way
  Woodside, CA 94062
  Fred W. Martin, Jr. TTEE, fred W. Martin                                          Indivos Royalties                                                                448.66 Royalties
  Revocable Trust Dtd. 01/12/1988
  14200 Royal Harbor Ct., #604
  Fort Myers, FL 33908
  Frederick J. Egan                                                                 Indivos Royalties                                                               1,540.24 Royalties
  P.O. BOX 995
  York Harbor, ME 03911
  Gary Gardinier                                                                    Indivos Royalties                                                                875.37 Royalties
  8075 Manor Hill Lane
  Cincinnati, OH 45243-1351
  Gary H. London                                                                    Indivos Royalties                                                                  29.11 Royalties
  702 Ash Street, Suite 101
  San Diego, CA 92101
                                                                                    Subtotal for this page                                          $             219,242.91




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Gary Kipnis                                                                       Indivos Royalties                                                               448.66 Royalties
  651 Dunholme Way
  Sunnyvale, CA 94087
  Gary R. Beck & Bonnie A. Beck JTWROS                                              Indivos Royalties                                                               448.66 Royalties
  48029 Avalon Heights Terrace
  Fremont, CA 94539
  Gary S. Gelber & Marilyn G. Gelber TTEES, The                                     Indivos Royalties                                                               538.39 Royalties
  Gelber Trust Dtd. 11/26/1999
  41 Magdalena Court
  Mill Valley, CA 94941
  GBR Ltd.                                                                          Indivos Royalties                                                               429.84 Royalties
  9826 Old Chimney Ct.
  Cincinnati, OH 45241
  General Home Furnishings, Inc.                                                    Indivos Royalties                                                               717.85 Royalties
  15 Trailwood Circle
  Rochester, NY 14618
  Gerson & Debra Panitch                                                            Indivos Royalties                                                               119.92 Royalties
  Gizille Barany                                                                    Indivos Royalties                                                                72.08 Royalties
  2230 Bywood Drive
  Oakland, CA 94602
  Goldstine, Daniel and Hillary                                                     Indivos Royalties                                                               399.79 Royalties
  1749 MLK Jr. Way
  Berkeley, CA 94709
  Greg Nash                                                                         Indivos Royalties                                                               604.82 Royalties
  1085 Sargent Drive
  Sunnyvale, CA 94087
  H. Darrel Darby                                                                   Indivos Royalties                                                               448.66 Royalties
  655 Whitaker Blvd. West # 502
  Huntington, WV 25701
  Habibi, L.L.C.                                                                    Indivos Royalties                                                               595.06 Royalties
  6160 N. Calle de Culebra
  Tucson, AZ 85718
  Hamid Rezapour                                                                    Indivos Royalties                                                              1,794.71 Royalties
  2370 Hagen Oaks Drive
  Alamo, CA 94507
  Hanna Mae Levenson                                                                Indivos Royalties                                                              1,637.93 Royalties
  6201 Medau Place
  Oakland, CA 94611
  Harold Silen, Trustee of the David Mendelsohn and                                 Indivos Royalties                                                               893.90 Royalties
  Donna Mendelsohn 1996 Charitable Remainders
  Trust
  8 Buckeye Way
  Kentfield, CA 94904
  Harold Silen, Trustee of the Harold Slien Revocable                               Indivos Royalties                                                               670.49 Royalties
  Trust 1996 - Community Property
  8 Buckeye Way
  Kentfield, CA 94904
  Harriet Bookey Brady                                                              Indivos Royalties                                                               194.11 Royalties
  P.O. Box 2609
  Orland Park, IL 60462
  Health Quest Corporation                                                          Indivos Royalties                                                              1,794.71 Royalties
  2009 Ranch Road 620 North Suite 220
  Austin, TX 78734
  Heritage Venture Funds, LLC                                                       Indivos Royalties                                                               448.66 Royalties
  8031 N. Tuscany Dr.
  Tucson, AZ 85742
  Hobe Sound Capital Partners LLC                                                   Indivos Royalties                                                               448.66 Royalties
  14 Riverview Road
  Hobe Sound, FL 33455
  Horizon Capital LLC                                                               Indivos Royalties                                                               897.35 Royalties
  1875 Charleston
  Moutain View, CA 94043
  Imad Jebara                                                                       Indivos Royalties                                                              1,540.24 Royalties
  805 Old Chester Road
  Far Hills, NJ 07931
  Jamaica Partnership                                                               Indivos Royalties                                                                 29.11 Royalties
  11030 "O" Street
  Omaha, NE 68137
  James B Kilgore                                                                   Indivos Royalties                                                              1,540.24 Royalties
  37 Heather Lane
  Princeton, NJ 08540
  James C Kempner                                                                   Indivos Royalties                                                               448.66 Royalties
  P. O. Box 25
  Sugar Land, TX 77487
                                                                                    Subtotal for this page                                          $             17,162.50




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

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Case No. 02:07-20027-TD


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                                                                                      CONSIDERATION FOR
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                                                                                            CLAIM


  James D. Fisher                                                                   Indivos Royalties                                                               616.81 Royalties
  1178 Calder Lane
  Walnut Creek, CA 94598
  James L. Crawford & Anna J. Fang TTEES                                            Indivos Royalties                                                               448.66 Royalties
  James S. Crawford 1999 Revocable Trust Dtd.
  04/12/1999
  22 Locust Street
  Belmont, MA 02478
  James M. Kendall                                                                  Indivos Royalties                                                               717.85 Royalties
  676 Reef Road
  Vero Beach, FL 32963
  James P. Hallberg                                                                 Indivos Royalties                                                               448.66 Royalties
  6640 S. Cicero
  Bedford Park, IL 60638
  James S Acquistaspace                                                             Indivos Royalties                                                              1,346.01 Royalties
  2930 Avalon Ave.
  Berkeley, CA 94705
  James T. Lapsley                                                                  Indivos Royalties                                                               793.41 Royalties
  1665 Carmel Drive
  Walnut Creek, CA 94596
  Jan Gita Keshen                                                                   Indivos Royalties                                                               158.68 Royalties
  5144 Chinaberry Lane
  Tallahassee, FL 32311
  Jeffrey & Karen Banks Ttees,                                                      Indivos Royalties                                                               897.35 Royalties
  The 1983 Banks Living Trust Dtd. 04/13/1983
  1314 Sunnyhills Road
  Oakland, CA 94610
  Jeffrey M. Lewis                                                                  Indivos Royalties                                                               448.66 Royalties
  50 East 79th Street Apt 2A
  New York, NY 10021
  Jeffrey S. Briggs & Diane E. Briggs JTWROS                                        Indivos Royalties                                                              1,166.55 Royalties
  6729 Davenport Street
  Omaha, NE 68132
  Jennifer Austin                                                                   Indivos Royalties                                                               285.83 Royalties
  3515 Bear Drive
  San Diego, CA 92103
  Jerome P. White & Marianne E. White JTWROS                                        Indivos Royalties                                                               448.66 Royalties
  745 Locust
  Winnetka, IL 60093
  Jerrold Wolf                                                                      Indivos Royalties                                                               548.24 Royalties
  1301 Wendy Drive
  Northbrook, IL 60062
  Jim Binesh                                                                        Indivos Royalties                                                               464.67 Royalties
  101 First Street, PO Box 803
  Los Altos, CA 94022
  Joan Mann & Roger Mann                                                            Indivos Royalties                                                               499.76 Royalties
  3300 Webster St. #608
  Oakland, CA 94609
  Joe Behrendt & Jamie Behrendt TTEES,                                              Indivos Royalties                                                               448.66 Royalties
  Joe Behrendt & Jamie Behrendt Revocable Trust
  Dtd 10/30/1996
  P.O.Box 514 12 Skyland Way
  Ross, CA 94957
  Joel Tranmer & Kathleen Tranmer Ttees, Joel                                       Indivos Royalties                                                               448.66 Royalties
  Tranmer & Kathleen Tranmer Revocable Trust Dtd
  04/29/1997
  473 Stonecrest Drive
  Napa, CA 94558
  John A. Forlines III                                                              Indivos Royalties                                                               448.66 Royalties
  129 Woods Road
  Locust Valley, NY 11560
  John D. McBride Jr.                                                               Indivos Royalties                                                              2,880.33 Royalties
  4409 Franklin Pike
  Nashville, TN 37204
  John J. Feely & Jacqueline R. Feely                                               Indivos Royalties                                                               466.61 Royalties
  JTWROS
  112 East Fairchild Place
  Highlands Ranch, CO 80126-4726
  John K. Buckner Sr.                                                               Indivos Royalties                                                               897.35 Royalties
  1824 Green Street
  San Francisco, CA 94123
  John Lowitz and Fran Krieger Lowitz                                               Indivos Royalties                                                               291.17 Royalties
  1215 Upper Happy Valley Road
  Lafayette, CA 94549
                                                                                    Subtotal for this page                                          $             15,171.24




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
                                                                                                             CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR


                                                                     JOINT, OR




                                                                                                                                         DISPUTED
                                                                                       DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                        INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                    AMOUNT OF CLAIM       TYPE OF CLAIM
                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  John Penners                                                                      Indivos Royalties                                                               448.66 Royalties
  4275 Eaton Court
  Boulder, CO 80303
  John Robinson                                                                     Indivos Royalties                                                              1,164.68 Royalties
  110 Loch Lomond Drive #7
  San Rafael, CA 94901
                                                                                    Indivos Royalties                                                               897.35 Royalties
  John S Jones & Claudia Jones Community Property
  201 Sunray Lane
  Sunnyvale, TX 75182
  John S. Schaller, Jr.                                                             Indivos Royalties                                                               198.36 Royalties
  2218 Atapha Nene
  Tallahassee, FL 32301
  John Victor Lampe                                                                 Indivos Royalties                                                              1,335.81 Royalties
  Maikaeferpfad 25
  14055 Berlin, Germany
  Jonathan Alexander Lee                                                            Indivos Royalties                                                             10,740.18 Royalties
  6116 Telegraph Avenue Apt.#307
  Oakland, CA 94609
  Jonathan Y. Lin                                                                   Indivos Royalties                                                               448.66 Royalties
  1164 La Rochelle Terrace #F
  Sunnyvale, CA 94089
  Jorge S. Camacho & Mirtha A. Camacho                                              Indivos Royalties                                                               448.66 Royalties
  JTWROS
  6233 N.University Drive
  Tamarac, FL 33321
  Joseph D. Vassallo                                                                Indivos Royalties                                                              1,346.01 Royalties
  2495 15th Street
  San Francisco, CA 94114
                                                                                    Indivos Royalties                                                               448.66 Royalties
  Joseph G. Harraka, Jr. & Amy J. Harraka JTWROS
  23 Sunningdale
  Coto de Caza, CA 92679
  Joshua and Stephanie Goldstine C/O Daniel &                                       Indivos Royalties                                                               133.22 Royalties
  Hillary Goldstein
  1749 MLK Jr. Way
  Berkeley, CA 94709
  JP Morgan Chase BK as TTEE Ropes & Gray FBO                                       Indivos Royalties                                                               448.66 Royalties
  Roscoe Trimmier Jr.
  State Street Bank Cust Ropes & Gray Ret Trust
  FBO Roscoe Trimmier Jr. 401K
  1265 Beacon Street #903
  Brookline, MA 02446
  Keith Lamar Messer                                                                Indivos Royalties                                                               424.43 Royalties
  21806 Princeton Street
  Hayward, CA 94541
  Ken G. Bielejeski                                                                 Indivos Royalties                                                               448.66 Royalties
  1001 Continentals Apt. #301
  Belmont, CA 94002
  Ken K Dickinson                                                                   Indivos Royalties                                                               224.33 Royalties
  10826 Lighthouse Point
  Green Oak, MI 48178
  Kenneth A. Nosker                                                                 Indivos Royalties                                                               852.34 Royalties
  544 Woodlake Drive
  Suisun, CA 94534
  Kenneth David Abrahams                                                            Indivos Royalties                                                               835.19 Royalties
  2200 East River Road, Suite 115
  Tucson, AZ 85718
  Kenneth David Goldberg                                                            Indivos Royalties                                                               634.74 Royalties
  5114 Chinaberry Lane
  Tallahassee, FL 32311
  Kenneth J Fleischer                                                               Indivos Royalties                                                               448.66 Royalties
  18 Fletcher Dr.
  Montville, NJ 07045
  Kevin Kilbride                                                                    Indivos Royalties                                                                 99.91 Royalties
  1252 Pheasanthill Road
  Sebastopol, CA 95472
  Labelle G. Perlman                                                                Indivos Royalties                                                                 29.11 Royalties
  Perlman Family Trust utd 2/3/1986
  350 Firefly Lane
  Sebastopol, CA 95472
  Lance Boggs                                                                       Indivos Royalties                                                               472.73 Royalties
  600 Orchid Avenue
  Corona Del Mar, CA 92625
                                                                                    Subtotal for this page                                          $             22,529.01




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
                                                                                                             CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR


                                                                     JOINT, OR




                                                                                                                                         DISPUTED
                                                                                       DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                        INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                    AMOUNT OF CLAIM       TYPE OF CLAIM
                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Larry A Heberlein & Gillian Theobald JTWROS                                       Indivos Royalties                                                               448.66 Royalties
  6041 Palatine Avenue North
  Seattle, WA 98103
  Larry E. DeMar                                                                    Indivos Royalties                                                               448.66 Royalties
  1150 Tower Road
  Winnetka, IL 60093
  Larry Philip Ginsburg                                                             Indivos Royalties                                                              5,007.39 Royalties
  6201 Medau Place
  Oakland, CA 94602
  Lee and Marsha Freedman                                                           Indivos Royalties                                                               999.51 Royalties
  1523 Crest View Court
  Grand Junction, CO 81506
  Lee E. Freedman SEP/IRA                                                           Indivos Royalties                                                               199.88 Royalties
  1523 Crest View Court
  Grand Junction, CO 81506
  Leo Levenson                                                                      Indivos Royalties                                                               122.29 Royalties
  1053 Stannage Avenue
  Albany, CA 94706
  Lesley Workman                                                                    Indivos Royalties                                                               232.93 Royalties
  1241 Moonsail Lane
  Foster City, CA 94404
  Lowenstein Group, Ltd.                                                            Indivos Royalties                                                                 29.11 Royalties

  Luke N. Angelus                                                                   Indivos Royalties                                                              2,206.95 Royalties
  15 Trailside Road
  Medfield, MA 02052
  M. Chris Monson                                                                   Indivos Royalties                                                               835.19 Royalties
  4572 E. Camp Lowell Drive
  Tucson, AZ 85712
  Mamdouh A. Aldimassi & Monzer A. Aldimassi                                        Indivos Royalties                                                               502.48 Royalties
  JTWROS
  2240 Park Avenue
  Laguna Beach, CA 92651
  Mark Cohen                                                                        Indivos Royalties                                                               174.70 Royalties
  3732 Mt. Diablo Blvd. #372
  Lafayette, CA 94549
  Mark Curtis Hastings                                                              Indivos Royalties                                                              1,775.27 Royalties
  3316 Kenneth Drive
  Palo Alto, CA 94303
  Mark Lunenburg                                                                    Indivos Royalties                                                              3,080.51 Royalties
  11 Whitehall Place
  Farmington, CT 06032
  Mark R. Wilson & Heidi I. Wilson JTWROS                                           Indivos Royalties                                                               448.66 Royalties
  14197 Stacey Street
  Carmel, IN 46033
                                                                                    Indivos Royalties                                                               897.35 Royalties
  Mark R. Yanowitz & Carrie L. Yanowitz JTWROS
  5 Cobblefield Drive
  Mendham, NJ 07945
  Mark S. Belinsky                                                                  Indivos Royalties                                                               448.66 Royalties
  1095 Seena Avenue
  Los Altos, CA 94024
  Martin Lowenstein                                                                 Indivos Royalties                                                               116.46 Royalties
  345 Lorton Ave
  Burlingame, CA 94010
  Matthew N. Papakipos & Erika J. Papakipos                                         Indivos Royalties                                                               448.66 Royalties
  JTWROS
  818 Seaoe Avenue
  Palo Alto, CA 94303
  Melvin Charles Cohen                                                              Indivos Royalties                                                              1,831.69 Royalties
  522 N. Norris Avenue
  Tucson, AZ 85719-5240
  Michael Biber                                                                     Indivos Royalties                                                                  3.97 Royalties
  326 Los Cerros Drive
  Greenbrae, CA 94904
  Michael Coughlin                                                                  Indivos Royalties                                                              1,999.14 Royalties
  901 N. Curtis Rd. #503
  Boise, ID 83706
  Michael F Mann                                                                    Indivos Royalties                                                              1,540.24 Royalties
  6000 Marquette Terrace
  Bethesda, MD 20817
  Michael Folb                                                                      Indivos Royalties                                                              2,671.02 Royalties
  245 Barbara Avenue
  Solano Beach, CA 92075
                                                                                    Subtotal for this page                                          $             26,469.38




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
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                                                                    COMMUNITY
                                                        CODEBTOR


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     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                    AMOUNT OF CLAIM       TYPE OF CLAIM
                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Michael Friedman                                                                  Indivos Royalties                                                              3,360.85 Royalties
  8600 Sleepy Hollow Drive
  Cincinnati, OH 45243
  Michael J Krull & Tova Krull JTWROS                                               Indivos Royalties                                                               448.66 Royalties
  5 Hastings Road
  Monsey, NY 10952
  Michael Kleeman                                                                   Indivos Royalties                                                               151.49 Royalties
  410 Hilldale Way
  Mill Valley, CA 94941
  Michael Thompson                                                                  Indivos Royalties                                                              1,540.24 Royalties
  P.O. Box 7132
  Rancho Santa Fe, CA 92067
  Michael W. Davis                                                                  Indivos Royalties                                                               145.58 Royalties
  516 Quail Hill Ct.
  Walnut Creek, CA 94595
  Michael Warsinske                                                                 Indivos Royalties                                                               440.60 Royalties
  36 Bay Vista Drive
  Mill Valley, CA 94941
  Michelle J. Arden & T. Allen Akin                                                 Indivos Royalties                                                              1,346.01 Royalties
  JTWROS
  784 Palo Alto Avenue
  Palo Alto, CA 94301
                                                                                    Indivos Royalties                                                               396.70 Royalties
  Morgan Stanley DW, Inc Custodian for Anthony R.
  Gaudio IRA
  Harborside Financial Center, Plaza Three, 6th Floor
  Jersey City, NJ 07311
  Morpheus Partners                                                                 Indivos Royalties                                                               717.85 Royalties
  176 East 71st
  New York, NY 10021-5159
  Nob Hill Capital Partners, LP                                                     Indivos Royalties                                                              4,038.07 Royalties
  Citicorp Center/Nob Hill Capital Partners LP One
  Sansome Street, 29th Floor
  San Francisco, CA 94104
  Northport III Private Equity LLC                                                  Indivos Royalties                                                              3,589.42 Royalties
  One Northfield Plaza, Suite 225
  Northfield, IL 60093
  Pathway Investments, LLC                                                          Indivos Royalties                                                               448.66 Royalties
  132 Country Club Drive
  Port Washington, NY 11050
  Paul Mitchell Heilman                                                             Indivos Royalties                                                              1,395.86 Royalties
  1240 Rhus Street
  San Mateo, CA 94402
  Paul S. Blencowe                                                                  Indivos Royalties                                                               448.66 Royalties
  865 S. Figueroa St., 29th Floor
  Los Angeles, CA 90017
  Paul Schaeffer                                                                    Indivos Royalties                                                              1,217.94 Royalties
  5716 West Highway 290
  Austin, TX 78735
  Paul Schaeffer Benefit Plan                                                       Indivos Royalties                                                               531.28 Royalties
  Paul T. Baird & Linda Baird                                                       Indivos Royalties                                                               448.66 Royalties
  JTWROS
  16 Yardley Lane
  Hilton Head, SC 29928-3958
  Pensco Pension Services Cust FBO "Anil Desai",                                    Indivos Royalties                                                               448.66 Royalties
  IRA
  12324 Lolly Drive
  Saratoga, CA 95070
  Pensco Pension Services Cust FBO "Bonnie Aloma                                    Indivos Royalties                                                               538.39 Royalties
  Seto" IRA
  168 Palm Avenue
  San Rafael, CA 94901
  Pensco Pension Services Cust FBO "Dennis C.                                       Indivos Royalties                                                               448.66 Royalties
  McCarry", IRA Rollover
  7315 Princevalle Street
  Gilroy, CA 95020
  Pensco Pension Services Cust FBO "Edward                                          Indivos Royalties                                                               448.66 Royalties
  Cameron", IRA Rollover
  Spring Valley Road
  Morristown, NJ 07960
  Pensco Pension Services Cust FBO "John Buckner                                    Indivos Royalties                                                               538.39 Royalties
  Sr" IRA
  450 Sansome Street, 14th Floor
  San Francisco, CA 94111
                                                                                    Subtotal for this page                                          $             23,089.29




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
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                                                                    COMMUNITY
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       CREDITOR’S NAME AND ADDRESS
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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Pensco Pension Services Cust FBO "Mark A.                                         Indivos Royalties                                                               448.66 Royalties
  Scanlan", Roth IRA
  1027 Hildebidle Drive
  Collegeville, PA 19426-3050
  Pensco Pension Services Cust FBO "Oliver H.                                       Indivos Royalties                                                               503.39 Royalties
  Drabkin", IRA Rollover
  3600 North Adams
  Oakbrook, IL 60523
  Pensco Pension Services Cust FBO "Pulin                                           Indivos Royalties                                                               448.66 Royalties
  Malhotra", IRA
  2521 I St. NW # 1
  Washington, DC 20037
  Peter Cole Warsinske                                                              Indivos Royalties                                                                 30.54 Royalties
  36 Bay Vista Drive
  Mill Valley, CA 94941
  Peter L. Manno                                                                    Indivos Royalties                                                              2,431.02 Royalties
  126 Via Koron
  Newport Beach, CA 92603
  Peter Matthews                                                                    Indivos Royalties                                                              1,678.03 Royalties
  437 Walker Road
  Great Falls, VA 22066
  Peter N. Stathis                                                                  Indivos Royalties                                                               448.66 Royalties
  5118 Yuma Street NW
  Washington, DC 22016-4338
  Philip Dean Lapsley                                                               Indivos Royalties                                                              7,295.23 Royalties
  5133 Miles Ave
  Oakland, CA 94618
                                                                                    Indivos Royalties                                                               437.99 Royalties
  Phillip W. Rushing and Susan Rushing Family Trust
  5067 35th Street
  San Diego, CA 92116
  Premnath Viswanath & Malathy Wiswanath                                            Indivos Royalties                                                               448.66 Royalties
  JTWROS
  19501 Glen Una Drive
  Saratoga, CA 95070
                                                                                    Indivos Royalties                                                               448.66 Royalties
  Ragu Margapuram & Meera Margpuram JTWROS
  783 Carrywood Way
  San Jose, CA 95120
  Rajendra K. Mehta & Sadhna Mehta JTWROS                                           Indivos Royalties                                                               538.39 Royalties
  55 Christy Drive
  Warren, NJ 07059
  Randy C. Keller & Judith L. Keller JTWROS                                         Indivos Royalties                                                               448.66 Royalties
  1720 Santa Cruz Avenue
  Menlo Park, CA 94025
  Raymond J Sims                                                                    Indivos Royalties                                                               448.66 Royalties
  1270 University Avenue
  Palo Alto, CA 94301
  Richard D. Cohen                                                                  Indivos Royalties                                                               448.66 Royalties
  21870 Cartagena Drive
  Boca Raton, FL 33428
  Richard L. Hartung                                                                Indivos Royalties                                                               448.66 Royalties
  10555 Valmay Avenue, NW
  Seattle, WA 98177
  Richard S Hubler TTEE, The Richard S. Hubler                                      Indivos Royalties                                                               448.66 Royalties
  Living Trust U/A/D 11/15/1993
  33721-C Globe Drive
  Springville, CA 93265
  RL Capital Partners                                                               Indivos Royalties                                                               448.66 Royalties
  c/o Maxim Group 405 Lexington Ave.
  New York, NY 10174
  Robert A. Fortuno                                                                 Indivos Royalties                                                               595.06 Royalties
  5830 N. Bright Star Drive
  Tucson, AZ 85718
  Robert A. Naify TTEE, Robert A. Naify Living                                      Indivos Royalties                                                              4,038.08 Royalties
  Trust U/A/D 02/08/1991
  Excelsior Management Co. 172 Golden Gate
  Avenue
  San Francisco, CA 94102
  Robert A. Walker & Pamela L. Walker, JTWROS                                       Indivos Royalties                                                               448.66 Royalties
  9302 Lee Highway
  Fairfax, VA 22031
  Robert Boardman                                                                   Indivos Royalties                                                               490.58 Royalties
  26 Carl Street
  San Francisco, CA 94117
                                                                                    Subtotal for this page                                          $             23,422.23




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                   HUSBAND, WIFE,




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                                                                                                                  CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR


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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Robert F. Maloney (deceased)                                                      Indivos Royalties                                                                396.70 Royalties
  2401 Chinaberrry Lane
  Tallahassee, FL 32311
  Robert M. Kavner                                                                  Indivos Royalties                                                                166.65 Royalties
  20680 Leonard Road
  Saratoga, CA 94070
  Robert Mark Goldberg                                                              Indivos Royalties                                                              18,781.73 Royalties
  2556 Caris Brook Drive
  Oakland, CA 94611
  Robert W Lom                                                                      Indivos Royalties                                                                448.66 Royalties
  615 Garland Way
  Brentwood, CA 94513
  Rod Stambaugh                                                                     Indivos Royalties                                                                345.65 Royalties
  5077 Brookside Drive
  Broomfield, CO 80020
                                                                                    Indivos Royalties                                                                448.66 Royalties
  Rodney Thompson & Suzanne Thompson Ttees
  Thompson Family Living Trust Dtd 01/24/1994
  50 Crest Road
  Piedmont, CA 94611
  Roger A. Mann MD, Inc., Profit Sharing Plan                                       Indivos Royalties                                                               2,498.93 Royalties
  3300 Webster St. #608
  Oakland, CA 94609
  Roger L. Peirce                                                                   Indivos Royalties                                                                925.03 Royalties
  12008 Emerald Hill Lane
  Los Altos Hills, CA 94022
  Roger Mann                                                                        Indivos Royalties                                                                999.57 Royalties
  3300 Webster St. #608
  Oakland, CA 94609
  Ronald D. Berg Ttee Banks Development Trust Dtd.                                  Indivos Royalties                                                                897.35 Royalties
  01/02/1995
  5306 Enderby Court
  Calabasas, CA 91302
                                                                                    Indivos Royalties                                                                448.66 Royalties
  Ronald F. Fortune & Pamela G. Fortune JTWROS
  1114 Channing Avenue
  Palo Alto, CA 94301
  Ross C. Kayuha                                                                    Indivos Royalties                                                                897.35 Royalties
  6485 Moors Place West
  Dublin, OH 43017
  Russ A. Belinsky                                                                  Indivos Royalties                                                                448.66 Royalties
  527 Alta Ave
  Santa Monica, CA 90402
  RVX Ventures Limited Partnership                                                  Indivos Royalties                                                                448.66 Royalties
  597 Surgarpine Drive
  Incline Village, Nv 89451
  Salomon Smith Barney Cust FBO Giacomo A.                                          Indivos Royalties                                                               3,696.72 Royalties
  Russo, SEP IRA
  Sand Hill Commons 2882 Sand Hill Rd., Ste 200
  Menlo Park, CA 94025
  Sam Ginsburg, Trustee, and Rose Ginsburg,                                         Indivos Royalties                                                                189.87 Royalties
  Trustee, as Trustees for the Ginsburg 1993
  Revocable Intervivos Trust
  1730 San Lorenzo Avenue
  Berkeley, CA 94707
  Samuel J. Covelli                                                                 Indivos Royalties                                                               3,784.22 Royalties
  1243 E. Saragosa Street
  Chandler, AZ 85225
  Scott D McDonald                                                                  Indivos Royalties                                                                448.66 Royalties
  589 S. 15th street
  San Jose, CA 95112
  Seventh Street Software                                                           7th Street Software Royalty                                                        23.83 Royalties
  Attn: C. V. Ravi                                                                  Payments
  620 Spruce Street
  Berkeley, CA 94707
  Seymour Z. Farbman                                                                Indivos Royalties                                                               2,136.62 Royalties
  8631 Keller Avenue
  Lutherville, MD 21093
  Sidney MichaelWarsinske                                                           Indivos Royalties                                                                  32.24 Royalties
  36 Bay Vista Drive
  Mill Valley, CA 94941
  SmartTouch Investors, L.L.C.                                                      Indivos Royalties                                                               1,190.11 Royalties
  PO Box 590308
  San Francisco, CA 94159
                                                                                    Subtotal for this page                                                         39,654.53




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CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

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                                                                    COMMUNITY
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                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Stan E. Caplan                                                                    Indivos Royalties                                                                 97.04 Royalties
  PO 880584
  San Diego, CA 92168
  State Street Bank Cust Ropes & Gray Ret Acct FBO                                  Indivos Royalties                                                              1,540.24 Royalties
  Robert Guiod - 401K
  One International Place
  Boston, MA 02110
  Stephen F. Evans                                                                  Indivos Royalties                                                              1,743.51 Royalties
  1890 Madison Road
  Cincinnati, OH 45206
  Stephen M Moyski                                                                  Indivos Royalties                                                               448.66 Royalties
  315 Gaylord Street
  Denver, CO 80206
  Stephen P. Pezzola                                                                Indivos Royalties                                                               576.58 Royalties
  40 Yorkshire
  Oakland, CA 94618
  Steven A Aschkenase                                                               Indivos Royalties                                                               448.66 Royalties
  2939 Glengary Road
  Shaker Heights, OH 44120
  Steven D Goldstein                                                                Indivos Royalties                                                               538.39 Royalties
  45 Stewart Road
  Short Hills, NJ 07078
  Synapse Fund II, LLC                                                              Indivos Royalties                                                              4,533.86 Royalties
  17665-B Newhope Street
  Fountain Valley, CA 92708
  Tapley O. Johnson III                                                             Indivos Royalties                                                              1,540.24 Royalties
  3032 North Fairway Drive
  Burlington, NC 27275
  The 1996 Judd Family Trust                                                        Indivos Royalties                                                               194.11 Royalties
  5500 Burnside Road
  Sebastopol, CA 95472
  The 1999 Ned Hoffman and Robin Lowitz                                             Indivos Royalties                                                             18,114.43 Royalties
  Revovable Living Trust, Separate Property of Ned
  Hoffman                                                                                                     x             x             x
  977 Daniel Street
  Sebastopol, CA 95472
  The Anderson Family Trust                                                         Indivos Royalties                                                               121.32 Royalties
  33 Upper Golf Road
  Pleasanton, CA 94566
  The Angel's Forum LLC                                                             Indivos Royalties                                                              3,565.74 Royalties
  2458 Embarcadero Way
  Palo Alto, CA 94303
  The High Street Venture Fund LLC                                                  Indivos Royalties                                                               897.35 Royalties
  317 High Street
  Chattanooga, TN 37403
  Thomas A. Maier                                                                   Indivos Royalties                                                              1,349.41 Royalties
  1173 Keith Avenue
  Berkeley, CA 94708
  Thomas C. Armstrong                                                               Indivos Royalties                                                               393.07 Royalties
  26 Hampton Road
  Piedmont, CA 94611
  Thomas C. Flaherty Jr. & Marije Terellen                                          Indivos Royalties                                                               628.12 Royalties
  JTWROS
  403 Highland
  Boulder, CO 80302
  Thomas M Nickerson                                                                Indivos Royalties                                                               448.66 Royalties
  8011 1st Ave. NE
  Seattle, WA 98115
  Thomas Palecki                                                                    Indivos Royalties                                                               116.55 Royalties
  3220 Northhampton Court
  Pleasanton, CA 94588
  Tim Benham & Tammy Benham                                                         Indivos Royalties                                                               448.66 Royalties
  JTWROS
  1805 University Way
  San Jose, CA 95126
  Tim N. Permenter                                                                  Indivos Royalties                                                               448.66 Royalties
  9248 Canter Drive
  Dallas, TX 75231
  Todd-Fred Partnership                                                             Indivos Royalties                                                                 29.11 Royalties
  11030 "O" Street
  Omaha, NE 68137
  Traub Venture Group, LLC                                                          Indivos Royalties                                                               448.66 Royalties
  220 Bush Street Suite #660
  San Francisco, CA 94104
                                                                                    Subtotal for this page                                          $             38,671.03




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                    SCHEDULE F3 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ROYALTIES

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                   HUSBAND, WIFE,




                                                                                                                          UNLIQUIDATED
                                                                                                             CONTINGENT
                                                                    COMMUNITY
                                                        CODEBTOR


                                                                     JOINT, OR




                                                                                                                                         DISPUTED
                                                                                       DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                        INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                    AMOUNT OF CLAIM        TYPE OF CLAIM
                                                                                      CONSIDERATION FOR
                 NUMBER
                                                                                            CLAIM


  Travis L. Rushing, Jr.                                                            Indivos Royalties                                                               3,064.45 Royalties
  165 Linden Drive
  Wyoming, OH 45215
  Triet Minh Nguyen                                                                 Indivos Royalties                                                                481.23 Royalties
  41 Union Park Apt#1
  Boston, MA 02118
  Vijay Dandapani & Kamini Dandapani JTWROS                                         Indivos Royalties                                                                897.35 Royalties
  30 Waterside Plaza #29J
  New York, NY 10010
  Waiel Majid                                                                       Indivos Royalties                                                                  59.95 Royalties
  1981 Shattuck Avenue
  Berkeley, CA 94704
  Wally Bruchman                                                                    Indivos Royalties                                                                448.66 Royalties
  3 Windswept Road
  Holmdel, NJ 07733
  Walter Rogoff                                                                     Indivos Royalties                                                                448.66 Royalties
  27071 Littlefield Drive
  Valencia, CA 91354
                                                                                    Indivos Royalties                                                               1,601.88 Royalties
  Ward A Simonson & Karen A. Simonson JTWROS
  660 Parkwood Hills
  Boulder Creek, CA 95006
  Wendy Lader                                                                       Indivos Royalties                                                                434.88 Royalties
  174 72nd Street
  South Haven, MI 49090
  William A. Stevens                                                                Indivos Royalties                                                                448.66 Royalties
  66 Encanto Avenue
  San Francisco, CA 94115
  William L. Duschatko                                                              Indivos Royalties                                                                448.66 Royalties
  33 Wiggin Road
  Bedford, NH 03110
  William M. Mitchell                                                               Indivos Royalties                                                               1,540.24 Royalties
  812 Lexington Avenue
  Charlotte, NC 28203
  William Ruh                                                                       Indivos Royalties                                                                521.67 Royalties
  Castle Creek Cap. Fund IIA LP
  P.O. Box 1329
  Rancho Sante Fe, CA 92067
  Wolf Nadoolman                                                                    Indivos Royalties                                                                399.79 Royalties
  1563 Solano Avenue Suite#371
  Berkeley, CA 94707
  Yao Heng and Jon Levine                                                           Indivos Royalties                                                                399.79 Royalties
  791 12th Avenue
  San Francisco, CA 94118
  Yoram Sammuel Levy                                                                Indivos Royalties                                                                278.22 Royalties
  6160 N. Calle de la Culebra
  Tucson, AZ 85718
                                                                                    Subtotal for this page                                          $              11,474.09

                                                                                    TOTAL SCHEDULE F3                                               $             897,239.88




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


            SCHEDULE F4 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - ACQUISITION PAYMENTS

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                  HUSBAND, WIFE,




                                                                                                                             UNLIQUIDATED
                                                                                                                CONTINGENT
                                                                   COMMUNITY
                                                       CODEBTOR


                                                                    JOINT, OR




                                                                                                                                            DISPUTED
                                                                                      DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                       INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                       AMOUNT OF CLAIM         TYPE OF CLAIM       NOTES
                                                                                     CONSIDERATION FOR
                 NUMBER
                                                                                           CLAIM


  2000 Dennis L. Judd Revocable Trust                                              Acquisition of Indivos                                              $               1,563.30 Acquisition Payment
  Alise & Kenneth Panitch JTRS                                                     Acquisition of Indivos                                                                831.02 Acquisition Payment
  Andrew and Kathleen Cresci Trust                                                 Acquisition of Indivos                                                             55,049.98 Acquisition Payment
  129 Seminary Drive
  Menlo Park, CA 94025
  Anil Malik &Anupam Malik JTWROS                                                  Acquisition of Indivos                                                             10,670.97 Acquisition Payment
  Arnold Young                                                                     Acquisition of Indivos                                                              4,432.16 Acquisition Payment
  Bruce A. MacNaughton & Nancy A. MacNaughton                                      Acquisition of Indivos                                                             10,670.97 Acquisition Payment
  JTWROS
  13 Valley View Court, PO Box 864
  Rociada, NM 87742
  Bruce Allensworth                                                                Acquisition of Indivos                                                             13,485.85 Acquisition Payment
  5 Oxford Road
  Wellesley, MA 02481
  Christopher Shadix                                                               Acquisition of Indivos                                                                138.49 Acquisition Payment
  518 Missouri Street
  San Francisco, CA 94107
  Denny Abrams                                                                     Acquisition of Indivos                                                               2,770.10 Acquisition Payment
  1834 Fourth Street
  Berkeley, CA 94710
  Edward D. Baker Trust                                                            Acquisition of Indivos                                                             78,958.80 Acquisition Payment
  2206 Green Street
  San Francisco, CA 94123
  Eric E Shenk & Charlene Shenk Community                                          Acquisition of Indivos                                                             14,939.37 Acquisition Payment
  Property
  450 S 16th Street
  San Jose, CA 95112
  Excel Innovations, Inc.                                                          Acquisition of Indivos                                                           1,358,300.06 Acquisition Payment
  977 Daniel Street
  Sebastopol, CA 95472
  Eytan & Diane Irwin                                                              Acquisition of Indivos                                                                831.02 Acquisition Payment
  Frederick J. Egan                                                                Acquisition of Indivos                                                             10,670.97 Acquisition Payment
  P.O. BOX 995
  York Harbor, ME 03911
  Gail Grassi                                                                      Acquisition of Capture                                                            434,286.00 Acquisition Payment
  Attn: Larry Anastasi                                                             Resource
  806 Joshua Court
  Moorestown, NJ 08057
  Gary Smith                                                                       Acquisition of Capture                                                            434,286.00 Acquisition Payment
  Attn: Larry Anastasi                                                             Resource
  806 Joshua Court
  Moorestown, NJ 08057
  Gerson & Debra Panitch                                                           Acquisition of Indivos                                                                 831.02 Acquisition Payment
  Goldstine, Daniel and Hillary                                                    Acquisition of Indivos                                                               2,770.10 Acquisition Payment
  1749 MLK Jr. Way
  Berkeley, CA 94709
  Greg Nash                                                                        Acquisition of Indivos                                                               4,190.35 Acquisition Payment
  1085 Sargent Drive
  Sunnyvale, CA 94087
  Imad Jebara                                                                      Acquisition of Indivos                                                             10,670.97 Acquisition Payment
  805 Old Chester Road
  Far Hills, NJ 07931
  James B Kilgore                                                                  Acquisition of Indivos                                                             10,670.97 Acquisition Payment
  37 Heather Lane
  Princeton, NJ 08540
  Jeff Grider                                                                      Acquisition of Capture                                                             71,429.00 Acquisition Payment
  15 Cobblestone Lane                                                              Resource
  Annandale, NJ 8801
                                                                                   Subtotal for this page                                              $            2,532,447.47


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   Joan Mann & Roger Mann                                 Acquisition of Indivos                   3,462.63 Acquisition Payment
   3300 Webster St. #608
   Oakland, CA 94609
   John D. McBride Jr.                                    Acquisition of Indivos                 19,955.24 Acquisition Payment
   4409 Franklin Pike
   Nashville, TN 37204
   Joshua and Stephanie Goldstine C/O Daniel &            Acquisition of Indivos                    923.26 Acquisition Payment
   Hillary Goldstein
   1749 MLK Jr. Way
   Berkeley, CA 94709
   Juliana Manoliu                                        Acquisition of Indivos                   8,823.88 Acquisition Payment
   Kevin Kilbride                                         Acquisition of Indivos                     692.51 Acquisition Payment
   1252 Pheasanthill Road
   Sebastopol, CA 95472
   Larry Anastasi                                         Acquisition of Capture                435,713.00 Acquisition Payment
   806 Joshua Court                                       Resource
   Moorestown, NJ 08057
   Lee and Marsha Freedman                                Acquisition of Indivos                   6,925.25 Acquisition Payment
   1523 Crest View Court
   Grand Junction, CO 81506
   Lee E. Freedman SEP/IRA                                Acquisition of Indivos                   1,385.04 Acquisition Payment
   1523 Crest View Court
   Grand Junction, CO 81506
   Mark Lunenburg                                         Acquisition of Indivos                 21,341.96 Acquisition Payment
   11 Whitehall Place
   Farmington, CT 06032
   Michael Biber                                          Acquisition of Indivos                     27.69 Acquisition Payment
   326 Los Cerros Drive
   Greenbrae, CA 94904
   Michael Coughlin                                       Acquisition of Indivos                 13,850.56 Acquisition Payment
   901 N. Curtis Rd. #503
   Boise, ID 83706
   Michael F Mann                                         Acquisition of Indivos                 10,670.97 Acquisition Payment
   6000 Marquette Terrace
   Bethesda, MD 20817
   Michael Thompson                                       Acquisition of Indivos                 10,670.97 Acquisition Payment
   P.O. Box 7132
   Rancho Santa Fe, CA 92067
   Paul Schaeffer Benefit Plan                            Acquisition of Indivos                   5,193.94 Acquisition Payment
   Paul Schaeffer                                         Acquisition of Indivos                   6,925.28 Acquisition Payment
   5716 West Highway 290
   Austin, TX 78735
   Paynet                                                 Acquisition of Camelot               1,326,954.94 Acquisition Payment
   Attn: Kristy Sherman & Kevin Colaco                    Systems, dba Paynet
   2702 Clayton Road #200                                 Transaction Services
   Concord, CA 94519
   Robert Boardman                                        Acquisition of Indivos                   3,399.13 Acquisition Payment
   26 Carl Street
   San Francisco, CA 94117
   Robert M. Kavner                                       Acquisition of Indivos                   1,154.85 Acquisition Payment
   20680 Leonard Road
   Saratoga, CA 94070
   Roger A. Mann MD, Inc., Profit Sharing Plan            Acquisition of Indivos                 10,442.64 Acquisition Payment
   3300 Webster St. #608
   Oakland, CA 94609
   Roger Mann                                             Acquisition of Indivos                   2,344.91 Acquisition Payment
   3300 Webster St. #608
   Oakland, CA 94609
   Salomon Smith Barney Cust FBO Giacomo A.               Acquisition of Indivos                 25,611.20 Acquisition Payment
   Russo, SEP IRA
   Sand Hill Commons 2882 Sand Hill Rd., Ste 200
   Menlo Park, CA 94025
   State Street Bank Cust Ropes & Gray Ret Acct FBO       Acquisition of Indivos                 10,670.97 Acquisition Payment
   Robert Guiod - 401K
   One International Place
   Boston, MA 02110
   Tapley O. Johnson III                                  Acquisition of Indivos                 10,670.97 Acquisition Payment
   3032 North Fairway Drive
   Burlington, NC 27275
                                                          Subtotal for this page           $   1,937,811.79




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD
   The 1999 Ned Hoffman and Robin Lowitz                  Acquisition of Indivos           x   x   x        125,498.17 Acquisition Payment
   Revovable Living Trust, Separate Property of Ned
   Hoffman
   977 Daniel Street
   Sebastopol, CA 95472
   Thomas A. Maier                                        Acquisition of Indivos                               9,349.01 Acquisition Payment
   1173 Keith Avenue
   Berkeley, CA 94708
   Tom Xenakis                                            Acquisition of Capture                             74,286.00 Acquisition Payment
   31 Manchester Road                                     Resource
   Eastampton, NJ 8060
   Waiel Majid                                            Acquisition of Indivos                                415.51 Acquisition Payment
   1981 Shattuck Avenue
   Berkeley, CA 94704
   Ward A Simonson & Karen A. Simonson JTWROS             Acquisition of Indivos                             11,097.99 Acquisition Payment
   660 Parkwood Hills
   Boulder Creek, CA 95006

  William M. Mitchell                                     Acquisition of Indivos                             10,670.97 Acquisition Payment
  812 Lexington Avenue
  Charlotte, NC 28203
  Wolf Nadoolman                                          Acquisition of Indivos                               2,770.10 Acquisition Payment
  1563 Solano Avenue Suite#371
  Berkeley, CA 94707
  Yao Heng and Jon Levine                                 Acquisition of Indivos                               2,770.10 Acquisition Payment
  791 12th Avenue
  San Francisco, CA 94118
                                                          Subtotal for this page                       $    236,857.85

                                                          TOTAL SCHEDULE F4                            $   4,707,117.11




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


            SCHEDULE F5 - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS - INTERCOMPANY LOANS

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                  HUSBAND, WIFE,




                                                                                                                           UNLIQUIDATED
                                                                                                              CONTINGENT
                                                                   COMMUNITY
                                                       CODEBTOR


                                                                    JOINT, OR




                                                                                                                                          DISPUTED
                                                                                      DATE CLAIM WAS
       CREDITOR’S NAME AND ADDRESS
                                                                                       INCURRED AND
     INCLUDING ZIP CODE, AND ACCOUNT                                                                                                                     AMOUNT OF CLAIM        TYPE OF CLAIM     NOTES
                                                                                     CONSIDERATION FOR
                 NUMBER
                                                                                           CLAIM


  S & H Greenpoints, Inc                                                           Intercompany Loan                                                 $             203,221.12 Intercompany Loan
  1625 S. Congress Ave, Suite 200
  Delray Beach, FL 33445
                                                                                   TOTAL SCHEDULE F5                                                 $             203,221.12




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



 The information set forth herein was derived from the Debtor's books and records. The Debtor reserves the right to amend any of
 the items set forth herein if and when more updated information becomes available.

 The List of Executory Contracts is furnished for information purposes only to apprise parties in interest of possible contractual
 relationships of the Debtor as of December 14, 2007 and is derived from documents in the possession of the Debtor. This
 Statement is not an admission or recognition that any contractual relationship exist or existed or that, if such a relationship existed,
 said relationship presently exists. The Debtor does not waive any right of rescission or reformation or defense respecting any
 contract.

 Similarly, this Statement is not an admission or recognition that any contractual relationship constitutes an "executory contract".
 Some contracts listed in this Statement may have been validly terminated or expired by their own terms prior to December 14, 2007
 but have been listed notwithstanding any such possible termination or expiration in order to provide a complete presentation of the
 Debtor's affairs and in the event that one or more parties in interest may take the position that an executory contact existed as of
 December 14, 2007.




    NAME AND MAILING ADDRESS                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                   INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                    TYPE
  PARTIES TO LEASE OR CONTRACT                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


BSC Management, LLC
22726 Jolly Roger Drive
                                             Dated 4/22/07 -Advisory Agreement Term - 2 years, renewed by written consent.Advisor: Beverly S. Curry          Advisory
Cudjoe Key, FL 33042
attn: Beverly S. Curry
Greg Orman
9580 Sloane Street                           Effective 8/15/05 - Advisory agreement Term for 3 years, renewed by written consent.                            Advisory
Orlando, FL 32827




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                   INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                         TYPE
  PARTIES TO LEASE OR CONTRACT                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Gregory Greenstein
71 Forest Drive                              Effective 8/1/07 - Advisory Agreement Term for 2 years and renewed by written consent.                               Advisory
Jericho, NY 11753
John B. McCoy
6767 North Ocean Beach Blvd.                 Effective 1/1/06 - Advisory services f. Term for 3 years, renewed by written consent.                                Advisory
Ocean Ridge, FL 33435
John Ghaznavi
934 Route 910                                Effective 10/3/07 - Advisor to Solidus Term for 2 years, renewed by written consent.                                 Advisory
Cheswick, PA 15024
Norman Mayne
President & CEO Dorothy Lane                 Signed 7/5/07 - Advisory services related to strategy, business development matters, advice on PBT SmartShop
                                                                                                                                                                  Advisory
2710 Far Hills Ave                           product suite. Term for 3 years, renewed by written consent.
Dayton, OH 45419
Rajat Gupta
Three Landmark Square                        Effective 7/12/05 - Advisor Solidus re: organizational development, strategy, sales, marketing and business
                                                                                                                                                                  Advisory
Samford, CT 06901                            development. Term for 3 years, renewed by written consent.


REPI, LLC
9130 West Sunset Blvd.
                                             Effective 9/27/05 - Advisor to Solidus Term for 3 years, renewed by written consent.                                 Advisory
Los Angeles, CA 900670
attn: Ron Burkle
Robert Hersov
34 Cadogan Place                             Advisory services                                                                                                    Advisory
London, Sw1x9rxm, England]




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                    INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                 TYPE
  PARTIES TO LEASE OR CONTRACT                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Tahoe 8 Ventures, LLC
Attn: Joshua C. Miller, Manager
                                              Executed 8/29/07 - Advisor to Solidus Term for 2 years and renewed by written consent.                       Advisory
101 Convention Center Dr. #850
Las Vegas, NV 89109
Bank of America
315 Montgomery St. 14th Floor
                                              Blocked Account (Lockbox) Agreement with BofA executed 1/28/09 by Gus Spanos.                                Banking
San Francisco, CA 94104


Bank of New York
Asset Solutions Division
600 East Collins Blvd. , Suite 1300           Deposit Account Control Agreement 12/1/2006.                                                                 Banking
Irving, TX 75039
attn: Steve Jerard

First Premier Bank
400 South Sycamore, Suite 102
Sioux Falls, SD 57110                         Deposit Account Control Agreement entered as of 9/19/05 between Solidus, First Premier and OZ.               Banking



First Premier Bank
400 South Sycamore, Suite 102
                                              ACH Agreement (Third-Party Sender agreement dated 10/25/06) and ACH agreement (original) made on 11/5/03 -   Banking
Sioux Falls, SD 57110
attn: Treasury Services




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                    INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                       TYPE
  PARTIES TO LEASE OR CONTRACT                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.



Merrick Bank Corporation
10705 South Jordan Gateway, Suite 200
                                              Guarantee executed 2/2/06 between Solidus and Merrick Bank -                                                       Banking
South Jordan, UT 84095




The Bank of New York
Asset Solutions Division
                                              Administrative and Collateral Agency Fee Schedule executed 12/01/06                                                Banking
600 East Collins Blvd. , Suite 1300
Irving, TX 75039


Bridge Design
375 Alabama Street, Suite 410                                                                                                                                 Development &
                                              Pay by Touch Services Agmt executed 8/23/06, term until completion of services.
San Francisco, CA 94110                                                                                                                                         Alliances
attn: Bill Evans
Gilbarco, Inc.
                                                                                                                                                              Development &
730 West Friendly Avenue                      Executed 12/7/06 - Joint development agreement of software and hardware.
                                                                                                                                                                Alliances
Greensboro, NC 27420
Hypercom U.S.A., Inc.                         Alliance Agreement dated 4/20/05 between PBT and Hypercom to develop, m Term 2 years, automatically renews on
                                                                                                                                                              Development &
2851 West Kathleen Road                       yearly basis.
                                                                                                                                                                Alliances
Phoenix, AZ 85053




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                 INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                             TYPE
  PARTIES TO LEASE OR CONTRACT              PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.



MTXEPS, Inc.
                                                                                                                                                                 Development &
85 Argonaut, Suite 150                     Teaming Agreement 2/2/2005 Term 2 years, automatically renews yearly thereafter.
                                                                                                                                                                   Alliances
Aliso Viejo, CA 92656




NCR Corporation
1700 South Patterson Blvd.                 Master Agreement dated November 7, 2005 - all goods, licenses & services ordered from NCR subject to this             Development &
Dayton, OH 45479-0001                      agreement. No term - until either party terminates.                                                                     Alliances
attn: Michael Webster


NCR Corporation
1700 South Patterson Blvd.                                                                                                                                       Development &
                                           Amendment effective 10/18/06, modifies the Master Agreement dated November 7, 2005 -
Dayton, OH 45479-0001                                                                                                                                              Alliances
attn: Michael Webster
NCR Corporation
1700 South Patterson Blvd.                 Services addendum to Master Agreement effective Dec 20, 2005. Term for 3 years, annuity services will automatically   Development &
Dayton, OH 45479-0001                      renew every 1 year thereafter.                                                                                          Alliances
attn: Michael Webster
PatCare, Inc.
                                                                                                                                                                 Development &
25286 Adelanto                             Marketing and Services Agmt effectrive 9/6/06 between PatCare and PBT.
                                                                                                                                                                   Alliances
Laguna Niguel, CA 92677




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In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                    INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                                TYPE
  PARTIES TO LEASE OR CONTRACT                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.




RETALIX, Inc
                                                                                                                                                                       Development &
6100 Tennyson Parkway, Suite 150              Alliance Agreement between PBT and RETALIX on 9/20/05
                                                                                                                                                                         Alliances
Plano, TX 75024



VeriFone, Inc.
                                                                                                                                                                       Development &
2099 Gateway Place, Suite 600                 Compatible Product Development and Marketing Agreement in effect 5/6/05.
                                                                                                                                                                         Alliances
San Jose, CA 95110
Web.com, Inc.
303 Peachtree Center Avenue, 5th Floor
                                              Marketing Referral Agreement dated 1/1/2007. Term begins Jan. 1, 2007 for 5 years and thereafter will remain in effect   Development &
Atlanta, GA 30303
                                              until either party provides 30 written notice of termination. Com                                                          Alliances
attn: Jeff Stibel


Xperex
38 Oyster Point Blvd., Suite 9                                                                                                                                         Development &
                                              Effective 11/30/05 - Development, Purchase and Services Agreement between Solidus and Xperex (Seller).
South San Francisco, CA 94080                                                                                                                                            Alliances


Xperex
38 Oyster Point Blvd., Suite 9                First Amendment to original agreement effective Dec. 22, 2006. Term 3 years, then renews automatically for 1 year        Development &
South San Francisco, CA 94080                 period.                                                                                                                    Alliances




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  PARTIES TO LEASE OR CONTRACT            PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Bob Goldberg
2556 Carisbrook Drive
                                         Employment Agreement dated 8/4/06 for position of EVP, Customer Excellence, Pay by Touch;                    Employment
Oakland, CA 94611


Brian Miller
60 Summit Avenue                         Employment Agreement dated 7/23/03 for position of EVP, Corporate Development;                               Employment
Mill Valley, Ca 94941
Judy Nelson
804 East 34th Street                     Employment Agreement dated 8/21/06 for position of Senior VP, Human Capital;                                 Employment
Sioux Falls, SD 57105
William Townsend
7 Wingreen Loop                          Employment Agreement dated 12/30/05 for position of EVP, Office of the Chief Executive Officer;              Employment
Austin, TX 78738
Jeff Amann
1807 Octavia Street                      Employment Agreement dated 1/30/2007 for position of CAO of Pay By Touch,                                    Employment
San Francisco, CA 94109
John Costello
4716 Northside Drive, NW
                                         Employment Agreement dated 1/30/2007 for position of President, Consumer & Retail, Pay By Touch, re          Employment
Atlanta, GA 30327




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John Morris
303 N Lincoln Street
Hinsdale, IL 60521
                                             Key Employment Agreement dated 5/03/05 for position of President and Chief Operating Officer of Solidus             Employment




Robert Sigler
900 South Pavilion Center Drive, Suite 170   Key Employee Agreement dated 6/1/07, for posititon of Chied Financial Officer of Solidus Networks, Inc.             Employment
Las Vegas, NV 89144
Ronald G. Carter
2406 Westcreek Dr.                           Employment Agreement dated 9/3/06 for position of President of Pay By Touch Payment Solutions, reporting to the
                                                                                                                                                                 Employment
Frisco, TX 75034                             COO.


                                             Equipment Lease
                                             2 Canon IR5070
                                             2 T1 Finisher
NewCal Industries                            2 Puncher Kit M1
1 Front Street                               2 Universal Send Kit-D1                                                                                           Equipment Lease
San Francisco, Ca94111                       2 PDF Enhancer Kit B1
                                             2 G5 Multi PDL Kit
                                             Dated January 4, 2006
                                             Location of Euqipment 101 Second Street Ssan Francisco Ca 94105




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                                            Canon IR C3220
                                            Document Feeder Kit K1
                                            x1 Cassette Feed Unit
NewCal Industries
                                            M1 Internal Finsiher
1 Front Street                                                                                                                                                 Equipment Lease
                                            M2 Super G3 Fax Board
San Francisco, Ca94111
                                            IPAC B1 Print & U Send Package
                                            Location: 3883 Telegraph Rd
                                            Bloofield Hills MI 48302

The Bank of New York
                                            Amended and Restated Escrow Agreement entered 6/2007, Bank of NY as agents for the Purchasers, Branh Banking
Asset Solution Divisions
                                            and Trust Company of Virginia as the Escrow Agent. Compay and Agent entered into Amended and Restated                   Escrow
600 East Las Golinas Blvdm Suite 1300
                                            Securities Purchase Agreement dated Dec 6, 2005.
Irving, TX 75039

David L. Holmes
Adagio Trust Co
730 Sandhill Rd.                            Investor Finder's Agreement for Series C Preferred Stock                                                           Finders Agreement
Reno, NV 89521


Brian Weiner
9595 Wilshire Boulevard, Suite 1100         Customer Finder's Agmt dated 6/21/06 for finder to use commercially reasonable efforts to identify, evaluate and
                                                                                                                                                               Finders Agreement
Los Angeles, CA 90025                       arrange introductions to mutually agreed referral customers.




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Calico Capital, LLC
Michael Clofine
767 3rd Avenue, 38th Floor                  Restated and Amended Investor Finder's Agreement for Series C Preferred Stock, entered 6/28/06 to assist PBT in
                                                                                                                                                                   Finders Agreement
New York, NY 10017                          efforts to secure financing for PBT by arranging and facilitating introductions to potential purchasers.



Parker Boston LLC
                                            Restated and Amended Investor Finder's Agreement for Series C Preferred Stock, entered 6/28/06 to assist PBT in
752 Third Ave, 6th Floor                                                                                                                                           Finders Agreement
                                            efforts to secure financing for PBT by arranging and facilitating introductions to potential purchasers.
New York, NY 10017
CMDB Enterprise, Inc.
11329 Via Spiga Drive                       Signed 6/14/07 - Advisor to Solidus to provide general strategic advice regarding the areas of finance and development
                                                                                                                                                                   Finders Agreement
Las Vegas, NV 89138                         including: Term for 2 years, renewed by written consent.
attn: Charles M. Bussey
Francis Santangelo
                                            Investor Finder's Agreement to assist Solidus in its current effort to secure financing for Solidus by arranging and
115 Rye Ridge Road                                                                                                                                                 Finders Agreement
                                            facilitating introductions to potential investors.
Harrison, NY 10528
Guilhem Castagne
Madison Consortium Limited
                                            Investor Finder's Agreement dated 8/3/06 - for Series C Preferred Stock offering.                                      Finders Agreement
186 Hammersmith Road
London W6, 7J United Kingdom
John Tibor
PO Box 1038
                                            Investor Finder Agreement                                                                                              Finders Agreement
Ponte Vedra Beach, FL 32004




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Michael Zimmerman
Zimmerman & Associates, LLC
                                             Investor Finder Agreement                                                                                                Finders Agreement
1221 Greenwood Rd
Baltimore, MD , 21208-3609
Mohsen Afrasiabi
755 Loma Verde                               Finder's Agreement dated 6/25/07 - for Series C Preferred Stock offering. Term will expire when sale of Series C is
                                                                                                                                                                      Finders Agreement
Palo Alto, CA 94303                          terminated or by written notice of either party. Addendum to Finders agmt entered on 6/25/07, updated 10/2/07.


Brian Shanahan
1789 Hastings Mill Road                      Investor Finder's Agreement for Convertible Promissory Notes, enter 6/24/05 to assist PBT in efforts to secure
                                                                                                                                                                      Finders Agreement
Pittsburgh, PA 15241                         financing for PBT by arranging and facilitating introductions to potential purchasers.


Ajilon Finance
                                                                                                                                                                        Independent
Dept CH 14031                                Temporary Staffing Services Agmt, effective date 3/27/06 -
                                                                                                                                                                         Contractor
Palatine, IL 60055-4031
Andrew Barresi
                                                                                                                                                                        Independent
Serrano 2459 1A                              Independent contractor services agrmt, effective date 8/5/04. Termination of contract with 15 days notice.
                                                                                                                                                                         Contractor
Buenos Aires 1425, Argentina
Gary Hawkins
Hawkins Strategic, LLC                                                                                                                                                  Independent
                                             Amended and Restated Independent Contractor Services Agmt, effective date 12/8/05.
P.O. Box 145                                                                                                                                                             Contractor
Skaneateles, NY 13152
Kevin Jensen
                                             Independent Contractor Services Agmt, effective date 6/15/07. Contractor to provide general consulting services to the     Independent
20525 Iceland Ave.
                                             Office of the Chairman in areas of finance and development. Term ends 6/14/08 or upon Initial Public Offering               Contractor
Lakeville, MN 55044




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Kevin Marchetti
                                                                                                                                                                         Independent
2369 English Ct.                             Independent Contractor Services Agmt, effective date 4/1/07. Contract can be terminated with 30 days notice.
                                                                                                                                                                          Contractor
Walnut Creek, CA 94598
Steve Bresnen & Associates
                                                                                                                                                                         Independent
5908 London                                  Contract for Professional Services, effective 7/15/06 through 7/14/08. Steve Bresnen will subcontract with Dan Shelly.
                                                                                                                                                                          Contractor
Austin, TX 78745
Van Scoyoc Kelly PLLC
                                                                                                                                                                         Independent
101 Constitution Ave. NW, #675 E.            Retainer and Bona Fide Agency Agrmt signed 10/18/06 to hire VSK as consultants,
                                                                                                                                                                          Contractor
Washington, DC 20001
Vicente Llopis / Dovetail
                                                                                                                                                                         Independent
660 4th Street, #102                         Independent Contractor Services Agmt, effective date 6/15/06. No services, fees or terms specified.
                                                                                                                                                                          Contractor
San Francisco, CA 94107
Xoriant Corporation
                                             Independent contractor services agrmt, effective date 8/24/06. Termination of contract with 15 days notice. No Services     Independent
1248 Reamwood Ave
                                             exhibit.                                                                                                                     Contractor
Sunnyvale, CA 94089
End 2 End Solution Providers
                                                                                                                                                                         Independent
139-45 Queen's Blvd                          Consulting Services Agreement
                                                                                                                                                                          Contractor
Jamaica, NY 11435
Kenneth Bott                                                                                                                                                              Independent
                                             Independent Contractor Services Agmt, effective date 9/1/07. Contractor wil provide services as Company's Senior VP,
9104 Vista Green Way #104                                                                                                                                                Contractor and
                                             Investor Relations.
Las Vegas, NV 89134                                                                                                                                                    Finders Agreement
Cannonwill, Inc.
1000 Milwaukee Avenue                        Account No: 03-04971497-06, Quote No. Q0702070327AA1, Date 7/17/07.                                                           Insurance
Glenview, IL 60025




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Chubb Group of Insurance Companies
                                             Evidence of Coverage (Bound): AUTO Policy No. 74992106; MOD PKG Policy No. 35821734; UMBRELLA Policy No.
505 Hopyard Road #400
                                             79833476; effective dates 9/1/2007; underwriting company: Federal Insurance Company. Commercial coverage               Insurance
Pleasanton, CA 94588-3321
                                             proposal for Solidus. Account issued on Agency bill - Quarterly installments.

InterWest Insurance Services, Inc.
150 Mathilda Place #208
                                             Company: St Paul/Travelers; Binder #19753 for Policy No. HT-UB-6174L88-2. Effective from 9/1/07-9/1/08.                Insurance
Sunnyvale, CA 94086
attn: David M. Wright
InterWest Insurance Services, Inc.
150 Mathilda Place #208                      Date issued: November 15, 2007, Policy No. NY07DOL419686NV. Converge: Director's & Officer's Private Primary.
                                                                                                                                                                    Insurance
Sunnyvale, CA 94086                          Period: 11/1/07 - 11/1/08, term 365 days.
attn: Doug Flake
InterWest Insurance Services, Inc.
150 Mathilda Place #208                      Date issued: August 8, 2007, Policy No. SF706220A Converge: Errors & Omissions - Excess. Period: 8/5/07 - 8/5/08,
                                                                                                                                                                    Insurance
Sunnyvale, CA 94086                          term 365 days.
attn: Doug Flake
InterWest Insurance Services, Inc.
150 Mathilda Place #208                      Date issued: August 8, 2007, Policy No. SF706210A Coverage: Errors & Omissions - Misc. Insurer: Underwriters at
                                                                                                                                                                    Insurance
Sunnyvale, CA 94086                          Lloyd's, London. Period: 8/5/07 - 8/5/08, term 365 days.
attn: Doug Flake
Computer Associates, Inc.
One CA Plaza                                 Project No. 28265/Site 239478, Installation location: 101 Second Street, 11th Fl. San Francisco, CA 94105. Effective   Licensing
Islandia, NY 11749                           Date: 10/20/06, end date: 10/16/09.                                                                                    Agreement
attn: Jordan Schnug




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Computer Associates, Inc.
One CA Plaza                                                                                                                                                        Licensing
                                                Customer no. 239478, Master Services Agrmt dated 10/19/06.
Islandia, NY 11749                                                                                                                                                  Agreement
attn: Jordan Schnug
Hewlett-Packard
20555 SH 249                                                                                                                                                        Licensing
                                                Customer Agreement executed 4/25/06 for HP Hardware, HP Software License, HP Support, term for at least 3 years.
Houston, TX 77070                                                                                                                                                   Agreement
attn: Bob Sudkamp

Microsoft Licensing, GP
Dept. 551, Volume Licensing
                                                Microsoft Volume Licensing Agreement to license and order Microsoft products and services. Microsoft Business       Licensing
6100 Nell Road
                                                Agreement No. 00454348 effective 6/21/05, no termination date set.                                                  Agreement
Reno, NV 89511
attn: Beverly Ellis

Microsoft Licensing, GP
Dept. 551, Volume Licensing                     Direct Enterprise Enrollment No. 9134548 for PBT at One Market Plaza Suite 700 - 300 Desktops, Channel Partner is   Licensing
6100 Nell Road, Suite 210                       Softchoice Corp. Start date 6/21/05                                                                                 Agreement
Reno, NV 89511
Neurotechnologija, Ltd.
                                                                                                                                                                    Licensing
Ateities 10                                     Software Licensing Agreement dated 9/23/03 where Neurotechnologija has agreed to license Software to Solidus.
                                                                                                                                                                    Agreement
Vilnius 2057, Lithuania
NorhTec
                                                Teaming Agreement dated 3/8/04 between NorhTec and PBT to develop a management and technical approach to the        Licensing
99/24 Software Park Bldg, 11th floor, Unit A3
                                                PBT Project. Termination 1 year after offer is submitted.                                                           Agreement
Chaengwattana Road, Pakkred, Nonthaburi 11120




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Craig Ramsey
110 Hi Vista Road
                                              Buyout Agreement and Mutual Release of Claims between PBT and Craig Ramsey entered Dec. 23, 2005.                    M&A
Sausalito, CA 94965


Gary Hawkins
Hawkins Strategic, LLC                        Asset Purchase Agreement, dated December 8,2005 among Hawkins Stratgic, Green Hills Farm Store, Gary Hawkins
                                                                                                                                                                   M&A
P.O. Box 145                                  and Solidus Networks, Inc.
Skaneateles, NY 13152
Kevin Colaco
2702 Clayton Road
                                              Noncompetition Agmt dated 11/3/06 by Kevin Colaco for the benefit of Solidus.                                        M&A
Concord, CA 94519


Kristy Sherman
2702 Clayton Road
                                              Noncompetition Agmt dated 11/3/06 by Kristy Sherman for the benefit of Solidus.                                      M&A
Concord, CA 94519


Timothy Robinson
12145 Chancery Station Circle                 Noncompetition Agmt dated 1/15/06 between Timothy Robinson for the benefit of Solidus.                               M&A
Reston, VA 20190
Biometric Payment Solutions
110 Tega Cay Place #2004
PonteVedra Beach, FL 32082                    Patent Acquisition Agreement dated 1/05 -                                                                      Patent Acquisition
attn: Joan Tibor McNeal




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Reza Jalili
50 East Hartsdale Ave                           Patent Acquisition Agreement dated 11/05                                                                           Patent Acquisition
Hartsdale, NY 10530
A3 Solutions
                                                                                                                                                                     Product and
San Alberto No. 40, Res. Santa Barbara          PBT Referral and Support Agreement with A3, effective June 28, 2006
                                                                                                                                                                     Technology
Garza, Garcia, N.L. 66266 Mexico
Cogent
209 Fair Oaks Avenue                                                                                                                                                 Product and
                                                Supply Agreement between Cogent and PBT effective May 6, 2005
South Pasadena, CA 91030                                                                                                                                             Technology
attn: Paul Kim, CFO
Cogent
Chris Crunmp                                                                                                                                                         Product and
                                                Supply Agreement
209 Fair Oaks Ave                                                                                                                                                    Technology
South Pasadena, CA 91030
Cognos
                                                                                                                                                                     Product and
15 Wayside Road                                 Order Agreement
                                                                                                                                                                     Technology
Burlington, MA 01803
Data Systems, Inc.
                                                                                                                                                                     Product and
6515 S. 118th Street, Suite 100                 DSI Dealer agreement, effective May 17, 2006, initial term for 2 years, then renews automatically yearly.
                                                                                                                                                                     Technology
Omaha, NE 68137
Digital Persona
805 Veterans Blvd. suite 301                                                                                                                                         Product and
                                                NDA Amendment Hardware Equipment Loan Agreement
Redwood City, Ca 94063                                                                                                                                               Technology




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Digital Persona
                                                                                                                                                                        Product and
720 Bay Road                                 Purchasing Agreement
                                                                                                                                                                        Technology
Redwood City, CA 94063
First Business Solutions
4645 E. Anaheim Street                                                                                                                                                  Product and
                                             Dealer agreement, effective 9/18/06
Long Beach, CA 90804                                                                                                                                                    Technology
attn: Wayne Ozkin
Infonox On the Web, Inc., Infonox
                                             Hosting services agreement, effective date 9/22/06. Infonox will give Customer enterprise application services
643 River Oaks Parkway                                                                                                                                                  Product and
                                             delivered via a customary engineered network. Term is for 1 year and shall renew automatically each year or option for
San Jose, CA 95134                                                                                                                                                      Technology
                                             3 year renewal.
Attn: Safwan Shah
Koster Group
1806 Mews Drive                                                                                                                                                         Product and
                                             PBT Services Agreement, executed 8/9/06 (only b PBT), term is 6 mths.
Washington, NC 28405                                                                                                                                                    Technology
att: Ron Koster
TARGUSinfo
8010 Towers Crescent Drive, 5th Floor                                                                                                                                   Product and
                                             Commercial Information Services Agreement effective August 11, 2006 where PBT will license services from Targus.
Vienna, VA 22182                                                                                                                                                        Technology
attn: Ross Shanken, VP of Sales
Hines Interests Limited Partnership
101 California Street, Suite 1000            Lease for 101 Second Street, Suite 1500 San Francisco, CA 94105 to Solidus, commence 7/1/05.                             Real Estate Lease
San Francisco, CA 94111
Hines Interests Limited Partnership
                                             Sublease contract entered 12/16/05 by Hines and PBT Solutions. Sublease of 11th floor of 101 Second Street, San
101 California Street, Suite 1000                                                                                                                                     Real Estate Lease
                                             Francisco CA to PBT Solutions, about 17,291 sq ft from Nextant (sublandlord).
San Francisco, CA 94111




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5451 Williams Owner, LLC                      Address: 5451 E. Williams Blvd. Tucson, AZ, County of Pima, commenced Jan 2007. 24,767 sq ft, rent $594,408/year.
                                                                                                                                                                Real Property Lease
Agent: Miles Farbert                          Expiration date: Feb 28, 2012.
Devon Real Property, LLC
                                              Property lease: 3883 Telegraph Road, Suite 203 Bloomfield Hills, MI 48302. Lease commenced Sept 2006, terminates
1265 Watercliff Dr.                                                                                                                                            Real Property Lease
                                              August 2009. 1590 sq. ft
Bloomfield Hills, MI 48302
Hines Interests Limited Partnership
                                              Property located: 101 Second Street, Floors 14-15, San Francisco, CA. Lease commenced May 25, 2005, terminates
101 California Street, Suite 1000                                                                                                                            Real Property Lease
                                              May 25, 2010.
San Francisco, CA 94111
Hines Interests Limited Partnership
                                              Sublease contract entered 12/16/05 by Hines and PBT Solutions. Sublease of 11th floor of 101 Second Street, San
101 California Street, Suite 1000                                                                                                                               Real Property Lease
                                              Francisco CA to PBT Solutions, about 17,291 sq ft from Nextant (sublandlord).
San Francisco, CA 94111
Hines Interests Limited Partnership
                                              Property is 101 Second Street, 11th Floor, San Francisco, CA 94105. Lease commenced 110/19/2005, terminates
101 California Street, Suite 1000                                                                                                                               Real Property Lease
                                              9/30/09.
San Francisco, CA 94111
National Office Partners LP
                                              Property lease: 560 Mission Street, San Francisco, CA 94150, Floors 6-9. Commenced April 2007, Terminates June
560 Mission Street, 9th Floor                                                                                                                                   Real Property Lease
                                              2015.
San Francisco, CA 94105
Sagem Morpho, Inc.
1145 Broadway Plaza
Tacoma, WA 98402                              Value-Added Reseller Agreement dated January 15, 2007.                                                            Reseller Agreement
attn: Bernard Gautier




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Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                  INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                                TYPE
  PARTIES TO LEASE OR CONTRACT               PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


StoreNext Retail Technologies LLC
6100 Tennyson, Suite 130                    Reseller Agmt dated 12/19/06 that allows PBT to distribute its proprietary technology via StoreNext's channel
                                                                                                                                                                   Reseller Agreement
Plano, TX 75024                             operations and customer sales support relationships in the Small/Medium Enterprise Grocery Market. P
attn: Raymond Carlin
Ascert LLC
759 Bridge Way                              Software Licensing Agreement                                                                                            Software License
Sausalito, CA 94965
Citrix
851 West Cypress Creek Pl,                  Flex Program Agreement                                                                                                  Software License
Fort Lauderdale, FL 33309
Cognos Corporation
                                            Order Agreement effective 11/30/04 for software license for: Term for 1 year, may be terminated by either party with 15
15 Wayside Road                                                                                                                                                     Software License
                                            days written notice. Executed by Solidus.
Burlington, MA 01803
E*Trade Financial Corporate Services
                                            Equity Edge and Employee Brokerage Services for Emerging Markets, Purchase Order: Equity Edge versions 6.0,
10951 White Rock Road                                                                                                                                               Software License
                                            executed 9/30/05. Expiration date of software license, 1 year from initial public offering.
Rancho Cordova, CA 95670
E*Trade
Lisa R. Cooper Manager, Sales Admin
                                            Equity Edge Version 6.0                                                                                                 Software License
10951 White Rock Rd
Rancho Cordova, CA 95670
Gilbarco
7300 W Friendly Ave                         Software Development Agreement                                                                                          Software License
Greensboro, NC 27420




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  PARTIES TO LEASE OR CONTRACT                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Green Hills Farm Stores, Inc.
5933 S Salina St
                                              License Agreement (outlicense of SMARTSHOP trademark)                    Software License
Syracuse, NY 13205


HP
David Cabello
                                              HP Customer Agreement                                                    Software License
1501 Page Mill Rd
Palo Alto 94304-1100
HP
Mark Jamison                                  HP Customer Agreement                                                    Software License
3000 Hanover St, Palo Alto CA 94304
Hypercom
2851 W Kathleen Rd.                           PBT & Hypercom Alliance Agreement                                        Software License
Phoenix, AZ 85053
IBM
PO Box 676673
                                              ISV Teaming Agreement                                                    Software License
Dallas Tx 75267-6673


IBM
PO Box 676673
                                              Software Evaluation License Agreement for IBM DSV demo software          Software License
Dallas Tx 75267-6673




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Ingrian Networks
Bill Lewis - Ingrian Networks, Inc.
                                                  License and Service Agreement                                                 Software License
350 Convention Way
Redwood City CA 94063
Jaremax, Inc.
10547 94th Ave N.                                 Software Development Agreement                                                Software License
Seminole, FL 33772
Microsoft
Brian Hanna Embedded Service Engagement Manger,   Microsoft OEM Customer License Agreement for Embedded Systems                 Software License
bhanna@microsoft.com, (425) 818-6245
MTXEPS
85 Argonaut, Suite 150                            PBT & MTXEPS Teaming Agreement                                                Software License
Aliso Viejo, CA 92656
NCR
Miacheal R. Webster, VP
                                                  Statement of Work for Services for ePod Enrollment Kiosk Application          Software License
1700 S Patterson Blvd
Dayton, OH 45479-0001

Neurotechnologija
Ateities 10,
Vilnius 2057 Lithuania,
                                                  Software Licensing Agreement                                                  Software License
Distributor: Fulcrum Strategic Partners, Inc.
5055 Business Center Dr. Suite 108-138,
Fairfield, CA 94534




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  PARTIES TO LEASE OR CONTRACT                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Oracle
Travis Binen
Oracle                                       Oracle License and Service Agreement for CSI 3886058                      Software License
Technology Sales Manager
415-505-6043

Oracle
Travis Binen
Oracle                                       Oracle License and Service Agreement for CSI 3372152 and 3371192          Software License
Technology Sales Manager
415-505-6043

Oracle
Travis Binen
Oracle                                       Oracle License and Service Agreement for CSI 2938045 and 5796987          Software License
Technology Sales Manager
415-505-6043
Primary Payment Systems, Inc.
14646 N. Kierland Blvd., Ste. 120            IDLOGIX ASP Program Agreement                                             Software License
Scottsdale, AZ 95254
Primary Payment Systems, Inc.
14646 N. Kierland Blvd., Ste. 120            Identity check Pre-Screen Agreement Web/Developer Services                Software License
Scottsdale, AZ 95254
S2 System, Inc.
4965 Preston Park Blvd, Suite 100            Master Software License Agreement                                         Software License
Plano , TX 75093




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Sagem
James Conniff, Director
Sagem Morpho Inc
113 Columbus Street                            Sagem                                                                                                                Software License
Suite 400
Alexandria, VA 22314


Softrax
45 Shawmut Road                                Software Licensing Agreement (Enterprise Edition)                                                                    Software License
Canton , MA 02021
Softrax Corp.
45 Shawmut Road
                                               Contract No. 20583, effective date 7/31/06. Term is one year and automatically renews yearly after initial period.   Software License
Canton, MA 02021
attn: Jake Fennessy
StoreNext (Retalix/Fujitsu joint venture)
6100 Tennyson Pwky                             Memorandum of Understanding                                                                                          Software License
Plano, TX 75024
Tidal
2100 Geng Road, Suite 210                      Master Software License Agreement                                                                                    Software License
Palo Alto, CA 94303-3343
Verifone
2099 Gateway Place, Suite 600                  Compatible Product Development and Marketing Agreement                                                               Software License
San Jose, CA 95110




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Vignette
1601 S. Mo Pac Expt                           Master Corporate Agreement                                                                                            Software License
Austin, TX 78746
Tidal Software
                                              Master License Agmt No. 130188, executed 3/31/06. Tidal grants Solidus a non-exclusive, non-transferable license to   Software License
2100 Geng Road, Suite 210
                                              use the Software on the number of authorized computers.                                                                  Agreement
Palo Alto, CA 94303-3343
Arrow Electronics, Inc.                       SOW dated 11/17/06: Support of PBT's Pay Check Secure Product. Term for 1 year and will automatically renew              Vendor &
50 Marcus Drive                               thereafter. Scope of services: Configuration and test, Fulfillment, Procurement/Materials Mgmt, Reverse Logistics,      Professional
Melville, NY 11747                            Reporting and Data Access.                                                                                                Service
Arrow Electronics, Inc.                                                                                                                                                Vendor &
50 Marcus Drive                               SOW dated 1/29/07 Support of PBT'sTrueMe Sensor. Term for 1 year and will automatically renew thereafter.               Professional
Melville, NY 11747                                                                                                                                                      Service
                                                                                                                                                                       Vendor &
ATM Direct
                                              Consulting Agreement                                                                                                    Professional
                                                                                                                                                                        Service
Austin Noll & Associates, LLC
                                                                                                                                                                       Vendor &
32 Heather Lane                               Consulting Services Agreement executed 6/28/07 to perform consulting services. Term shall begin on 7/1/07 and end
                                                                                                                                                                      Professional
Randolph, NJ 07869                            on 6/30/08, may be extended with written agmt.
                                                                                                                                                                        Service
Attn: Austin Noll Jr.
Baker & McKenzie LLP                                                                                                                                                   Vendor &
815 Connecticut Ave, NW                       Consulting services agreement                                                                                           Professional
Washington, DC 20006-4078                                                                                                                                               Service




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Barclays Bank
                                                                                                                                                                            Vendor &
1 Churchill Place
                                              Memorandum of Understanding executed 6/12/07 by PBT.                                                                         Professional
London, E14 5HP
                                                                                                                                                                             Service

BI3 Solutions                                                                                                                                                               Vendor &
Greg Hatfield, BI3 Solutiions                 Professional Services Agreement                                                                                              Professional
510-316-9199                                                                                                                                                                 Service
Card Scanning Solutions (CSSN, Inc.)                                                                                                                                        Vendor &
10350 Santa Monica Blvd, Suite 285            Distribution and Reseller Agreement, entered 11/14/05. Term is one year and thereafter will automatically renew yearly.      Professional
Los Angeles, CA 90025                                                                                                                                                        Service
CCA Financial LLC
                                                                                                                                                                            Vendor &
attn: Andrew Walker                           Purchase Order AW1026PBPT for equipment: PBT Paycheck Secure Dell Minitower CPU and 226 upgrades for
                                                                                                                                                                           Professional
P.O. Box 17190                                Paycheck Secure Systems - improved Camera Stand.
                                                                                                                                                                             Service
Richmond, VA 23226
Certegy Check Services
                                                                                                                                                                            Vendor &
11601 Roosevelt Blvd.
                                              Pathways Verification Agreement effective 11/11/05, term 2 years and will renew automatically for 1 year periods.            Professional
St. Petersburg, FL 33716
                                                                                                                                                                             Service

Certegy LTD                                   Certegy to provide services: Direct debit administration, Transaction authorization, Direct debit processing, merchant        Vendor &
Tricorn House, 51-53 Hagley Road              payment. Term will continue for Trial period, if neither party terminates, will continue for Initial Period and thereafter   Professional
Edgbaston, Birmingham B168TO ENGLAND          shall continue in full force. Agrmt executed on 10/16/06.                                                                      Service
Certegy                                                                                                                                                                     Vendor &
11601 Roosevelt Blvd                          Joint Marketing Agreement                                                                                                    Professional
St. Petersburg, FL                                                                                                                                                           Service




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ChannelForce, Inc.
                                                                                                                                                                             Vendor &
15 82nd Drive, Suite 200                     Master Services Agreement effective 10/26/05. Term is 1 year from effective date and will renew automatically for 12-
                                                                                                                                                                            Professional
Gladstoine, OR 97140                         mth terms. SOW - Chicago Market Support Q4 2005.
                                                                                                                                                                              Service
attn: Michael Highlander
Cox, Castle & Nicholson LLP                                                                                                                                                  Vendor &
19800 MacArthur Blvd, Suite 500              Legal services agmt dated 8/25/06 - engaging the Firm to negotiate and document various facility leases.                       Professional
Irvine, CA 92612-2400                                                                                                                                                         Service
Dorothy Lane Markets
                                                                                                                                                                             Vendor &
2710 Far Hills Ave                           Merchant Marketing Services Agmt dated executed 6/15/07 between DLM and PBT -Term shall continue until either
                                                                                                                                                                            Professional
Dayton, OH 45419                             party terminates with 15 days notice.
                                                                                                                                                                              Service
attn: Norman Mayne
End 2 End Solution Providers                                                                                                                                                 Vendor &
                                             Consulting Services Agreement entered 11/22/04 to perform certain software development services for purposes of
139-45 Queen's Blvd                                                                                                                                                         Professional
                                             developing computer software applications and associated documentation.
Jamaica, NY 11435                                                                                                                                                             Service
Ernst & Young LLP                                                                                                                                                            Vendor &
                                             E&Y Services agreement dated 1/23/06. SOW - Acquisition Integration Advice - to provide advisory and integration
560 California Street, Suite 1600                                                                                                                                           Professional
                                             services in connection with acquisitons of Cad Systems, BioPay and Capture Resource.
San Francisco, CA 94015                                                                                                                                                       Service
Ernst & Young LLP                                                                                                                                                            Vendor &
                                             E&Y Services agreement dated 8/7/06 for valuation services with respect to the acquisition of ATM Direct. Term until
560 California Street, Suite 1600                                                                                                                                           Professional
                                             services are complete.
San Francisco, CA 94015                                                                                                                                                       Service
Financial Technology Partners LLC            Engagement letter dated 9/10/05 in which Solidus is hiring FTP as financial and strategic advisor in connection with (i)        Vendor &
601 California Street, 22nd Floor            acquisition of CardSystems Solutions, Inc. (ii) potential private equity financing transactions and (iii) a non-underwriting   Professional
San Francisco, CA 94108                      advisory role in re: the potential initial offering of the Company. If                                                           Service




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First Annapulis Consulting, Inc.
                                                                                                                                                                       Vendor &
900 Elkridge Landing Road, Suite 400
                                               Consulting Services Agrreement, effective 2/24/06, term shall continue until duties have been completed.               Professional
Linthicum, MD 21090
                                                                                                                                                                        Service
attn: John Grund
First Data Corporation
                                                                                                                                                                       Vendor &
attn: Andrew Walker
                                               Letter of Intent, executed on 8/30/06 between First Data Corp and Solidus.                                             Professional
P.O. Box 17190
                                                                                                                                                                        Service
Richmond, VA 23226
Frank, Rimerman + Co LLP                                                                                                                                               Vendor &
                                               Engagement letter for valuation services dated 10/21/05 - perform a fair value of the common equity of Solidus as of
1801 Page Mill Road                                                                                                                                                   Professional
                                               several valuation dates.
Palo Alto, CA 94304                                                                                                                                                     Service
Frank, Rimerman + Co LLP                                                                                                                                               Vendor &
                                               Engagement letter for valuation services dated 10/21/05 - estimate the fair value of the Merchant Services Reporting
1801 Page Mill Road                                                                                                                                                   Professional
                                               Unit.
Palo Alto, CA 94304                                                                                                                                                     Service
Friedman and Associates
                                                                                                                                                                       Vendor &
2756 Green Valley Parkway, $818                PBT Service Provider Agreement, executed 1/18/06. Term is for 1 year and will automatically renew yearly thereafter,
                                                                                                                                                                      Professional
Henderson, NV 89014                            can be terminated with 30 days written notice.
                                                                                                                                                                        Service
attn: Clarence Friedman
Gartner, Inc.
                                                                                                                                                                       Vendor &
12600 Gateway Blvd.                            Executed 12/26/06 -Gartner Industry Advisory Service - Banking and Retail, Gartner Core Research: Term end date
                                                                                                                                                                      Professional
Fort Myers, FL 33913                           12/31/07.
                                                                                                                                                                        Service
attn: Contracts Administration




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GTR Consulting
                                                                                                                                                              Vendor &
30 Liberty Way
                                          PBT Services Agreement with GTR and Solidus, effective date 10/23/06. Term unspecified.                            Professional
Sausalito, CA 94965
                                                                                                                                                               Service
attn: Gary Roman
HBNet
                                                                                                                                                              Vendor &
2851 West Kathleen Road                   Master Services Agreement executed 5/2/05 between HBNet and Solidus. Initial term is 3 years, then agrmt will
                                                                                                                                                             Professional
Phoenix, AZ 85053                         automatically renew for 3 years, may be terminated with 60 days notice.
                                                                                                                                                               Service
attn: Sharon Cline
Hivelocity Networks, Inc.
                                                                                                                                                              Vendor &
224 Rubens Circle                         Marketing Referral Agreement executed 1/03/07. Term begins January 1, 2007 and continues for 3 years, thereafter
                                                                                                                                                             Professional
Martinsburg, WV 25403                     shall remain in effect until either party terminates.
                                                                                                                                                               Service
attn: David Overholser
IBM NSSO
                                                                                                                                                              Vendor &
P.O. Box 12195, Building 203
                                          Enhanced Managed Hosting Services Agmt, dated 3/15/05.                                                             Professional
3039 Cornwallis Road
                                                                                                                                                               Service
Research Triangle Park, NC 27709
IBM
                                                                                                                                                              Vendor &
PO Box 676673
                                          IBM e-Business Hosting Agreement                                                                                   Professional
Dallas Tx 75267-6673
                                                                                                                                                               Service

IBM
                                                                                                                                                              Vendor &
PO Box 676673
                                          Equipment & Program Loan Agreement for IBM Anyplace Kiosk                                                          Professional
Dallas Tx 75267-6673
                                                                                                                                                               Service




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IBM
                                                                                                                                                       Vendor &
PO Box 676673
                                     Statement of Work for Services for ACE/EPS Enhancement                                                           Professional
Dallas Tx 75267-6673
                                                                                                                                                        Service

IBM
                                                                                                                                                       Vendor &
PO Box 676673                        SOW to Provide Technical Consulting Assistance to Recommend a Solution Approach for PBT’s Biometric-based
                                                                                                                                                      Professional
Dallas Tx 75267-6673                 Payment Solution
                                                                                                                                                        Service

IBM
                                                                                                                                                       Vendor &
PO Box 676673
                                     Customer Agreement                                                                                               Professional
Dallas Tx 75267-6673
                                                                                                                                                        Service

IBM
                                                                                                                                                       Vendor &
PO Box 676673
                                     Non Technical Service Agreement                                                                                  Professional
Dallas Tx 75267-6673
                                                                                                                                                        Service

Infonox
                                                                                                                                                       Vendor &
Satwan Shah
                                     Services Agreement                                                                                               Professional
River Oaks Pwky
                                                                                                                                                        Service
San Jose, CA 95134
Jason Gilman                                                                                                                                           Vendor &
                                     Marketing Referral Agreement executed 2/15/07. Term begins January 1, 2007 and continues for 3 years and there
102 Boyd Court                                                                                                                                        Professional
                                     after remain in effect until termination by either party with 30 days prior notice .
Danville, CA 94526                                                                                                                                      Service




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KPMG LLP                                           Engagement letter dated 3/22/05 to provide audit services for PBT's consolidated financial statements. Report: audit
                                                                                                                                                                                Vendor &
55 Second Street                                   adjustments arising from the audit that could have a significant effect on PBT's financial reporting process, uncorrected
                                                                                                                                                                               Professional
San Fracisco, CA 94105                             misstatements, any disagreements with management, other matters re: audit standards. Term will be indefinite until
                                                                                                                                                                                 Service
Attn: Connor Moore                                 one party terminates, each subsequent year is subject to negotiation.
KPMG LLP
                                                   Engagement letter dated 1/19/06 to provide tax compliance and advisory services for Solidus. Services: prepare the           Vendor &
55 Second Street
                                                   2005 corporate tax returns and supporting schedules for Solidus, Also determine the quarterly estimated tax payments        Professional
San Fracisco, CA 94105
                                                   for 2006.                                                                                                                     Service
Attn: Martin Skrip
Law Offices of Michael L. Zigler                                                                                                                                                Vendor &
639 Front Street, Fourth Floor                     Legal services agreemeny                                                                                                    Professional
San Francisco, CA 94111                                                                                                                                                          Service
Long & Levit LLP
                                                                                                                                                                                Vendor &
Attn: Jason Geller                                 Attorney-Client Fee Contract dated 8/21/07 for representation in lawsuit Jon Siegal v. Solidus Networks, Inc. et al. SF
                                                                                                                                                                               Professional
465 California Street, 5th Floor                   County Superior Court, No. CGC07-465156. Termination when work is complete or either party withdraws.
                                                                                                                                                                                 Service
San Francisco, CA 94104
Magellan Biometric Systems, LLC                                                                                                                                                 Vendor &
                                                   Marketing Referral Agreement executed 6/29/07. Term begins June 22, 2007 and will continue until termination by
Chapel Hill, NC                                                                                                                                                                Professional
                                                   either party with written notice.
attn: Danny Beauchamp                                                                                                                                                            Service
                                                                                                                                                                                Vendor &
MCI Communications Services dba Verizon Business   Seventh Amendment to MCI Service Agreement effective 10/31/06 - Initial term to begin on effective date until
                                                                                                                                                                               Professional
Financial Mgmt Corp.                               completion in 24 mths
                                                                                                                                                                                 Service
MedData (a division of AGDATA)
                                                                                                                                                                                Vendor &
2100 Rexford Roady, Suite 300                      Transaction Processing Agreement dated 1/18/2007. Term: initial term for one year and will be automatically extended
                                                                                                                                                                               Professional
Charlotte, NC 28211                                for successive one year periods. Termination by either party with 90 days prior notice
                                                                                                                                                                                 Service
attn: Steve Purdy




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                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



    NAME AND MAILING ADDRESS                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                    INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                               TYPE
  PARTIES TO LEASE OR CONTRACT                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Merchant Services International, Inc.
                                                                                                                                                                        Vendor &
2189 Cleveland Street, Suite 257              Marketing Referral Agreement dated 3/7/2007. Term begins Term begins March 1, 2007 for one year and thereafter
                                                                                                                                                                       Professional
Clearwater, FL 33765                          shall remain in effect until either party provides a 30 day notice of termination.
                                                                                                                                                                         Service
attn: Barbara Levine
Merrill Communications LLC
                                                                                                                                                                        Vendor &
One Merrill Circle St.                        Services Agmt dated 3/7/2007 for "Project Predidio". Term is 6 months from go live date with option to renew for
                                                                                                                                                                       Professional
St. Paul, MN 55108                            another 6 month term.
                                                                                                                                                                         Service
attn: Chrita Fnacher
Messagio
                                                                                                                                                                        Vendor &
SAS AU Capital, DE 84310                      Vendor Services Agreement dated 1/23/07 to hire Messagio as Contractor. Agmt may be terminated with 15 days
                                                                                                                                                                       Professional
98 Avenue Du General Licierc                  written notice.
                                                                                                                                                                         Service
92100 Boulogne, Billancourt
Morgan Stanley
                                                                                                                                                                        Vendor &
555 California Street, Suite 2200             Engagement letter dated 3/16/06 as financial advisor in the possible acquisition of TransFirst Holdings, Inc. and Cool
                                                                                                                                                                       Professional
San Francisco, CA 94104                       Savings, Inc. A
                                                                                                                                                                         Service
attn: Gordan Dean
New Edge Networks
                                                                                                                                                                        Vendor &
3000 Columbia House Blvd., Suite 106          Retail Broadband Alliance Agmt dated 12/7/2006. Term: Initially one year thereafter will automatically renew for
                                                                                                                                                                       Professional
Vancouver, WA 98661-2969                      successive yearly terms until terminated upon 60 days written notice.
                                                                                                                                                                         Service
attn: Retail Broadband Alliance Director
Nyquist Design
                                                                                                                                                                        Vendor &
51 University Ave, Suite K                    Agreement effective 2/10/06 with respect to the design of the PBT UK Online Enrollment Process Screens - screens
                                                                                                                                                                       Professional
Los Gatos, CA 95030                           based on the US Online Enrollment Process Screens Agmt PT 1002, maximum of 22 screens created.
                                                                                                                                                                         Service
attn: Christina Nyquist




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Potter Anderson & Corroon LLP
1313 North Market Street                                                                                                                                                  Vendor &
                                              Legal Services and Fee Agreement, dated 10/25/07. PAC to represent Solidus in litigation Plainfield Special Situation
PO Box 951                                                                                                                                                               Professional
                                              Master Fund Limited V. Solidus Networks, Inc. C.A. 3308-VCS.
Wilmington, DE 19899-0951                                                                                                                                                  Service
attn: Kevin R. Shannon

Robbins & Green, P.A.
                                                                                                                                                                          Vendor &
3300 North Central Ave, Suite 1800
                                              Legal Services and Fee Agreement, dated 6/17/05.                                                                           Professional
Phoenix, AZ 85012-2518
                                                                                                                                                                           Service
attn: Peter Sorenson
Saatchi & Saatchi                                                                                                                                                         Vendor &
375 Hudson Street                             Advertising agreement, effective 3/15/06 to hire Saatchi & Saatchi as ad agency for Solidus.                               Professional
New York, NY 10014-3660                                                                                                                                                    Service
SAS70 Solutions
                                                                                                                                                                          Vendor &
2202 N. Westshore Blvd., Suite 200-2031
                                              Dated 9/1/05 - Contract for three Type II SAS 70 audits in 2006, 2007, 2008.                                               Professional
Tampa, FL 33607
                                                                                                                                                                           Service
Scott G. Price
Strategic Business Intiatives, LLC
                                                                                                                                                                          Vendor &
attn: Philip Green, President                 Letter of intent, dated 7/10/07 for Solidus to acquire 100% of membership interests of Incline Healthcare from Strategic
                                                                                                                                                                         Professional
200 Lothrop Street                            Business Initiatives to buy rights of Upay software.
                                                                                                                                                                           Service
Pittsburgh, PA 15213
Studio Red                                                                                                                                                                Vendor &
115 Independence Drive                        Effective date August 16, 2006. SOW No. E5119C.PBT.                                                                        Professional
Menlo Park, CA 94025                                                                                                                                                       Service




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Taos Mountain, Inc.
                                                                                                                                                                  Vendor &
3970 Freedom Circle
                                              Consulting Services Agreement executed 2/28/07, Completion date: 3/2/07.                                           Professional
Santa Clara, CA 95054
                                                                                                                                                                   Service
attn: Mary Hale, VP
TASQ Technology, Inc.
                                                                                                                                                                  Vendor &
660 Menlo Drive                               Master Agreement dated July 2, 2004 between TASQ AND PBT (Customer ID: PBT07) initial term 2 years,
                                                                                                                                                                 Professional
Rocklin, CA                                   automatically renews yearly thereafter.
                                                                                                                                                                   Service
Patricia Woods, EVP
Tolt Technologies Service Group, LLC                                                                                                                              Vendor &
8350 S Kyrene Road, bldg 104                  Master Services Agreement beginning 3/15/07 and terminating 3/15/08.                                               Professional
Temple, AZ 85284                                                                                                                                                   Service
Tolt Technologies Service Group, LLC                                                                                                                              Vendor &
8350 S Kyrene Road, bldg 104                  On-site field maintenance agmt, dated 9/1/06 - term is one year.                                                   Professional
Temple, AZ 85284                                                                                                                                                   Service
Tolt Technologies Service Group, LLC                                                                                                                              Vendor &
                                              On Site Field Maintenance Agreement beginning 9/1/2006 and termination in 1 year, may be renewed by consent of
8350 S Kyrene Road, bldg 104                                                                                                                                     Professional
                                              both parties. Tolt to provide on-site maintenance repair service - equipment support list:
Temple, AZ 85284                                                                                                                                                   Service
UBS Securities, LLC
                                                                                                                                                                  Vendor &
299 Park Avenue                               Engagement letter dated 12/6/05 to engage UBS Securities as lead placement agent and financial advisor in
                                                                                                                                                                 Professional
New York, NY 10171                            connection with private financing. Terms shall commence as of 6/6/06.
                                                                                                                                                                   Service
Attn: Leonard Brooks III
UPEK                                                                                                                                                              Vendor &
2200 Powell Street, Suite 300                 Purchases and Services Agmt dated 10/16/06                                                                         Professional
Emeryville, CA 94608                                                                                                                                               Service




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Vignette                                                                                                                                     Vendor &
1601 S Mo Pac Expy                           Corporate Master Agreement entered 12/31/05, agrmt remains in force until terminated.          Professional
Austin, TX 78746                                                                                                                              Service
WebEx Communications, Inc.                                                                                                                   Vendor &
3979 Freedom Circle                          Services Agreement effective 2/1/07.                                                           Professional
Santa Clara, CA 955054                                                                                                                        Service
World Class International                                                                                                                    Vendor &
8536 Concord Center, Suite D                 Master Services Agreement entered 10/26/05                                                     Professional
Englewood, CO 80112                                                                                                                           Service




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 The information set forth herein was derived from the Debtor's books and records. The Debtor reserves the right to amend any of
 the items set forth herein if and when more updated information becomes available.

 The List of Executory Contracts is furnished for information purposes only to apprise parties in interest of possible contractual
 relationships of the Debtor as of December 14, 2007 and is derived from documents in the possession of the Debtor. This
 Statement is not an admission or recognition that any contractual relationship exist or existed or that, if such a relationship existed,
 said relationship presently exists. The Debtor does not waive any right of rescission or reformation or defense respecting any
 contract.

 Similarly, this Statement is not an admission or recognition that any contractual relationship constitutes an "executory contract".
 Some contracts listed in this Statement may have been validly terminated or expired by their own terms prior to December 14, 2007
 but have been listed notwithstanding any such possible termination or expiration in order to provide a complete presentation of the
 Debtor's affairs and in the event that one or more parties in interest may take the position that an executory contact existed as of
 December 14, 2007.




    NAME AND MAILING ADDRESS                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
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                                                                                                                                                                       Vendor &
Complete Power Technology
                                              Maintenance Agreement                                                                                                   Professional
213 S. Main Street, suite 10,
                                                                                                                                                                        Service
Duncanville, 75116-4763.
Arin Financial Service Department             Service agreement signed on June 26, 2006 with American Registry for Internet Numbers, LTD (“ARIN”). ARIN was a          Vendor &
3635 Concorde Parkway, Suite 200              regional internet registry serving mainly North America and was responsible for the registration, administration, and   Professional
Chantilly, VA 20151                           stewardship of internet number resources.                                                                                 Service




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ARIN                                                                                                                                                            Vendor &
                                           IP and ASN registtration
3635 Concorde Parkway, Suite 200                                                                                                                               Professional
                                           Dated July 11, 2006
Cahntilly, Va 20151                                                                                                                                              Service
AT&T                                                                                                                                                            Vendor &
One AT&T Way                               Telecommunications Provider - Provides voice service, production Internet services and primary EFT connections.     Professional
Bedminster, NJ 27821-0752                                                                                                                                        Service
Avail Search Group Inc.
                                                                                                                                                                Vendor &
10670 N Central Expressway suite 120       Staffing Agreement entered on Aug 22, 2007, effective as of Aug 23, 2007. Avail agreed to provide temporary labor
                                                                                                                                                               Professional
Dallas, Tx 75231                           personnel and pay the personnel.
                                                                                                                                                                 Service
214-545-5323
BBS Technologies, Inc.                                                                                                                                          Vendor &
802 Lovett Blvd.                           Software license agreement between BBS Technologies, Inc. and a customer (not specified). Date: unspecified.        Professional
Houston, Texas 77006                                                                                                                                             Service
Carr Texas OP, LP
                                           Property lease for 8081 Royal Ridge Parkway, Suite 130 Irving, TX County of Dallas. Commenced Nov 2003,             Real Property
P.O. Box 642899
                                           terminates April 2008. 10,705 sq. ft, lease payment is                                                                 Lease
Pittsburgh, PA 15264-2899
Carr Texas OP, LP                          First amendment of lease entered on March 31, 2003 between Carr Texas OP, LP (“Landlord”) and ATMD. Landlord
                                                                                                                                                               Real Property
P.O. Box 642899                            and ADMT originally entered into a lease dated Feb 7, 2003 covering approximately 7,043 square fee of rentable area
                                                                                                                                                                 Leases
Pittsburgh, PA 15264-2899                  on the 1st floor at Royal Ridge Building 2 in Irving, Texas.
Cisco SecureACS Authentication Software
Cisco Systems, Inc.                                                                                                                                              Software
                                           Purchased License Agreement
170 West Tasman Dr.                                                                                                                                              License
San Jose, CA 95134




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Complete Power                                                                                                                                                      Vendor &
210 S Main St                                Maintenance of Generator and UPS and provider of fuel for generator                                                   Professional
Duncanville Tx 75116                                                                                                                                                 Service
Dallas Security Systems                                                                                                                                             Vendor &
10731 Rockwell Rd                            Alarm Monitoring & Services premise alarm and video security systems                                                  Professional
Dallas, TX 75238                                                                                                                                                     Service
Encryption Software, Inc.
                                                                                                                                                                    Software
595 Bellemont Ct.                            License agreement for encryption software.
                                                                                                                                                                    License
Duluth, GA 30097
Ernst & Young LLP                                                                                                                                                   Vendor &
                                             E&Y Services agreement dated 8/7/06 for valuation services with respect to the acquisition of ATM Direct Term until
560 California Street, Suite 1600                                                                                                                                  Professional
                                             services are complete.
San Francisco, CA 94015                                                                                                                                              Service
eSmart Solutions Inc.
1250 South S Beverly Glen Blvd
                                             Auditing services contract/proposal dated as of January 1, 2006.                                                       Advisory
Suite 401
Los Angeles, Ca 90024
Fiserv Solutions, Inc.
                                                                                                                                                                    Vendor &
dba Fiserv EFT
                                             Service agreement dated as of 8/1/07 (“effective date”) between Fiserv Solutions, Inc. and ATMD. Term: 3 years.       Professional
250 Johnson Road
                                                                                                                                                                     Service
Morris Plains, NJ 07950




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McAfee, Inc.
General Counsel                                        OEM software License Agreement entered as of July 27, 2007 (“effective date:) between McAfee, Inc and ATMD.    Software
5000 Headquarters Drive                                Term: from effective date to 2 years later.                                                                    License
Mail Stop 1S262
Plano, Texas 75024

Geopoint Server - Quova, Inc
                                                                                                                                                                      Software
333 W. Evelyn Avenue                                   Unlimited queries for fixed monthly cost
                                                                                                                                                                      License
Mountain View, CA 94041
GWI Soft                                                                                                                                                              Vendor &
10000NE 7th Ave Suite 401                              Service Desk                                                                                                  Professional
Vancouver, WA 98685                                                                                                                                                    Service
Howinson & Arnott LLP                                                                                                                                                 Vendor &
                                                       Patent counsel for pending applications for ATMD and trademarks
5420 LBJ Freway, Suite 660                                                                                                                                           Professional
                                                       Dated 9/28/05
Dallas, Tx 75240-2318                                                                                                                                                  Service

HP Atalla Cryptography and Hardware Security Modules
                                                                                                                                                                      Software
3000 Hanover St.                                       Unlimited Use License specific to hardware device
                                                                                                                                                                      License
Palo Alto, CA 94304

HP/Compaq/Atalla
                                                                                                                                                                      Software
3000 Hanover Street                                    License agreement for software.
                                                                                                                                                                      License
Palo Alto, CA 94304-1175




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Idera
                                                                                                                                                                           Vendor &
BBS Technology Inc
                                                 Database tools for production systems                                                                                    Professional
802 Lovett Blvd
                                                                                                                                                                            Service
Houston, Tx 77006

Internet Security Systems
IBM North America
                                                 Software licenses transfer agreement dated as of December 7, 2005 between Pay by Touch/ATMD and Internet
590 Madison Avenue
                                                 Security Systems. ATMD originally purchased software licenses for one Proventia M10 and one Provenita G100F in            Software
New York, NY 10022
                                                 August 2004, and the licenses expired on Sept 22, 2005 and Aug 6, 2005. ATMD transferred the licenses to Pay by           License
United States
                                                 Touch.



Iron Mountain Intellectual Property Management
Atlanta Processing Office
                                                 Intellectual Property Development Protection Agreement entered on Feb 10, 2004 between DSI technology Escrow
2100 Norcross Pkwy, suite 150                                                                                                                                             Intellectual
                                                 Services, Inc. (a subsidiary of Iron Mountain) and ATMD. DSI agreed to accept and retain the proprietary technology,
Norcross, GA 30071                                                                                                                                                         Property
                                                 maintain time stamped records of the proprietary technology, and protect its confidentiality. The initial term was one
                                                                                                                                                                            Deposit
                                                 year, and the agreement should automatically renew from year to year unless either party terminated it. For all
DES Technology Escrow Services, Inc.                                                                                                                                      Agreement
                                                 accounts held at Iron Mountain
9265 Sky Park Court, Suite 202
San Diego, CA 92123

Master Agreement Support Team
                                                                                                                                                                           Vendor &
AT&T Corp.                                       Service Agreement signed by ATMD SVP and GM Robert Ziegler on February 27, 2007 between AT&T and Solidus
                                                                                                                                                                          Professional
One AT&T Way                                     Networks dba Pay by Touch. AT&T would provide Managed Internet Service. Term: 36 month.
                                                                                                                                                                            Service
Bedminister, New Jersey 07921-0752




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MCI Worldcom Communications, Inc
3300 East Renner Road
                                                          Service agreement entered on Mar 3, 2004 between MCI Worldcom Communications (later acquired by Verizon) and            Vendor &
Richardson, TX 75081
                                                          Solidus. MCI agreed to provide various services ranging from audio conferencing, net conferencing, phone, to internet, Professional
                                                          based on a detailed list of services and pricing. Agreement extended on 10/3/06 for 24 months.                           Service
MCI Communications Services
dba Verizon Business Services

Melissa Data
                                                                                                                                                                                  Software
22382 Avenida Empresa                                     License agreement for address reference data software.
                                                                                                                                                                                  License
Rancho Santa Margarita, CA 92688-2112
Microsoft Visual Studio Development Suite
Microsoft Corporation                                                                                                                                                             Software
                                                          Limited use license per install
One Microsoft Way                                                                                                                                                                 License
Redmond, WA 98052-6399

Microsoft Windows Family (2000 Server, 2003 Server, XP,
Vista)
                                                                                                                                                                                  Software
Microsoft Corporation                                   Limited use license per install
                                                                                                                                                                                  License
One Microsoft Way
Redmond, WA 98052-6399
Mosaic Software
                                                                                                                                                                                  Software
800 Fairway Drive, Suite 198                              License agreement for software dated May 16, 2002.
                                                                                                                                                                                  License
Deerfield Beach, FL 33441
Mosaic Software, Inc.                                                                                                                                                             Software
                                                          Addendum -3 to license agreement: dated as of Sept 18, 2006 between Mosaic Software, Inc. an S1 Company and
3500 Lenox Rd, Suite 200                                                                                                                                                          License
                                                          Solidus. Date of original license agreement: May 16, 2002.
Atlanta, GA 30326                                                                                                                                                                Agreement




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nCipher Cryptography and Hardware Security Modules
                                                                                                                                                                     Software
500 Unicorn Park Drive                               Unlimited Use License specific to hardware device
                                                                                                                                                                     License
Woburn, MA 01801-3371

nCipher Inc.
500 Unicorn Park Drive
Woburn, MA 01801-3371                                                                                                                                                Software
                                                     License agreement for encryption solution software.
nCipher Corporation, Ltd.                                                                                                                                            License
Jupiter House, Station Road
Cambridge CB12JD, England

NEC Unified Sollutions, Inc.                         NECSecure support acknowledgement provided by NEC Unified Solutions, Inc. to Pay by Touch for a list of Cisco     Vendor &
6535 N. State Hwy 161                                Systems Hardware. Term: 4/21/07 – 7/15/08. NEC would provide maintenance service including NECSecure advance Professional
Irving TX 75039                                      replacement services, NECSecure Onsite support services, NECSecure software application support and updates, etc.  Service

                                                     1 Canon IR C3220
                                                     1 Document Feeder K1
                                                     x1 Cassette Feed Unit
NewCal Industries
                                                     M1 Internal Finisher                                                                                           Equipment
1 Front Street
                                                     M2 Super GS Fax Board                                                                                            Lease
San Francisco, Ca94111
                                                     IPAC B1 & U send Package
                                                     Dated May 24, 2006
                                                     Location of Euqipment 8081 Royal Ridge Suite 130, Irving Tx 75063




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NYCE Payments Networkd, LLC                   Data processing services agreement between NYCE Payments Network, LLC and Pay by Touch. NYCE agreed to                   Vendor &
400 Plaza Drive, 2nd floor                    provide third-party direct processor services: NYCE authorized Pay by Touch to create and maintain a direct interface   Professional
Secaucus, New Jersey 07094                    for the sole purpose of processing EFT Transactions on behalf of customers. Effective date 12/14/2006.                    Service

OpenSSL SE
c/o Richard Levitte
Spannvägen 38                                                                                                                                                          Software
                                              Unlimited use license under GPL, with acknowledgments
S-168 35 Bromma                                                                                                                                                        License
Sweden


Postillion Server Software - S1 Corporation
                                                                                                                                                                       Software
705 Westech Drive                             Limited use license per EFT direct connect
                                                                                                                                                                       License
Norcross, GA 30092
Pulse EFT Association
                                              Processor sponsoring agreement between PULSE EFT Association and Carrollton Bank (“sponsor). PULSE operated
1301 McKinney, Suite 2500
                                              a regional electronic fund transfer and information network for interchanging electronic banking transactions among its Sponsorships
Huston, TX 77010
                                              members throughout the designated states.

Quova, Inc.
                                                                                                                                                                       Software
333 W. Evelyn Avenue                          License agreement dated January 23, 2003.
                                                                                                                                                                       License
Mountain View, CA 94041
RSA SecurID Authentication
                                                                                                                                                                       Software
174 Middlesex Turnpike                        Purchased License Agreement
                                                                                                                                                                       License
Bedford, MA 01730




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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Solidus Networks DBA Pay By Touch
Case No. 2:07 - 20027 - TD
                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                              Schedule G 2- ATM Direct Executory Contracts


    NAME AND MAILING ADDRESS                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S
   INCLUDING ZIP CODE, OF OTHER                   INTEREST. STATE WHETHER LEASE IS OF NONRESIDENTIAL REAL                                                         TYPE
  PARTIES TO LEASE OR CONTRACT                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.


Shamus Software, Inc.
4 Foster Place North                                                                                                                                             Software
                                             Pending License Agreement
Ballybough, Dublin 3 Ireland                                                                                                                                     License


Shred-it                                                                                                                                                         Vendor &
9755 Clifford Dr. Suite 150                  Shredding service agreement between Shred-it and ATMD signed on 9/26/06. Term: one year.                           Professional
Dallas, TX 75220                                                                                                                                                  Service
SimplexGrinnell LP                                                                                                                                               Vendor &
                                             Service agreement made by Pay by Touch and SimplexGrinnell LP on 9/29/05. SimplexGrinnell LP agreed to provide
1125 E Collins                                                                                                                                                  Professional
                                             fire safe protection service. Term: 10/1/05 – 8/30/10.
Richardson, Texas 75081                                                                                                                                           Service
Star Networks, Inc                           Processor Agreement made as of Sept 28, 2006 between Star Networks, Inc. and Solidus. Solidus desired to enter      Vendor &
1100 Carr Road                               into agreements with certain members or Star Merchants to perform processing functions in connection with the      Professional
Wilmington, Delaware 19809                   electronic funds transfer system and check verification and debit service operated by Star.                          Service
Texas Epsilon Chahpter of Pi Beta Phi
                                             Master Merchant Services Agmt executed 7/28/07. Term of agmt 3 years from effective date, automatically renew for 3 Merchant
PO Box 310668
                                             yr periods unless a written termination is given by either party. cardholder.                                      Services Agmt
Denton, TX
Verisign, Inc
                                                                                                                                                                 Vendor &
487 E. Middlefield Road, M/S MV 6-2-1
                                             Digital Certificates (VPN SSL)                                                                                     Professional
Mountain View, CA 94043
                                                                                                                                                                  Service

Waukesha Pearce Industries, Inc.
                                                                                                                                                                 Vendor &
850 East Indistrial Ave.
                                             Maintenance Agreement                                                                                              Professional
Fort Worth, TX 76131
                                                                                                                                                                  Service




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What's Up
PO Box 414562                                                                                               Software
                                  Unlimited Use
Boston, MA 02241                                                                                            License




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In re: Solidus Networks, Inc.
Case No. 02:07-20027-TD


                                                   SCHEDULE H - CODEBTORS

          Check this box if debtor has no codebtors.


         NAME AND ADDRESS OF CODEBTOR                                  NAME AND ADDRESS OF CREDITOR

John Rogers                                               Plainfield West Investments, LLC (Bank of New York as Collateral
2 Townsend Street, #4-201                                 Agent)
San Francisco, CA 94107                                   c/o Plainfield Asset Management
                                                          411 West Putnam Avenue, Suite 340
                                                          Greenwich, CT 06830
Pay by Touch Check Cashing, Inc                           Refer to Schedule D1
580 Herndon Parkway, Suite 100
Herndon, VA
Pay by Touch Processing, Inc                              Refer to Schedule D1
5451 E. Williams Blvd, Suite 201
Tucson, AZ 85711
Pay by Touch Payment Solutions                            Refer to Schedule D1
100 West Commons Blvd., Suite 214
New Castle, DE 19720
Check Elect Inc.,                                         Refer to Schedule D1
101 Second St, Suite 1100
San Francisco, Ca 94105
Seven Acquisition Sub, LLC                                Refer to Schedule D1
101 Second St, Suite 1100
San Francisco, Ca 94105
CardSystems Payment Solutions Inc., LLC                   Refer to Schedule D1
5451 E. Williams Blvd, Suite 201
Tucson, AZ 85711
Indivos Corporation                                       Refer to Schedule D1
101 Second St, Suite 1100
San Francisco, Ca 94105
Maverick International Services                           Refer to Schedule D1
101 Second St, Suite 1100
San Francisco, Ca 94105
Loyalty Acquisition Sub, LLC                              Refer to Schedule D1
1900 Frost Road, Suite 100
Bristol, PA
S&H Greenpoints, Inc                                      Refer to Schedule D1
1625 South Congress Ave, Suite 200
Delray Beach, FL 33445




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